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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE

------------------------------------------------------x
                                                      :
In re                                                 :      Chapter 11
                                                      :
INSYS THERAPEUTICS, INC., et al.,                     :      Case No. 19-11292 (KG)
                                                      :
                             1
                  Debtors.                            :      Joint Administration Requested
                                                      :
------------------------------------------------------x


                          NOTICE OF FILING OF CREDITOR MATRIX

                   PLEASE TAKE NOTICE that the above-captioned debtors and debtors in

possession have today filed the attached Creditor Matrix with the United States Bankruptcy

Court for the District of Delaware, 824 North Market Street, Wilmington, Delaware 19801.



                               [Remainder of page intentionally left blank]




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Insys Therapeutics, Inc. (7886); IC Operations, LLC (9659); Insys Development
Company, Inc. (3020); Insys Manufacturing, LLC (0789); Insys Pharma, Inc. (9410); IPSC, LLC (6577); and IPT
355, LLC (0155). The Debtors’ mailing address is 1333 South Spectrum Blvd #100, Chandler, Arizona 85286.



RLF1 21392264V.1
                   Case 19-11292-KG   Doc 14     Filed 06/10/19   Page 2 of 149



Dated: June 10, 2019
       Wilmington, Delaware
                                         /s/ Amanda R. Steele
                                         RICHARDS, LAYTON & FINGER, P.A.
                                         Mark D. Collins (No. 2981)
                                         John H. Knight (No. 3848)
                                         Paul N. Heath (No. 3704)
                                         Amanda R. Steele (No. 5530)
                                         Zachary I. Shapiro (No. 5103)
                                         One Rodney Square
                                         920 N. King Street
                                         Wilmington, Delaware 19801
                                         Telephone: (302) 651-7700
                                         Facsimile: (302) 651-7701

                                         -and-

                                         WEIL, GOTSHAL & MANGES LLP
                                         Gary T. Holtzer (pro hac vice pending)
                                         Ronit J. Berkovich (pro hac vice pending)
                                         Candace M. Arthur (pro hac vice pending)
                                         767 Fifth Avenue
                                         New York, New York 10153
                                         Telephone: (212) 310-8000
                                         Facsimile: (212) 310-8007

                                         Proposed Attorneys for the Debtors
                                         and Debtors in Possession




RLF1 21392264V.1


                                               2
1&1 INTERNET, INC            Case 19-11292-KG     Doc
                                         12613 HIGH    14 ROAD
                                                    MEADOW Filed 06/10/19   Page  3 of 149DISTRIBUTION, INC
                                                                               269-PRAXAIR
701 LEE RD                                GAITHERSBURG, MD 20878               DEPT. 0812
SUITE 300                                                                      PO BOX 120812
WAYNE, PA 19087                                                                DALLAS, TX 75312-0812




296-PRAXAIR DISTRIBUTION, INC             3 SUNS INVESTMENTS INC               330-PRAXAIR DISTRIBUTION INC
DEPT. 0812                                C/O 6641 WEST 5TH ST                 PO BOX 120812 DEPT 0812
PO BOX 120812                             LOS ANGELES, CA 90048                DALLAS, TX 75312-0812
DALLAS, TX 75312-0812




360 VANTAGE LLC                           360TRAINING.COM                      3D EXHIBITS INC
3165 S PRICE ROAD                         P.O. BOX 840358                      DEPT 20-EXH-001
CHANDLER, AZ 85248                        DALLAS, TX 75284                     P.O. BOX 5940
                                                                               CAROL STREAM, IL 60197-5940




530- PRAXAIR DISTRIBUTION                 5TH & TAYLOR LLC                     A&M BUSINESS INTERIOR SERVICES LLC
PO BOX 120812                             1411 5TH AVE NORTH                   1800 S 7TH AVE SUITE 110
DEPT 0812                                 NASHVILLE, TN 37208                  PHOENIX, AZ 85007
DALLAS, TX 75312




A1 BIOCHEM LABS LLC                       A-1 SCALE SERVICES INC               AAA BACKFLOW TESTING
PO BOX 11337                              4807 N.W. INDUSTRIAL DR              PO BOX 80216
SYRACUSE, NY 13218                        SAN ANTONIO, TX 78238                AUSTIN, TX 78708




AAA WINDOW WASHING                        AAHPM                                AAHPM
1512 DUNGAN LN                            C/O ROB FREY                         C/O ROB FREY
AUSTIN, TX 78754                          PO BOX 3781                          PO BOX 3781
                                          HINSDALE, IL 60522                   OAK BROOK, IL 60522




AARON JAMES ORT                           AASHKA JOSHI                         AATHIRAYEN THIYAGARAJAH
1301 WOOD CREEK DRIVE                     11318 E STARFLOWER CT.               ATTN: AATHIRAYEN THIYAGARAJAH
CEDAR PARK, TX 78613                      CHANDLER, AZ 85249                   2076 WOODRUFF RD
                                                                               GREENVILLE, SC 29607




AB SCIEX LLC                              ABDALLA M. SHOLI                     ABDUL QADIR MD
62510 COLLECTIONS CENTER DR               514 SHADY LANE RD.                   ATTN: ABDUL QADIR, MD
CHICAGO, IL 60693                         CLARKS SUMMIT, PA 18411              1004 S NEW RD
                                                                               PLEASANTVILLE, NJ 08232




ABEL MURILLO                              ABF GMBH                             ABHINAV CHANDRA
ATTN: ABEL MURILLO                        SEMMELWEISSTRASSE 5                  4774 W. 30TH STREET
1300 SW 27TH AVE                          PLANEGG 82152                        YUMA, AZ 85364
MIAMI, FL 33145                           GERMANY




ABM BUILDING SERVICES. LLC                ABSOLUTE GEOMETRIES                  ABSORPTION SYSTEMS
P.O. BOX 419860                           20203 ALGREG ST                      436 CREAMERY WAY
BOSTON, MA 02241-9860                     PFLUGERVILLE, TX 78660               SUITE 600
                                                                               EXTON, PA 19341
ABTECH TECHNOLOGIES, INC. Case     19-11292-KG
                                          ACADEMICDoc 14 Filed
                                                   CONSULTANTS, LLC06/10/19      Page 4 of 149
                                                                                    ACADEMY FOR PAIN AND ONCOLOGY
2042 CORTE DEL NOGAL STE D                 ATTN MICHEAL D REED                      EDUCATION
CARLSBAD, CA 92011                         75 WEST ORANGE HILL CIRCLE               P.O. BOX 855
                                           CHAGRIN FALLS, OH 44022                  FRANKLIN LAKES, NJ 07417




ACC                                        ACCENT POWDER COATING                    ACCENTURE LLP
C/O CORPORATE ACCOUNTS                     6816 LEE MANOR COVE                      161 N CLARK ST
14601 E 88TH PLACE NORTH STE 306           SUITE 102                                CHICAGO, IL 60601
OWASSO, OK 74055                           MANOR, TX 78653




ACCESS HEALTH, INC                         ACCLIVITY HEALTHCARE LLC                 ACCORDION PARTNERS LLC
2001 W SAMPLE RD                           OPERATIONS CENTER                        31 W 52ND ST FLOOR 16
SUITE 101                                  PO BOX 60839                             NEW YORK, NY 10019
POMPANO BEACH, FL 33064                    CHARLOTTE, NC 28260




ACCOUNTEMPS                                ACCOUNTING PRINCIPALS                    ACCU SEARCH INC
PO BOX 743295                              DEPT CH 14031                            2338 W. ROYAL PALM RD
LOS ANGELES, CA 90074-3295                 PALATINE, IL 60055                       SUITE J
                                                                                    PHOENIX, AZ 85021-9339




ACCURATE REPORTING, LLC                    ACCU-SEAL SENCORPWHITE, INC.             ACE GLASS, INC.
ATTN: MARYLYNN LEMOINE                     225 BINGHAM DR SUITE B                   P.O. BOX 820023
7026 W REDFIELD RD                         SAN MARCOS, CA 92069                     PHILADELPHIA, PA 19182-0023
PEORIA, AZ 85381




ACONS TREASURER                            ACT SECURITY GROUP                       ACTA LABORATORIES, INC
8921 SAN DIEGO NE                          PO BOX 302827                            27082 BURBANK
ALBUQUERQUE, NM 87122                      AUSTIN, TX 78703                         FOOTHILL RANCH, CA 92610




ADAM HARRINGTON                            ADAM HUMBLE                              ADAM TAYLOR
1019 W SAMANTHA WAY                        1915 MOONLIGHT DRIVE                     4638 HAYES RD
PHOENIX, AZ 85041                          BARTLESVILLE, OK 74006                   APT 1
                                                                                    MADISON, WI 53704




ADAM W BRUMM                               ADAMS & CHITTENDEN SCIENTIFIC GLASS      ADEDAYO ADEDEJI
1241 W. CALLE DEL NORTE                    2741 EIGHTH ST.                          101 LAFAYETTE AVE. #8G
CHANDLER, AZ 85224                         BERKELEY, CA 94710                       BROOKLYN, NY 11217




ADLER POLLOCK & SHEEHAN P.C.               ADMIRAL LINEN & UNIFORM SERVICE          ADMIRAL LINEN SERVICE, INC
ONE CITZENS PLAZA, 8TH FLOOR               2030 KIPLING                             2030 KIPLING
PROVIDENCE, RI 02903-1345                  HOUSTON, TX 77096                        HOUSTON, TX 77098




ADMIRAL SECURITY SERVICES                  ADOBE SYSTEMS INC.                       ADP INC
P.O. BOX 79776                             29322 NETWORK PLACE                      PO BOX 842875
BALTIMORE, MD 21279-0776                   CHICAGO, IL 60673-1293                   BOSTON, MA 02284-2875
ADPHARMA USA, LLC         Case 19-11292-KG
                                      ADRIENNEDoc    14
                                                VAZQUEZ      Filed 06/10/19   Page 5 of 149
                                                                                 ADVANCE LANDSCAPE DESIGNS, INC.
10917 CARTWRIGHT PLACE, SUITE 100     350 E 53RD ST APT 2A                       13523 POND SPRINGS RD.
GAITHERSBURG, MD 20878                NEW YORK, NY 10022                         AUSTIN, TX 78729




ADVANCED CHEMISTRY DEVELOPMENT          ADVANCED CONCRETE PROTECTION             ADVANCED WATER SYSTEMS
8 KING ST. EAST, SUITE 107              PO BOX 180045                            25438 N 17TH AVE
TORONTO, ON M5C 1B5                     AUSTIN, TX 78718                         PHOENIX, AZ 85085
CANADA




AEROSOL MACHINERY SOLUTIONS             AERO-TECH LABORATORY EQUIPMENT           AEROTEK, INC
5 RIVER RD                              6516 A-TERRAPIN RD                       3689 COLLECTION CTR. DR.
SUITE 114                               HARRISON, AR 72601                       CHICAGO, IL 60693
WILTON, CT 06897




AFFINITY HEALTHCARE GROUP, INC.         AFLAC                                    AFRYEA HOLLAND
118 KIMBERLY WAY                        WORLDWIDE HEADQUARTERS                   10 W MINNEZONA AVE
HATFIELD, PA 19440                      COLUMBUS, GA 31999                       APT 1002
                                                                                 PHOENIX, AZ 85013




AFRYEA Y HOLLAND                        AFSANEH BARZI                            AGENCY FOR HEALTHCARE ADMIN (FL)
4810 E VIRGINIA AVE                     912 REGENT PARK DR                       FINANCE & ACCOUNTING/DRUG REBATES
APT A                                   LA CANADA FLINTRIDGE, CA 91011           2727 MAHAN DR, MAIL STOP #14
PHOENIX, AZ 85008                                                                TALLAHASSEE, FL 32308




AGILENT FINANCIAL SERVICES, IN          AGILENT TECHNOLOGIES, INC.               AHCCCS
4187 COLLECTIONS CENTER DRIVE           PO BOX 742108                            STATE OF ARIZONA
CHICAGO, IL 60693                       LOS ANGELES, CA 90074-2108               ATTN: AZ MANAGED CARE PROGRAM DRUG
                                                                                 REBATE
                                                                                 P.O. BOX 741573
                                                                                 ATLANTA, GA 30374-1573


AHMED M ELKASHEF                        AHMED MOHAMED ELKASHEF                   AHS HOPSITAL CORP
C/O TAMARA ELKASHEF                     3857 E. MEAD DR.                         ATTN JAN SCHWARZ-MILLER, SVP & CHIEF
2730 GALLOWS RD                         CHANDLER, AZ 85249                       MEDICAL/ACADEMIC OFFICER
VIENNA, VA 22180                                                                 475 SOUTH ST
                                                                                 MORRISTOWN, NJ 07960



AIC, INC.                               AIMEE L MCRAE-CLARK                      AIR CLEANING SOLUTIONS LLC
135 NEWBURY STREET                      501 LONDON BRIDGE RD                     4582 KINGWOOD DR SUITE E
FRAMINGHAM, MA 01701                    MOUNT PLEASANT, SC 29464                 PMB509
                                                                                 KINGWOOD, TX 77345




AIR LIQUIDE INDUSTRIAL U.S.LP           AIR LIQUIDE INDUSTRIAL US LP             AIRGAS USA, LLC
P.O.BOX 301046                          801 W NORTH CARRIER PKWY                 PO BOX 7423
DALLAS, TX 75303-1046                   GRAND PRAIRIE, TX 75050                  PASADENA, CA 91109-7423




AIRWATCH                                AJILON PROFESSIONAL STAFFING             AJS CONSULTING
AIRWATCH LLC                            DEPT CH 4031                             1747 FLOWERS MILL DR NE
PO BOX 742332                           PALATINE, IL 60055                       GRAND RAPIDS, MI 49525
ATLANTA, GA 30374-2332
                         Case
AKZO NOBEL PULP & PERFORMANCE   19-11292-KG
                                       ALABAMA Doc 14 Filed
                                               DEPARTMENT      06/10/19
                                                          OF REVENUE          Page  6 of 149
                                                                                 ALABAMA  DEPARTMENT OF REVENUE
CHEMICALS INC.                          CORPORATE TAX DIVISION                   CORPORATE TAX SECTION
PO BOX 847134                           BUSINESS PRIVILEGE TAX SECTION           PO BOX 327435
DALLAS, TX 75284-7134                   PO BOX 327320                            MONTGOMERY, AL 36132-7435
                                        MONTGOMERY, AL 36132-7320



ALABAMA MEDICAID AGENCY                 ALABAMA STATE BOARD OF PHARMACY          ALADDIN IBRAHEEM
ALABAMA MEDICAID AGENCY                 ATTN: DONNA YEATMAN, EXE. SECRETARY      113 BLUE FLAX LN
ATTN: DRUG REBATES/AR 501 DEXTER AVE    111 VILLAGE ST                           PFLUGERVILLE, TX 78660
P.O.BOX 5624                            BIRMINGHAM, AL 35242
MONTGOMERY, AL 36103



ALAN BROWN                              ALAN DYLAN MEDINA                        ALASKA BOARD OF PHARMACY
20040 LEGACY CT                         3 HILL ST                                ATTN: LAURA CARRILLO, EXE. ADMIN
ESTERO, FL 33928                        ALPLAUS, NY 12008                        PO BOX 110806
                                                                                 JUNEAU, AK 99811-0806




ALBERTA COLLEGE OF PHARMACY             ALBERTSONS LLC                           ALCHEMY TECHNOLOGY GROUP LLC
ATTN: GREGORY E. EBERHART               250 E PARKCENTER BLVD                    11 GREENWAY PLAZA, SUITE 2600
REGISTRAR                               BOISE CITY, ID 83706                     HOUSTON, TX 77046
1100-8215 112 ST
EDMONTON, AB T6G 2C8 CANADA



ALEC BURLAKOFF                          ALEJANDRA TRUJILLO                       ALEJANDRO R CALVO
15215 N KIERLAND BLVD                   7155 S BRIARWOOD COURT                   1457 ASHBURY PARK PLACE
LOFT 301                                GILBERT, AZ 85298                        DAYTON, OH 45458
SCOTTSDALE, AZ 85254




ALEX LEE                                ALEX OH                                  ALEXANDER M GORDON
9337 PREMIER WAY                        14 NOSTRAND RD                           16754 TIM LANE
SACRAMENTO, CA 95826                    HILLSBOROUGH, NJ 08844                   LAKE BALBOA, CA 91406




ALEXANDER NGUYEN                        ALEXANDER STEIN                          ALEXANDER WEINGARTEN DBA
9045 JUDICIAL DR                        2000 A JASON DR                          NEW YORK MEDICAL CONSULTANT
APT 1506                                HUNTINGDON VALLEY, PA 19006              121 EILEEN WAY
ENCINITAS, CA 92024                                                              SYOSSET, NY 11791




ALEXANDRA B PETERSON                    ALEXIS GLABERMAN                         ALEXIS LARAE YTURRALDE
100 PARK BLVD.                          11954 ASH STREET                         945 E PLAYA DEL NORTE DR
UNIT 2113                               PALM BEACH GARDENS, FL 33410             UNIT 1010
SAN DIEGO, CA 92101                                                              TEMPE, AZ 85281




ALFONSO MORALES                         ALGORITHME PHARMA, INC.                  ALI BENCHAKROUN
CENTRAL MEDICAL CLINIC PLLC             575 BOULEVARD                            33-19 30TH AVE
8936 SPRINGWOOD CIRCLE                  ARMAND-FRAPPIER LAVAL                    STE 100
SAINT PAUL, MN 55125                    QUEBEC, QC H7V 4B3                       ASTORIA, NY 11103
                                        CANADA



ALICIA T CORTEZ                         ALIOU OUSMANOU                           ALISON CARY DESIGN
913 EMERALD STREET                      4618 MYRA GLEN PLACE                     10216 ECHORIDGE DR
SAN DIEGO, CA 92109                     DURHAM, NC 27707                         AUSTIN, TX 78750
ALLEGIANCE CORPORATION   Case 19-11292-KG
                                     ALLERGANDoc  14 LLC
                                              FINANCE, Filed 06/10/19   Page  7 of 149
                                                                           ALLERGAN PLC
7000 CARDINAL PLACE                    5 GIRALDA FARMS                     5 GIRALDA FARMS
DUBLIN, OH 43017                       MADISON, NJ 07940                   MADISON, NJ 07940




ALLERGAN SALES, LLC                    ALLERGAN USA, INC                   ALLERGAN, INC
2525 DUPONT DR                         5 GIRALDA FARMS                     5 GIRALDA FARMS
IRVINE, CA 92612                       MADISON, NJ 07940                   MADISON, NJ 07940




ALLIANZ GLOBAL CORPORATE & SPECIALTY   ALLIED BUILDING PRODUCTS            ALLIED PLASTIC SUPPLY
SE                                     PO BOX 731242                       PO BOX 671074
FRITZ-SCHAFFER-STRASSE 9               DALLAS, TX 75373                    DALLAS, TX 75267
MUNICH D-81737
GERMANY



ALLISON O MATTES                       ALLYSON J. OCEAN                    ALMAC CLINICAL SERVICES LTD
7153 S 48TH GLEN                       55 E. 87TH ST. #7L                  4204 TECHNOLOGY DRIVE
LAVEEN, AZ 85339                       NEW YORK, NY 10128                  DURHAM, NC 27704




ALMAC CLINICAL SERVICES LTD            ALOFT DALLAS LOVE FIELD             ALPHA IR GROUP LLC
ATTN: ACCOUNTS RECEIVABLE              ATTN AMBER MORCHOWER                ONE SOUTH WACKER, SUITE 2110
25 FRETZ RD                            2333 W MOCKINGBIRD LN               CHICAGO, IL 60606
SOUDERTON, PA 18964                    DALLAS, TX 75235




ALPHA METRICS AND CONSULTING, LLC      ALPHA SCRIP INCORPORATED            ALPHA SCRIP, INCORPORATED
418 E 59TH ST #33A                     4647 N 32 ST, STE 125               5080 NORTH 40TH STREET SUITE 339
NEW YORK, NY 10022                     PHOENIX, AZ 85018                   PHOENIX, AZ 85018




ALPHARMA, LLC                          ALSCO                               ALTO LITIGATION, PC
440 ROUTE 22 EAST                      449 VISTA RIDGE DRIVE               4 EMBARCADERO CENTER, SUITE 1400
PO BOX 1399                            KYLE, TX 78640                      SAN FRANCISCO, CA 94111
BRIDGEWATER, NJ 08807




ALTREOS RESEARCH PARTNERS              ALYSSA FULTON                       AMANDA DONOVAN
50 WANDA RD                            2900 W HIGHLAND ST                  129 BLUFFSIDE CIRCLE
TORONTO, ON M6P1C6                     #262                                SAVANNAH, GA 31404
CANADA                                 CHANDLER, AZ 85224




AMANDA E NIETSCH                       AMANDA L EMHOF                      AMANDA NIETSCH
9892 W SALTER DR                       9322 WOODCREST DR                   2222 N MCQUEEN RD
PEORIA, AZ 85382                       HUNTINGTON BEACH, CA 92646          APT 2155
                                                                           CHANDLER, AZ 85225




AMARC MEDICAL CLINIC                   AMAREX CLINICAL RESEARCH            AMBER M WILSON
1755 LAKEWOOD AVE SE                   20201 CENTURY BLVD.                 23722 BAKER HILL
ATLANTA, GA 30315                      4TH FLOOR                           SAN ANTONIO, TX 78258
                                       GERMANTOWN, MD 20874
AMCOR FLEXIBLES, INC.        Case 19-11292-KG
                                         AMER KAZIDoc 14     Filed 06/10/19     Page 8 of 149
                                                                                   AMERICAN ACADEMY OF PAIN MEDICINE
22553 NETWORK PLACE                       53830 GENERATIONS DR                     PO BOX 3781
CHICAGO, IL 60673                         SUITE 110                                HINSDALE, IL 60522
                                          SOUTH BEND, IN 46635




AMERICAN ACADEMY OF PAIN MEDICINE         AMERICAN ACADEMY OF PAIN MEDICINE,       AMERICAN ACADEMY OF
PO BOX 3781                               INC.                                     HOSPICE & MEDICINE
OAK BROOK, IL 60522                       8735 W HIGGINS RD                        EXHIBIT OFFICE
                                          STE 300                                  PO BOX 3781
                                          CHICAGO, IL 60631                        HINSDALE, IL 60522



AMERICAN AIRLINES CARGO                   AMERICAN CALIBRATION, INC                AMERICAN EXPRESS
LOCKBOX 2994                              4410 IL RT 176, SUITE 11                 BOX 0001
CITIBANK LOCKBOX OPERATIONS               CRYSTAL LAKE, IL 60014                   LOS ANGELES, CA 90096-8000
8430 W BRYN MAWR AVE, 3RD FLOOR
CHICAGO, IL 60631



AMERICAN GLASS TINT INC.                  AMERICAN MEDICAL COMMUNICATIONS INC      AMERICAN MEDICAL COMMUNICATIONS INC
218 W HAMPTON AVE SUITE 7                 630 MADISON AVE 2ND FL                   630 MADISON AVE 2ND FL
MESA, AZ 85210                            ENGLISHTOWN, NJ 07726                    MANALAPAN, NJ 07726




AMERICAN PAIN SOCIETY                     AMERICAN RED CROSS                       AMERICAN SALES COMPANY, INC
PROFESSIONAL RELATIONS DEPT.              PO BOX 37839                             4201 WALDEN AVE
PO BOX 3781                               BOONE, IA 50037-0839                     LANCASTER, NY 14086
HINSDALE, IL 60522




AMERICANS FOR RESPONSIBLE DRUG            AMERICANS FOR RESPONSIBLE DRUG           AMERINET INC (ASSIGNED AGREEMENT TO
POLICY (501) C3                           POLICY                                   INTALERE INC)
ATTN MARIA MCFARLAND, EXE. DIRECTOR       ATTN MARIA MCFARLAND, EXE. DIRECTOR      ATTN LARRY KOESTERER
131 WEST 33RD STREET, 15TH FLOOR          131 WEST 33RD STREET, 15TH FLOOR         TWO CITY PLACE DR, STE 400
NEW YORK, NY 10001                        NEW YORK, NY 10001                       SAINT LOUIS, MO 63141



AMERINET, INC (INTALERE)                  AMERISOURCEBERGEN CORPORATION            AMERISOURCEBERGEN CORPORATION
ATTN LARRY KOESTERER                      1300 MORRIS DR                           1300 MORRIS DRIVE
TWO CITY PLACE DR, STE 400                CHESTERBROOK, PA 19087                   CHESTERBROOK, PA 19087
SAINT LOUIS, MO 63141




AMERISOURCEBERGEN DRUG                    AMERISOURCES BERGEN DRUG CORP            AMETEK BROOKFIELD
CORPORATION                               ATTN SVP SUPPLY CHAIN                    P.O. BOX 419319
ATTN: SUPPLIER INCENTIVES                 1300 MORRIS DR                           BOSTON, MA 02241-9319
P.O. BOX 8500-S-5400                      CHESTERBROOK, PA 19087-5594
PHILADELPHIA, PA 19178



AMIN M ALOUSI                             AMNEAL PHAMACEUTICALS LLC                AMPHASTAR PHARMACEUTICALS
3717 TANGLEY RD                           400 CROSSING BLVD                        11570 6TH ST
HOUSTON, TX 77005                         3RD FLOOR                                RANCHO CUCAMONGA, CA 91730
                                          BRIDGEWATER, NJ 08807




AMPHENOL THERMOMETRICS, INC               AMRESCO LLC                              AMRI, INC. (ALBANY MOLECULAR RESEARCH)
28690 NETWORK PL                          PO BOX 644861                            26 CORPORATE CIRCLE
CHICAGO, IL 60673-1286                    PITTSBURGH, PA 15264                     ALBANY, NY 12203
AMSTERDAM PHARMACY, INC    Case 19-11292-KG
                                       AMTRUST Doc 14 Filed
                                               SYNDICATES LTD 06/10/19           Page 9 of 149
                                                                                    AMWINS
SHRINEETA PHARMACY INC                  ATTN JAMES PITTINGER, UNDERWRITING DIR      4725 PIEDMONT ROW DRIVE
1743 AMSTERDAM AVE                      EXCHEQUER COURT                             STE 600
NEW YORK, NY 10031                      33 ST MARY AXE                              CHARLOTTE, NC 28210
                                        LONDON EC3A 8AA UNITED KINGDOM



AMY B BALL                              AMY FORD                                    AMY L HARB
7688 SILVERWOOD CT                      8432 E PAMPA AVE                            8300 MANITOBA ST
LAKEWOOD RANCH, FL 34202                MESA, AZ 85212                              #304
                                                                                    PLAYA DEL REY, CA 90293




AMY M BARRETT                           AMY MARIE HILLSMAN                          AMY R BENDER
1174 S QUINN AVE                        11 GIBSON CT.                               5824 KANSAS ST
GILBERT, AZ 85296                       GAITHERSBURG, MD 20878                      HOUSTON, TX 77007




ANAHEIM CLINICAL TRIALS                 ANALGESIC CONCEPTS LLC                      ANALGESIC SOLUTIONS
1085 N HARBOR BLVD.                     1881 N NASH ST., #501                       ATTN: NATHANIEL P KATZ
ANAHEIM, CA 92801                       ARLINGTON, VA 22209                         321 COMMONWEALTH RD
                                                                                    WAYLAND, MA 01778




ANALYSIS GROUP INC.                     ANALYSYS, INC.                              ANALYTICAL & PRECISION BALANCE
111 HUNTINGTON AVE                      3512 MONTOPOLIS DR.                         COMPANY, INC.
14TH FLOOR                              AUSTIN, TX 78744                            9830 S. 51ST ST. STE B103
BOSTON, MA 02199                                                                    PHOENIX, AZ 85044




ANALYTICAL SALES AND SERVICES INC       ANAND K MALLAVARAPU                         ANANYA DAS
179 US ROUTE 206                        20808 N 27TH AVE                            9209 N 53RD PLACE
FLANDERS, NJ 07836                      APT. 1090                                   PARADISE VALLEY, AZ 85253
                                        PHOENIX, AZ 85027




ANCHOR CROSS CANCER FOUNDATION          ANDERSEN TAX LLC                            ANDERSEN TAX LLC
ATTN: DANIEL MESHAD: DIRECTOR OF ACCF   222 W ADAMS ST, STE 2250                    P.O. BOX 200988
29653 ANCHOR CROSS BLVD STE B-101       CHICAGO, IL 60606                           PITTSBURGH, PA 15251-0988
DAPHNE, AL 36526




ANDERSON BANTA CLARKSON PLLC            ANDERSON BAUER                              ANDREA DUMON
48 N MACDONALD                          18037 N 94TH WAY                            4792 VALHALLA DR
MESA, AZ 85201                          SCOTTSDALE, AZ 85255                        BOULDER, CO 80301




ANDREA HAQQ                             ANDREA MIELE                                ANDRECE HOUSLEY
715 HENDRA CRES NW                      1047 EUCLID STREET                          9340 E. REDFIELD ROAD
EDMONTON, AB T6R 1S1                    APT 9                                       APT 1108
CANADA                                  SANTA MONICA, CA 90403                      SCOTTSDALE, AZ 85260




ANDREW B BYARS                          ANDREW B SCHLINKERT                         ANDREW F BROWN
4059 RIVER RD.                          8882 E YUCCA STREET                         777 W. CHANDLER BLVD.
TOLEDO, OH 43614                        SCOTTSDALE, AZ 85260                        APT 2313
                                                                                    CHANDLER, AZ 85225
ANDREW G MANRIQUE          Case 19-11292-KG
                                        ANDREW Doc 14 LONG
                                               GABRIEL  Filed 06/10/19    Page 10 of J149
                                                                             ANDREW    BRENNER
1401 SATELLITE VIEW DR                   335 W GRAND CANYON DR                PO BOX 29042
APT 6203                                 CHANDLER, AZ 85248                   SAN ANTONIO, TX 78229
ROUND ROCK, TX 78665




ANDREW J QUICK                           ANDREW MCNAUGHTON                    ANDREW N CORONTZES
1700 UNIVERSITY LANE                     212 29TH STREET APT B                201 SMYTHE ST. APT 438
APT 1426                                 NEWPORT BEACH, CA 92663              GREENVILLE, SC 29611
ROUND ROCK, TX 78665




ANDREW PUTNAM                            ANDREW SCHLINKERT                    ANDREW STREIDENBERGER
307 LAWRENCE STREET                      2929 N 70TH ST APT 3050              2735 W ARMITAGE AVE #302
NEW HAVEN, CT 06511                      SCOTTSDALE, AZ 85251                 CHICAGO, IL 60647




ANDREWS SPRINGER LLC                     ANGEL F. MENDEZ                      ANGELA CLARA FRY
3801 KENNETT PIKE, BLDG C, STE 305       5980 SW 82ND ST.                     1186 N MADRID LN
WILMINGTON, DE 19807                     MIAMI, FL 33143                      CHANDLER, AZ 85226




ANGELA M MATT                            ANGELA MALZAHN                       ANGELA MICHELLE PENA
8738 ESPLANADE PARK LN                   558 W WEBSTER AVE                    219 NORTH CROSSING TRAIL
SAN DIEGO, CA 92123                      UNIT 302                             ROUND ROCK, TX 78665
                                         CHICAGO, IL 60614




ANGELI UNGAR LAW GROUP LLC               ANGELO S DEL MONACO                  ANGEL'S PHARMACY
121 SW MORRISON ST                       1516 45TH ST                         259 E MICHIGAN ST
SUITE 400                                NORTH BERGEN, NJ 07047               ORLANDO, FL 32806
PORTLAND, OR 97201-4




ANJULI DESAI                             ANKURA CONSULTING GROUP, LLC         ANKURA CONSULTING GROUP, LLC
6603 LOST HORIZON DR                     1220 19TH STREET, NW SUITE 700       JOHN YAGERLINE
AUSTIN, TX 78759                         WASHINGTON, DC 20036                 1220 19TH STREET, NW SUITE 700
                                                                              WASHINGTON, DC 20036




ANN M MANZARDO                           ANN M MANZARDO                       ANN M. CAVIANI PEASE
22804 W 72ND STREET                      22804 W 72ND STREET                  2005 SUNNYVIEW LN
LENEXA, KS 66227                         SHAWNEE, KS 66227                    MOUNTAIN VIEW, CA 94040




ANN MCCALEB                              ANN O'SHEA SCHEIMANN                 ANNA MARIE ARSENA-ARMSTRONG
916 NE GLEN OAK AVE                      3740 ASHLEY WAY                      PO BOX 470272
PEORIA, IL 61603                         OWINGS MILLS, MD 21112               BROADVIEW HEIGHTS, OH 44147




ANNA SERBULOVA                           ANNA SERBULOVA                       ANTARES VISION NORTH AMERICA, LLC
36 COTTONWOOD DR                         36 COTTONWOOD DR                     5000 ATRIUM WAY
HOLLAND, PA 18966                        SOUTHAMPTON, PA 18966                SUIRE 3
                                                                              MOUNT LAUREL, NJ 08054
ANTHEM BLUE CROSS LIFE AND Case   19-11292-KG
                              HEALTH              Doc CROSS
                                          ANTHEM BLUE   14 Filed     06/10/19
                                                               LIFE AND HEALTH     Page 11 ofBLUE
                                                                                      ANTHEM  149CROSS LIFE AND HEALTH
INSURANCE COMPANY                         INSURANCE COMPANY                            INSURANCE COMPANY
C/O COPPERSMITH BROCKELMAN PLC            C/O ROBINS KAPLAN LLP                        C/O ROBINS KAPLAN LLP
ATTN KEITH BEAUCHAMP                      ATTN ANDREW JOEL CROWDER                     ATTN GEOFFREY HOLMES KOZEN
2800 N CENTRAL AVE., STE 1900             2800 LASALLE PLZ, 800 LASALLE AVE            2800 LASALLE PLZ, 800 LASALLE AVE
PHOENIX, AZ 85004                         MINNEAPOLIS, MN 55402                        MINNEAPOLIS, MN 55402


ANTHEM BLUE CROSS LIFE AND HEALTH         ANTHEM BLUE CROSS LIFE AND HEALTH            ANTHEM BLUE CROSS LIFE AND HEALTH
INSURANCE COMPANY                         INSURANCE COMPANY                            INSURANCE COMPANY
C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP                        C/O ROBINS KAPLAN LLP
ATTN JAMIE R KURTZ                        ATTN JEFFREY SULLIVAN GLEASON                ATTN JOSHUA BUCHANON STROM
2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE            2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402                        MINNEAPOLIS, MN 55402


ANTHEM BLUE CROSS LIFE AND HEALTH         ANTHEM HEALTH PLANS INC D/B/A ANTHEM         ANTHEM HEALTH PLANS INC D/B/A ANTHEM
INSURANCE COMPANY                         BLUE CROSS AND BLUE SHIELD OF                BLUE CROSS AND BLUE SHIELD OF
C/O ROBINS KAPLAN LLP                     CONNECTICUT                                  CONNECTICUT
ATTN THOMAS C MAHLUM                      C/O COPPERSMITH BROCKELMAN PLC               C/O ROBINS KAPLAN LLP
2800 LASALLE PLZ, 800 LASALLE AVE         ATTN KEITH BEAUCHAMP                         ATTN ANDREW JOEL CROWDER
MINNEAPOLIS, MN 55402                     2800 N CENTRAL AVE., STE 1900                2800 LASALLE PLZ, 800 LASALLE AVE
                                          PHOENIX, AZ 85004                            MINNEAPOLIS, MN 55402

ANTHEM HEALTH PLANS INC D/B/A ANTHEM      ANTHEM HEALTH PLANS INC D/B/A ANTHEM         ANTHEM HEALTH PLANS INC D/B/A ANTHEM
BLUE CROSS AND BLUE SHIELD OF             BLUE CROSS AND BLUE SHIELD OF                BLUE CROSS AND BLUE SHIELD OF
CONNECTICUT                               CONNECTICUT                                  CONNECTICUT
C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP                        C/O ROBINS KAPLAN LLP
ATTN GEOFFREY HOLMES KOZEN                ATTN JAMIE R KURTZ                           ATTN JEFFREY SULLIVAN GLEASON
2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE            2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402                        MINNEAPOLIS, MN 55402

ANTHEM HEALTH PLANS INC D/B/A ANTHEM      ANTHEM HEALTH PLANS INC D/B/A ANTHEM         ANTHEM HEALTH PLANS OF KENTUCKY INC
BLUE CROSS AND BLUE SHIELD OF             BLUE CROSS AND BLUE SHIELD OF                D/B/A ANTHEM BLUE CROSS AND BLUE
CONNECTICUT                               CONNECTICUT                                  SHIELD OF KENTUCKY
C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP                        C/O COPPERSMITH BROCKELMAN PLC
ATTN JOSHUA BUCHANON STROM                ATTN THOMAS C MAHLUM                         ATTN KEITH BEAUCHAMP
2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE            2800 N CENTRAL AVE., STE 1900
MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402                        PHOENIX, AZ 85004

ANTHEM HEALTH PLANS OF KENTUCKY INC       ANTHEM HEALTH PLANS OF KENTUCKY INC          ANTHEM HEALTH PLANS OF KENTUCKY INC
D/B/A ANTHEM BLUE CROSS AND BLUE          D/B/A ANTHEM BLUE CROSS AND BLUE             D/B/A ANTHEM BLUE CROSS AND BLUE
SHIELD OF KENTUCKY                        SHIELD OF KENTUCKY                           SHIELD OF KENTUCKY
C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP                        C/O ROBINS KAPLAN LLP
ATTN ANDREW JOEL CROWDER                  ATTN GEOFFREY HOLMES KOZEN                   ATTN JAMIE R KURTZ
2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE            2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402                        MINNEAPOLIS, MN 55402

ANTHEM HEALTH PLANS OF KENTUCKY INC       ANTHEM HEALTH PLANS OF KENTUCKY INC          ANTHEM HEALTH PLANS OF KENTUCKY INC
D/B/A ANTHEM BLUE CROSS AND BLUE          D/B/A ANTHEM BLUE CROSS AND BLUE             D/B/A ANTHEM BLUE CROSS AND BLUE
SHIELD OF KENTUCKY                        SHIELD OF KENTUCKY                           SHIELD OF KENTUCKY
C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP                        C/O ROBINS KAPLAN LLP
ATTN JEFFREY SULLIVAN GLEASON             ATTN JOSHUA BUCHANON STROM                   ATTN THOMAS C MAHLUM
2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE            2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402                        MINNEAPOLIS, MN 55402

ANTHEM HEALTH PLANS OF MAINE INC D/B/A    ANTHEM HEALTH PLANS OF MAINE INC D/B/A       ANTHEM HEALTH PLANS OF MAINE INC D/B/A
ANTHEM BLUE CROSS AND BLUE SHIELD OF      ANTHEM BLUE CROSS AND BLUE SHIELD OF         ANTHEM BLUE CROSS AND BLUE SHIELD OF
MAINE                                     MAINE                                        MAINE
C/O COPPERSMITH BROCKELMAN PLC            C/O ROBINS KAPLAN LLP                        C/O ROBINS KAPLAN LLP
ATTN KEITH BEAUCHAMP                      ATTN ANDREW JOEL CROWDER                     ATTN GEOFFREY HOLMES KOZEN
2800 N CENTRAL AVE., STE 1900             2800 LASALLE PLZ, 800 LASALLE AVE            2800 LASALLE PLZ, 800 LASALLE AVE
PHOENIX, AZ 85004                         MINNEAPOLIS, MN 55402                        MINNEAPOLIS, MN 55402

ANTHEM HEALTH PLANS OF MAINE INC D/B/A    ANTHEM HEALTH PLANS OF MAINE INC D/B/A       ANTHEM HEALTH PLANS OF MAINE INC D/B/A
ANTHEM BLUE CROSS AND BLUE SHIELD OF      ANTHEM BLUE CROSS AND BLUE SHIELD OF         ANTHEM BLUE CROSS AND BLUE SHIELD OF
MAINE                                     MAINE                                        MAINE
C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP                        C/O ROBINS KAPLAN LLP
ATTN JAMIE R KURTZ                        ATTN JEFFREY SULLIVAN GLEASON                ATTN JOSHUA BUCHANON STROM
2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE            2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402                        MINNEAPOLIS, MN 55402

ANTHEM HEALTH PLANS OF MAINE INC D/B/A    ANTHEM HEALTH PLANS OF NEW HAMSHIRE          ANTHEM HEALTH PLANS OF NEW HAMSHIRE
ANTHEM BLUE CROSS AND BLUE SHIELD OF      INC D/B/A ANTHEM BLUE CROSS AND BLUE         INC D/B/A ANTHEM BLUE CROSS AND BLUE
MAINE                                     CROSS OF NEW HAMSHIRE                        CROSS OF NEW HAMSHIRE
C/O ROBINS KAPLAN LLP                     C/O COPPERSMITH BROCKELMAN PLC               C/O ROBINS KAPLAN LLP
ATTN THOMAS C MAHLUM                      ATTN KEITH BEAUCHAMP                         ATTN ANDREW JOEL CROWDER
2800 LASALLE PLZ, 800 LASALLE AVE         2800 N CENTRAL AVE., STE 1900                2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402                     PHOENIX, AZ 85004                            MINNEAPOLIS, MN 55402
ANTHEM HEALTH PLANS OF NEW Case   19-11292-KG
                               HAMSHIRE            Doc 14PLANS
                                          ANTHEM HEALTH        Filed 06/10/19
                                                                 OF NEW  HAMSHIRE Page 12 ofHEALTH
                                                                                     ANTHEM    149 PLANS OF NEW HAMSHIRE
INC D/B/A ANTHEM BLUE CROSS AND BLUE      INC D/B/A ANTHEM BLUE CROSS AND BLUE       INC D/B/A ANTHEM BLUE CROSS AND BLUE
CROSS OF NEW HAMSHIRE                     CROSS OF NEW HAMSHIRE                      CROSS OF NEW HAMSHIRE
C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP                      C/O ROBINS KAPLAN LLP
ATTN GEOFFREY HOLMES KOZEN                ATTN JAMIE R KURTZ                         ATTN JEFFREY SULLIVAN GLEASON
2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE          2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402                      MINNEAPOLIS, MN 55402

ANTHEM HEALTH PLANS OF NEW HAMSHIRE       ANTHEM HEALTH PLANS OF NEW HAMSHIRE       ANTHEM HEALTH PLANS OF VIRGINIA INC
INC D/B/A ANTHEM BLUE CROSS AND BLUE      INC D/B/A ANTHEM BLUE CROSS AND BLUE      D/B/A ANTHEM BLUE CROSS AND BLUE
CROSS OF NEW HAMSHIRE                     CROSS OF NEW HAMSHIRE                     SHIELD OF VIRGINIA
C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP                     C/O COPPERSMITH BROCKELMAN PLC
ATTN JOSHUA BUCHANON STROM                ATTN THOMAS C MAHLUM                      ATTN KEITH BEAUCHAMP
2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE         2800 N CENTRAL AVE., STE 1900
MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402                     PHOENIX, AZ 85004

ANTHEM HEALTH PLANS OF VIRGINIA INC       ANTHEM HEALTH PLANS OF VIRGINIA INC       ANTHEM HEALTH PLANS OF VIRGINIA INC
D/B/A ANTHEM BLUE CROSS AND BLUE          D/B/A ANTHEM BLUE CROSS AND BLUE          D/B/A ANTHEM BLUE CROSS AND BLUE
SHIELD OF VIRGINIA                        SHIELD OF VIRGINIA                        SHIELD OF VIRGINIA
C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP
ATTN ANDREW JOEL CROWDER                  ATTN GEOFFREY HOLMES KOZEN                ATTN JAMIE R KURTZ
2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402

ANTHEM HEALTH PLANS OF VIRGINIA INC       ANTHEM HEALTH PLANS OF VIRGINIA INC       ANTHEM HEALTH PLANS OF VIRGINIA INC
D/B/A ANTHEM BLUE CROSS AND BLUE          D/B/A ANTHEM BLUE CROSS AND BLUE          D/B/A ANTHEM BLUE CROSS AND BLUE
SHIELD OF VIRGINIA                        SHIELD OF VIRGINIA                        SHIELD OF VIRGINIA
C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP
ATTN JEFFREY SULLIVAN GLEASON             ATTN JOSHUA BUCHANON STROM                ATTN THOMAS C MAHLUM
2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402

ANTHEM INSURANCE COMPANIES INC D/B/A      ANTHEM INSURANCE COMPANIES INC D/B/A      ANTHEM INSURANCE COMPANIES INC D/B/A
ANTHEM BLUE CROSS AND BLUE SHIELD OF      ANTHEM BLUE CROSS AND BLUE SHIELD OF      ANTHEM BLUE CROSS AND BLUE SHIELD OF
INDIANA                                   INDIANA                                   INDIANA
C/O COPPERSMITH BROCKELMAN PLC            C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP
ATTN KEITH BEAUCHAMP                      ATTN ANDREW JOEL CROWDER                  ATTN GEOFFREY HOLMES KOZEN
2800 N CENTRAL AVE., STE 1900             2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE
PHOENIX, AZ 85004                         MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402

ANTHEM INSURANCE COMPANIES INC D/B/A      ANTHEM INSURANCE COMPANIES INC D/B/A      ANTHEM INSURANCE COMPANIES INC D/B/A
ANTHEM BLUE CROSS AND BLUE SHIELD OF      ANTHEM BLUE CROSS AND BLUE SHIELD OF      ANTHEM BLUE CROSS AND BLUE SHIELD OF
INDIANA                                   INDIANA                                   INDIANA
C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP
ATTN JAMIE R KURTZ                        ATTN JEFFREY SULLIVAN GLEASON             ATTN JOSHUA BUCHANON STROM
2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402

ANTHEM INSURANCE COMPANIES INC D/B/A      ANTHONY BASILE                            ANTHONY F PUGLIESE
ANTHEM BLUE CROSS AND BLUE SHIELD OF      6944 WATERS END DRIVE                     1108 HALSTEAD AVE
INDIANA                                   CARLSBAD, CA 92011                        MAMARONECK, NY 10543
C/O ROBINS KAPLAN LLP
ATTN THOMAS C MAHLUM
2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402

ANTHONY GURRIERI                          ANTHONY H. GUARINO DBA                    ANTHONY L. KOVAC JR.
21683 S. 215TH PL.                        GUARINO EDUCATION SERVICES INC            9809 EAST 83 TERRACE
QUEEN CREEK, AZ 85142                     525 CONWAY VILLAGE DR.                    RAYTOWN, MO 64138
                                          SAINT LOUIS, MO 63141




ANTHONY MIMMS                             ANTHONY RAY BLANKS JR                     ANTHONY ROGERS
6325 S EAST ST                            1641 W WINCHESTER WAY                     PALM BEACH PAIN MANAGEMENT
INDIANAPOLIS, IN 46227                    CHANDLER, AZ 85286                        3618 LANTANA RDSUITE 200
                                                                                    LAKE WORTH, FL 33462




ANTON PORSTEINSSON                        AON (BERMUDA) LTD                         AON CONSULTING/RADFORD SURVEYS
25 PHEASANT HOLLOW                        PO BOX HM 2020                            PO BOX 100137
PITTSFORD, NY 14534                       HMHX                                      PASADENA, CA 91189-0137
                                          HAMILTON 441-295-2220
                                          BERMUDA
AON REED STENHOUSE INC      Case 19-11292-KG
                                         AON RISKDoc  14 Filed
                                                  INSURANCE SERVS06/10/19
                                                                 WEST        Page 13 ofSTAINLESS
                                                                                APACHE  149      EQUIPMENT
LOCKBOX #917370                           PO BOX 849832                          200 W INDUSTRIAL DR
P.O. BOX 4090 STN A                       LOS ANGELES, CA 90084-9832             BEAVER DAM, WI 53916
TORONTO, ON M5W 0E9
CANADA



APAP                                      APCER LIFE SCIENCES                    APEX PRODUCTION
222 S WESTMONTE DR                        3 INDEPENCE WAY                        309 MONAHANS DR.
SUITE 101                                 SUITE 300                              GEORGETOWN, TX 78628
ALTAMONTE SPRINGS, FL 32714               PRINCETON, NJ 08540




APF FBO ALL ABOUT PEOPLE                  APOGENICS, INC                         APPLIED BUSINESS COMMUNICATION
DEPT #34386                               14881 QUORUM DR                        213 OLD HIGHWAY 8 SW
PO BOX 39000                              SUITE 300                              NEW BRIGHTON, MN 55112
SAN FRANCISCO, CA 94139                   DALLAS, TX 75254




APPLIED BUSINESS COMMUNICATION            APPLIED INDUSTRIAL TECHNOLOGIES        APTAR CONGERS
213 OLD HIGHWAY 8 SW                      22510 NETWORK PLACE                    A DIVISION OF APTARGROUP INC
SAINT PAUL, MN 55112                      CHICAGO, IL 60673                      250 NORTH ROUTE 303
                                                                                 CONGERS, NY 10920-1408




APTAR GROUP INC                           APTAR GROUP INC                        APTAR GROUP INC
ATTN ALEX THEODORAKIS, PRES               ATTN ALEX THEODORAKIS, PRESIDENT       ATTN COO
APTAR PHARM PRESCRIPTION                  APTAR PHARMA NA                        475 W TERRA COTTA AVE, STE E
262 EXCHANGE DR, STE 100                  475 W TERRA COTTA AVE, STE E           CRYSTAL LAKE, IL 60014-9695
CRYSTAL LAKE, IL 60014                    CRYSTAL LAKE, IL 60014-9695



APTAR GROUP INC                           APTAR PHARMA FRANCE SAS                APTAR PHARMA GERMANY
C/O APTAR CONGERS                         ROUTE DES FALAISES                     APTAR RADOLFZELL GMBH
ATTN PRESIDENT, APTAR PHARMA NA           LE VAUDREUIL 27110                     OSCHLESTRASSE XX-XXXXXXX
250 NORTH ROUTE 303                       FRANCE                                 RADOLFZELL
CONGERS, NJ 10920-1408                                                           GERMANY



APTTUS                                    APURV AGRAWAL                          AQUALOGIC WATER CONSULTING LLC
APTTUS CORPORATION                        47 BRISTOL RD                          16238 HWY 620
1400 FASHION ISLAND BLVD., SUITE 100      ENGLISHTOWN, NJ 07726                  STE F-232
SAN MATEO, CA 94404                                                              AUSTIN, TX 78717




ARAMARK                                   ARCHITECTURAL DIVISION 8 INC           ARCHON INDUSTRIES INC
AUS WEST LOCKBOX                          2425 BROCKTON #101                     357 SPOOK ROCK RD
P.O.BOX 101179                            SAN ANTONIO, TX 78217                  I-505
PASADENA, CA 91189                                                               SUFFERN, NY 10901




ARENT FOX LLP                             ARGO INTERNATIONAL CORPORATION         ARIEL AVILA
PO BOX 644672                             PO BOX 826706                          1113 E 31ST ST
PITTSBURGH, PA 15264-4672                 PHILADELPHIA, PA 19182-6706            AUSTIN, TX 78722




ARIEL CLARK                               ARIEL MAJJHOO                          ARIF H KAMAL
3546 E PRESIDIO CIRCLE                    517 JAMES CIRCLE                       210 GRADUATE COURT
MESA, AZ 85213                            ROYAL OAK, MI 48067                    DURHAM, NC 27713
                         Case 19-11292-KG
ARIF KAMAL (FACULTY CONNECTION)               Doc
                                      ARIYAPADI    14 Filed
                                                N KRISHNARAJ       06/10/19   Page 14 of BANK
                                                                                 ARIZONA 149 & TRUST
ATTN: ARIF KAMAL                      20 MAISON PLACE                             ATTN TROY R. NORRIS, SVP
PO BOX 3218                           VOORHEES, NJ 08043                          1000 N 54 ST
DURHAM, NC 27713                                                                  CHANDLER, AZ 85226




ARIZONA BIOINDUSTRY                      ARIZONA BOARD OF REGENTS, THE            ARIZONA CHAMBER OF COMMERCE &
ASSOCIATION, INC.                        ATTN MICHAEL D. DAKE, MD, SVP, UA        INDUSTRY
107 S. SOUTHGATE DR.                     HEALTH SCIENCES                          3200 N CENTRAL AVE SUITE 1125
CHANDLER, AZ 85226                       888 NORTH EUCLID AVE, RM 510             PHOENIX, AZ 85012
                                         TUCSON, AZ 85719



ARIZONA CORPORATION COMMISSION           ARIZONA DEPARTMENT OF REVENUE            ARIZONA DEPARTMENT OF
CORPORATE FILINGS SECTION                P.O. BOX 29085                           ECONOMIC SECURITY
1300 WEST WASHINGTON STR 1ST FLOOR       PHOENIX, AZ 85038-9085                   PO BOX 6028
PHOENIX, AZ 85007                                                                 PHOENIX, AZ 85005




ARIZONA DEPT OF ENVIRONMENTAL            ARIZONA GRAND RESORT, LLC                ARIZONA LOCK & SAFE CO, INC.
DEPT OF ENVIRONMENTAL QUALITY            PO BOX 846614                            3610 WEST VAN BUREN ST.
PO BOX 18228                             LOS ANGELES, CA 90084                    PHOENIX, AZ 85009
PHOENIX, AZ 85005




ARIZONA MYELOMA NETWORK                  ARIZONA OFFICE TECHNOLOGIES              ARIZONA PROTECTION AGENCY
20280 N 59TH AVE                         PO BOX 29623                             8436 EAST SHEA BLVD
SUITE 115 #448                           PHOENIX, AZ 85038                        SCOTTSDALE, AZ 85260
GLENDALE, AZ 85308




ARIZONA RESEARCH CENTER                  ARIZONA SEALING DEVICES INC              ARIZONA STATE BOARD OF PHARMACY
2525 W GREENWAY RD SUITE 114             150 E. ALAMO DR.                         ATTN: KAMLESH "KAM" GANDHI, EXE. DIR.
PHOENIX, AZ 85023                        SUITE 4                                  PO BOX 18520
                                         CHANDLER, AZ 85225                       PHOENIX, AZ 85005-8520




ARIZONANS FOR RESPONSIBLE DRUG           ARKANSAS CHILDREN'S RESEARCH             ARKANSAS DEPT OF FINANCE AND ADMIN
POLICY                                   INSTITUTE                                CORP INCOME TAX SECTION
ATTN: CORINNE LOVAS                      13 CHILDREN'S WAY                        PO BOX 919
6635 W HAPPY VALLEY RD STE A104 #198     LITTLE ROCK, AR 72202                    LITTLE ROCK, AR 72203-0919
GLENDALE, AZ 85310



ARKANSAS STATE BOARD OF PHARMACY         ARMADA HEALTH CARE LLC                   ARMANDO SANCHEZ
ATTN: JOHN CLAY KIRTLEY, EXE. DIRECTOR   200 PARK AVE SUITE 300                   8203 SETTING MOON
322 S MAIN ST, SUITE 600                 FLORHAM PARK, NJ 07932                   SAN ANTONIO, TX 78255
LITTLE ROCK, AR 72201




ARTHUR FREELAND                          ARTHUR J WHELAN-GONZALES                 ARTIC AIR HEATING AND COOLING
3127 S LEWIS AVE                         1780 E. BUFFALO STREET                   1720 E DEER VALLEY RD
TULSA, OK 74105                          CHANDLER, AZ 85225                       SUITE 105
                                                                                  PHOENIX, AZ 85024




ARTISAN INDUSTRIES INC.                  ASHISH UDHRAIN                           ASHISHKUMAR T. CHOKSHI
44 CAMPANELLI PARKWAY                    1125 DELACHAISE ST                       1320 N MCQUEEN RD
STOUGHTON, MA 02072-3704                 NEW ORLEANS, LA 70115                    APT 1057
                                                                                  CHANDLER, AZ 85225
                       Case
ASHLEE HARTZOG HUTCHINSON          19-11292-KG     Doc 14 Filed 06/10/19
                                           ASHLEE LOCKHART                      Page 15 ofN149
                                                                                   ASHLEE  N MURPHY
1206 NEW HAMPSHIRE AVE                     3516 S COLORADO ST                      3625 CHEYENNE ST
LYNN HAVEN, FL 32444                       CHANDLER, AZ 85286                      ROUND ROCK, TX 78665




ASHLEY A CASTRO                            ASHLEY BRAWLEY GILBERT                  ASHOK J CHAVAN
12916 WIDGE DRIVE                          14703 COUNTRY LAKE DRIVE                5326 W JUPITER WAY
AUSTIN, TX 78727                           PINEVILLE, NC 28134                     CHANDLER, AZ 85226




ASKE SOLUTIONS LLC                         ASPEN ELECTRIC LLC                      ASPMN ST. LOUIS REGIONAL CHAPTER
1102 CLERMONT AVE                          570 W SOUTHERN AVE                      ATTN: GAIL HURT
AUSTIN, TX 78702                           TEMPE, AZ 85282                         5200 MIAMI
                                                                                   SAINT LOUIS, MO 63139




ASSA ABLOY ENTRANCE SYSTEMS                ASSOCIATED INDUSTRIES INSURANCE         ASSOCIATED PHARMACIES INC
P.O. BOX 827375                            COMPANY                                 201 LONNIE E. CRAWFORD BOULEVARD
PHILADELPHIA, PA 19182                     PO BOX 812319                           SCOTTSBORO, AL 35769
                                           BOCA RATON, FL 33481-2319




ASTRO                                      AT&T                                    ATLANTIC NEUROSCIENCE INST.
PO BOX 417217                              PO BOX 105414                           PAIN MGMT CTR
BOSTON, MA 02241-7217                      ATLANTA, GA 30348-5414                  11 OVERLOOK RD, SUITE B110
                                                                                   SUMMIT, NJ 07901




ATLAS COPCO COMPRESSORS LLC                ATMOS ENERGY                            ATMOS ENERGY
DEPT CH 19511                              P.O. BOX 790311                         THREE LINCOLN, SUITE 1800
PALATINE, IL 60055-9511                    SAINT LOUIS, MO 63179-0311              5430 LBJ FREEWAY
                                                                                   DALLAS, TX 75240




ATTAIN MED INC                             ATUL BUTALA                             AUBURN PHARMACEUTICAL COMPANY
5825 GLENRIDGE DR NE                       301 HERON CT.                           2360 BELLINGHAM DRIVE
BUILDING 4 SUITE 106                       NEW HARTFORD, NY 13413                  TROY, MI 48083
ATLANTA, GA 30328




AUDIO VISUAL CONSULTATIONS                 AUDITBOARD INC                          AULTMAN HOSPITAL
1308 CHISHOLM TRAIL                        12800 CENTER COURT DRIVE S.             C/O LISA REALE , CTR, 2600 6TH ST
UNIT 112                                   SUITE 100                               SW
ROUND ROCK, TX 78681                       CERRITOS, CA 90703                      CANTON, OH 44710




AUROBINDO PHARMA LTD                       AUSTRALIAN EPILEPSY CLINICAL TRIAL      AUTISM SPEAKS INC
WATER MARK BUILDING, PLOT NO. 11           NETWORK                                 1 EAST 33RD STREET
SURVEY NO. 9, KONDAPUR                     ATTN TINA SOULIS, CEO                   NEW YORK, NY 10016
HITECH CITY, HYDERABAD                     C/O NEUROSCIENCE TRIALS AUSTRALIA
TELANGANA 500 084 INDIA                    245 BURGUNDY STREET
                                           HEIDELBERG, VIC 3084 AUSTRALIA


AVANTI POLAR LIPIDS, INC                   AVELINO AFONSO                          AVELLA OF COLUMBUS, INC.
700 INDUSTRIAL PARK DR.                    11 WATSON LANE                          4830 KNIGHTSBRIDGE BLVD
ALABASTER, AL 35007                        LUDLOW, MA 01056                        STE C
                                                                                   COLUMBUS, OH 43214
AVELLA OF DEER VALLEY INC Case 19-11292-KG
                                       AVELLA OFDoc
                                                  DEER14VALLEY
                                                           Filed
                                                               INC 06/10/19    Page 16 ofOF149
                                                                                  AVELLA    DEER VALLEY, INC
D/B/A AVELLA SPECIALTY PHARMACY        D/B/A AVELLA SPECIALTY PHARMACY             D.B.A. AVELLA SPECIALTY PHARMACY
ATTN OFFICE OF GENERAL COUNSEL         ATTN OFFICE OF GENERAL COUNSEL              24416 N. 19TH AVENUE
1606 W WHISPERING WIND RD, 2 FLR       24416 N 19 AVE                              PHOENIX, AZ 85085-0678
PHOENIX, AZ 85085                      PHOENIX, AZ 85085



AVELLA OF DEER VALLEY, INC.                AVESTIN, INC.                           AVISON YOUNG - TEXAS, LLC
D.B.A. AVELLA SPECIALTY PHARMACY           2450 DON REID DRIVE                     515 CONGRESS AVE.
24416 N. 19TH AVENUE                       OTTAWA, ON K1H 1E1                      SUITE 1500
PHOENIX, AZ 85085-0678                     CANADA                                  ATTN: ACCOUNTS RECEIVABLE
                                                                                   AUSTIN, TX 78701



AVNER GRIVER                               AVR WHEELING HOTEL TENANT LLC           AWC INC.
ONE FAIRMONT CIRCLE                        ATTN REBEKAH DI VENERE                  PO BOX 974800
CLARKS SUMMIT, PA 18411                    SENIOR SALES MANAGER                    DALLAS, TX 75397-4800
                                           601 N MILWAUKEE AVE
                                           WHEELING, IL 60090



AWS RECRUITING, LLC                        AX FOR PHARMA NORTH AMERICA LLC         AX FOR PHARMA NORTH AMERICA
1 NORTH 1ST STREET, SUITE #643             2100 EAST BAY DRIVE                     ATTN MASSIMO CRUDELI, GLOBAL
PHOENIX, AZ 85004                          LARGO, FL 33771                         PRESALES MGR
                                                                                   2100 E BAY DR, STE 213
                                                                                   LARGO, FL 33771



AXIS INSURANCE CO                          AXIS TOOLS AND MANUFACTURING            AXISCARE HEALTH LOGISTICS, INC.
ATTN GENERAL COUNSEL                       2212 INVESTMENT DR                      PEPSI INDUSTRIAL PARK
11680 GREAT OAKS WAY, STE 500              PFLUGERVILLE, TX 78660                  PR#2-KM19.5
ALPHARETTA, GA 30022                                                               TOA BAJA 00949
                                                                                   PUERTO RICO



AXON LLC                                   AXWAY, INC.                             AZ TECH FINDERS
PO BOX 73211                               DEPT 0469                               6930 East Chauncey Lane
CLEVELAND, OH 44193                        PO BOX 120469                           Suite 250
                                           DALLAS, TX 75312                        Phoenix, AZ 85054




AZBIL NORTH AMERICA, INC.                  AZMI NASSER                             AZRIEL HIRSCHFELD
9033 N. 24TH AVE.                          4832 E MITCHELL DR                      705 CAFFREY AVE
SUITE #5                                   PHOENIX, AZ 85018                       FAR ROCKAWAY, NY 11691
PHOENIX, AZ 85021




BABICH, MICHAEL                            BABICH, MICHAEL                         BABICH, MICHAEL
C/O CRAVATH SWAINE & MOORE LLP             C/O CRAVATH SWAINE & MOORE LLP          C/O CRAVATH SWAINE & MOORE LLP
ATTN DANIEL SLIFKIN                        ATTN DAVID M STUART                     ATTN MORGAN J COHEN
825 8TH AVE                                825 8TH AVE                             825 8TH AVE
NEW YORK, NY 10019                         NEW YORK, NY 10019                      NEW YORK, NY 10019



BABICH, MICHAEL                            BABICH, MICHAEL                         BABICH, MICHAEL
C/O SNELL & WILMER LLP                     C/O SNELL & WILMER LLP                  C/O SNELL & WILMER LLP
ATTN ANTHONY TOM KING                      ATTN DONALD WAYNE BIVENS                ATTN NICOLE ELIZABETH SORNSIN
400 E VAN BUREN                            1 ARIZONA CENTER, 400 E VAN BUREN       1 ARIZONA CENTER, 400 E VAN BUREN
PHOENIX, AZ 85004                          PHOENIX, AZ 85004                       PHOENIX, AZ 85004



BAHAMAS PHARMACY COUNCIL                   BAKER TILLY                             BAKER, DARRYL S
ATN: A.T. VANRIA ROLLE, PHARMD, MHA, RPH   BOX 78975                               C/O CRAVATH SWAINE & MOORE LLP
REGISTRAR; #23 CAPITAL HOUSE, CORNER       MILWAUKEE, WI 53278-8975                ATTN DANIEL SLIFKIN
OF                                                                                 825 8TH AVE
VIRGINIA & AUGUSTA STS; PO BOX N-4460                                              NEW YORK, NY 10019
NP BAHAMAS
BAKER, DARRYL S         Case      19-11292-KG     Doc 14
                                          BAKER, DARRYL S     Filed 06/10/19      Page 17 ofDARRYL
                                                                                     BAKER,  149 S
C/O CRAVATH SWAINE & MOORE LLP             C/O CRAVATH SWAINE & MOORE LLP            C/O SNELL & WILMER LLP
ATTN DAVID M STUART                        ATTN MORGAN J COHEN                       ATTN ANTHONY TOM KING
825 8TH AVE                                825 8TH AVE                               400 E VAN BUREN
NEW YORK, NY 10019                         NEW YORK, NY 10019                        PHOENIX, AZ 85004



BAKER, DARRYL S                            BAKER, DARRYL S                           BAKER, DONELSON, BEARMAN, CALDWELL
C/O SNELL & WILMER LLP                     C/O SNELL & WILMER LLP                    & BERKOWITZ, PC
ATTN DONALD WAYNE BIVENS                   ATTN NICOLE ELIZABETH SORNSIN             100 LIGHT STREET
1 ARIZONA CENTER, 400 E VAN BUREN          1 ARIZONA CENTER, 400 E VAN BUREN         BALTIMORE, MD 21202
PHOENIX, AZ 85004                          PHOENIX, AZ 85004



BALDWINLAW LLC                             BALLARD SPAHR LLP                         BALLARD SPAHR LLP
111 SOUTH CALVERT STREET                   1 EAST WASHINGTON STREET, SUITE 2500      1735 MARKET STREET 51ST FLOOR
SUITE 1805                                 PHOENIX, AZ 85004-2555                    PHILADELPHIA, PA 19103
BALTIMORE, MD 21202




BANNER HEALTH                              BANNER-UNIVERSITY MEDICAL CENTER          BARBARA ANNE BIEDRZYCKI
ATTN ERIC RAIMAN, MD, CEO/CSO              TUCSON CAMPUS LLC                         709 WEST BAKER AVE.
2901 N CENTRAL AVE, STE 160                ATTN ERIC RAIMAN, MD, CEO/CSO             ABINGDON, MD 21009
PHOENIX, AZ 85012                          1501 NORTH CAMPBELL AVE
                                           TUCSON, AZ 85724



BARBARA CALDWELL                           BARBARA CALDWELL                          BARBARA ROGERS
5808 SAGAMORE CANYON ST.                   5808 SAGAMORE CANYON ST.                  2206 LILLIAN DR.
LAS VEGAS, NV 89081                        NORTH LAS VEGAS, NV 89081                 BENSALEM, PA 19020




BARCODES, INC                              BARO HOLDINGS, INC.                       BARRY FIRSTENBERG
PO BOX 0776                                PO BOX 712465                             1451 COTTONWOOD VALLEY CT.
CHICAGO, IL 60690                          CINCINNATI, OH 45271-2465                 IRVING, TX 75038




BARTH WILSEY                               BASF CORPORATION                          BASIC (COBRA)
4725 MARLBOROUGH WAY                       P.O. BOX 121151                           PO BOX 775339
CARMICHAEL, CA 95608                       DALLAS, TX 75312-1151                     CHICAGO, IL 60677




BASIC (COBRA)                              BAXTER HEALTHCARE CORPORATION             BAY INSULATION OF TEXAS
PO BOX 775339                              PO BOX 100714                             2929 WALKER DR
CHICAGO, IL 60677-5339                     PASADENA, CA 91189                        GREEN BAY, WI 54308




BAYLORSCOTT & WHITE                        BDO USA, LLP                              BEAT KNUSEL
3500 GASTON AVENUE                         PO BOX 677973                             862 DANVERS CIRCLE
DALLAS, TX 75246-2017                      DALLAS, TX 75267-7973                     NEWBURY PARK, CA 91320




BEAZLEY INSURANCE COMPANY, INC.            BECKLOFF ASSOCIATES INC                   BECKMAN COULTER, INC
30 BATTERSON PARK ROAD                     COMMERCE PLAZA II, 7400 W 110 ST          DEPT. CH 10164
FARMINGTON, CT 06032                       OVERLAND PARK, KS 66210-2359              PALATINE, IL 60055-0164
BECKY BONDS               Case 19-11292-KG    Doc 14
                                       BECKY HAAS           Filed 06/10/19     Page 18 ofDRUG
                                                                                  BELLCO  149CORP
1702 RIVER CHASE BLVD                  103 IDLEWOOD DR.                           5500 NEW HORIZONS BOULEVARD
MADISON, TN 37115                      STAMFORD, CT 06905                         N AMITYVILLE, NY 11701




BELLCO DRUG CORP                       BELLCO HEALTH CORP                         BELLO WELSH LLP
ATTN SVP SUPPLY CHAIN                  5500 NEW HORIZONS BOULEVARD                125 SUMMER STREET SUITE 1200
5500 NEW HORIZONS BLVD                 N AMITYVILLE, NY 11701                     BOSTON, MA 02110
N AMITYVILLE, NY 11701




BEMIS HEALTHCARE PACKAGING             BENCE TOTH                                 BENCHMARK LANDSCAPES LLC
24815 NETWORK PLACE                    1401 HESTERS CROSSING RD                   1814 W HOWARD LN
CHICAGO, IL 60673-1248                 APT. 12304                                 AUSTIN, TX 78728
                                       ROUND ROCK, TX 78681




BENCHMARK SPECIALTIES INC.             BENEDICT BENIGNO                           BENEFIT ADMINISTRATIVE SERVICES
P.O. BOX 75                            960 JOHNSON FERRY RD                       INTERNATIONAL CORP
FAYETTEVILLE, TX 78940                 STE 130                                    9246 PORTAGE INDUSTRIAL RD
                                       ATLANTA, GA 30342                          PORTAGE, MI 49024-6176




BENJAMIN DUCKLES                       BENJAMIN G. CAMERANSI, MD, PA              BENJAMIN M ELLINGSON
47 GILL RD                             PO BOX 4564                                1923 BELMONT LANE, APT B
HADDONFIELD, NJ 08033                  PAWLEYS ISLAND, SC 29585                   REDONDO BEACH, CA 90278




BENNETT HAGEN PARTNERS                 BENNETT, DAVID                             BENNETT, DAVID
14828 W 6 AVE STE 16B                  C/O PHILLIP KIM                            C/O RICHARD GLENN HIMELRICK
RM 3                                   240 TOWNSEND SQ                            240 TOWNSEND SQ
GOLDEN, CO 80401-5000                  OYSTER BAY, NY 11771                       OYSTER BAY, NY 11771




BENNETT, DAVID                         BENSON SECURITY SYSTEMS, INC.              BERG COMPLIANCE SOLUTIONS, LLC
C/O TIMOTHY W BROWN                    2065 W. OBISPO AVE #101                    8133 MESA DRIVE
240 TOWNSEND SQ                        GILBERT, AZ 85233                          STE 204
OYSTER BAY, NY 11771                                                              AUSTIN, TX 78759




BERKE GROUP LLC                        BERKELEY CONTRACT PACKAGNG LLC             BERKELEY RESEARCH GROUP, LLC
308 N MAIN STREET SUITE B-200          530 N MICHIGAN AVE                         2200 POWELL STREET, SUITE 1200
CHALFONT, PA 18914                     KENILWORTH, NJ 07033                       EMERYVILLE, CA 94608




BERKELEY RESEARCH GROUP, LLC           BERKLEY INSURANCE CO                       BERLIN PACKAGING LLC
LAURA DORMAN, MANAGING DIRECTOR &      ATTN KRISTIN L. PIERCE, REGIONAL MNGR      PO BOX 95584
ASSOC. GENERAL COUNSEL                 425 N MARTINGALE RD                        CHICAGO, IL 60694
2200 POWELL STREET                     SCHAUMBURG, IL 60173
SUITE 1200
EMERYVILLE, CA 94608


BERNARD FOX                            BERNARD WILCOSKY                           BERRY CONSULTANTS LLC
15230 NW MITCHELL ST                   801 BREWSTER AVE                           ATTN SHAWN ANDERSSON, VP, FINANCE &
PORTLAND, OR 97227                     #245                                       OPS
                                       REDWOOD CITY, CA 94063                     3345 BEE CAVES RD, STE 201
                                                                                  AUSTIN, TX 78746
BERRY PLASTICS            Case    19-11292-KG    Doc 14LIMITED
                                          BESPAK EUROPE    Filed 06/10/19   Page 19 of 149
                                                                               BESSEMER TRUST COMPANY OF
DEPT 710004                                BERGEN WAY                          DELAWARE N A TR UA 02/27/2018 VOTING
PO BOX 514670                              KINGS LYNN                          TRUST
LOS ANGELES, CA 90051-4670                 NORFOLK PE30 2JJ                    C/O BESSEMER TRUST COMPANY OF
                                           UNITED KINGDOM                      DELAWARE N A
                                                                               1007 NORTH ORANGE STREET
                                                                               WILMINGTON, DE 19801

BESSEMER TRUST COMPANY, N.A.               BETH ANN PATRIZI                    BETTY SETO
100 WOODBRIDGE CENTER DRIVE                6532 HARTLAND STREET                5272 W VILLAGE DRIVE
ATTN: FEE DEPARTMENT                       FORT MYERS, FL 33966                GLENDALE, AZ 85308
WOODBRIDGE, NJ 07095




BHARATH KUMAR POGULA                       BHASKARA JASTI                      BIGSPEAK, INC.
610 GREENHILL DR                           3513 GLENEAGLES DR.                 23 S HOPE AVE SUITE E
APT 10206                                  STOCKTON, CA 95219                  SANTA BARBARA, CA 93105
ROUND ROCK, TX 78665




BILL'S KEY & LOCK SERVICE, INC.            BILLY MCLAUGHLIN                    BILLY MCLAUGHLIN
148 W ORION STREET SUITE C-2               3865 WHITE BEAR AVE                 3865 WHITE BEAR AVE
TEMPE, AZ 85283-5603                       SAINT PAUL, MN 55110                WHITE BEAR LAKE, MN 55110




BILLY TODD BOLAND                          BIO POLICY INNOVATIONS              BIOCLINICA INC
117 CLUB WAY                               4340 PACIFIC HIGHWAY SUITE 206      ATTN OFFICE OF THE CEO
ENTERPRISE, AL 36330                       BELLINGHAM, WA 98226                211 CARNEGIE CENTER DR
                                                                               PRINCETON, NJ 08540




BIOCLINICA INC                             BIOCOLD ENVIRONMENTAL INC           BIOLAB EQUIPMENT LIMITED
ATTN OFFICE OF THE GENERAL COUNSEL         160 OLD STATE RD                    6-3250 HARVESTER RD. UNIT 6
211 CARNEGIE CENTER DR                     BALLWIN, MO 63021                   BURLINGTON, ON L7N 3W9
PRINCETON, NJ 08540                                                            CANADA




BIOMETRIX CORPORATION                      BIOPOLICY INNOVATIONS               BIORECLAMATIONIVT, LLC
7 MONUMENT ST                              1608 S. ASHLAND AVE #42642          PO BOX 770
WENHAM, MA 01984                           CHICAGO, IL 60608                   HICKSVILLE, NY 11802




BIORELIANCE CORPORATION                    BIOSPACE, INC.                      BIOTECH RESEARCH GROUP CORPORATION
14920 BROSCHART ROAD                       12150 MEREDITH DRIVE                3810 GUNN HIGHWAY
ROCKVILLE, MD 20850                        URBANDALE, IA 50323                 TAMPA, FL 33618




BIOTECH RESEARCH GROUP INC                 BITTMAN BIOSTAT, INC.               BLANK ROME LLP
ATTN MIKEL ALBERDI                         9047 CHERRY OAKS TRAIL              300 CARNEGIE CENTER, SUITE 220
VP OF REGULATORY AFFAIRS                   #202                                ATTN: FINANCE DEPARTMENT
3810 GUNN HWY                              NAPLES, FL 34114                    PRINCETON, NJ 08540
TAMPA, FL 33618



BLOODWORTH WHOLESALE DRUGS INC             BLUE CROSS AND BLUE SHIELD          BLUE CROSS AND BLUE SHIELD
2128 YANK LAMB RD                          HEALTHCARE PLAN OF GEORGIA INC      HEALTHCARE PLAN OF GEORGIA INC
TIFTON, GA 31793                           C/O COPPERSMITH BROCKELMAN PLC      C/O ROBINS KAPLAN LLP
                                           ATTN KEITH BEAUCHAMP                ATTN ANDREW JOEL CROWDER
                                           2800 N CENTRAL AVE., STE 1900       2800 LASALLE PLZ, 800 LASALLE AVE
                                           PHOENIX, AZ 85004                   MINNEAPOLIS, MN 55402
BLUE CROSS AND BLUE SHIELD Case     19-11292-KG    DocAND
                                            BLUE CROSS 14BLUE
                                                            Filed 06/10/19
                                                              SHIELD              Page 20CROSS
                                                                                     BLUE of 149
                                                                                               AND BLUE SHIELD
HEALTHCARE PLAN OF GEORGIA INC              HEALTHCARE PLAN OF GEORGIA INC            HEALTHCARE PLAN OF GEORGIA INC
C/O ROBINS KAPLAN LLP                       C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP
ATTN GEOFFREY HOLMES KOZEN                  ATTN JAMIE R KURTZ                        ATTN JEFFREY SULLIVAN GLEASON
2800 LASALLE PLZ, 800 LASALLE AVE           2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402                       MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402


BLUE CROSS AND BLUE SHIELD                  BLUE CROSS AND BLUE SHIELD                BLUE CROSS AND BLUE SHIELD OF
HEALTHCARE PLAN OF GEORGIA INC              HEALTHCARE PLAN OF GEORGIA INC            GEORGIA INC
C/O ROBINS KAPLAN LLP                       C/O ROBINS KAPLAN LLP                     C/O COPPERSMITH BROCKELMAN PLC
ATTN JOSHUA BUCHANON STROM                  ATTN THOMAS C MAHLUM                      ATTN KEITH BEAUCHAMP
2800 LASALLE PLZ, 800 LASALLE AVE           2800 LASALLE PLZ, 800 LASALLE AVE         2800 N CENTRAL AVE., STE 1900
MINNEAPOLIS, MN 55402                       MINNEAPOLIS, MN 55402                     PHOENIX, AZ 85004


BLUE CROSS AND BLUE SHIELD OF               BLUE CROSS AND BLUE SHIELD OF             BLUE CROSS AND BLUE SHIELD OF
GEORGIA INC                                 GEORGIA INC                               GEORGIA INC
C/O ROBINS KAPLAN LLP                       C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP
ATTN ANDREW JOEL CROWDER                    ATTN GEOFFREY HOLMES KOZEN                ATTN JAMIE R KURTZ
2800 LASALLE PLZ, 800 LASALLE AVE           2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402                       MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402


BLUE CROSS AND BLUE SHIELD OF               BLUE CROSS AND BLUE SHIELD OF             BLUE CROSS AND BLUE SHIELD OF
GEORGIA INC                                 GEORGIA INC                               GEORGIA INC
C/O ROBINS KAPLAN LLP                       C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP
ATTN JEFFREY SULLIVAN GLEASON               ATTN JOSHUA BUCHANON STROM                ATTN THOMAS C MAHLUM
2800 LASALLE PLZ, 800 LASALLE AVE           2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402                       MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402


BLUE CROSS BLUE SHIELD OF WISCONSIN         BLUE CROSS BLUE SHIELD OF WISCONSIN       BLUE CROSS BLUE SHIELD OF WISCONSIN
D/B/A ANTHEM BLUE CROSS AND BLUE            D/B/A ANTHEM BLUE CROSS AND BLUE          D/B/A ANTHEM BLUE CROSS AND BLUE
SHIELD OF WISCONSIN                         SHIELD OF WISCONSIN                       SHIELD OF WISCONSIN
C/O COPPERSMITH BROCKELMAN PLC              C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP
ATTN KEITH BEAUCHAMP                        ATTN ANDREW JOEL CROWDER                  ATTN GEOFFREY HOLMES KOZEN
2800 N CENTRAL AVE., STE 1900               2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE
PHOENIX, AZ 85004                           MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402

BLUE CROSS BLUE SHIELD OF WISCONSIN         BLUE CROSS BLUE SHIELD OF WISCONSIN       BLUE CROSS BLUE SHIELD OF WISCONSIN
D/B/A ANTHEM BLUE CROSS AND BLUE            D/B/A ANTHEM BLUE CROSS AND BLUE          D/B/A ANTHEM BLUE CROSS AND BLUE
SHIELD OF WISCONSIN                         SHIELD OF WISCONSIN                       SHIELD OF WISCONSIN
C/O ROBINS KAPLAN LLP                       C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP
ATTN JAMIE R KURTZ                          ATTN JEFFREY SULLIVAN GLEASON             ATTN JOSHUA BUCHANON STROM
2800 LASALLE PLZ, 800 LASALLE AVE           2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402                       MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402

BLUE CROSS BLUE SHIELD OF WISCONSIN         BLUE CROSS OF CALIFORNIA INC D/B/A        BLUE CROSS OF CALIFORNIA INC D/B/A
D/B/A ANTHEM BLUE CROSS AND BLUE            ANTHEM BLUE CROSS OF CALIFORNIA           ANTHEM BLUE CROSS OF CALIFORNIA
SHIELD OF WISCONSIN                         C/O COPPERSMITH BROCKELMAN PLC            C/O ROBINS KAPLAN LLP
C/O ROBINS KAPLAN LLP                       ATTN KEITH BEAUCHAMP                      ATTN ANDREW JOEL CROWDER
ATTN THOMAS C MAHLUM                        2800 N CENTRAL AVE., STE 1900             2800 LASALLE PLZ, 800 LASALLE AVE
2800 LASALLE PLZ, 800 LASALLE AVE           PHOENIX, AZ 85004                         MINNEAPOLIS, MN 55402
MINNEAPOLIS, MN 55402

BLUE CROSS OF CALIFORNIA INC D/B/A          BLUE CROSS OF CALIFORNIA INC D/B/A        BLUE CROSS OF CALIFORNIA INC D/B/A
ANTHEM BLUE CROSS OF CALIFORNIA             ANTHEM BLUE CROSS OF CALIFORNIA           ANTHEM BLUE CROSS OF CALIFORNIA
C/O ROBINS KAPLAN LLP                       C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP
ATTN GEOFFREY HOLMES KOZEN                  ATTN JAMIE R KURTZ                        ATTN JEFFREY SULLIVAN GLEASON
2800 LASALLE PLZ, 800 LASALLE AVE           2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402                       MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402


BLUE CROSS OF CALIFORNIA INC D/B/A          BLUE CROSS OF CALIFORNIA INC D/B/A        BLUEC STUDIO, LLC
ANTHEM BLUE CROSS OF CALIFORNIA             ANTHEM BLUE CROSS OF CALIFORNIA           PO BOX 1134
C/O ROBINS KAPLAN LLP                       C/O ROBINS KAPLAN LLP                     SOUTHPORT, CT 06890-2134
ATTN JOSHUA BUCHANON STROM                  ATTN THOMAS C MAHLUM
2800 LASALLE PLZ, 800 LASALLE AVE           2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402                       MINNEAPOLIS, MN 55402


BO LIU                                      BOARD OF EDUCATION FOR MEDINA CITY        BOARD OF REGENTS OF UNIVERSITY OF
13574 SILVER IVY LANE                       SCHOOL DISTRICT ORIGINALLY NAMED          OKLAHOMA HEALTH SCIENCE CTR
SAN DIEGO, CA 92129                         ASMEDINA CITY BOARD OF EDUCATION          ATTN OFFICE OF RESEARCH ADMIN
                                            739 WEYMOUTH ROAD                         865 RESEARCH PKWY, URP865-450
                                            MEDINA, OH 44256                          OKLAHOMA CITY, OK 73104
                        Case OF
BOARD OF REGENTS OF UNIVERSITY 19-11292-KG     Doc 14
                                       BOCSCI INC           Filed 06/10/19       Page 21SECOURS
                                                                                    BON  of 149 RICHMOND HEALTH CARE
OKLAHOMA HEALTH SCIENCE CTR            45-16 RAMSEY RD                               FOUNDATION
HAROLD HAMM OKLAHOMA DIABETES CTR      SHIRLEY, NY 11967                             ATTN: SUSAN DANIEL
SCHUSTERMAN CENTER CLINIC                                                            14051 ST FRANCIS BLVD #1100
4444 E 41ST ST                                                                       MIDLOTHIAN, VA 23114
TULSA, OK 74135


BONIFACE EMMANUEL                       BONNETT FAIRBOURN FRIEDMAN & BALINT          BONNIE WILENSKY
1333 S SPECTRUM BLVD                    PC                                           1100 DELPHI DRIVE
STE 100                                 ATTN ANDREW S FRIEDMAN, FRANCIS              LAFAYETTE, CO 80026
CHANDLER, AZ 85286                      JOSEPH BALINT, JR, WILLIAM G FAIRBOURN
                                        2325 E CAMELBACK RD., STE 300
                                        PHOENIX, AZ 85016


BORIS KANDINOV                          BORIS MICHAEL KRIVITSKY                      BOUNDLESS NETWORK
35 TILLOTSON RD                         1401 LILAC RD                                200 E. 6TH STREET SUITE 300
NEEDHAM, MA 02494                       CHARLOTTE, NC 28209                          AUSTIN, TX 78701




BOUNDLESS NETWORK, INC                  BRAD KOHLRUS                                 BRAD M LEFLER
PO BOX 123186 - DEPT 3186               21205 SE 35TH WAY                            307 POKER CHIP
DALLAS, TX 75312-3186                   SAMMAMISH, WA 98075                          UNIT 123
                                                                                     HORSESHOE BAY, TX 78657




BRADLEY BROUSSARD                       BRADLEY DEAN OESTREICH                       BRADLEY MONK
157 ELLERSLIE DR                        3954 SW BATTEN DR                            ATTN: BRADLEY MONK
FAYETTEVILLE, NC 28303                  LEE'S SUMMIT, MO 64082                       7175 E CAMELBACK RD
                                                                                     UNIT 1105
                                                                                     SCOTTSDALE, AZ 85251



BRAJAK CONSULTING LLC                   BRAND INSTITUTE INC                          BRANDON SIZEMORE
6 SHADY MILL LN                         200 SE 1ST STREET                            19508 S 190TH DR
MILFORD, NJ 08848                       12TH FL                                      QUEEN CREEK, AZ 85142
                                        MIAMI, FL 33131




BRENT A. BLUMENSTEIN                    BRENT DONOVAN                                BRENT FORESTER
4703 MORGAN DR.                         4815 E OSBORN RD                             357 WILLIS RD
CHEVY CHASE, MD 20815-5312              PHOENIX, AZ 85018                            SUDBURY, MA 01776




BRENTS TREE SERVICE, INC.               BRETT PROPERTIES, LLC                        BRETT SNODGRASS
PO BOX 5357                             P.O. BOX 460569                              ATTN: BRETT SNODGRASS
ROUND ROCK, TX 78683                    SAN ANTONIO, TX 78246                        13895 RIVER GROVE LANE
                                                                                     OLIVE BRANCH, MS 38654




BRETT T LUND                            BRIAN C HABERLY                              BRIAN DANIEL OKRASKA
1222 NE 96TH ST                         1227 PERRY                                   209 ALDGATE WAY
SEATTLE, WA 98115                       WICHITA, KS 67203                            GREER, SC 29650




BRIAN DAVID JENNINGS                    BRIAN E RICHMOND                             BRIAN EDWARD DURAND
11519 E. DESERT WILLOW DR.              5406 NW 21ST AVE                             94 BERKSHIRE AVE
SCOTTSDALE, AZ 85255                    BOCA RATON, FL 33496                         SOUTHWICK, MA 01077
BRIAN FARR                 Case 19-11292-KG     Doc 14
                                        BRIAN HOFF          Filed 06/10/19   Page 22 of
                                                                                BRIAN   149
                                                                                      KENT REEVES
13913 173RD PLACE SE                     10229 TIMBER WILLOW AVE                 14928 CORDERO DRIVE
RENTON, WA 98059                         LAS VEGAS, NV 89135                     AUSTIN, TX 78717




BRIAN LAWENDA                            BRIAN PIPKO                             BRIAN RICHMOND
2030 HARRIS AVENUE                       7500 E MCCORMICK PKWY #50               4330 RED BLOSSOM WAY
RICHLAND, WA 99354                       SCOTTSDALE, AZ 85258                    APT. 103
                                                                                 CHARLOTTE, NC 28277




BRIAN TAMBI                              BRIAN WEIDER (NO)                       BRIANA M CELESTE
655 WEST NORTHCROFT COURT                577 EAGLES NEST COURT                   10959 PINEWOOD TRAIL
LAKE FOREST, IL 60045                    BALLWIN, MO 63011                       JUPITER, FL 33478




BRIANA V WILKERSON                       BRIDGET SCULLION                        BRITTANY PLUSH
4708 SOUTH GRISWOLD STREET               11 ELMORE ST                            5705 SIMMS STREET
GILBERT, AZ 85297                        ARLINGTON, MA 02476                     BLD 8- APT 305
                                                                                 ARVADA, CO 80002




BRITTANY R SNOOK                         BRITTNEY L IRWIN                        BROADRIDGE ICS
3027 CALLE FRONTERA                      2951 W MARLBORO DR                      P.O. BOX 416423
SAN CLEMENTE, CA 92673                   CHANDLER, AZ 85224                      BOSTON, MA 02241-6423




BROOK SPANGLER                           BROOKE LARSEN                           BROOKS, PIERCE, MCLENDON, HUMPHREY
27828 DEXTER DRIVE                       358 SOUTH 1040 W                        & LEONARD LLP
SANTA CLARITA, CA 91350                  HURRICANE, UT 84737                     230 N. ELM STREET, SUITE 2000
                                                                                 GREENSBORO, NC 27401




BRUCE D. NICHOLSON, M.D.                 BRUCE MANN                              BRUNO BASTOS
4137 CAMBRIDGE CT.                       1647 ISLAND WAY                         1501 W. 21ST STREET
SCHNECKSVILLE, PA 18078                  FORT LAUDERDALE, FL 33326               MIAMI BEACH, FL 33140




BRUSHY CREEK INDUSTRIAL SOLUTIONS        BRYAN CAVE LLP                          BRYAN HAINSWORTH
1421 LEDBETTER ST                        P.O. BOX 503089                         2850 N 2000 W #203
ROUND ROCK, TX 78681                     ST LOUIS, MO 63150-3089                 OGDEN, UT 84404




BRYAN HAINSWORTH                         BRYAN K WALTRIP                         BRYANT ADAM BARNER
2961 W 2300 N.                           3925 COLE VALLEY LN                     9658 MARCELLINE AVE
CLEARFIELD, UT 84015                     ROUND ROCK, TX 78681                    LAS VEGAS, NV 89148




BRYDEN BENKE                             BTOB GLOBAL                             BTX GLOBAL
1955 N MARNITA AVE                       16420 VALLEY VIEW AVE                   PO BOX 853
MERIDIAN, ID 83646                       LA MIRADA, CA 90638                     SHELTON, CT 06484
BUCHI CORPORATION        Case 19-11292-KG    Doc A14
                                      BUDGET RENT      Filed 06/10/19
                                                   CAR SYSTEM INC             Page 23 of 149
                                                                                 BUILDING IMAGE GROUP, INC
19 LUKENS DRIVE                        14297 COLLECTIONS CENTER DRIVE             1200 E THIRD ST
SUITE 400                              CHICAGO, IL 60693                          AUSTIN, TX 78702
NEW CASTLE, DE 19720




BULKLEY, RICHARDSON AND GELINAS, LLP   BUREAU OF TENNCARE                         BURLAKOFF, ALEC
1500 MAIN STREET                       DEPT. #5544 DRUG REBATE REGULAR            C/O CRAVATH SWAINE & MOORE LLP
SUITE 2700                             TENNCARE                                   ATTN DANIEL SLIFKIN
PO BOX 15507                           ATTN: TENN FFS MEDICAID DRUG REBATE        825 8TH AVE
SPRINGFIELD, MA 01115-5507             PO BOX 11407                               NEW YORK, NY 10019
                                       BIRMINGHAM, AL 35246-5544


BURLAKOFF, ALEC                        BURLAKOFF, ALEC                            BURLAKOFF, ALEC
C/O CRAVATH SWAINE & MOORE LLP         C/O SNELL & WILMER LLP                     C/O SNELL & WILMER LLP
ATTN DAVID M STUART                    ATTN ANTHONY TOM KING                      ATTN DONALD WAYNE BIVENS
825 8TH AVE                            400 E VAN BUREN                            1 ARIZONA CENTER, 400 E VAN BUREN
NEW YORK, NY 10019                     PHOENIX, AZ 85004                          PHOENIX, AZ 85004



BURLAKOFF, ALEC                        BURLEW MEDICAL LIBRARY                     BURLINGTON DRUG COMPANY
C/O SNELL & WILMER LLP                 ST. JOSEPH HOSPITAL                        91 CATAMOUNT DR
ATTN NICOLE ELIZABETH SORNSIN          PO BOX 5600                                MILTON, VT 50468
1 ARIZONA CENTER, 400 E VAN BUREN      ORANGE, CA 92863-5600
PHOENIX, AZ 85004



BURNEDETTE ROSE HILL                   BURNS DEVELOPMENT GROUP                    BURRELL SCIENTIFIC LLC
226 PAPERBIRCH DRIVE                   3907 MEDITERRANEAN DRIVE                   300 PARKWAY VIEW DR
COLLEGEVILLE, PA 19426                 ROCKWALL, TX 75087                         PITTSBURGH, PA 15205




BUTZEL LONG                            BUYENS, CONNIE                             BUZZEOPDMA LLC
ATTN: ACCOUNTS RECEIVABLE              C/O GOLDMAN & ZWILLINGER PLLC              PO BOX 281414
150 W JEFFERSON AVE SUITE 100          ATTN SCOTT H ZWILLINGER                    ATLANTA, GA 30384-1414
DETROIT, MI 48226-4430                 7047 E GREENWAY PKWY., STE 150
                                       SCOTTSDALE, AZ 85254



C V S HEALTH CORP                      CA STATE BOARD OF PHARMACY (OBLIGEE)       CACHESYN INC
ONE CVS DRIVE                          1625 N MARKET BLVD                         5715 COOPERS AVE., UNIT 5
WOONSOCKET, RI 02895                   SACRAMENTO, CA 95834                       MISSISSAUGA, ON L4Z 2C7
                                                                                  CANADA




CAFÉ DUPONT                            CAITLIN WHITAKER                           CAJETAN SOLUTIONS, LLC
ATTN LAURA BAILEY                      54 NORTHWOOD DRIVE                         3003 ROCKINGHAM CIR.
133 20TH ST                            WILMINGTON, NC 28405                       SAN ANTONIO, TX 78247
NORTH BIRMINGHAM, AL 35203




CALDERA SEMINAR MANAGEMENT             California Insurance Commissioner          CALIFORNIA INTEGRATION
2758 PILLSBURY WAY                     300 Capitol Mall, Suite 1700               COORDINATORS
WELLINGTON, FL 33414                   Sacramento, CA 95814                       2929 GRANDVIEW ST.
                                                                                  PLACERVILLE, CA 95667




CALIFORNIA PACIFIC MEDICAL CENTER      CALIFORNIA STATE BOARD OF PHARMACY         CALLERY, LLC
RESEARCH INSITIUTE                     ATTN: ANNE SODERGREN, INT. EXE.            1424 MARS-EVANS CITY RD
475 BRANNAN ST. SUITE 130              OFFICER                                    EVANS CITY, PA 16033
SAN FRANCISCO, CA 94107                1625 N MARKET BLVD N219
                                       SACRAMENTO, CA 95834
CALLERY, LLC                Case 19-11292-KG    Doc 14
                                         CALM SOLUTIONS      Filed 06/10/19   Page 24 of 149
                                                                                 CAMARGO  PHARMACEUTICAL SERVICE
P.O. BOX 645597                           9107 BRISTOL PLAZA WAY                  ATTN: ACCOUNTS RECEIVABLE
PITTSBURGH, PA 15264-5253                 ELK GROVE, CA 95624                     9825 KENWOOD ROAD SUITE 203
                                                                                  CINCINNATI, OH 45242




CAMBREX PROFARMACO S.R.L.                 CAMBREX PROFARMACO S.R.L.               CAMBREX PROFARMACO S.R.L.
1205 11TH STREET                          4180 MENDENHALL OAKS PARKWAY            ONE MEADOWLANDS PLAZA
CHARLES CITY, IA 50616                    HIGH POINT, NC 27265                    EAST RUTHERFORD, NJ 07073




CAMBRIDGE ISOTOPE LABS                    CAMDEN STONECREST                       CAMPBELL ALLIANCE (USE INV002)
13528 COLLECTION CENTER DRIVE             8620 BELLA REESE RD                     PO BOX 80368
CHICAGO, IL 60693                         CHARLOTTE, NC 28277-0702                RALEIGH, NC 27623-0368




CANADA REVENUE AGENCY                     CANCER PAIN RESEARCH CONSORTIUM         CANCER SERVICES NEW MEXICO
PO BOX 3800 STN A                         6320 DELORD ST                          PO BOX 51344
SUDBURY, ON P3A 0C3                       NEW ORLEANS, LA 70118                   ALBUQUERQUE, NM 87181
CANADA




CANCER SUPPORT COMMUNITY OF               CANCER TRANSPLANT INSTITUTE             CANCER TREATMENT RESEARCH AND
CENTRAL OHIO                              ATTN: DENISE GIBSON, HEMATOLOGY         EDUCATIONAL INSTITUTE
ATTN: ANGIE SANTANGELO                    UPDATE                                  KATHY WHITE, CTREI, 906 W RANDOL MILL
1200 OLD HENDERSON RD                     10460 N 92ND STE, STE 200               RD.
COLUMBUS, OH 43220                        SCOTTSDALE, AZ 85258                    ARLINGTON, TX 76012



CANCERCARE                                CANCERCARE                              CANDELARIA MCELHINNY
1 KALISA WAY                              275 SEVENTH AVENUE                      5007 WILLIAM ST
SUITE 205                                 NEW YORK, NY 10001                      LANCASTER, NY 14086
PARAMUS, NJ 07652




CANNON INSTRUMENT COMPANY                 CANYON STATE CAB                        CAPITOL BLIND & DRAPERY COMPANY, INC
2139 HIGH TECH RD                         337 E. 9TH AVE.                         1801-1803 HYDRO DR
STATE COLLEGE, PA 16803                   MESA, AZ 85210                          AUSTIN, TX 78728




CAPITOL CITY JANITORIAL, INC.             CAPSULE FILLING MACHINE                 CAPTIVE FINANCE SOLUTIONS, LLC
2420 PATTERSON INDUSTRIAL DR              325200                                  DEPT CH 19648
PFLUGERVILLE, TX 78660                    CHNRUI'AN51# KAIFAYILU ECONOMY          PALANTINE, IL 60055-9648
                                          DEVELOPMENT ZONE
                                          ZHEJIANG ECONOMY DEVELOPMENT ZONE
                                          CHINA


CARDEL SYSTEMS LLC                        CARDINAL HEALTH 100 INC                 CARDINAL HEALTH 100 LLC
8127 MESA DR                              7000 CARDINAL PL                        7000 CARDINAL PL
STE B206-117                              DUBLIN, OH 43017                        DUBLIN, OH 43017
AUSTIN, TX 78759




CARDINAL HEALTH 105 INC                   CARDINAL HEALTH 105 INC                 CARDINAL HEALTH 105 INC
15 INGRAM BLVD, STE 100                   ATTN ASSOC GENERAL COUNSEL              ATTN GENERAL COUNSEL
LAVERGNE, TN 37086                        7000 CARDINAL PLC                       7000 CARDINAL PLC
                                          DUBLIN, OH 43017                        DUBLIN, OH 43017
CARDINAL HEALTH 105 INC Case 19-11292-KG
                                     CARDINALDoc  14 105Filed
                                              HEALTH     INC 06/10/19      Page 25 of 149
                                                                              CARDINAL HEALTH 105, LLC
ATTN VP OF SALES                     ATTN VP STRATEGIC PURCHASING              7000 CARDINAL PL
SPECIALTY PHARMACEUTICAL SERVICES    7000 CARDINAL PLC                         DUBLIN, OH 43017
15 INGRAM BLVD, STE 100              DUBLIN, OH 43017
LAVERGNE, TN 37086



CARDINAL HEALTH 108 LLC                CARDINAL HEALTH 108, LLC                CARDINAL HEALTH 110 LLC
7000 CARDINAL PL                       7000 CARDINAL PL                        7000 CARDINAL PL
DUBLIN, OH 43017                       DUBLIN, OH 43017                        DUBLIN, OH 43017




CARDINAL HEALTH 110, LLC               CARDINAL HEALTH 113 LLC                 CARDINAL HEALTH 113, LLC
7000 CARDINAL PL                       7000 CARDINAL PL                        7000 CARDINAL PL
DUBLIN, OH 43017                       DUBLIN, OH 43017                        DUBLIN, OH 43017




CARDINAL HEALTH 122 LLC                CARDINAL HEALTH 122, LLC                CARDINAL HEALTH 132 LLC
7000 CARDINAL PL                       7000 CARDINAL PL                        7000 CARDINAL PL
DUBLIN, OH 43017                       DUBLIN, OH 43017                        DUBLIN, OH 43017




CARDINAL HEALTH 132, LLC               CARDINAL HEALTH 200 LLC                 CARDINAL HEALTH 200, LLC
7000 CARDINAL PL                       7000 CARDINAL PL                        7000 CARDINAL PL
DUBLIN, OH 43017                       DUBLIN, OH 43017                        DUBLIN, OH 43017




CARDINAL HEALTH 201 LLC                CARDINAL HEALTH 201, LLC                CARDINAL HEALTH 414 LLC
7000 CARDINAL PL                       7000 CARDINAL PL                        7000 CARDINAL PL
DUBLIN, OH 43017                       DUBLIN, OH 43017                        DUBLIN, OH 43017




CARDINAL HEALTH 414, LLC               CARDINAL HEALTH 5 LLC                   CARDINAL HEALTH 5, LLC
7000 CARDINAL PL                       7000 CARDINAL PL                        7000 CARDINAL PL
DUBLIN, OH 43017                       DUBLIN, OH 43017                        DUBLIN, OH 43017




CARDINAL HEALTH INC 904012             CARDINAL HEALTH INC                     CARDINAL HEALTH INC. DISTRIBUTOR
PO BOX 978709                          7000 CARDINAL PL                        DEFENDANTS
LOCK BOX #978709 FOR CARDINAL HEALTH   DUBLIN, OH 43017                        7000 CARDINAL PL
105                                                                            DUBLIN, OH 43017
DALLAS, TX 75397-8709



CARDINAL HEALTH INC.                   CARDINAL HEALTH INC.                    CARDINAL HEALTH INC., CARDINAL HEALTH
7000 CARDINAL PL                       7000 CARDINAL PL                        108, LLC, CARDINAL HEALTH 110, LLC,
DUBLIN, OH 43017                       DUBLIN, OH 43017                        CARDINAL HEALTH 414, LLC,
                                                                               7000 CARDINAL PL
                                                                               DUBLIN, OH 43017



CARDINAL HEALTH PHARMACEUTICAL         CARDINAL HEALTH PHARMACY SERVICES       CARDINAL HEALTH PHARMACY SERVICES,
SUPPLY CHAIN                           LLC                                     LLC
PO BOX 641231                          7000 CARDINAL PL                        7000 CARDINAL PL
PITTSBURGH, PA 15264-1231              DUBLIN, OH 43017                        DUBLIN, OH 43017
CARDINAL HEALTH SPECIALTYCase    19-11292-KG    Doc
                                         CARDINAL    14 SPSFiled 06/10/19
                                                  HEALTH                      Page 26 of 149
                                                                                 CARDINAL HEALTH, INC
BECKLOFF ASSOCIATES INC.                  7000 CARDINAL PLACE                     7000 CARDINAL PL
3203 SOLUTIONS CENTER                     DUBLIN, OH 43017                        DUBLIN, OH 43017
CHICAGO, IL 60677-3002




CARDINAL HEALTH, INC.                     CARDMEMBER SERVICE                      CARDON, AARON L MD
7000 CARDINAL PL                          P.O. BOX 790408                         6811 AUSTIN CTR BLVD, #400
DUBLIN, OH 43017                          SAINT LOUIS, MO 63179-0408              AUSTIN, TX 78731




CAREMAKRPCS HEALTH LLC D/B/A CVS-         CAREMARK LLC                            CAREMARK PCS, LLC
CAREMARK                                  PO BOX 6590                             PO BOX 6590
PO BOX 6590                               LEE'S SUMMIT, MO 64064-6590             LEE'S SUMMIT, MO 64064-6590
LEE'S SUMMIT, MO 64064-6590




CAREMARK RX LLC                           CAREMARK RX, L.L.C.                     CAREMARK RX, LLC
PO BOX 6590                               PO BOX 6590                             PO BOX 6590
LEE'S SUMMIT, MO 64064-6590               LEE'S SUMMIT, MO 64064-6590             LEE'S SUMMIT, MO 64064-6590




CAREMARK TEXAS MAIL PHARMACY LLC          CAREMARK, L.L.C.                        CAREMARK, LLC
PO BOX 6590                               PO BOX 6590                             PO BOX 6590
LEE'S SUMMIT, MO 64064-6590               LEE'S SUMMIT, MO 64064-6590             LEE'S SUMMIT, MO 64064-6590




CAREMARKPCS HEALTH LLC D/B/A CVS          CAREMARKPCS HEALTH LLC D/B/A CVS-       CAREMARKPCS HEALTH LLC
CAREMARK                                  CAREMARK CAREMARK RX LLC                PO BOX 6590
PO BOX 6590                               PO BOX 6590                             LEE'S SUMMIT, MO 64064-6590
LEE'S SUMMIT, MO 64064-6590               LEE'S SUMMIT, MO 64064-6590




CAREMARKPCS HEALTH, L.L.C.                CAREMARKPCS HEATLH LLC (CVS)            CAREMARKPCS HEATLH LLC (CVS)
ONE CVS DRIVE                             ATTN SVP TRADE RELATIONS                ATTN VP, MANUFACTURER CONTRACTING,
LEGAL DEPT.                               2211 SANDERS RD                         LAW DEPT
CAMPANY WEBSITE UNDER MAINTENACE          NORTHBROOK, IL 60062                    9501 E SHEA BLVD
WOONSOCKET, RI 02895                                                              SCOTTSDALE, AZ 85260



CAREMARKSPCS HEALTH, LLC                  CARINAL HEALTH INC                      CARL SCHULMAN
1 CVS DRIVE LEGAL DEPT                    7000 CARDINAL PLACE                     ATTN: CARL SCHULMAN
WOONSOCKET, RI 02895                      DUBLIN, OH 43017                        1540 STILLWATER DR
                                                                                  MIAMI BEACH, FL 33141




CARL THOMAS HENNINGSON JR                 CARLOS A CAMARGO                        CARLOS A. CAMARGO JR.
597 POINT AVE                             28 TEMPLE STREET                        EMERGENCY MEDICINE NETWORK
BRICK, NJ 08724                           BOSTON, MA 02114                        125 NASHUA ST, SUITE 920
                                                                                  BOSTON, MA 02114-1101




CARLTON FIELDS                            CARLTON FIELDS                          CAROL LYNN SUMMERSGILL
ADAM SCHWARTZ                             PO BOX 3239                             11606 E REGAL CT
CORPORATE CENTER THREE AT                 TAMPA, FL 33601-3239                    CHANDLER, AZ 85249
INTERNATIONAL PLAZA
4221 W. BOY SCOUT BLVD, SUITE 1000
TAMPA, FL 33607-5780
CAROL VINESKI-CLUCKEY      Case 19-11292-KG    Doc
                                        CAROLINA    14 Filed
                                                 MECHANICAL    06/10/19
                                                            SERVICES         Page 27 of 149
                                                                                CAROLINE ELISTIN
2502 E GLADE AVE                         500 INTERNATIONAL DR                    744 NW 206 TERR.
MESA, AZ 85204                           DURHAM, NC 27712                        MIAMI, FL 33169




CARON PRODUCTS & SERVICES, INC           CARRIE DOVE                             CARRIE REPORTING LLC
PO BOX 715                               2527 BRISBANE WOODS WAY                 4032 N MILLER RD
MARIETTA, OH 45750                       CARY, NC 27518                          SUITE A100
                                                                                 SCOTTSDALE, AZ 85251




CARRIE WASSERMAN                         CARRINGTON MORTGAGE SERVICES, LLC       CARSON TAHOE REGIONAL HEALTHCARE
101 WEST 12TH ST                         1600 SOUTH DOUGLASS ROAD                1600 MEDICAL PARKWAY
APT 6-0                                  SUITES 110 & 200A                       CARSON CITY, NV 89703
NEW YORK, NY 10011                       ANAHEIM, CA 92806




CARTER/MACKAY HOLDINGS INC               CARTUS                                  CASE WESTERN RESERVE UNIVERSITY
332 VICTORY RD                           PO BOX 360287                           2040 ADELBERT ROAD
THIRD FLOOR                              PITTSBURGH, PA 15250                    SUITE 311
QUINCY, MA 02171                                                                 CWRU, ADELBERT HALL
                                                                                 CLEVELAND, OH 44106



CASEY LEVI JONES                         CASSANDRA ALLYN MACKENZIE               CASSANDRA KAY FORBES
700 12TH AVE SOUTH #1108                 122 VIA SONRISA                         4653 W WHITTEN ST
NASHVILLE, TN 37203                      ST AUGUSTINE, FL 32092                  CHANDLER, AZ 85226




CASTLE PIERCE, CORP.                     CASTLE-PIERCE, CORP.                    CATALENT PHARMA SOLUTIONS
2247 RYF ROAD                            2247 RYF ROAD                           25109 NETWORK PLACE
OSHKOSH, WI 54904                        OSHKOSH, WI 54904                       CHICAGO, IL 60673-1251




CATENACCI CONSULTING LTD                 CATHERINE L FAHEY                       CATHERINE THOMPSON
ATTN: DANIEL CATENACCI                   190 RAMBLING CREEK RD                   2128 TAR RD
4518 S DREXEL BLVD                       KERRVILLE, TX 78028                     CEDAR HILL, TX 75104
CHICAGO, IL 60653




CAZ 1 DE LLC                             CBIZ MHM, LLC                           CBRE, INC
11452 EL CAMINO REAL                     FILE 50034                              P.O. BOX 740935, LOCATION CODE 2158
SUITE 200                                LOS ANGELES, CA 90074-0034              LOS ANGELES, CA 90074-0935
SAN DIEGO, CA 92130




CBS TECHNOLOGIES                         CCONS                                   CDN ISOTOPES INC
205 N PASADENA ST.                       ATTN: MARGARET PIERCE - CCONS           88 LEACOCK
SUITE 1                                  400 N BRAINTREE DR.                     POINTE-CLAIRE, QC H9R1H1
GILBERT, AZ 85233                        SCHAUMBURG, IL 60194                    CANADA




CDW DIRECT                               CEB INC.                                CEDAR PARK OCCUPATIONAL
P.O. BOX 75723                           3393 COLLECTIONS CENTER DRIVE           15004 AVERY RANCH BLVD
CHICAGO, IL 60675-5723                   CHICAGO, IL 60693                       SUITE# 105
                                                                                 AUSTIN, TX 78717
CEDE & CO                Case 19-11292-KG    Doc 14 Filed 06/10/19
                                      CEDRA CORPORATION                          Page 28 of 149
                                                                                    CELERION, INC.
PO BOX 20                             8609 CROSS PARK DRIVE                          P.O. BOX 81891
BOWLING GREEN STN                     AUSTIN, TX 78754                               LINCOLN, NE 68502
NEW YORK, NY 10274




CELL SIGNALING TECHNOLOGY, INC        CELLOMICS TECHNOLOGY LLC                       CENTER FOR FAMILY CAREGIVERS
3 TRASK LN                            1450 SOUTH ROLLING RD                          1019 PETERSON UNIT A3
DANVERS, MA 01923                     HALETHORPE, MD 21227                           PARK RIDGE, IL 60068




CENTER FOR PROFESSIONAL EDUCATION     Centers for Medicare & Medicaid Services       CENTRAL ELECTROPOLISHING CO, I
370 REED RD SUITE 227                 (Medicare Program)                             124 N. LAWRENCE
BROOMALL, PA 19008-4098               7500 Security Boulevard                        ANTHONY, KS 67003
                                      Baltimore, MD 21244




CENTRAL SYSTEMS                       CENTRAL TEXAS COMMERCIAL A/C &                 CENTRAL TEXAS DRYWALL, INC
6433 TOPANGA CANYON BLVD #402         HEATING INC.                                   PO BOX 849
CANOGA PARK, CA 91303                 7909 ROSSON DR                                 ROUND ROCK, TX 78680
                                      AUSTIN, TX 78736




CENTRAL TEXAS ELEVATOR                CENTRAL TEXAS REFUSE, INC.                     CENTURY LINK
PO BOX 2155                           P.O. BOX 18685                                 P.O. BOX 29040
BASTROP, TX 78602                     AUSTIN, TX 78760-8685                          PHOENIX, AZ 85038-9040




CENTURYLINK                           CENTURYLINK                                    CEPHALON INC.
100 CENTURYLINK DRIVE                 P.O. BOX 910182                                41 MOORES ROAD
MONROE, LA 71203                      DENVER, CO 80291-0182                          MALVERN, PA 19355




CERBERUS, LLC                         CERILLIANT CORPORATION                         CERILLIANT, INC.
3145 17TH ST N                        811 PALOMA DRIVE                               811 PALOMA DRIVE
ARLINGTON, VA 22201                   STE A                                          STE A
                                      ROUND ROCK, TX 78665                           ROUND ROCK, TX 78665




CERTAPRO PAINTERS - AUSTIN            CERTARA USA, INC.                              CFM-SF, INC.
8711 BURNET RD                        PO BOX 32080                                   PHOENIX INSTRUMENATION
SUITE D43                             NEW YORK, NY 10087-2080                        815 ARNOLD DR., STE 118
AUSTIN, TX 78757                                                                     MARTINEZ, CA 94553




CFPIE INC                             CHAD SILA, MD                                  CHADWICK & COMPANY CPA'S
7 GREAT VALLEY PARKWAY                A PROFESSIONAL CORPORATION                     820 E. TERRA COTTA AVE RT 176
SUITE 128                             1235 W CHESHIRE ST                             STE. 116
MALVERN, PA 19355                     RIALTO, CA 92377                               CRYSTAL LAKE, IL 60014-3650




CHAMP COHEN DESIGN ASSOCIATES         CHAMPCOHEN DESIGN ASSOCIATES                   CHANDESHWARI CHILAMPALLI
1049 CAMINO DEL MAR                   1049 CAMINO DEL MAR                            191 E HAVASU PL
SUITE C                               SUITE C                                        CHANDLER, AZ 85249
DEL MAR, CA 92014                     DEL MAR, CA 92014
                        Case 19-11292-KG
CHANDLER CHAMBER OF COMMERCE         CHANDLERDoc  14 Filed
                                                CONCRETE, INC   06/10/19   Page 29 of 149
                                                                              CHANDLER POLICE DEPT.
25 S ARIZONA PL STE 201              PO BOX 706                                ALARM UNIT
CHANDLER, AZ 85225                   SAN MARCOS, TX 78667                      P.O. BOX 4008, MAIL STOP 303
                                                                               CHANDLER, AZ 85224




CHANTEST CORPORATION                  CHAPARRAL INSULATION CO, INC.            CHAPTER ONC (NWAONS)
14656 NEO PKWY                        PO BOX 20365                             ATTN: STEPHANIE JACKSON
CLEVELAND, OH 44128                   WACO, TX 76702                           808 S 52ND ST
                                                                               ROGERS, AR 72758




CHARLES ARGOFF                        CHARLES ARGOFF                           CHARLES C JIMENEZ
4 N LOUDON LN                         4 N LOUDON LN                            901 HIDDEN VALLEY DR
ALBANY, NY 12211                      LOUDONVILLE, NY 12211                    12-306
                                                                               ROUND ROCK, TX 78665




CHARLES HALL JR                       CHARLES LOPRINIZI                        CHARLES LOPRINZI EXPENSES
29811 ST. BASIL STREET                200 FIRST STREET SW                      2403 TRANSIT CT SW
DAPHNE, AL 36526                      ROCHESTER, MN 55905                      ROCHESTER, MN 55902




CHARLES PIPER, PHD.                   CHARLES POLLACK                          CHARLES POLLACK
CEP CONSULTING                        ATTN: CHARLES POLLACK                    ATTN: CHARLES POLLACK
110 BEACH RD.                         PO BOX 8315                              PO BOX 8315
GLENCOE, IL 60022                     RADNOR, PA 19087                         WAYNE, PA 19087




CHARLES RIVER LABORATORIES            CHARLES ROSS & SON COMPANY               CHARULATABEN H MISTRY
GPO PO BOX 27812                      PO BOX 12308                             800 W QUEEN CREEK RD
NEW YORK, NY 10087                    HAUPPAUGE, NY 11788                      APT 2072
                                                                               CHANDLER, AZ 85248




CHASE A WOODBURY                      CHASEN, LEYNER & LAMPARELLO              CHEMGLASS LIFE SCIENCES LLC
119 W MOUNTIAN SAGE DRIVE             300 HARMON MEADOW BLVD                   3800 N MILL RD
PHOENIX, AZ 85045                     SECAUCUS, NJ 07094                       VINELAND, NJ 08360




CHEMO IBERICA S.A.                    CHEMPOINT.COM                            CHEMTOS
MANUEL POMBO ANGULO, 28 – 3RD FLOOR   13727 COLLECTION CENTER DRIVE            ATTN: ACCOUNTS RECEIVABLE
MADRID 28050                          CHICAGO, IL 60693                        16713 PICADILLY CT.
SPAIN                                                                          ROUND ROCK, TX 78664




CHERIE QIAN WU                        CHERYL A KEHLERT                         CHESAPEAKE RESEARCH REVIEW LLC
3950 W CHANDLER BLVD                  967 E LA JOLLA DRIVE                     PO BOX 74008070
APT 2001                              TEMPE, AZ 85282                          CHICAGO, IL 60674-8070
CHANDLER, AZ 85226




CHICAGO WESTERN SUBURBS ONS           CHILD NEUROLOGY CONSULTANTS OF           CHILD NEUROLOGY FOUNDATION
CHAPTER                               AUSTIN                                   201 CHICAGO AVENUE, #200
ATTN: M. HUML                         ATTN AARON CARDON                        MINNEAPOLIS, MN 55145
1652 RALEIGH COURT                    6811 AUSTIN CTR BLVD, #400
WHEATON, IL 60189                     AUSTIN, TX 78731
                        Case 19-11292-KG
CHILDREN'S FOUNDATION RESEARCH               Doc
                                     CHILDREN'S   14 Filed
                                                HOSPITAL      06/10/19
                                                         LOS ANGELES           Page 30 of 149
                                                                                  CHILDREN'S HOSPITAL MEDICAL CENTER OF
INSTITUTE                            ATTN CHLA CLINICAL RESEARCH                   AKRON
PO BOX 41817                         4650 SUNSET BLVD, MAILSTOP #97                D/B/A AKRON CHILDREN'S HOSPITAL
MEMPHIS, TN 38174                    LOS ANGELES, CA 90027                         ATTN MICHAEL KOHRMAN, MD
                                                                                   ONE PERKINS SQ
                                                                                   AKRON, OH 44308


CHILDREN'S HOSPITAL MEDICAL CENTER OF   CHILDREN'S HOSPITAL OF ORANGE COUNTY       CHILDREN'S HOSPITALS COLORADO
AKRON                                   ATTN MARIA E. MINOR MD, SR VP OF           ATTN: GRANTS & CONTRACTS
D/B/A AKRON CHILDREN'S HOSPITAL         MEDICAL AFFAIRS &CMO                       13123 E 16TH AVE B148
ATTN TAMMY OVERTON, CONTRACT            1201 W LA VETA AVE                         AURORA, CO 80045
SPECIALIST                              ORANGE, CA 92868
ONE PERKINS SQ
AKRON, OH 44308

CHILDREN'S SPECIALTY GROUP, PLLC        CHIN, KEN                                  CHIN, KEN
ATTN: MOLLY LAWSON                      C/O R&R LAW GROUP PLLC                     C/O TIFFANY & BOSCO PA
811 REDGATE AVENUE                      ATTN PHILLIP KIM                           ATTN RICHARD GLENN HIMELRICK
NORFOLK, VA 23507                       5111 N SCOTTSDALE RD., STE 151             CAMELBACK ESPLANDE II, 2525 E
                                        SCOTTSDALE, AZ 85250                       CAMELBACK RD., 7TH FL
                                                                                   PHOENIX, AZ 85016


CHIRAL TECHNOLOGIES INC                 CHOATE, HALL & STEWART LLP                 CHOC CHILDREN'S RESEARCH INSTITUTE
P.O. BOX 829758                         2 INTERNATIONAL PLACE                      1201 W LA VETA AVE
PHILADELPHIA, PA 19182-9758             BOSTON, MA 02111                           ORANGE, CA 92868




CHOP RESEARCH INSTITUTE                 CHRIS HOMRICH                              CHRIS SCOTT
LOCKBOX #1457                           13622 N SUNFLOWER DR                       ATTN: JERRY VANCE
PO BOX 8500                             FOUNTAIN HILLS, AZ 85268                   4815 E ELMWOOD ST
PHILADELPHIA, PA 19178-1457                                                        MESA, AZ 85205




CHRISTI ARMES                           CHRISTIAN SCHRECKER                        CHRISTINA ALDRIDGE DUKES
10839 BERWICK WAY                       11177 N ORACLE RD                          3521 HENRIETTA HARTFORD RD
RANCHO CORDOVA, CA 95670                #6107                                      MOUNT PLEASANT, SC 29466
                                        ORO VALLEY, AZ 85737




CHRISTINA C SMITH                       CHRISTINA MANCINI                          CHRISTINA N SALOMON
9971 E DESERT JEWEL DRIVE               74 MAIN ST N                               2571 EAST SAN ISIDO TRAIL
SCOTTSDALE, AZ 85255                    APT 1-108                                  CASA GRANDE, AZ 85194
                                        WATERBURY, CT 06798




CHRISTINA R SIMPSON                     CHRISTINE FORD                             CHRISTINE J RINALDI
153 COVEY RUN                           894 DOYLESTOWN PIKE                        1735 FORT GRANT DRIVE
MADISON, MS 39110                       QUAKERTOWN, PA 18951                       ROUND ROCK, TX 78665




CHRISTINE LYNN STRICKLIN                CHRISTINE M ROBERTSON                      CHRISTINE M RODRIGUEZ
507 N. TERCERA AVE                      2200 CHURCHHILL LOOP                       3222 WOODBURNE DRIVE
CHANDLER, AZ 85226                      GRAPEVINE, TX 76051                        CHANDLER, AZ 85224




CHRISTINE P SIU                         CHRISTINE THIES                            CHRISTOPHER C COSTELLO
2219 23RD AVE                           16634 S 28TH PLACE                         2801 WELLS BRANCH PKWY
APT A                                   PHOENIX, AZ 85048                          #2133
OAKLAND, CA 94606                                                                  AUSTIN, TX 78728
CHRISTOPHER CHEN            Case 19-11292-KG    Doc CONNERS
                                         CHRISTOPHER 14 Filed 06/10/19          Page 31 of 149 D VERRICO
                                                                                   CHRISTOPHER
PO BOX 122                               40 CHERRY ST.                              3816 BRANDT ST
PLEASANTON, CA 94566                     MEDFORD, NJ 08055                          HOUSTON, TX 77006




CHRISTOPHER INCE                         CHRISTOPHER J GORNEY                       CHRISTOPHER J HILL
2215 CEDAR SPRINGS RD.                   3216 N MONTE VISTA DR                      1128 MISSOURI AVE
#1806                                    FLAGSTAFF, AZ 86004                        KIRKWOOD, MO 63122
DALLAS, TX 75201




CHRISTOPHER S DEMAR                      CHRISTOPHER S MATTINGLY                    CHRISTOPHER VENDRYES M.D. P.A.
415 HIGH STREET                          12417 LAJUNTA CT                           14422 SW 92 CT
WILLIAMSTON, MI 48895                    MOKENA, IL 60448                           MIAMI, FL 33176




CHUANHAI CAO                             CHUKWUEMAKA IKPEAZU                        CHUM
4001 E FLETCHER AVE                      6944 NW 126TH AVE.                         900 ST-DENIS STREET
TAMPA, FL 33613                          POMPANO BEACH, FL 33076                    MONTREAL, QC H2X 0A9
                                                                                    CANADA




CIGNA HEALTH AND LIFE INSURANCE          CIGNA HEALTH AND LIFE INSURANCE            CIGNA HEALTH AND LIFE INSURANCE
COMPANY (CHLIC)                          COMPANY (CHLIC)                            COMPANY (CHLIC)
ATTN JANE FISHBEIN, PHARM                ATTN JODY NICHOLS, VP PHARMA               ATTN KERRI MILLER, PHARMD VP
CONTRACTING MGR                          STRATEGY/CONTRACTING                       900 COTTAGE GROVE RD, B5PHR
900 COTTAGE GROVE RD, B5PHR              500 GREAT CIRCLE RD                        HARTFORD, CT 06152
HARTFORD, CT 06152                       NASHVILLE, TN 37228


CIGNA HEALTH AND LIFE INSURANCE          CIGNA                                      CIGNA-HEATHSPRING
COMPANY                                  5310 EAST HIGH ST. CITY NORTH              5310 EAST HIGH ST. CITY NORTH
ATTN: YVETTE GAMMON                      BLDG A3 SUITE 200                          BLDG A3SUITE 200
901 E CARY ST, STE 2000                  PHOENIX, AZ 85054                          PHOENIX, AZ 85054
RICHMOND, VA 23219



CIMCON SOFTWARE INC                      CIMCON                                     CIMTECHNIQUES INC
234 LITTLETON RD                         16333 COLLECTIONS CENTER DR.               1215 PRINCE ST.
WESTFORD, MA 01886                       CHICAGO, IL 60693                          BEAUFORT, SC 29902




CINCINNATI SUB-ZERO PRODUCTS             CINCINNATI TRISTATE CHAPTER ONCOLOGY       CINDY F EPHREM
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CHICAGO, IL 60677-3005                   1087 TUMBLEWEED DR                         WAYNE, NJ 07470
                                         LOVELAND, OH 45140




CINTAS CORP                              CINTAS CORPORATION                         CINTAS FIRE PROTECTION
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                                                                                    CINCINNATI, OH 45263-6525




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MUMBAI, MAHARASHTRA 400013               CHICAGO, IL 60673-1211                     WEST HAVEN, CT 06516
INDIA
CITY OF CHANDLER            Case 19-11292-KG     Doc 14
                                         CITY OF HILLVIEW     Filed 06/10/19    Page 32OFofROUND
                                                                                   CITY     149 ROCK FIRE DEPARTMENT
MS 701                                     283 CRESTWOOD LN                         ATTN: FIRE MARSHAL
PO BOX 4008                                LOUISVILLE, KY 40229                     203 COMMERCE BOULEVARD
CHANDLER, AZ 85244                                                                  ROUND ROCK, TX 78664




CITY OF ROUND ROCK                         CITY OF ROUND ROCK                       CITY TREASURER - COLUMBUS OH
ENVIRONMENTAL SERVICES                     UTILITY BILLING DEPARTMENT               PO BOX 182437
ATTN: JEFF KNEBEL                          221 EAST MAIN STREET                     COLUMBUS, OH 43218-2437
2008 ENTERPRISE DR                         ROUND ROCK, TX 78664-5299
ROUND ROCK, TX 78664



CLAIRE C FIRESTONE                         CLARITY CLODING, INC.                    CLARK HILL PLC
500 PROSPECT ST                            26 ELIZABETH COURT SOUTH                 500 WOODWARD AVENUE
PETALUMA, CA 94952                         MARLTON, NJ 08053                        SUITE 3500
                                                                                    DETROIT, MI 48226




CLARK HILL PLLC                            CLAUDE BERNAL                            CLAYWORTH PHARMACY
130 EAST RANDOLPH ST.                      801 SUGAREE AVE                          14183 CATALINA ST.
SUITE 3900                                 APT 2208                                 SAN LEANDRO, CA 94577
CHICAGO, IL 60601-6317                     AUSTIN, TX 78757




CLEAN HARBORS ENVIRONMENTAL SERV.,         CLEANROOM CONSULTANTS &                  CLEARWATER
INC                                        CERTIFICATIONS                           777 W MAIN ST. SUITE 900
P.O. BOX 3442                              1422 STEPENDALE DR.                      BOISE, ID 83702
BOSTON, MA 02241-3442                      KATY, TX 77450




CLEATECH, LLC                              CLEMENTS & PINEAULT, LLP                 CLEVELAND CHAPTER OF ONCOLOGY
221 W DYER RD.                             24 FEDERAL STREE                         NURSES, C/O DIANA JOHNSON,
SANTA ANA, CA 92707                        BOSTON, MA 02110                         PROGRAM CHAIR
                                                                                    1068 COUNTY RD 601
                                                                                    ASHLAND, OH 44805



CLEVELAND POLICE DEPARTMENT                CLINEDGE LLC                             CLINICAL DRUG INFORMATION, INC.
1300 ONTARIO ST.                           108 MYRTLE STREET, SUITE 201             62526 COLLECTIONS CENTER DR
CLEVELAND, OH 44113                        QUINCY, MA 02171                         CHICAGO, IL 60693




CLINICAL INTEGRATIVE RESEARCH CENTER       CLINICAL RESEARCH CENTER OF NEVADA       CLINTON MALLARI
OF ATLANTA                                 LLC                                      970 N HILTONHEAD WAY
ATTN ROBERT FLAMINI, MD, RESEARCH DIR      ATTN DARLENE STELJES, CEO                EAGLE, ID 83616
5887 GLENRIDGE DR NE                       1012 EAST SAHARA AVE
ATLANTA, GA 30328                          LAS VEGAS, NV 89104



CLOUDELY, INC.                             CM PROCESS SOLUTIONS                     CMC MACHINERY LLC
2880 ZANKER RD, SUITE 203                  235 BENJAMIN DR                          743 ALEXANDER ROAD STE #5
SAN JOSE, CA 95134                         STE 102                                  PRINCETON, NJ 08540
                                           CORONA, CA 92879




CMSM AFFILIATE OF SUSAN G. KOMEN           COBEX RECORDERS, INC.                    COBURN & COMPANY
PO BOX 16451                               6601 LYONS RD.                           11705 N LAMAR BLVD
JACKSON, MS 39236                          SUITE F-7                                AUSTIN, TX 78753
                                           POMPANO BEACH, FL 33073
CODERED-I                 Case   19-11292-KG    Doc
                                         CODIANNE    14 Filed 06/10/19
                                                  CHRISTENSEN                    Page 33 of& GRESSER
                                                                                    COHEN    149     LLP
8525 E PINNACLE PEAK RD #115             16360 N 5200 W                              800 THIRD AVE
SCOTTSDALE, AZ 85255                     GARLAND, UT 84312                           NEW YORK, NY 10022




COHEN DOWD QUIGLEY                       COHERNT MARKET INSIGHTS PVT LTD             COHERNT MARKET INSIGHTS PVT LTD
2425 E CAMELBACK RD SUITE 1100           203-204 BREMAN BUSINESS CENTER, AUNDH       203-204 BREMAN BUSINESS CENTER, AUNDH
PHOENIX, AZ 85016                        PUNE, MAHARASHTRA 411007                    PUNE, MAHARASHTRA 411014
                                         INDIA                                       INDIA




COLEEN JOHNSTON                          COLE-PARMER INSTRUMENT CO.                  COLLEEN LEONARD
2500 WILLOW ST #318                      13927 COLLECTIONS CENTER DR.                223 CONCORD TURNPIKE UNIT 340
NORTH LITTLE ROCK, AR 72114              CHICAGO, IL 60693                           CAMBRIDGE, MA 02140




COLLEGE OF PHARMACISTS OF MANITOBA       COLLEGE OF PHARMACISTS OF                   COLLEGIUM PHARMACEUTICAL INC.
ATTN: SUSAN SELLARD-FRIESEN              BRITISH COLUMBIA                            100 TECHNOLOGY CENTER DRIVE
REGISTRAR                                ATTN: BOB NAKAGAWA, REGISTRAR               SUITE 300
200 TACHE AVE                            200 - 1765 W 8TH AVE                        STOUGHTON, MA 02072
WINNIPEG R2H 1A7 CANADA                  VANCOUVER, BC V6J 5C6 CANADA



COLLORA LLP                              COLORADO DEPT OF REVENUE                    COLORADO STATE BOARD OF PHARMACY
100 HIGH STREET                          COLORADO DEPT OF REVENUE                    ATTN: DMITRY KUNIN, PROGRAM DIRECTOR
BOSTON, MA 02110-2321                    DENVER, CO 80261-0008                       1560 BROADWAY, SUITE 1350
                                                                                     DENVER, CO 80202-5143




COLUMBUS CITY TREASURER                  COLUMBUS US                                 COMAR
90 W BROAD ST #111                       3001 BROADWAY ST NE SUITE 320               PO BOX 786776
COLUMBUS, OH 43215                       MINNEAPOLIS, MN 55413                       PHILADELPHIA, PA 19178




COMED (NEOPHARM)                         COMED                                       COMMERCIAL CUSTODIAL SERVICES
PO BOX 6111                              BILL PAYMENT CENTER                         2040 S. ALMA SCHOOL RD. #1-501
CAROL STREAM, IL 60197                   CHICAGO, IL 60668-0001                      CHANDLER, AZ 85286




COMMERCIAL INSULATORS OF AUSTIN LLC      COMMERCIAL REFRIGERATION SERVC.             COMMISSIONER OF SOCIAL SECURITY
PO BOX 190                               2501 W. BEHREND DRIVE SUITE 39              ADMINISTRATION
CEDAR PARK, TX 78630                     PHOENIX, AZ 85027                           6401 SECURITY BOULEVARD
                                                                                     BALTIMORE, MD 21235




COMMISSIONER OF SOCIAL SERVICE CT        COMMISSIONER OF SOCIAL SERVICE CT           COMMISSIONER OF TAXATION AND
CONNECTICUT MEDICAL ASSISTANCE PRGM      CONNECTICUT MEDICAL ASSISTANCE              FINANCE
DXC TECHNOLOGY DRUG REBATE               DRUG REBATE PROGRAM                         NYS ASSESSMENT RECEIVABLES
PROGRAM                                  P.O BOX 2951                                PO BOX 4127
P.O BOX 2951                             HARTFORD, CT 06104                          BINGHAMTON, NY 13902-4127
HARTFORD, CT 06104


COMMONWEALTH OF KENTUCKY                 COMMONWEALTH OF MASSACHUSETTS DR            COMMONWEALTH OF MASSACHUSETTS
300 S BUCKMAN ST                         MASS HEALTH                                 MASS HEALTH DRUG REBATE
PO BOX 205                               DRUG REBATE PROGRAM                         MASSHEALTH DRUG REBATE PROGRAM
SHEPHERDSVILLE, KY 40165                 PO BOX 3070                                 PO BOX 417688
                                         BOSTON, MA 02241                            BOSTON, MA 02241-7688
                        Case 19-11292-KG
COMMONWEALTH OF MASSACHUSETTS               Doc 14OF MASSACHUSETTS
                                     COMMONWEALTH     Filed 06/10/19          Page 34 of 149 OF MASSACHUSETTS
                                                                                 COMMONWEALTH
OFFICE OF ATTORNEY GENERAL           ONE ASHBURTON PLACE,                        ONE ASHBURTON PLACE,
ATTN: MAURA HEALEY                                                               18TH FLOOR
1 Ashburton Pl                                                                   BOSTON,, MA 02108
Boston, MA 02108



COMMONWEALTH OF MASSACHUSETTS          COMMONWEALTH OF PA/DRP-MCO                COMMONWEALTH OF PENNSYLVANIA
PHARMACEUTICAL CODE OF CONDUCT         OB-BUREAU OF COMMONWEALTH ACC             BUREAU OF COMMISSIONS, ELECTIONS AND
PROG.                                  REVENUE AND CASH MANAGMENT                LEGISLATION -
MA DIV. OF HEALTH CARE FACILITY        555 WALNUT ST,FORUM PLACE, 9TH FL         RM 210 N. OFFICE BLDG
LICENSURE & CERTIFICATION              HARRISBURG, PA 17101                      HARRISBURG, PA 17120
99 CHAUNCY ST., 11TH FLOOR
BOSTON, MA 02111

COMMONWEALTH OF PUERTO RICO ATTY       COMMONWEALTH OF VA DEPT OF MEDICAL        COMMONWEALTH OF VA DEPT OF MEDICAL
GENERAL                                ASST                                      ASST
ATTN: WANDA VAZQUEZ GARCED             ATTN: VAMEDALLION 3.0 MCO DRUG            DEPT OF MEDICAL ASSITANCE SERVICES
PO BOX 9020192                         REBATE                                    ATTN: VA MEDALLION 3 OR 4 MCO DRUG
SAN JUAN, PR 00902-0192                PO BOX 75991                              REBATE
                                       BALTIMORE, MD 21275-5991                  PO BOX 75991
                                                                                 BALTIMORE, MD 21275-5991

COMMONWEALTH OF VA                     COMMONWEALTH OF VA                        COMMUNICATIONS MEDIA, INC
DEPT OF MEDICAL ASSISTANCE SERVICES    DEPT OF MEDICAL ASSISTANCE                220 RENAISSANCE BLVD
ATTN: VA MEDICAID FFS DRUG REBATE      ATTN: VA CCC PLUS MCO DRUG REBATE         STE 160
PO BOX 75991                           PO BOX 75991                              KING OF PRUSSIA, PA 19406
BALTIMORE, MD 21275-5991               BALTIMORE, MD 21275-5991



COMMUNITY CHRISTIAN CHURCH             COMMUNITY HOSPICE OF NE FL, INC.          COMMUNITY HOSPITAL FOUNDATION
311 NE 78TH ST BOX 246                 4266 SUNBEAN RD                           ATTN: WENDY KAUHAAHAA
MIAMI, FL 33138                        JACKSONVILLE, FL 32257                    PO BOX HH
                                                                                 MONTEREY, CA 93942




COMMUNITY INSURANCE COMPANY D/B/A      COMMUNITY INSURANCE COMPANY D/B/A         COMMUNITY INSURANCE COMPANY D/B/A
ANTHEM BLUE CROSS AND BLUE SHIELD OF   ANTHEM BLUE CROSS AND BLUE SHIELD OF      ANTHEM BLUE CROSS AND BLUE SHIELD OF
OHIO                                   OHIO                                      OHIO
C/O COPPERSMITH BROCKELMAN PLC         C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP
ATTN KEITH BEAUCHAMP                   ATTN ANDREW JOEL CROWDER                  ATTN GEOFFREY HOLMES KOZEN
2800 N CENTRAL AVE., STE 1900          2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE
PHOENIX, AZ 85004                      MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402

COMMUNITY INSURANCE COMPANY D/B/A      COMMUNITY INSURANCE COMPANY D/B/A         COMMUNITY INSURANCE COMPANY D/B/A
ANTHEM BLUE CROSS AND BLUE SHIELD OF   ANTHEM BLUE CROSS AND BLUE SHIELD OF      ANTHEM BLUE CROSS AND BLUE SHIELD OF
OHIO                                   OHIO                                      OHIO
C/O ROBINS KAPLAN LLP                  C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP
ATTN JAMIE R KURTZ                     ATTN JEFFREY SULLIVAN GLEASON             ATTN JOSHUA BUCHANON STROM
2800 LASALLE PLZ, 800 LASALLE AVE      2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402                  MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402

COMMUNITY INSURANCE COMPANY D/B/A      COMPASS LEXECON                           COMPASSIONATE DIAGNOSTICS, LLC
ANTHEM BLUE CROSS AND BLUE SHIELD OF   PO BOX 418005                             1000 MIDWAY DR
OHIO                                   BOSTON, MA 02241-8005                     SUITE 3
C/O ROBINS KAPLAN LLP                                                            HARRINGTON, DE 19952
ATTN THOMAS C MAHLUM
2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402

COMPASSIONATE PAIN MANAGEMENT, LLC     COMPCARE HEALTH SERVICES INSURANCE        COMPCARE HEALTH SERVICES INSURANCE
33672 BAYVIEW MEDICAL DR               CORP D/B/A ANTHEM BLUE CROSS AND          CORP D/B/A ANTHEM BLUE CROSS AND
LEWES, DE 19958                        BLUE SHIELD OF WISCONSIN                  BLUE SHIELD OF WISCONSIN
                                       C/O COPPERSMITH BROCKELMAN PLC            C/O ROBINS KAPLAN LLP
                                       ATTN KEITH BEAUCHAMP                      ATTN ANDREW JOEL CROWDER
                                       2800 N CENTRAL AVE., STE 1900             2800 LASALLE PLZ, 800 LASALLE AVE
                                       PHOENIX, AZ 85004                         MINNEAPOLIS, MN 55402

COMPCARE HEALTH SERVICES INSURANCE     COMPCARE HEALTH SERVICES INSURANCE        COMPCARE HEALTH SERVICES INSURANCE
CORP D/B/A ANTHEM BLUE CROSS AND       CORP D/B/A ANTHEM BLUE CROSS AND          CORP D/B/A ANTHEM BLUE CROSS AND
BLUE SHIELD OF WISCONSIN               BLUE SHIELD OF WISCONSIN                  BLUE SHIELD OF WISCONSIN
C/O ROBINS KAPLAN LLP                  C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP
ATTN GEOFFREY HOLMES KOZEN             ATTN JAMIE R KURTZ                        ATTN JEFFREY SULLIVAN GLEASON
2800 LASALLE PLZ, 800 LASALLE AVE      2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402                  MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402
COMPCARE HEALTH SERVICES   Case   19-11292-KG
                             INSURANCE    COMPCAREDoc   14 SERVICES
                                                     HEALTH    Filed 06/10/19
                                                                       INSURANCE   Page 35 of 149IMPLEMENTATION
                                                                                      COMPLIANCE
CORP D/B/A ANTHEM BLUE CROSS AND          CORP D/B/A ANTHEM BLUE CROSS AND             SERVICES
BLUE SHIELD OF WISCONSIN                  BLUE SHIELD OF WISCONSIN                     3809 WEST CHESTER PIKESUITE 100
C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP                        NEWTOWN SQUARE, PA 19073
ATTN JOSHUA BUCHANON STROM                ATTN THOMAS C MAHLUM
2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402

COMPTROLLER OF MARYLAND                   COMPTROLLER OF PUBLIC ACCOUNTS               COMPUTATIONAL TOXICOLOGY SERVICES
REVENUE ADMIN DIVISION                    PO BOX 149348                                LLC
110 CARROLL ST                            AUSTIN, TX 78714-9348                        17605 CASHELL ROAD
ANNAPOLIS, MD 21411-0001                                                               ROCKVILLE, MD 20853




COMPUTERSHARE, INC.                       CONCUR TECHNOLOGIES INC                      CONNECTICUT CHILDREN'S MEDICAL
DEPT CH 19228                             62157 COLLECTIONS CENTER DR                  CENTER
PALATINE, IL 60055-9228                   CHICAGO, IL 60693                            ATTN GIL PERI, PRES & COO
                                                                                       282 WASHINGTON ST
                                                                                       HARTFORD, CT 06106



CONNECTICUT COMMISSION OF PHARMACY        CONNIE FERRARO                               CONNOR A WHELTON
ATTN: HEATHER HOYNES, BOARD ADMIN         8156 WASHINGTON AVE.                         11638 GREENSPRING AVE
450 COLUMBUS BLVD, SUITE 901              NORTH ROYALTON, OH 44133                     LUTHERVILLE, MD 21093
HARTFORD, CT 06103




CONQUER CANCER FOUNDATION OF THE          CONRY CONSULTING INC                         CONSILIUM, LLC
AMERICAN SOCIETY OF CLINICAL              2708 WOODS AVENUE                            12470 N. FRALEY RD.
ONCOLOGY                                  OCEANSIDE, NY 11572                          PLATTE CITY, MO 64079-8344
ATTN: QUIANA CADLETT
2318 MILL RD, SUITE 800
ALEXANDRIA, VA 22314


CONSOLIDATED PLASTICS COMPANY             CONSOVOY MCCARTHY PARK PLLC                  CONSOVOY MCCARTHY PARK PLLC
4700 PROSPER DRIVE                        ATTN MICHAEL H PARK                          ATTN WILLIAM S CONSOVOY, THOMAS R
STOW, OH 44224                            745 FIFTH AVENUE, SUITE 500                  MCCARTHY
                                          NEW YORK, NY 10151                           3033 WILSON BOULEVARD, SUITE 700
                                                                                       ARLINGTON, VA 22201



CONSTRUCTIVE ENDEAVORS                    CONSULATE GENERAL OF LEBANON                 CONTROLLED ENVIRONMENT MANAGEMENT
11904 BUCKINGHAM RD                       811 WILSHIRE BLVD.                           LLC
AUSTIN, TX 78759                          SUITE 1800                                   2487 S GILBER RD
                                          LOS ANGELES, CA 90017                        SUITE 106-610
                                                                                       GILBERT, AZ 85295



CONTROLLED SUBSTANCES                     CONTROLLER OF MARYLAND                       CONVERGINT TECHNOLOGIES LLC
REGISTRATION MSC 0438                     DIVISION                                     35257 EAGLE WAY
TX DEPARTMENT OF PUBLIC SAFETY            110 CAROL ST                                 CHICAGO, IL 60678
PO BOX 15888                              ANNAPOLIS, MD 21411-0001
AUSTIN, TX 78761-5888



COOLEY & GODWARD KRONISH LLP              COPPER STATE COMMUNICATIONS INC              COPPERSMITH BROCKELMAN PLC
101 CALIFORNIA ST. 5TH FL                 PO BOX 27287                                 ATTN KEITH BEAUCHAMP
SAN FRANCISCO, CA 94111-5800              TUCSON, AZ 85726                             2800 N CENTRAL AVE., STE 1900
                                                                                       PHOENIX, AZ 85004




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6140 WEST CHANDLER BLVD                   ATTN RICHARD A RUF VP CFO                    29118 NETWORK PLACE
STE 5                                     222 ROSEWOOD DR                              CHICAGO, IL 60673-1291
CHANDLER, AZ 85226                        DANVERS, MA 01923
                       Case
COPYRIGHT CLEARANCE CENTER,    19-11292-KG
                            INC.       CORETTADoc    14
                                                COLLINS    Filed 06/10/19   Page 36 of
                                                                               COREY   149
                                                                                     CUTLER
29118 NETWORK PLACE                    81 IVANHOE LN                           7 TEMPLE TER
CHICAGO, IL 60673-1291                 CALERA, AL 35040                        WEST ROXBURY, MA 02132




COREY T COLLINS                        CORNERSTONE RESEARCH, INC.              CORPORATE JOB BANK
6551 E QUAKER ST                       TWO EMBARCADERO CENTER, 20TH FL.
APT F6                                 SAN FRANCISCO, CA 94111-3922
ORCHARD PARK, NY 14127




CORPORATE TRANSLATIONS, INC.           CORPORATE TRAVELER PHOENIX              CORPORATION SERVICE COMPANY
1300 AVIATION BLVD.                    111 WEST MONROE STREET                  P.O. BOX 13397
REDONDO BEACH, CA 90278-4011           SUITE 1105                              PHILADELPHIA, PA 19101
                                       PHOENIX, AZ 85003




CORT                                   CORVALLIS INTERNAL MEDICINE, P.C.       COSMA S.P.A.
PO BOX 17401                           981 NW SPRUCE AVE                       Via Bartolomeo Colleoni, 15
BALTIMORE, MD 21297-1401               CORVALLIS, OR 97330                     Ciserano, BG 24040




COSTCO WHOLESALE CORPORATION           COSTCO                                  COTE ORPHAN CONSULTING LLC
PO BOX 34331                           PO BOX 34783                            8630 FENTON STREET SUITE # 730
SEATTLE, WA 98124                      SEATTLE, WA 98124                       SILVER SPRING, MD 20910




COTHRON SECURITY SOLUTIONS LLC         COTHRON'S SAFE & LOCKS                  COUGHLIN, RAINBOTH, MURPHY & LOWN, PA
8120 EXCHANGE DR STE 100               8120 EXCHANGE DR STE 100                439 MIDDLE STREET
AUSTIN, TX 78754                       AUSTIN, TX 78754                        PORTSMOUTH, NH 03801




COURIER GRAPHICS                       COURTNEY L GRAHAM                       COURTNEY SHOFF
2621 S 37TH ST                         1645 N DATE                             911 1/2 PINE STREET
PHOENIX, AZ 85034                      APT 109                                 CLEARWATER, FL 33756
                                       MESA, AZ 85201




COURTYARD BY MARRIOTT                  COVANCE INC                             COVANCE INC
1100 S PRICE RD                        ATTN BRANDI N. BONNER, BS               ATTN DEAN F AGOSTO, SR MNGR
CHANDLER, AZ 85286                     MGR CLINICAL OPS                        CONTRACT MGMT
                                       206 CARNEGIE CTR                        206 CARNEGIE CTR
                                       PRINCETON, NJ 08540                     PRINCETON, NJ 08540



COVANCE INC                            COVINGTON & BURLING LLP                 COVINGTON & BURLING LLP
ATTN PROJECT MANAGER                   ATTN: ACCOUNTING DEPT                   GEOFFREY HOBART
COVANCE PROJECT #8379975               ONE CITY CENTER                         ONE CITY CENTER
206 CARNEGIE CTR                       850 TENTH ST NW                         850 TENTH ST NW
PRINCETON, NJ 08540                    WASHINGTON, DC 20001                    WASHINGTON, DC 20001



COVINGTON & BURLING LLP                COX COMMUNICATIONS PHOENIX              COX COMMUNICATIONS PHOENIX
ONE CITYCENTER                         1550 WEST DEER VALLEY ROAD              P.O. BOX 53249
850 TENTH STREET                       BUILDING C                              PHOENIX, AZ 85072-3249
NWWASHINGTON, DC 20001                 PHOENIX, AZ 85027
COYOTE LOGISTICS, LLC      Case 19-11292-KG    Doc 14
                                        COZEN O'CONNOR      Filed 06/10/19      Page 37 ofMACHINE
                                                                                   COZZOLI 149 COMPANY
P.O. 742636                              7885                                      50 SCHOOLHOUSE RD
ATLANTA, GA 30374-2636                   PO BOX 7247                               SOMERSET, NJ 08873-1289
                                         PHILADELPHIA, PA 19170-7885




CRAIG BLINDERMAN                         CRATERS AND FREIGHTERS                    CRAVATH SWAINE & MOORE LLP
302 W. 107TH ST. APT. 4B                 131 JONES BLVD.                           ATTN DANIEL SLIFKIN, DAVID M STUART,
NEW YORK, NY 10025                       LA VERGNE, TN 37086                       MORGAN J COHEN
                                                                                   825 8TH AVE
                                                                                   NEW YORK, NY 10019



CRAVATH, SWAINE & MOORE LLP              CRAVATH, SWAINE & MOORE LLP               CRE8TIVE EVENT RENTALS, INC.
DAVID M. STUART                          WORLDWIDE PLAZA                           4100 E. BROADWAY RD.
WORLDWIDE PLAZA                          825 EIGHTH AVENUE                         SUITE 180
825 EIGHTH AVENUE                        NEW YORK, NY 10019-7475                   PHOENIX, AZ 85040
NEW YORK, NY 10019-7475



CREATIVE CIRCLE                          CREDITSAFE USA, INC                       CREO ARCHITECTS
PO BOX 74008799                          4635 CRACKERSPORT RD                      2716 NORTH 16TH ST.
CHICAGO, IL 60674-8799                   ALLENTOWN, PA 18104                       PHOENIX, AZ 85006




CRISTINA L HERRERO                       CRITICAL SYSTEMS, INC                     CRODA INC
639 VELARDE AVE                          7000 W VICTORY RD                         PO BOX 416595
CORAL GABLES, FL 33134                   BOISE, ID 83709                           BOSTON, MA 02241




CROSSROADS STRATEGIES LLC                CRYSTAL D LOPEZ                           CRYSTAL GOODIEL
800 N CAPITOL ST NW STE 800              16737 W HILTON AVENUE                     3558 MEADOW CREEK CT
WASHINGTON, DC 20002                     GOODYEAR, AZ 85338                        HIGHLANDS RANCH, CO 80126




CSC (DON'T USE)                          CSC CONSULTING, INC.                      CT CORPORATION
P.O. BOX 13397                           JP MORGAN BANK ONE                        PO BOX 4349
PHILADELPHIA, PA 19101-3397              PO BOX 978976                             CAROL STREAM, IL 60197-4349
                                         DALLAS, TX 75397




CT DEPT OF REVENUE                       CTC-ONS PROGRAM COMMITTEE                 CTS LANGUAGELINK
PO BOX 5089                              SUE PARTUSCH, MSN, RN-BC, AOCNS           ACCOUNTS PAYABLE
HARTFORD, CT 06102-5089                  1087 TUMBLEWEED DR                        911 MAIN ST #10
                                         LOVELAND, OH 45140                        VANCOUVER, WA 98660




CULLIGAN OF AUSTIN                       CUSHMAN & WAKEFIELD OF ARIZONA, INC.      CUSHMAN AND WAKEFIELD OF TEXAS
110 W FREMONT ST                         2555 EAST CAMELBACK ROAD                  1401 LAWRENCE STREET
OWATONNA, MN 55060                       SUITE 400                                 SUITE 1100
                                         ATTN: COMMISSION ACCOUNTING               DENVER, CO 80202
                                         PHOENIX, AZ 85016



CUSTOM VAULT                             CUYAHOGA COUNTY JAIL                      CVENT, INC.
4 RESEARCH DRIVE                                                                   PO BOX 822699
BETHEL, CT 06801                         2079 EAST NINTH STREET                    PHILADELPHIA, PA 19182-2699
                                         CLEVELAND, OH 44115
CVS CAREMARK             Case 19-11292-KG    Doc 14 Filed
                                      CVS HEALTH                    06/10/19   Page 38INDIANA
                                                                                  CVS   of 149LLC
BANK OF AMERICA LOCK BOX SERVICES     ONE CVS DRIVE                                ONE CVS DRIVE
LBX: 840112                           WOONSOCKET, RI 02895                         WOONSOCKET, RI 02895
1950 N STEMMONS FWY, STE 5010
DALLAS, TX 75207



CVS ORLANDO FL DISTRIBUTION, L.L.C.   CVS ORLANDO, FLORIDA DISTRIBUTION LLC        CVS ORLANDO, FLORIDA DISTRIBUTION, LLC
ONE CVS DRIVE                         ONE CVS DRIVE                                ONE CVS DRIVE
WOONSOCKET, RI 02895                  WOONSOCKET, RI 02895                         WOONSOCKET, RI 02895




CVS PHARMACY INC                      CVS PHARMACY INC.                            CVS PHARMACY
ONE CVS DRIVE                         ONE CVS DRIVE                                ONE CVS DRIVE
WOONSOCKET, RI 02895                  WOONSOCKET, RI 02895                         WOONSOCKET, RI 02895




CVS PHARMACY, INC                     CVS PHARMACY, INC.                           CVS RX SERVICES INC
ONE CVS DRIVE                         ONE CVS DRIVE                                ONE CVS DRIVE
WOONSOCKET, RI 02895                  WOONSOCKET, RI 02895                         WOONSOCKET, RI 02895




CVS RX SERVICES                       CVS RX SERVICES, INC.                        CVS TENNESSE DISTRIBUTION LLC
ONE CVS DRIVE                         ONE CVS DRIVE                                ONE CVS DRIVE
WOONSOCKET, RI 02895                  WOONSOCKET, RI 02895                         WOONSOCKET, RI 02895




CVS TN DISTRIBUTION CENTER LLC        CVS TN DISTRIBUTION CENTER, LLC              CVS TN DISTRIBUTION INC
ONE CVS DRIVE                         ONE CVS DRIVE                                ONE CVS DRIVE
WOONSOCKET, RI 02895                  WOONSOCKET, RI 02895                         WOONSOCKET, RI 02895




CVS TN DISTRIBUTION LLC               CVS TN DISTRIBUTION, L.L.C.                  CVS TN DISTRIBUTION, LLC
ONE CVS DRIVE                         ONE CVS DRIVE                                ONE CVS DRIVE
WOONSOCKET, RI 02895                  WOONSOCKET, RI 02895                         WOONSOCKET, RI 02895




CVS VERO FL DISTRIBUTION, LLC         CVS VERO FLORIDA DISTRIBUTION LLC            CVS VERO, FLORIDA DISTRIBUTION, LLC
ONE CVS DRIVE                         ONE CVS DRIVE                                ONE CVS DRIVE
WOONSOCKET, RI 02895                  WOONSOCKET, RI 02895                         WOONSOCKET, RI 02895




CWSCONS                               CYNTHIA MILLER                               D.C. TREASURER -DEPT OF HEALTH
C/O KAREN GREETIS                     4621 CHALMERS DR                             899 NORTH CAPITOL STREET, NE
720 CHANDLER AVE                      NASHVILLE, TN 37215                          WASHINGTON, DC 20002
GENEVA, IL 60134




D.C. TREASURER                        DAIKYO SEIKO LTD                             DAKOTA DRUG INC
899 N CAPITOL ST.                     ATTN KUNIHIRO NOTO, EXEC MANAGING DIR        1101 LUND BOULEVARD
NE SECOND FLOOR                       38-2 SUMIDA 3-CHOME                          ANOKA, MN 55303
WASHINGTON, DC 20002                  SUMIDA-KU
                                      TOKYO 131-0031 JAPAN
DAKOTA DRUG              Case 19-11292-KG     Doc 14
                                      DALE S SMITH         Filed 06/10/19   Page 39 SHERIF
                                                                               DALIA of 149
PO BOX 5009                            4622 MONTEROSA LN                       24818 239TH CT. SE
MINOT, ND 58702                        ROUND ROCK, TX 78665                    MAPLE VALLEY, WA 98038




DALTON CHEMICAL LABORATORIES           DALTON COMPLIANCE CONSULTING            DALTON S SULLIVAN
349 WILDCAT ROAD                       ASSOCIATES LLC                          2218 W EMERALD CIRCLE
TORONTO, ON L5N8A5                     104 DALTON STREET                       MESA, AZ 85202
CANADA                                 DANIEL ISLAND, SC 29492




DAMAGE RECOVERY UNIT                   DAMIAN SANCHEZ                          DAMON MICHAEL HARPER
PO BOX 801770                          ATTN: JERRY VANCE                       182 GAY ST
KANSAS CITY, MO 64180                  4815 E ELMWOOD ST                       APT 906
                                       MESA, AZ 85205                          PHILADELPHIA, PA 19128




DAN BRENNAN                            DANI ADAMS                              DANIEL A HAKIMI
1565 BROADLAND LANE                    4101 THUNDER TWICE ST                   23806 22ND AVE WEST
LAKE FOREST, IL 60045                  LAS VEGAS, NV 89129                     BOTHELL, WA 98021




DANIEL A SMITH                         DANIEL B WILSON                         DANIEL E HUSUM
65 PINEY POINT ROAD                    2333 E SOUTHERN AVE                     222 E BLAND ST
BOICEVILLE, NY 12412                   APT 2014                                #117
                                       TEMPE, AZ 85282                         CHARLOTTE, NC 28203




DANIEL EDWARD WARD                     DANIEL H ARNDT                          DANIEL H TONDRE
31 CHICKASAW DRIVE                     759 HALF MOON RD                        7119 COLONIAL LAKE DRIVE
AUSTIN, AR 72007                       BLOOMFIELD HILLS, MI 48301              RIVERVIEW, FL 33578




DANIEL J. EDELMAN, INC                 DANIEL PON                              DANIEL TONDRE
JP MORGAN CHASE, NA                    18285 NORTH 96TH WAY                    3021 FOREST CLUB DR.
21992 NETWORK PLACE                    SCOTTSDALE, AZ 85255                    PLANT CITY, FL 33566
CHICAGO, IL 60673-1219




DANIELA BOCKENSTEDT                    DANIELCARTLEDGE                         DANIELLE A LEACH
2400 N ARIZONA AVE                     870 EAST CAMINO RD                      1409 SUPERIOR AVE APT D
#2139                                  BOCA RATON, FL 33432                    NEWPORT BEACH, CA 92663
CHANDLER, AZ 85225




DANIELLE ELLERO                        DANIELLE L DAVIS                        DANIELLE N BURDUCEA
124 CLUBHOUSE LANE                     4146 E GLENROSA AVE                     247 W 16TH STREET
NORTHBRIDGE, MA 01534                  PHOENIX, AZ 85018                       DEER PACK, NY 11729




DANIELLE ROGERS                        DANISH RAD ONC LLC                      DANISH RAD ONC LLC
44486 BROADMOOR BLVD                   ATTN: ADNAN DANISH                      ATTN: ADNAN DANISH
NORTHVILLE, MI 48168                   51 MCCAFFERY RD                         51 MCCAFFERY RD
                                       ENGLISHTOWN, NJ 07726                   MANALAPAN, NJ 07726
DANNY TUCK               Case 19-11292-KG    Doc 14 Filed
                                      DANOX ENVIRONMENTAL    06/10/19
                                                          SERVICES, INC.     Page 40 of
                                                                                DARBY   149
                                                                                      D BAXTER
1331 W HAWKEN WAY                       102 MARY ALICE PARK RD., SUITE 104       2004 SOUTHWOOD ROAD
CHANDLER, AZ 85286                      CUMMING, GA 30040                        VESTAVIA, AL 35216




DARCY LAYNE                             DARIN CECIL                              DARIN DOUGHERTY
510 SUNSET BLVD                         7078 LAKE RUN DR                         26 SEAVER ST
TOLEDO, OH 43612                        BIRMINGHAM, AL 35242                     WELLESLEY HILLS, MA 02481




DARIN FILA                              DARREN SCOTT HAGEMAN                     DARREN VANDYKE
8046 E VISTA CANYON STREET              2545 E DESERT WILLOW DR                  916 THOREAU DR
MESA, AZ 85207                          PHOENIX, AZ 85048                        RALEIGH, NC 27609




DARRYL S BAKER                          DARWIN CHAMBERS COMPANY                  DARYL SUTHERLAND
14805 S 7TH WAY                         2945 WASHINGTON AVE                      1298 E CHAPMAN CT
PHOENIX, AZ 85048                       SAINT LOUIS, MO 63103                    ALPINE, UT 84004




DATAMONITOR PLC/LONDON                  DATWYLER PHARMA PACKAGING USA INC        DAVENPORT EXECUTIVE SEARCH
LOCKBOX 416736                          9012 PENNSAUKEN HIGHWAY                  P.O. BOX 3349
BOSTON, MA 02241                        PENNSAUKEN, NJ 08110                     RANCHO SANTA FE, CA 92067




DAVID BENJAMIN HILLER                   DAVID BRYAN LOWE                         DAVID BURLINGAME
5183 PEARLMAN WAY                       150 SALEM OAKS COVE                      9201 E DIAMOND DR
SAN DIEGO, CA 92130                     ATOKA, TN 38004                          SUN LAKES, AZ 85248




DAVID CONYACK                           DAVID CORNBLATH                          DAVID D WILLIAMS
53 DEANNA DR.                           10 MELISSA CT                            722-A MAIN ST
EAST HANOVER, NJ 07936                  OWINGS MILLS, MD 21117                   GAITHERSBURG, MD 20878




DAVID DODICK                            DAVID E PERRY                            DAVID E SCHMIDT
11392 E CARIBBEAN LN                    1718 E MORGAN CT                         92 CENTRAL AVE
SCOTTSDALE, AZ 85255                    GILBERT, AZ 85295                        EAST BRUNSWICK, NJ 08816




DAVID J ROSENFELD                       DAVID LEIMAN                             DAVID MARK FLEISCHER
5332 GREENLAND RD                       ATTN: DAVID LEIMAN                       120 SOUTH FOREST ST.
#103                                    PO BOX 1732                              DENVER, CO 80246
ATLANTA, GA 30342                       BELLAIRE, TX 77402




DAVID P BUCHER                          DAVID R. COHEN CO. LPA                   DAVID ROSENBLUM
2941 N 72ND ST                          24400 CHAGRIN BLVD., SUITE 300           31 WELWYN RD
MESA, AZ 85207                          BEACHWOOD, OH 44122                      GREAT NECK, NY 11021
DAVID S. ALBERTS          Case 19-11292-KG     DocMILLER
                                       DAVID SCOTT 14 Filed 06/10/19   Page 41 of
                                                                          DAVID    149 MD
                                                                                SIMPSON,
250 N. INDIAN HOUSE RD.                7234 LAKEWOOD BLVD.                360 EAST 88TH ST, 37A
TUCSON, AZ 85711                       DALLAS, TX 75214-3510              NEW YORK, NY 10128




DAVID SOVA                             DAVID SULTZER                      DAVID TREIMAN
8595 BAILEAU OAKS DR                   1610 GLENDON AVE                   521 W ROSE LN
ADA, MI 49301                          LOS ANGELES, CA 90024              PHOENIX, AZ 85013




DAVID W RICHARDSON                     DAVID W. GRAHAM JR.                DAVIS GRAHAM & STUBBS
3625 E RAY RD                          ATTN: DAVID W. GRAHAM              1941 BALDY LANE
#2096                                  9417 SOUTHERN GARDEN CIRCLE        EVERGREEN, CO 80439
PHOENIX, AZ 85044                      ALTAMONTE SPRINGS, FL 32714




DAWN ALBRIGHT                          DAWN ALBRIGHT                      DAWN C. STEFANIK
19715 SW 87 PLACE                      19715 SW 87 PLACE                  2903 WILLOUGHBY BEACH RD.
CUTLER BAY, FL 33157                   MIAMI, FL 33157                    EDGEWOOD, MD 21040




DAWN MARIE KUNZ                        DAYNA ANN WEISBERG                 DAYONG LI
2 WESCOTT CT.                          3440 GUIDER AVE                    1 JAMIESON PL
BOLINGBROOK, IL 60440                  APT 3 B                            PRINCETON JUNCTION, NJ 08550
                                       BROOKLYN, NY 11235




DAYONG LI                              DEA COMPLIANCE CONSULTING LLC      DEAN JOHN MARIANO
1 JAMIESON PL                          1047 ASCOT DR.                     17 HICKORY LANE
WEST WINDSOR, NJ 08550                 NORTH SALT LAKE, UT 84054          WEST HARTFORD, CT 06107




DEANNE THREAPLETON                     DEBORAH HANRATTY                   DEBORAH LEE
300 TOBY TRAIL                         3832 E LAFAYETTE AVE               1717 ALA WAI BLVD
MOUNT JULIET, TN 37122                 GILBERT, AZ 85298                  #1606
                                                                          HONOLULU, HI 96815




DEBORAH M. HUNT, CTA                   DEBRA CONDON                       DEBRA JANE EVANS
TAX ASSESSOR - COLLECTOR               7870 COUNTY RD 32                  1366 HUBBARD THOMAS RD.
WILLIAMSON COUNTY                      NEW GERMANY, MN 55367              HUBBARD, OH 44425
904 S. MAIN ST.
GEORGETOWN, TX 78626



DECHERT LLP                            DEE DEE EVANS RN                   Defense Health Agency (TRICARE program)
2929 ARCH ST                           32199 HIGH COUNTRY DR.             7700 Arlington Boulevard
PHILADELPHIA, PA 19104-2808            GLADE SPRING, VA 24340             Suite 5101
                                                                          Falls Church, VA 22042-5101




DEHNCO EQUIPMENT & SUPPLIES, INC       DEIDRE M CUNNINGHAM                DEL FRISCO'S DOUBLE EAGLE STEAKHOUSE
PO BOX 866                             1200 LINWOOD ST                    5061 Westheimer Rd
BARRINGTON, IL 60010                   ANN ARBOR, MI 48103                Suite 8060
                                                                          HOUSTON, TX 77056
DELAWARE DEPARTMENT OF Case
                          JUSTICE19-11292-KG
                                         DELAWAREDoc   14 Filed
                                                   DEPARTMENT    OF 06/10/19
                                                                    LABOR      Page 42 ofDivision
                                                                                  Delaware 149 of Corporations
ATTN: KATHY JENNINGS, ATTORNEY           DELAWARE DEPT OF LABOR                    P.O. Box 898
GENERAL                                  EMPLOYMENT TRAINING FUND TAX              Dover, DE 19903
CARVEL STATE BUILDING                    PO BOX 41780
820 N. FRENCH ST.                        PHILADELPHIA, PA 19101-1790
WILMINGTON, DE 19801


DELAWARE DIVISION OF CORPORATIONS        DELAWARE DIVISION OF REVENUE              DELAWARE SECRETARY (NO)
P.O. BOX 898                             PO BOX 830                                VENDOR #51 - 6000279
DOVER, DE 19903                          WILMINGTON, DE 19899-0830                 DIVISION OF CORPORATIONS PO BOX 5509
                                                                                   BINGHAMTON, NY 13902-5509




DELAWARE SECRETARY OF STATE              DELAWARE SOCIETY FOR CLINICAL             DELAWARE STATE BOARD OF PHARMACY
STATE OF DELAWARE                        ONCOLOGY                                  ATTN: GEOFFREY CHRIST, EXE. SECRETARY
DIVISION OF CORPORATIONS                 900 PRIDES CROSSING                       CANNON BUILDING
PO BOX 5509                              NEWARK, DE 19713                          861 SILVER LAKE BLVD, SUITE 203
BINGHAMTON, NY 13902-5509                                                          DOVER, DE 19904



DELAWARE STATE TREASURY                  DELIA MERCADO                             DELILA ANITA POLLARD
820 SILVER LAKE BLVD, SUITE 100          1282 W FALLS CANYON DR                    3701 QUICK HILL RD
DOVER, DE 19901                          CASA GRANDE, AZ 85122                     APT 16103
                                                                                   AUSTIN, TX 78728




DELL BUSINESS CREDIT                     DELL MARKETING LP                         DELL SOFTWARE INC.
PAYMENT PROCESSING CENTER                C/O DELL USA LP                           PO BOX 731381
PO BOX 5275                              P.O. BOX 802816                           DALLAS, TX 75373-1381
CAROL STREAM, IL 60197-5275              CHICAGO, IL 60680-2816




DELMAR PRIMARY CARE ASSOCIATES, LLC      DELOITTE & TOUCHE LLP                     DELOITTE FINANCIAL ADVISORY SERVICES
5621 DELMAR BLVD.                        PO BOX 844708                             LLP
SUITE#108                                DALLAS, TX 75284                          P.O. BOX 844742
 ST. LOUIS, MO 63112                                                               DALLAS, TX 75284-4742




DELOITTE TRANSACTIONS &                  DELOITTE                                  DELTA TRAK, INC.
BUSINESS ANALYTICS LLP                   ATTN SHELLEY CATHY                        PO BOX 398
PO BOX 840728                            340 MARTIN LUTHER KING JR BLVD            PLEASANTON, CA 94566
DALLAS, TX 75284-0728                    STE 200
                                         BRISTOL, TN 37620



DELUXE SMALL BUSINESS SALES, INC.        DEMBA SOWE                                DEMEO LLP
P.O. BOX 64468                           928 N JACKSON STREET                      200 STATE STREET
SAINT PAUL, MN 55164                     WAUKEGAN, IL 60085                        BOSTON, MA 02109




DEMING DESIGNS LLC                       DENA A BONDUGJI                           DENISE BECHERER
16222 CRYSTAL HILLS DR.                  7147 RANCHO VISTA DRIVE                   91-212 HOKUIMO PLACE
AUSTIN, TX 78737                         UNIT 6002                                 KAPOLEI, HI 96707
                                         SCOTTSDALE, AZ 85251




DENISE MOORE-CONTRERAS                   DENISE RICIGLIANO                         DENISE ST. PIERRE
5167 STERLING MANOR DR.                  8550 HIHN RD                              8717 N JOHNNY MILLER DR
TAMPA, FL 33647                          BEN LOMOND, CA 95005                      TUCSON, AZ 85742
DENNIS C TAN                Case 19-11292-KG     Doc 14MD Filed 06/10/19
                                         DENNIS DLUGOS                       Page 43 ofPATIN
                                                                                DENNIS  149
1100 BISCAYNE BLVD                         59 LETITIA LN                        917 TENDILLA AVE
APT 5901                                   MEDIA, PA 19063                      MIAMI, FL 33134
MIAMI, FL 33132




DENVER HEALTH AND HOSPITAL AUTHORITY       DENVER PAIN AND SPINE, P.C.          DEPARTMENT OF FINANCE &
PO BOX 17093                               14828 WEST SIXTH AVENUE              ADMINISTRATION
DENVER, CO 80217-0093                      SUITE 16-B                           PO BOX 9941
                                           GOLDEN, CO 80401                     LITTLE ROCK, AR 72203




DEPARTMENT OF THE TREASURY                 Department of Treasury               DEPARTMENT OF VETERAN AFFAIRS
INTERNAL REVENUE SERVICE                   Internal Revenue Service
CINCINNATI, OH 45999-0009                  Cincinnati, OH 45999-0009




DEPARTMENT OF VETERANS AFFAIRS             DEPOMED INC                          DEPOMED, INC.
810 VERMONT AVE., NW                       100 SOUTH SAUNDERS ROAD              100 SOUTH SAUNDERS ROAD
WASHINGTON, DC 20420                       SUITE 300                            SUITE 300
                                           LAKE FOREST, IL 60045                LAKE FOREST, IL 60045




DEPT OF MEDICAL ASSISTANCE                 DEPT. MEDICAL SOCIAL SERVICES        DEPT. OF HEALTH CARE SERVICES (CA)
CW OF VA CMS MEDICAID DRP                  625 N. MICHIGAN AVE, SUITE 2700      ACCOUNTING SECTION - MS 1101
ATTN: FISCAL UNIT                          ATTN: QIAN PAN                       PO BOX 997413
600 E BROAD ST, SUITE 1300                 CHICAGO, IL 60611                    MEDI-CAL DRUG REBATE A/R
RICHMOND, VA 23219-1857                                                         SACRAMENTO, CA 95899-7413



DEPT. OF HEALTH CARE SERVICES              DEPT. OF LABOR & INDUSTRIES          DEPT. OF VETERANS AFFAIRS
ATTN: BCCTP DRUG REBATE A/R                PO BOX 24106                         NATIONAL ACQUISITION CENTER
ACCT NO 95938-580200-14, ACCT. MS1101 PO   SEATTLE, WA 98124-6524               1ST AVE, 1 BLOCK NORTH OF 22ND ST
BOX 997413                                                                      BLDG 37
SACRAMENTO, CA 95899-7413                                                       HINES, IL 60141



DEREK WING SUN YEUNG                       DERIK OKEITH HADNOT                  DERRICK SMALLS
4507 E JOSHUA TREE LANE                    1201 E OLD SETTLERS BLVD             4951 STONEYVIEW COURT
PARADISE VALLEY, AZ 85253                  APT 6107                             HUBER HEIGHTS, OH 45424
                                           ROUND ROCK, TX 78664




DESHELIA LYNN DAVIS                        DESIGN DREAMS, LLC                   DESIGN SCIENCE
2266 FERNSPRING DR                         PO BOX 136                           123 S. BROAD STREET SUITE 1350
ROUND ROCK, TX 78665                       SOUTH LEBANON, OH 45065              PHILADELPHIA, PA 19109




DESIGN SCIENCE                             DEUTSCHE BANK                        DEVON GALLOWAY
924 CHERRY ST                              ATTN: JAMES DONOFRIO                 902 W. 4TH STREET
FIFTH FLOOR                                345 PARK AVE                         APT 419
PHILADELPHIA, PA 19107                     NEW YORK, NY 10154                   CHARLOTTE, NC 28202




DEWLEEN G BAKER                            DHAVAL M PATEL                       DHL EXPRESS (USA) INC.
2204 CAMINITO CASTILLO                     1771 EAST TULSA STREET               16592 COLLECTIONS CENTER DR.
LA JOLLA, CA 92037                         GILBERT, AZ 85295                    CHICAGO, IL 60693
DHL GLOBAL FORWARDING Case      19-11292-KG    Doc 14
                                        DHS MANAGED      Filed 06/10/19
                                                    CARE REBATE 052          Page 44MEDICAID
                                                                                DHS  of 149 EXPANSION REBATE 054
14076 COLLECTIONS CENTER DR              PO BOX 64837                            PO BOX 64837
CHICAGO, IL 60693                        SAINT PAUL, MN 55164                    SAINT PAUL, MN 55164




DIALECTI VOUDOURIS                       DIAMOND POWDER COATING, LLC             DIANA D MALDONADO
4630 CENTER BLVD, APT 213                16501 BRATTON LANE, #2-D                230 DWYER AVE
LONG ISLAND CITY, NY 11109               AUSTIN, TX 78728                        UNIT 301
                                                                                 SAN ANTONIO, TX 78204




DIANA MONTIJO                            DIBIASE MEDICAL GROUP, P.C.             DICKSON
21314 N DUNCAN DR                        ATTN: STEVENDIBIASE                     930 S. WESTWOOD AVENUE
MARICOPA, AZ 85138                       1928 RUDDER LANE                        ADDISON, IL 60101-4917
                                         KNOXVILLE, TN 37919




DIDIER JUTRAS-ASWAD                      DIK DRUG COMPANY LLC                    DILIGENT CORPORATION
1218 SEYMOUR AVE                         160 TOWER DRIVE                         PO BOX 419829
MONTREAL, QC H3H 2A5                     BURR RIDGE, IL 60527                    BOSTON, MA 02241-9874
CANADA




DILIPRAJ D MEHTA                         DILWORTH PAXSON LLP                     DINESH REDDY ANUGU
9296 N 103RD PL                          99 PARK AVENUE SUITE 320                1402 OAK KNOLL DRIVE
SCOTTSDALE, AZ 85258                     NEW YORK, NY 10016                      SAN JOSE, CA 95129




DINSMORE & SHOHL LLP                     DION REIMER                             DIPASA USA INC
P.O. BOX 639038                          12104 ALLEN DRIVE                       P.O. BOX 4079
CINCINNATI, OH 45263-9038                BRUNSVILLE, MN 55337                    BROWNSVILLE, TX 78523-4079




DIPHARMA                                 DIRCKS MOVING                           DISCOUNT DRUG MART INC
DIPHARMA FRANCIS S.R.L.                  4340 W. MOHAVE ST.                      211 COMMERCE DRIVE
VIA BISSONE, 5                           PHOENIX, AZ 85043                       MEDINA, OH 44256
BARANZATE MI 20021
ITALY



DISCOUNT DRUG MART                       DISCOVER YOURSELF INC.                  DISHA P PANCHANI
211 COMMERCE DRIVE                       684 EXCELSIOR BLVD SUITE 100            118 MANCOS DR
MEDINA, OH 44256                         EXCELSIOR, MN 55331                     GEORGETOWN, TX 78626




DISTRICT OF COLUMBIA ATTORNEY            DISTRICT OF COLUMBIA BOARD OF           DL GLOBAL PARTNERS INC.
GENERAL                                  PHARMACY                                78 BABY POINT CRESCENT
ATTN: KARL A. RACINE                     ATTN: SHAUNA WHITE, EXE. DIRECTOR       TORONTO, ON M6S 2C1
441 4TH ST, NW                           899 N CAPITOL ST, NE, 2ND FLOOR         CANADA
WASHINGTON, DC 20001                     WASHINGTON, DC 20002



DLA PIPER                                DLA PIPER                               DMITRY ARBUCK
PO BOX 75190                             STEVEN PIDGEON                          9828 OAK CREST CT.
BALTIMORE, MD 21275                      2525 EAST CAMELBACK ROAD                FISHERS, IN 46037
                                         SUITE 1000
                                         PHOENIX, AZ 85016-4232
DNS SERVICES, INC.         Case 19-11292-KG    Doc- CLEANHARBORS
                                        DO NOT USE   14 Filed 06/10/19
                                                                 ENV.            Page 45 of 149
                                                                                    DOCUSIGN INC
PO BOX 8941                              SERVICES                                   DEPT 3428
VANCOUVER, WA 98668                      15695 DONNER PASS RD                       PO BOX 123428
                                         SUITE 207                                  DALLAS, TX 75312-3428
                                         TRUCKEE, CA 96161



DOMINICK R ROBERTI                       DOMINICK'S                                 DON ALLEN
31-10 23RD STREET                        197 W CROGAN ST                            100 BUHLMONT DR
APT 3C                                   LAWRENCEVILLE, GA 30046                    SEWICKLEY, PA 15143
ASTORIA, NY 11106




DONALD ABRAMS                            DONALD K. STERN                            DONALD M BOWERS
3927 26TH ST                             99-50 FLORENCE ST.                         145 ROSEMONT PLACE
SAN FRANCISCO, CA 94131                  CHESTNUT HILL, MA 02467                    BOSSIER CITY, LA 71112




DONATO, RICARD DI                        DONATO, RICARD DI                          DONATO, RICARD DI
C/O BONNETT FAIRBOURN FRIEDMAN &         C/O BONNETT FAIRBOURN FRIEDMAN &           C/O BONNETT FAIRBOURN FRIEDMAN &
BALINT PC                                BALINT PC                                  BALINT PC
ATTN ANDREW S FRIEDMAN                   ATTN FRANCIS JOSEPH BALINT, JR             ATTN WILLIAM G FAIRBOURN
2325 E CAMELBACK RD., STE 300            2325 E CAMELBACK RD., STE 300              2325 E CAMELBACK RD., STE 300
PHOENIX, AZ 85016                        PHOENIX, AZ 85016                          PHOENIX, AZ 85016


DONATO, RICARD DI                        DONATO, RICARD DI                          DONATO, RICARD DI
C/O GOLDBERG LAW PC                      C/O KESSLER TOPAZ MELTZER & CHECK LLP      C/O KESSLER TOPAZ MELTZER & CHECK LLP
ATTN MICHAEL MARC GOLDBERG               ATTN DAVID SEAMUS KASKELA                  ATTN NAUMON A AMJED
13650 MARINA POINTE DR., STE 708         280 KING OF PRUSSIA RD                     280 KING OF PRUSSIA RD
MARINA DEL REY, CA 90292                 RADNOR, PA 19087                           RADNOR, PA 19087



DONATO, RICARD DI                        DONGHAN LUO                                DONNA DI MARTINO
C/O KESSLER TOPAZ MELTZER & CHECK LLP    13 MERRIMAC RD                             10143 WINDMILL RD
ATTN RYAN T DEGNAN                       RANDOLPH, NJ 07869                         FAIRHOPE, AL 36532
280 KING OF PRUSSIA RD
RADNOR, PA 19087



DONNA MANROSS                            DONNELLEY FINANCIAL SOLUTIONS              DONNELLY, CONROY & GELHAAR, LLP
1500 ROSECRANS AVE                       (FORMELY RR DONNELLEY)                     260 FRANKLIN STREET
STE 200                                  PO BOX 842282                              SUITE 1600
MANHATTAN BEACH, CA 90266                BOSTON, MA 02284-2282                      BOSTON, MA 02110




DONOHOE ADVISORY ASSOCIATES LLC          DOOMAN ALEXANDER OH                        DOOMAN OH
9901 BELWARD CAMPUS DR                   9825 MIRA LEE WAY APT 32414                1285 MONTECITO AVE
ROCKVILLE, MD 20850                      SAN DIEGO, CA 92126                        APT 8
                                                                                    MOUNTAIN VIEW, CA 94043




DOPL                                     DOPL                                       DOR BIOPHARMA, INC.
160 E 300 S                              P.O. BOX 146741                            28101 BALLARD DR. STE. F
SALT LAKE CITY, UT 84114                 SALT LAKE CITY, UT 84114-6741              LAKE FOREST, IL 60045




DORA R HALTER                            DORALINA ANGHELESCU                        DORVIT PHARMACY INC. D/B/A THE CURE
2671 AVENIR PLACE                        1586 HOLLY HILL DR                         PHARMACY
APT 2307                                 GERMANTOWN, TN 38138                       1025A 3RD AVE
VIENNA, VA 22180                                                                    NEW YORK, NY 10065
DOUBLE L INSULATION       Case    19-11292-KG
                                          DOUGLASDoc  14 COMPANY
                                                  ALLRED   Filed 06/10/19   Page 46 of 149
                                                                               DOUGLAS BRUST
PO BOX 1277                                11452 EL CAMINO REAL #200           2654 FIRST ST.
DRIPPING SPRINGS, TX 78620-1277            SAN DIEGO, CA 92130                 MATLACHA, FL 33993-9759




DOUGLAS P HARTFORD                         DOUGLAS VINCENT PACE                DOYAL T HENDERSON
51 BRIDLE PATH                             115 CHATFIELD WAY                   1800 PLATEAU VISTA BLVD
DOVER, NH 03820                            FRANKLIN, TN 37067                  APT 11106
                                                                               ROUND ROCK, TX 78664




DP AIR CORPORATION                         DPR CONSTRUCTION, INC.              DPT LAKEWOOD LLC
P.O. BOX 52726                             3020 E. CAMELBACK RD #100           1200 PACO WAY
PHOENIX, AZ 85072-2726                     PHOENIX, AZ 85016                   LAKEWOOD, NJ 08701




DPT LAKEWOOD LLC                           DPT LAKEWOOD LLC                    DPT LAKEWOOD LLC
ATTN PAUL JOSEPHS, SVP SALES,              C/O DPT LABORATORIES LTD            C/O DPT LABORATORIES LTD
MARKETING & CORP DEVELOPMENT               ATTN GENERAL COUNSEL                ATTN PRESIDENT
1200 PACO WAY                              318 MCCULLOUGH AVE                  318 MCCULLOUGH AVE
LAKEWOOD, NJ 08701                         SAN ANTONIO, TX 78215               SAN ANTONIO, TX 78215



DR. DAVID STEWART                          DR. DONALD BACON                    DR. HARVEY FINKELSTEIN
ATTN: DR. DAVID STEWART                    510 DEMI JOHN BEND                  PAIN CARE OF LONG ISLAND
2412 CRANMORE COURT                        CANYON LAKE, TX 78133               875 OLD COUNTRY RD.SUITE 151
SNELLVILLE, GA 30078                                                           PLAINVIEW, NY 11803




DR. JAMES E. WILSON, S.C.                  DR. JAMES RHO                       DR. REDDY'S
101 E 75TH STREET                          31190 SUTHERLAND DR.                7731
SUITE 110                                  REDLANDS, CA 92373                  PO BOX 7247
NAPERVILLE, IL 60565                                                           PHILADELPHIA, PA 19170




DR. STEVE MANGAR                           DR. STEVE PLLC                      DRAEGER, INC.
PACIFIC PAIN CARE                          209 ROSEHAVEN CT                    PO BOX 13369
680 E. ROMIE LN.SUITE B                    KINGSPORT, TN 37663                 NEWARK, NJ 07101
SALINAS, CA 93901




DRAVET SYNDROME FOUNDATION                 DROGUERIA BETANCES                  DROGUERIA BETANCES, LLC
PO BOX 16536                               AVE. LUIS MUÑOS MARÍN ESQ.          AVE. LUIS MUÑOS MARÍN ESQ.
WEST HAVEN, CT 06516                       EL TROCHE CAGUAS 00725              EL TROCHE CAGUAS 00725
                                           PR                                  PR




DROPOFF                                    DRUE W WATSON                       DRUG ENFORCEMENT ADMIN.
800 BRAZOS ST                              8705 BARTLETT RD                    DC
SUITE 250                                  MINT HILL, NC 28227                 800 K Street, N.W.
AUSTIN, TX 78701                                                               Suite 500
                                                                               Washington, DC 20001



DRUGS UNLIMITED, INC.                      DUFF & PHELPS, LLP                  DUNN MEADOW LLC
AVE. LUIS MUÑOS MARÍN ESQ.                 12595 COLLECTION CENTER DRIVE       1555 CENTER AVE 1ST FLOOR
EL TROCHE CAGUAS 00725                     CHICAGO, IL 60693                   FORT LEE, NJ 07024
PR
DUNN MEADOW LLC            Case 19-11292-KG    Doc 14
                                        DUNN MEADOW     Filed 06/10/19
                                                    PHARMACY             Page 47 DEVILS
                                                                            DUST of 149SOFTBALL
ATTN CEO                                 1555 CENTER AVENUE                  PO BOX 6173
1555 CENTER AVE, 1ST FL                  1ST FLOOR                           MESA, AZ 85216
FORT LEE, NJ 07024                       FORT LEE, NJ 07024




DUSTIN ROVELLO                           DWAYNE CULLEY                       DWIGHT FITCH
3136 JAZZ ST                             3350 E CULLUMBER CT                 2316 MIZNER BAY AVE
ROUND ROCK, TX 78664                     GILBERT, AZ 85234                   BRADENTON, FL 34208




DXC TECHNOLOGY                           DXP ENTERPRISES, INC                DXP ENTERPRISES, INC
248 CHAPMAN RD. SUITE 100                PO BOX 201791                       PO BOX 845011
UNIVERSITY OFFICE PLAZA-BRISTOL          DALLAS, TX 75320                    DALLAS, TX 75284-0511
BUILDING
ATTN: DRUG REBATE TEAM
NEWARK, DE 19702


DYEZZ SURVEILLANCE & SECURITY INC.       E.C.G., INC.                        EAGLE STAINLESS
PO BOX 189                               299 MARKET STREET, SUITE 310        816 NINA WAY
ORLAND PARK, IL 60462-0189               SADDLE BROOK, NJ 07663              WARMINSTER, PA 18974




EAN SERVICES, LLC                        EASLEY RESOURCE GROUP LLC           EAST COAST MOVING AND STORAGE
P.O. BOX 402383                          DBA TAX RESOURCE ALLIANCE           5401 N WOLCOTT AVE
ATLANTA, GA 30384-2383                   101 GREENVILLE AVE.STE. C #82       CHICAGO, IL 60640
                                         ALLEN, TX 75002-9117




EASYCHAIR TECHNICAL, LLC                 ECKERD CORP                         ECKERD CORPORATION
PO BOX 952                               30 HUNTER LANE                      30 HUNTER LANE
HIGLEY, AZ 85236                         CAMP HILL, PA 17011                 CAMP HILL, PA 17011




ECKERT SEAMANS CHERIN & MELLOTT, LLC     ECLINICAL SOLUTIONS                 ECRM
600 GRANT STREET 44TH FLOOR              603 WEST STREET                     27070 MILES ROAD
PITTSBURGH, PA 15219                     MANSFIELD, MA 02048                 SUITE A
                                                                             SOLON, OH 44139




EDGAR GARCIA                             EDITH ABASTA                        EDQM / COUNCIL OF EUROPE
3717 HAWK VIEW ST                        1104 N EVERGREEN CT                 EDQM/ COUNCIL OF EUROPE
ROUND ROCK, TX 78665                     GILBERT, AZ 85233                   7 ALLEE KASTNER
                                                                             STRASBOURG 67081
                                                                             FRANCE



EDWARD LUBIN                             EDWARD MICHAEL RUDNIC               EDWARD MICHNA, MD
433 14TH AVENUE N.                       105 N AUSTIN ., #4209               62 ALBA RD.
SAINT PETERSBURG, FL 33701               GEORGETOWN, TX 78626                WELLESLEY, MA 02181




EDWARD SELLERS                           EDWARDS VACUUM LLC                  EDWIN A BALDWIN
ATTN: EDWARD SELLERS                     DEPTCH 19935                        456 E PIERCE ST
78 BABY POINT CRESCENT                   PALATINE, IL 60055-9935             TEMPE, AZ 85281
TORONTO, ON M6S 2C1
CANADA
EEA CONSULTING ENGINEERSCase       19-11292-KG    Doc 14
                                           EFAX CORPORATE       Filed 06/10/19   Page 48MEDICAL
                                                                                    EGA  of 149MANAGEMENT LLC
6615 VAUGHT RANCH RD                       C/O J2 CLOUD SERVICES, INC.              201 E 69TH ST
SUITE 200                                  P.O. BOX 51873                           STE 2C
AUSTIN, TX 78730                           LOS ANGELES, CA 90051-6173               NEW YORK, NY 10021




EGALET CORP                                EGIDIO DEL FABBRO                        EGILIUS L.H. SPIERINGS
ATTN JAMES F. UPDIKE, SVP, BUS DEV         2407 E GRACE ST                          24 ALGONQUIAN DR
600 LEE RD, STE 100                        RICHMOND, VA 23223                       NATICK, MA 01760
WAYNE, PA 19087




EJ FINANCIAL ENTERPRISES, INC.             ELAINE R PESKIND                         ELENA I RENAUD
1925 WEST FIELD COURT, SUITE 300           1713 35TH AVE                            5663 W DUBLIN LANE
LAKE FOREST, IL 60045                      SEATTLE, WA 98122                        CHANDLER, AZ 85226




ELENA ILYABAEVA                            ELGA LABWATER, LLC                       ELIE N TALEJ
1932 E RENEE DR                            24910 NETWORK PLACE                      5217 BROCKTON CT.
PHOENIX, AZ 85024                          CHICAGO, IL 60673-1249                   GLEN ALLEN, VA 23059




ELIKEM KALEDZI                             ELIZABETH A GORSKI                       ELIZABETH BERNARDI
1874 PELHAM PKWY S                         1757 W MUIRWOOD DR                       157 N RAYMOND AVE
APT. 6N                                    PHOENIX, AZ 85045                        APT 302
BRONX, NY 10461                                                                     PASADENA, CA 91103




ELIZABETH BOHLEN                           ELIZABETH DYKENS                         ELIZABETH GURRIERI A/K/A ELIZABETH WISE
5729 S. KENWOOD AVE                        3724 PRINCETON AVE.                      346 ALDEN AVE
CHICAGO, IL 60637                          NASHVILLE, TN 37205                      NEW HAVEN, CT 06515




ELIZABETH GURRIERI AND JOHN DOE            ELIZABETH RACE                           ELLIS PORTER PLC
GURRIERI                                   3208 BEVERLY DRIVE                       755 W. BIG BEAVER ROAD STE #1100
346 ALDEN AVE                              DALLAS, TX 75205                         TROY, MI 48084
NEW HAVEN, CT 06515




ELONTEC                                    ELSEVIER                                 ELSNER HR LLC
5502 W BUCKEYE RD                          PO BOX 9533                              7904 E CHAPARRAL RD A110-PMB106
SUITE 100                                  NEW YORK, NY 10087-9533                  SCOTTSDALE, AZ 85250
PHOENIX, AZ 85043




EMD MILLIPORE CORP                         EMELY QUEZADA                            EMIL SAMARA
25760 NETWORK PLACE                        11116 EAST TOPAZ AVE                     ATTN: EMIL SAMARA
CHICAGO, IL 60673                          MESA, AZ 85212                           44282 N EL MACERO DR
                                                                                    DAVIS, CA 95618




EMIL SAMARA                                EMMANUEL AMEYIBOR                        EMMES CORPORATION, THE
ATTN: EMIL SAMARA                          4514 W. TUCKER LN                        ATTN DEBRA BANG, GENERAL COUNSEL
44282 N EL MACERO DR                       WAUKEGAN, IL 60085                       401 N WASHINGTON ST, STE 700
EL MACERO, CA 95618                                                                 ROCKVILLE, MD 20850
                           Case 19-11292-KG
EMPIRE HEALTHCHOICE ASSURANCE    INC            Doc 14 Filed
                                        EMPIRE HEALTHCHOICE        06/10/19
                                                               ASSURANCE  INC    Page 49 ofHEALTHCHOICE
                                                                                    EMPIRE  149         ASSURANCE INC
D/B/A EMPIRE BLUE CROSS AND BLUE        D/B/A EMPIRE BLUE CROSS AND BLUE             D/B/A EMPIRE BLUE CROSS AND BLUE
SHIELD                                  SHIELD                                       SHIELD
C/O COPPERSMITH BROCKELMAN PLC          C/O ROBINS KAPLAN LLP                        C/O ROBINS KAPLAN LLP
ATTN KEITH BEAUCHAMP                    ATTN ANDREW JOEL CROWDER                     ATTN GEOFFREY HOLMES KOZEN
2800 N CENTRAL AVE., STE 1900           2800 LASALLE PLZ, 800 LASALLE AVE            2800 LASALLE PLZ, 800 LASALLE AVE
PHOENIX, AZ 85004                       MINNEAPOLIS, MN 55402                        MINNEAPOLIS, MN 55402

EMPIRE HEALTHCHOICE ASSURANCE INC         EMPIRE HEALTHCHOICE ASSURANCE INC          EMPIRE HEALTHCHOICE ASSURANCE INC
D/B/A EMPIRE BLUE CROSS AND BLUE          D/B/A EMPIRE BLUE CROSS AND BLUE           D/B/A EMPIRE BLUE CROSS AND BLUE
SHIELD                                    SHIELD                                     SHIELD
C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP                      C/O ROBINS KAPLAN LLP
ATTN JAMIE R KURTZ                        ATTN JEFFREY SULLIVAN GLEASON              ATTN JOSHUA BUCHANON STROM
2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE          2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402                      MINNEAPOLIS, MN 55402

EMPIRE HEALTHCHOICE ASSURANCE INC         EMPLOYERS INSURANCE COMPNAY OF             EMS TECHNOLOGY SOLUTIONS, LLC
D/B/A EMPIRE BLUE CROSS AND BLUE          WAUSAU                                     3771 TRAMORE POINTE PKWY
SHIELD                                    175 BERKELEY STREET                        AUSTELL, GA 30106
C/O ROBINS KAPLAN LLP                     BOSTON, MA 02116
ATTN THOMAS C MAHLUM
2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402

ENDO GENERICS HOLDING, INC.               ENDO HEALTH PHARMACEUTICALS INC            ENDO HEALTH SOLUTIONS INC
FIRST FLOOR, MINERVA HOUSE,               1030 SYNC STREET                           1400 ATWATER DR
SIMMONSCOURT ROAD                         MORRISVILLE, NC 27560                      MALVERN, PA 19355
BALLSBRIDGE, DUBLIN 4
IRELAND



ENDO HEALTH SOLUTIONS INC.                ENDO HEALTH SOLUTIONS                      ENDO HEALTH SOLUTIONS, INC
1400 ATWATER DR                           1400 ATWATER DR                            1400 ATWATER DR
MALVERN, PA 19355                         MALVERN, PA 19355                          MALVERN, PA 19355




ENDO HEALTH SOLUTIONS, INC.               ENDO HEALTH, SOLUTIONS, INC AND ENDO       ENDO INERTNATIONAL PLC
1400 ATWATER DR                           PHARMACEUTICALS, INC                       1400 ATWATER DR
MALVERN, PA 19355                         1400 ATWATER DR                            MALVERN, PA 19355
                                          MALVERN, PA 19355




ENDO INTERNATION PLC                      ENDO INTERNATIONAL PLC                     ENDO INTERNATIONAL PLC
1400 ATWATER DR                           1400 ATWATER DR                            1400 ATWATER DR
MALVERN, PA 19355                         MALVERN, PA 19355                          MALVERN, PA 19355




ENDO PHAMACEUTICALS INC.                  ENDO PHARMACEUTICAL HOLDINGS INC           ENDO PHARMACEUTICAL INC
1400 ATWATER DR                           1400 ATWATER DR                            1400 ATWATER DR
MALVERN, PA 19355                         MALVERN, PA 19355                          MALVERN, PA 19355




ENDO PHARMACEUTICAL, INC.                 ENDO PHARMACEUTICALS HOLDINGS INC          ENDO PHARMACEUTICALS INC
1400 ATWATER DR                           1400 ATWATER DR                            1400 ATWATER DR
MALVERN, PA 19355                         MALVERN, PA 19355                          MALVERN, PA 19355




ENDO PHARMACEUTICALS INC.                 ENDO PHARMACEUTICALS INC.                  ENDO PHARMACEUTICALS SOLUTIONS INC.
1400 ATWATER DR                           1400 ATWATER DR                            1400 ATWATER DR
MALVERN, PA 19355                         MALVERN, PA 19355                          MALVERN, PA 19355
                        Case
ENDO PHARMACEUTICALS, INC       19-11292-KG    Doc 14 FiledINC.
                                        ENDO PHARMACEUTICALS, 06/10/19          Page 50 of 149
                                                                                   ENDURANCE AMERICAN SPECIALTY
1400 ATWATER DR                         1400 ATWATER DR                             INSURANCE COMPANY
MALVERN, PA 19355                       MALVERN, PA 19355                           750 3RD AVENUE FLOOR 2
                                                                                    NEW YORK, NY 10017




ENGINEERED COMPUTER ROOMS               ENRIQUE J CARRAZANA                         ENRIQUE J CARRAZANA
12225 GREENVILLE AVE                    214 ALMERIA AVE                             214 ALMERIA AVE
SUITE 330                               CORAL GABLES, FL 33134                      MIAMI, FL 33134
DALLAS, TX 75238




ENRIQUE M KADILE                        ENTERPRISE RENT-A-CAR                       ENV SERVICES, INC.
4991 S. MOCCASIN TRAIL                  EAN SERVICES, LLC                           C/O MUNICIPAL AUTHORITY OF
GILBERT, AZ 85298                       PO BOX 402383                               SOUTH HEIDELBERG
                                        ATLANTA, GA 30384-2383                      P.O. BOX 37836
                                                                                    BALTIMORE, MD 21297-7836



ENVIRONMENTAL TESTING SERVICES (NOT     ENVISION PHARMACEUTICAL SERVICES, LLC       ENVISION PHARMACEUTICAL SERVICES, LLC
ENV SERVICES)                           2181 EAST AURORA RD                         2181 EAST AURORA ROAD
10908 METRONOME DR                      SE 201                                      SUITE 201
HOUSTON, TX 77043                       TWINSBURG, OH 44087                         TWINSBURG, OH 44087




EPILEPSY FOUNDATION OF GREATER LOS      EPILEPSY FOUNDATION                         EPILEPSY FOUNDATION
ANGELES                                 8301 PROFESSIONAL PLACE EAST                8301 PROFESSIONAL PLACE EAST
5777 W CENTURY BLVD                     STE 200                                     STE 200
SUITE 820                               HYATTSVILLE, MD 20785                       LANDOVER, MD 20785
LOS ANGELES, CA 90045



EPILEPSY SOCIETY OF AUSTRALIA           EPL PATHOLOGY ARCHIVES, INC.                EPPENDORF NORTH AMERICA INC
CHESHAM LANE                            DBA EPL ARCHIVES, INC.                      P.O. BOX 13275
CHALFRONT ST PETER                      PO BOX 1253                                 NEWARK, NJ 07101-3275
BUCKINGHAMSHIRE SL9 0RJ                 STERLING, VA 20167




ERAN O'DONNAL                           ERIC ANTHONY KIZIOR                         ERIC CARROLL
747 W PEPPER PLACE                      3032 E THUNDERHILL PLACE                    3533 STROLL RD
MESA, AZ 85201                          PHOENIX, AZ 85048                           PLANO, TX 75025




ERIC FRASCO                             ERIC LEVY                                   ERIC ROELAND (UC REGENTS)
1864 77TH ST                            58 HICKORY KINGDOM RD.                      9500 GILMAN DR, MAIL CODE 0843
BROOKLYN, NY 11214                      BEDFORD, NY 10506                           LA JOLLA, CA 92093-0843




ERIC ROELAND                            ERIC THOMAS                                 ERICA CLEARY
13333 TIVERTON RD                       115 CATHARINE LANE                          5 PLIMPTON ROAD
SAN DIEGO, CA 92130                     FAYETTEVILLE, GA 30214                      FOXBORO, MA 02035




ERICA L HARRISON                        ERICA R GALLARDO                            ERICA SCHIFSKY
7810 TOPANGA CANYON BLVD                737 E BROWN RD                              1333 SOUTH SPECTRUM BLVD STE 100
#203                                    APT 35                                      CHANDLER, AZ 85286
CANOGA PARK, CA 91304                   MESA, AZ 85203
ERICA SCHIFSKY           Case 19-11292-KG     Doc
                                      ERIK JAMES   14 Filed 06/10/19
                                                 HANSON                  Page 51 GUTZEIT
                                                                            ERIKA of 149
2143 WEST HAWKEN WAY                    613 STORER RD                       7828 DAY CREEK BLVD.
CHANDLER, AZ 85286                      BRADFORD, ME 04410                  APT 1431
                                                                            RANCHO CUCAMONGA, CA 91739




ERIKS SEALS & PLASTICS                  ERIKS SOUTHWEST                     ERNEST FREDERICKSEN
35355 EAGLE WAY                         5615 EAGLE WAY                      3111 FLANAGAN DRIVE
CHICAGO, IL 60678                       CHICAGO, IL 60678-1056              GLASTONBURY, CT 06033




ERNEST HODGES                           ESCRIBERS, LLC                      ESHWARAN NARAYANAN
5600 LAKESIDE DR.                       7227 N 16TH ST.                     875 W PECOS RD
PFAFFTOWN, NC 27040                     SUITE 207                           APT 1047
                                        PHOENIX, AZ 85020                   CHANDLER, AZ 85225




ESI MAIL PHARMACY SERVICE INC           ESPER MEDIA LLC                     ESPERANCA
13900 RIVERPORT DR                      ATTN GREG COLE, OWNER               JARED LESLIE AT ESPERANCA
MARLAND HEIGHTS, MO 63043               2553 S PONDEROSA DR                 1911 WEST EARLL DRIVE
                                        GILBERT, AZ 85295                   PHOENIX, AZ 85015




ESTICAST RESEARCH & CONSULTING LLP      ETERA CONSULTING, LLC               ETHAN NAYLOR
S. N O 8/2A/1 VITTHAL HEIGHTS, ABOVE    1100 17TH STREET NW, SUITE 605      1121 UNIVERSITY BLVD W
YASHWANT KHARADI, PUNE                  WASHINGTON, DC 20036                APT 1206
MAHARASHTRA 411014                                                          SILVER SPRING, MD 20902
INDIA



ETHEX CORPORATION                       ETHINK EDUCATION, LLC               EUDRAC LIMITED
VISTRA CORPORATE SERVICES               PO BOX 245                          HAMPDEN HOUSE
STE 23                                  FALLSTON, MD 21047                  MONUMENT BUSINESS PARK
1ST FLOOR                                                                   ENGLAND
EDEN PLAZA, EDEN ISLAD, MAHE REPUBLIC                                       CHALGROVE, OXON OX447RW UNITED
OF SEYCHELLES                                                               KINGDOM


EUGENE COOPER                           EUROFINS PANLABS, INC               EUTECHIC SERVICES, LLC
2621 CRUM CREEK DR                      DEPT #1999                          2541 SOUTH IH-35 SUITE 200-336
BERWYN, PA 19312                        PO BOX 11407                        ROUND ROCK, TX 78664
                                        BIRMINGHAM, AL 35246-1999




EUTICALS SPA                            EVANSTON                            EVERETT MCKINLEY
ATTN MIRELLA MOSCHENI                   Ten Parkway North                   1900 SCOFIELD RIDGE PKWY #2903
V. LE MILANO, 86                        #100                                AUSTIN, TX 78727
LODI 26900                              Deerfield, IL 60015




EWI WORLDWIDE, INC.                     EXCALIBUR PATHOLOGY INC             EXCELLIS HEALTH SOLUTIONS
LOCKBOX #232315                         5830 N BLUE LAKE DR                 4 E BRIDGE ST
2315 MOMENTUM PLACE                     NORMAN, OK 73069                    SUITE 300
CHICAGO, IL 60689-5323                                                      NEW HOPE, PA 18938




EXCITE PHARMA SERVICES LLC              EXCITE PHARMA SERVICES LLC          EXCITE PHARMA SERVICES, LLC
ATTN KEITH KOEHLER                      ATTN KONG LY                        ATTN KEITH KOEHLER
324 NW CAPITAL DR                       324 NW CAPITAL DR                   324 NW CAPITAL DR
LEE'S SUMMIT, MO 64086                  LEE'S SUMMIT, MO 64086              LEES SUMMIT, MO 64086
EXOVA PHARMA US LLC       Case      19-11292-KG    Doc 14 Filed
                                            EXP PHARMACEUTICAL SERV.06/10/19
                                                                     CORP             Page 52 of 149 PATHOLOGY
                                                                                         EXPERIMENTAL
P.O. BOX 847399                              PO BOX 603107                               LABORATORIES, INC.
LOS ANGELES, CA 90084-7399                   CHARLOTTE, NC 28260-3107                    PO BOX 169
                                                                                         STERLING, VA 20167




EXPRESS SCRIPTS HOLDING CO                   EXPRESS SCRIPTS HOLDING COMPANY             EXPRESS SCRIPTS INC (ESI)
900 COTTAGE GROVE ROAD                       900 COTTAGE GROVE ROAD                      ATTN EDWARD J ADAMCIK, VP PHARMA
BLOOMFIELD, CT 06002                         BLOOMFIELD, CT 06002                        STRAT & CONTRACTING
                                                                                         ONE EXPRESS WAY
                                                                                         SAINT LOUIS, MO 63121



EXPRESS SCRIPTS INC (ESI)                    EXPRESS SCRIPTS INC                         EXPRESS SCRIPTS INC. (ESI)
ATTN GENERAL COUNSEL                         900 COTTAGE GROVE ROAD                      ATTN EDWARD J ADAMCIK, VP PHARMA
ONE EXPRESS WAY                              BLOOMFIELD, CT 06002                        STRAT & CONTRACTING
SAINT LOUIS, MO 63121                                                                    ONE EXPRESS WAY
                                                                                         SAINT LOUIS, MO 63121



EXPRESS SCRIPTS INC.                         EXPRESS SCRIPTS PHARMACY INC                EXPRESS SCRIPTS PHARMACY INC.
900 COTTAGE GROVE ROAD                       900 COTTAGE GROVE ROAD                      900 COTTAGE GROVE ROAD
BLOOMFIELD, CT 06002                         BLOOMFIELD, CT 06002                        BLOOMFIELD, CT 06002




EXPRESS SCRIPTS SENIOR CARE HOLDINGS         EXPRESS SCRIPTS, INC.                       EXPRESS SERVICES INC
INC                                          900 COTTAGE GROVE ROAD                      P.O. BOX 203901
ONE EXPRESS WAY                              BLOOMFIELD, CT 06002                        DALLAS, TX 75320
ST. LOUIS, MO 63121




EXPRESSS SCRIPTS INC (ESI)                   FACULTY STUDENT ASSOCIATION (FSA) #753      FADI BRAITEH
ATTN GENERAL COUNSEL                         ATTN: CHRISTINE LINNEMAN                    ATTN: FADI BRAITEH
ONE EXPRESS WAY                              CANCER CENTER OFFICE OF FINANCE             2505 ANTHEM VILLAGE DR SUITE #632
SAINT LOUIS, MO 63121                        MAIL CODE 8550                              HENDERSON, NV 89052
                                             STONY BROOK, NY 11794-8550



FAIR WORK P.C.                               FAIRVIEW HEALTH SERVICES                    FAMILY CARE RX
192 SOUTH STREET, SUITE 450                  2450 RIVERSIDE AVE                          4752 JOG RD.
BOSTON, MA 02111                             MINNEAPOLIS, MN 55454                       LAKE WORTH, FL 33467




FARHAWK MARKETING SERVICES                   FAROOQ KHAN                                 FASB
44392 COUNTY ROAD 191                        21 SHELBURNE DRIVE                          PO BOX 418272
NUMBER 88                                    OAK BROOK, IL 60523                         BOSTON, MA 02241-8272
FINEVIEW, NY 13640




FASTSIGNS 17101                              FAULKNER LAW OFFICES, PLLC                  FAY M. PURCELL
105 E. OLDSETTLERS BLVD; STE. 104            8687 EAST VIA DE VENTURA, SUITE 306         4821 SOUTHRIDGE AVE
ROUND ROCK, TX 78664                         SCOTTSDALE, AZ 85258                        LOS ANGELES, CA 90043




FCA & ASSOCIATES, INC, D/B/A PRACTICAL       FEDERICO ALBRECHT                           FEDEX CUSTOM CRITICAL
SOLUTIONS                                    355 WESTWOOD DR                             PO BOX 645135
4 EFFINGHAM ROAD                             KEY BISCAYNE, FL 33149                      PITTSBURGH, PA 15264-5135
YARDELY, PA 19067
FEDEX FREIGHT               Case 19-11292-KG
                                         FEDEX Doc 14       Filed 06/10/19   Page 53 FINANCIAL
                                                                                FENIX of 149 FORENSICS LLC
DEPT CH PO BOX 10306                     P.O. BOX 7221                           10565 NORTH 114TH ST.
PALATINE, IL 60055                       PASADENA, CA 91109-7321                 STE.100
                                                                                 SCOTTSDALE, AZ 85259




FERNANDO DE ZARRAGA                      FERNANDO DE ZARRAGA                     FIDELITY MANAGEMENT TRUST COMPANY
6900 BARQUERA ST                         6900 BARQUERA ST                        82 Devonshire Street
CORAL GABLES, FL 33146                   MIAMI, FL 33146                         Boston, MA 02109




FIELD CALIBRATIONS INC                   FILTER PROCESS & SUPPLY                 FINANCE DEPT (TREASURY SERVS)
9830 SOUTH 51ST ST                       45 STOUTS LN., UNIT #3                  UNIVERSITY OF PLYMOUTH
SUITE B-111                              MONMOUTH JUNCTION, NJ 08852             DRAKE CIRCUS
PHOENIX, AZ 85044-5668                                                           PLYMOUTH PL4 8AA
                                                                                 UNITED KINGDOM



FINE LINE                                FINGERPAINT MARKETING, INC.             FINNEGAN, HENDERSON, FARABOW,
4506 E KERBY AVE                         395 BROADWAY                            GARRETT & DUNNER, LLP
PHOENIX, AZ 85040                        SARATOGA SPRINGS, NY 12866              901 NEW YORK AVENUE NW
                                                                                 WASHINGTON, DC 20001




FINRA                                    FINRA                                   FIORE HEALTHCARE ADVISORS INC.
1 LIBERTY PLAZA                          1735 K STREET, NW                       102 SOUTH STREET UNIT 2
165 BROADWAY                             WASHINGTON, DC 20006                    BOSTON, MA 02111
NEW YORK, NY 10006




FIORE HEALTHCARE ADVISORS, INC.          FIREBIRDS WOOD FIRED GRILL              FIRETRON, INC.
102 SOUTH STREET, UNIT 2                 C/O FIREBIRDS INTERNATIONAL, LLC        P.O. BOX 1604
BOSTON, MA 02111                         13850 BALLANTYNE CORPORATE PLACE        STAFFORD, TX 77497
                                         SUITE 450
                                         CHARLOTTE, NC 28277



FIRSTWORD AMERICA INC.                   FISCHER ELECTRIC L.C.                   FISH & RICHARDSON P.C.
PO BOX 21032                             PO BOX 2800-268                         PO BOX 3295
NEW YORK, NY 10087                       CAREFREE, AZ 85377                      BOSTON, MA 02241-3295




FISH & RICHARDSON, P.C.                  FISHER CLINICAL SERVICES                FISHER SCIENTIFIC CO, LLC
PO BOX 3295                              13741 COLLECTIONS CENTER DR.            ACCT # 900013-004
BOSTON, MA 02241                         CHICAGO, IL 60693                       13551 COLLECTIONS CTR. DR.
                                                                                 CHICAGO, IL 60693




FIT2MARKET LLC                           FITCH LAW PARTNERS LLP                  FITNESS IN MOTION
81 NEWTON LANE, SUITE 301                ONE BEACON ST                           8522 BROADWAY
EAST HAMPTON, NY 11937                   BOSTON, MA 02108                        SUITE 101
                                                                                 SAN ANTONIO, TX 78217




FL FULLER LANDAU SENCRL/LLP              FLEMING COMPLETE                        FLEMING'S PRIME STEAKHOUSE & WINE BAR
PLACE DU CANADA 1010 DE LA               133 E COMSTOCK DRIVE STE. 1             71-800 HIGHWAY 11
GAUCHETIERE WEST                         CHANDLER, AZ 85225                      RANCHO MIRAGE, CA 92270
SUITE 200
MONTREAL, QC H3B 2S1
CANADA
                           Case
FLORIDA ACADEMY OF PHYSICIAN     19-11292-KG
                               ASSIST    FLORIDA Doc
                                                 BOARD14    Filed 06/10/19
                                                        OF PHARMACY              Page 54 ofDEPARTMENT
                                                                                    FLORIDA 149       OF REVENUE
INC                                      ATTN: JENNIFER WENHOLD, EXE. DIRECTOR      1415 W US HIGHWAY 9 STE 115
190 ASHLEY LN - ATTN: TERRY GRUCHOW      4052 BALD CYPRESS WAY, BIN C-04            LAKE CITY, FL 32055
OLDSMAR, FL 34677                        TALLAHASSEE, FL 32399-3254




FLORIDA SOCIETY OF CLINICAL              FLUID METERING INC                         FLUORTEK
ONCOLOGY (FLASCO)                        PO BOX 945846                              12 MCFADDEN RD
10022 WATER WORKS LN                     ATLANTA, GA 30394                          EASTON, PA 18045
RIVERVIEW, FL 33578




FOG BREAK, LTD                           FOLEY & LARDNER LLP                        FOLIO INVESTMENTS
2527 JARRATT AVENUE                      555 SOUTH FLOWER STREET SUITE 3500         PO BOX 10544
AUSTIN, TX 78703                         LOS ANGELES, CA 90071-2411                 MC LEAN, VA 22102




FOLLOW THE DATA LLC                      FONA INTERNATIONAL, INC.                   FOOD AND DRUG ADMINISTRATION
C/O TED LUKASZEK                         PO BOX 71333                               PO BOX 979107
6972 E STAGECOACH PASS                   CHICAGO, IL 60694-1333                     SAINT LOUIS, MO 63197
CAREFREE, AZ 85377-5454




FOOD DRUG AND ADMINISTRATION             FOREST CREEK EYE CENTER                    FOREST HOUSE, LLC
OFFICE OF FINANCIAL MANAGEMENT           1701 RED BUD LANE                          3833 E FRANCES LN
SHARRON BUTLER, COLE-14-14202D8455       ROUND ROCK, TX 78664                       GILBERT, AZ 85295
COLESVILLE RD
SILVER SPRING, MD 20993-0002



FOREST TENNANT, M.D., DR. PH             FOUNDATION FOR PRADER-WILLI RESEARCH       FOUNDATION FOR PRADER-WILLI RESEARCH
C/O VERACT INC.                          340 S LEMON AVE                            DEPT LA 23216
338 SOUTH GLENDORA AVE                   SUITE 3620                                 PASADENA, CA 91185
WEST COVINA, CA 91790                    WALNUT, CA 91789




FOUNDATION FOR VOICE RESTORATION         FOURTEAU, PATRICK                          FOURTEAU, PATRICK
1255 W COLTON AVE SUITE 543              C/O CRAVATH SWAINE & MOORE LLP             C/O KESSLER TOPAZ MELTZER & CHECK LLP
REDLANDS, CA 92374                       ATTN DANIEL SLIFKIN                        ATTN ANDREW L ZIVITZ
                                         825 8TH AVE                                280 KING OF PRUSSIA RD
                                         NEW YORK, NY 10019                         RADNOR, PA 19087



FOURTEAU, PATRICK                        FOURTEAU, PATRICK                          FOURTEAU, PATRICK
C/O KESSLER TOPAZ MELTZER & CHECK LLP    C/O KESSLER TOPAZ MELTZER & CHECK LLP      C/O MICHAEL MARC GOLDBERG
ATTN JENNIFER L JOOST                    ATTN RUPA NATH COOK                        13650 MARINA POINTE DR., STE 708
1 SANSOME ST., STE 1850                  1 SANSOME ST., STE 1850                    MARINA DEL REY, CA 90292
SAN FRANCISCO, CA 94104                  SAN FRANCISCO, CA 94104



FOURTEAU, PATRICK                        FOURTEAU, PATRICK                          FOX SWIBEL LEVIN & CARROLL, LLP
C/O SNELL & WILMER LLP                   C/O WILLIAM G FAIRBOURN                    200 W. MADISON STREET. SUITE 3000
ATTN ANTHONY TOM KING                                                               CHICAGO, IL 60606-3417
400 E VAN BUREN
PHOENIX, AZ 85004



FRANC DEL FOSSE                          FRANCHISE TAX BOARD                        FRANCINE C HOH
2907 E. ARROWHEAD TRAIL                  PO BOX 942857                              DBA ALWAYS THINK COMFORT
GILBERT, AZ 85297                        SACRAMENTO, CA 94257-0511                  1 INDEPENDENCE CT.
                                                                                    SOMERSET, NJ 08873
FRANCIS E. MCGOVERN       Case 19-11292-KG    Doc 14 PPLC
                                       FRANK LOVECCHIO Filed 06/10/19        Page 55 of
                                                                                FRANK   149 JR.
                                                                                      MEYSKENS
401 WEST ALABAMA AVENUE                 301 W. GEORGIA AVENUE                   30 MORNING BREEZE
HOUSTON, TX 77006                       PHOENIX, AZ 85013                       IRVINE, CA 92603




FRANK SKINNER                           FRANK VOCCI                             FRANKLIN PERRY, M.D., PH.D.
2144 SURRENDER AVE.                     ATTN: FRANK VOCCI                       RAINBOW MEDICAL CORPORATION
AUSTIN, TX 78728                        1040 PARK AVE STE 103                   INTERNAL MEDICINE & PAIN MGMT.2175
                                        BALTIMORE, MD 21201                     PARK BOULEVARD
                                                                                PALO ALTO, CA 94306



FRED GRISE                              FREDRIKSON & BYRON, P.A.                FREEBORN & PETERS LLP
217 DOGWOOD LANE                        PO BOX 1484                             311 S. WACKER DRIVE, SUITE 3000
LINCROFT, NJ 07738                      MINNEAPOLIS, MN 55480-1484              CHICAGO, IL 60606




FREEH GROUP INTERNATIONAL SOLUTIONS     FREEMAN JABARI                          FRESENIUS KABI USA
LLC                                     2329 FOOTHILL ROAD                      THREE CORPORATE DR
350 FIFTH AVE                           APT 1                                   LAKE ZURUCH, IL 60047
SUITE 3100                              PLEASANTON, CA 94588
NEW YORK, NY 10118



FRESENIUS USA MANUFACTURING INC         FRONTEO USA, INC.                       FROST, BROWN, TODD LLC
920 WINTER ST                           PO BOX 398824                           P.O. BOX 70087
TAX DEPT                                SAN FRANCISCO, CA 94139-8824            LOUISVILLE, KY 40270-0087
WALTHAM, MA 02451




FRY ROAD INDUSTRIAL LLC                 FRYE ROAD INDUSTRIAL LLC                FRYE ROAD TWO LLC
2727 W FRYE RD.                         2727 W FRYE RD.                         2727 W FRYE RD
SUITE 220                               SUITE 220                               SUITE 220
CHANDLER, AZ 85224                      CHANDLER, AZ 85224                      CHANDLER, AZ 85224




FTI CONSULTING, INC                     FUJIFILM DIOSYNTH                       FULL SPECTRUM ANALYTICS, INC.
P.O. BOX 418178                         DEPT CH 16878                           1252 QUARRY LANE
BOSTON, MA 02241-8178                   PALATINE, IL 60055                      PLEASANTON, CA 94566




FURNESS CONTROLS                        FUSION FLUID EQUIPMENT LLC              FUTURE MEDICINE LTD
2020 YOUNTS RD                          8555 SILVER CREEK RD.                   UNITEC HOUSE
INDIAN TRAIL, NC 28079                  WHITEHALL, MI 49461                     2 ALBERT PLACE
                                                                                LONDON N3 1QB
                                                                                UNITED KINGDOM



GABRIELLE M MARINELLI                   GAETANO G RAGONA                        GAN CORP
191 VINE ST                             26 MAYFAIR RD                           ATTN: TONG J GAN
APT 104                                 NESCONSET, NY 11767                     7 FOX RUN
COLUMBUS, OH 43215                                                              SAINT JAMES, NY 11780




GARCIAS FAMILY HEALTH GROUP             GARRETT INDUSTRIAL SYSTEMS, LLC         GARRETT T BOONE
1022 SOUTH F STREET, STE. B             9009 MOUNTAIN RIDGE DR., SUITE 120      831 JEWIL DR FL
HARLINGEN, TX 78550                     AUSTIN, TX 78759                        FOX ISLAND, WA 98333
GARY J. LESSER            Case 19-11292-KG     Doc 14
                                       GARY R. MARQUEZ     Filed 06/10/19    Page 56 SHELTON
                                                                                GARY of 149
1009 BROOKMEADE DR                      281 SILVER CREEK DR.                    433 WEST 48TH ST
WINSTON SALEM, NC 27106                 LEANDER, TX 78641                       APT 3W
                                                                                NEW YORK, NY 10036




GARY W RAESZ CO., INC.                  GARY YEN                                GASES 101 LLC
7500 W HWY 71 STE. 111                  13 RISA-BENJAMIN WAY                    120 GRAYS CIRCLE
AUSTIN, TX 78735                        FREEHOLD, NJ 07728                      LIBERTY HILL, TX 78642




GATTEFOSSE CORPORATION                  GAVIN AWERBUCH(DO NOTUSE)               GBT-GROUP BIOTOSCANA SA
115 W CENTURY RD                        5889 BAY RD.                            ATTN RENATO DEGIORGI, EVP BUS DEV
STE 340                                 SAGINAW, MI 48604                       DR. LUIS BONAVITA 1294, OF 2004
PARAMUS, NJ 07652                                                               MONTEVIDEO 11300
                                                                                URUGUAY



GCP PHARMA LLC                          GEIGER                                  GELBER & SANTILLO PPLC
45 NE 52ND ST                           PO BOX 712144                           347 WEST 36TH STREET SUITE 805
OKLAHOMA CITY, OK 73105                 CINCINNATI, OH 45271                    NEW YORK, NY 10018




GEM PATH                                GENERAL INJECTABLES & VACCINES INC      GENERICS BIDCO I LLC
DR. BRAD BOLON                          80 SUMMIT VIEW LANE                     130 VINTAGE DDR
1100 EAST 17TH AVENUE                   BASTIAN, VA 24314-5299                  HUNTSVILLE, AL 35811
UNIT M202
LONGMONT, CO 80504-3715



GENERO GUTIERREZ                        GENESIS CANO                            GENETCO INC
311 BOWIE ST                            8111 5TH AVE                            711 UNION PKWY
APT 3007                                NORTH BERGEN, NJ 07047                  RONKONKOMA, NY 11779
AUSTIN, TX 78703




GENSER SCIENTIFIC INSTRUMENTS           GEN-TECH                                GENTILCORE CONSULT, LLC
Schweinsdorfer Str. 38                  7901 N. 70TH AVENUE                     2358 PHEASANT RUN DR
ROTHENBURG 91541                        GLENDALE, AZ 85303-1300                 MARYLAND HEIGHTS, MO 63043
GERMANY




GEORGE HAJJAR                           GEORGE J. WANG                          GEORGIA CVS PHARMACY LLC
24221 REYES ADOBE WAY                   947 6TH STREET                          1520 AVE PLACE
VALENCIA, CA 91354                      SUITE J                                 STE B-100
                                        SANTA MONICA, CA 90403                  ATLANTA, GA 30329




GEORGIA DEPARTMENT OF COMMUNITY         GEORGIA DEPARTMENT OF REVENUE           GEORGIA STATE BOARD OF PHARMACY
HEALTH                                  PROCESSING CENTER                       ATTN: TANJA BATTLE, EXE. DIRECTOR
MCO DRUG REBATES                        PO BOX 740329                           GEORGIA DEPARTMENT OF COMMUNITY
PO BOX 741426                           ATLANTA, GA 30374                       HEALTH
ATLANTA, GA 30374                                                               2 PEACHTREE ST NW, 6TH FLOOR
                                                                                ATLANTA, GA 30303


GERALD CHATMAN                          GERALD EDELMAN                          GERALD M. SACKS, M.D., INC.
519 EXTON AVE #1                        1701 COTTONWOOD VALLEY CIRCLE           2021 SANTA MONICA BLVD.
INGLEWOOD, CA 90302                     SOUTH                                   SUITE 300-E
                                        IRVING, TX 75038                        SANTA MONICA, CA 90404
GERRESHEIMER GLASS INC    Case 19-11292-KG    Doc 14
                                       GERRY OSTER          Filed 06/10/19   Page 57 of P.C.
                                                                                GIBBONS 149
537 CRYSTAL AVE.                       ATTN: GERRY OSTER                        PO BOX 5177
ATTN: AR                               4 DAVIS COURT                            NEW YORK, NY 10087-5177
VINELAND, NJ 08360                     BROOKLINE, MA 02445




GIBRALTAR LABORATORIES, INC.           GIGI BRANNON                             GILLETTE CHILDRENS SPEC HEALTH
122 FAIRFIELD ROAD                     1816 CASTRO ST.                          200 UNIVERISITY AVE EAST
FAIRFIELD, NJ 07004-1513               SAN FRANCISCO, CA 94131                  SAINT PAUL, MN 55101




GINA SCARCELLI ADAMS                   GIOVANNA ADAMS                           GIOVANNI DECASTRO
4101 THUNDER TWICE ST                  4101 THUNDER TWICE ST                    1155 W ELLIOT RD
LAS VEGAS, NV 89129                    LAS VEGAS, NV 89129                      APT 2013
                                                                                TEMPE, AZ 85284




GLADSTONE C. MCDOWELL II               GLADSTONE C. MCDOWELL II                 GLEN MILLS, INC
ATTN: GLADSTONE MCDOWELL               ATTN: GLADSTONE MCDOWELL                 220 DELAWANNA AVE
1210 GEMINI PLACE, SUITE 300           1210 GEMINI PLACE, SUITE 300             CLIFTON, NJ 07014
COLUMBUS, OH 43420                     FREMONT, OH 43420




GLENN JAY LESSER                       GLOBAL ACCOUNT MANAGEMENT                GLOBAL CROSSING CONFERENCE
1009 BROOKMEADE DR                     GROUP                                    PO BOX 790407
WINSTON SALEM, NC 27106                BRETT KELLY CONSULTING SERVICE           SAINT LOUIS, MO 63179-0407
                                       1612 SAVANNAH WAY
                                       WAUNAKEE, WI 53597



GLOBAL EQUIPMENT COMPANY               GLOBAL                                   GLOBALDATA PUBLICATIONS INC.
29833 NETWORK PLACE                    ACADEMY FOR MEDICAL EDUCATION            441 LEXINGTON AVE, 3RD FLOOR
CHICAGO, IL 60673-1298                 5635 FISHERS LANESUITE 6000              NEW YORK, NY 10017
                                       ROCKVILLE, MD 20852




GLOBEPHARMA, INC                       GLORIA COMPIAN                           GMP LABELING
PO BOX 7307                            464 N PLEASANT DR                        6806 FALLSBROOK CT
NORTH BRUNSWICK, NJ 08902              CHANDLER, AZ 85225                       GRANITE BAY, CA 95746




GMP PUBLICATIONS, INC.                 GODFREY AWUAH-MENSAH                     GOLDBERG LAW PC
PO BOX 335                             13524 KEARNS DR                          ATTN MICHAEL MARC GOLDBERG
MEDFORD, NJ 08055                      PFLUGERVILLE, TX 78660                   13650 MARINA POINTE DR., STE 708
                                                                                MARINA DEL REY, CA 90292




GOLDMAN & ZWILLINGER PLLC              GOLKOW LITIGATION SERVICES               GOODELL, DEVRIES, LEECH & DANN, LLP
ATTN SCOTT H ZWILLINGER                ONE LIBERTY PLACE                        ONE SOUTH ST 20TH FL
7047 E GREENWAY PKWY., STE 150         1650 MARKET STREET                       BALTIMORE, MD 21202
SCOTTSDALE, AZ 85254                   SUITE 5150
                                       PHILADELPHIA, PA 19103



GORDON FREEDMAN                        GOTHAM CCTV                              GOUTHAM ADELLI
13 CARLTON DR.                         25 LONG MEADOW RD.                       1057 N PARKSIDE DRIVE
MOUNT KISCO, NY 10549                  COMMACK, NY 11725                        APT 203
                                                                                TEMPE, AZ 85281
GOW-MAC                   Case   19-11292-KG    Doc 14
                                         GRACE FORDE        Filed 06/10/19   Page 58 of 149
                                                                                GRAINGER
PO BOX 25444                             19 SANDS POINT RD                      DEPT. 873017255
LEHIGH VALLEY, PA 18002-5444             PORT WASHINGTON, NY 11052              P.O. BOX 419267
                                                                                KANSAS CITY, MO 64141-6267




GRAND CANYON COUNCIL                     GRANIERI PRIVATE INVESTIGATIONS &      GRANT THORNTON LLP
2969 N GREENFIELD RD                     CONSULTING                             33562 TREASURY CENTER
PHOENIX, AZ 85016                        2303 N 44TH STREET                     CHICAGO, IL 60694
                                         SUITE 14-1162
                                         PHOENIX, AZ 85008-2442



GRAPHIC PRODUCTS INC                     GREAT LAKES MARKETING RESEARCH         GREAT LAKES
PO BOX 4030                              3361 EXECUTIVE PKWY                    3205 Peach Street
BEAVERTON, OR 97076                      SUITE 200                              Erie, PA 16508
                                         TOLEDO, OH 43606-1337




GREATER METROPLEX INTERIORS, INC.        GREEN OASIS LLC                        GREENBERG TRAURIG LLP
2020 E. CONTINENTAL BLVD.                155 REMOUNT                            ATTN E JEFFREY WALSH, SBN 009334
SOUTHLAKE, TX 76092                      SAN ANTONIO, TX 78218                  2375 EAST CAMELBACK ROAD
                                                                                PHOENIX, AZ 85016




GREENBERG TRAURIG, LLP                   GREENFIELD GLOBAL USA INC.             GREGORY J. GERBER, M.D. LLC
2375 E CAMELBACK RD, SUITE 700           58 VALE ROAD                           2819 HAYES AVE.
PHOENIX, AZ 85016                        BROOKFIELD, CT 06804                   SUITE 4
                                                                                SANDUSKY, OH 44870




GREGORY L. KEARNS                        GREGORY SLATER SPARKS                  GREGORY SMUTZER
12680 OAK HARBOR DR                      25071 PROSPECT AVE                     337 OWEN AVE
PLATTE CITY, MO 64079                    APT C                                  LANSDOWNE, PA 19050
                                         LOMA LINDA, CA 92354




GREG'S OVERHEAD DOOR SERVICE, INC        GRUBB & ELLIS /BRE COMMERCIAL          GS1 US, INC.
4905 CR 467                              2375 E CAMELBACK RD STE. 300           DEPT 781271
ELGIN, TX 78621                          ATTN: ACCTS RECEIVABLE                 PO BOX 78000
                                         PHOENIX, AZ 85016                      DETROIT, MI 48278-1271




GUAM BOARD OF EXAMINERS FOR              GUARDIAN NETWORK SOLUTIONS LLC         GUARDIAN PHARMACY
PHARMACY                                 4524 BOAT CLUB RD STE 174              1823 COMMERCENTER WEST
123 CHALAN KARETA                        FORT WORTH, TX 76135                   SAN BERNARDINO, CA 92408
MANGILAO 96913
GUAM



GUERRERO LLC                             GUNDERSON, DENTON, & PETERSON          GVC DIRECT INC
825 W CHICAGO AVE                        1930 N ARBOLEDA                        PO BOX 7340
CHICAGO, IL 60642                        SUITE 201                              NORTH PORT, FL 34290
                                         MESA, AZ 85213




GWIN, STEINMETZ & BAIRD PLLC             GYMA LABORATORIES OF AMERICA           H D SMITH HOLDING CO
401 W. MAIN ST.                          135 CANTIAGUE ROCK RD                  4820 W WABASH AVE
STE. 1000                                WESTBURY, NY 11590                     SPRINGFIELD, IL 62711
LOUISVILLE, KY 40202
                         Case
H. D. SMITH WHOLESALE DRUG CO    19-11292-KG      Doc
                                         H. D. SMITH   14 Filed
                                                     WHOLESALE    06/10/19
                                                               DRUG COMPANY Page
                                                                               H. 59  of 149
                                                                                  D. SMITH
4820 WEST WABASH AVENUE                   3063 FIAT AVE.                        4820 WEST WABASH AVENUE
SPRINGFIELD, IL 62711                     SPRINGFIELD, IL 62703                 SPRINGFIELD, IL 62711




H.D. SMITH WHOLESALE DRUG CO              H.D. SMITH WHOLESALE DRUG COMPANY     H.D. SMITH
4820 WEST WABASH AVENUE                   3063 FIAT AVE.                        4820 WEST WABASH AVENUE
SPRINGFIELD, IL 62711                     SPRINGFIELD, IL 62703                 SPRINGFIELD, IL 62711




HACH                                      HADDON, MORGAN & FOREMAN              HAICHEN YANG
PO BOX 608                                150 EAST 10TH AVE                     1 QUEENBERRY WAY
LOVELAND, CO 80539                        DENVER, CO 80203-2740                 BASKING RIDGE, NJ 07920




HALL PRODUCTIONS                          HALO BRANDED SOLUTIONS INC.           HAMILTON VOPELAK P.C.
951 FRONT ST                              3182 MOMENTUM PLACE                   450 HOUSTON STREET
GROVER BEACH, CA 93433                    CHICAGO, IL 60689-5331                COPPELL, TX 75019




HAMPTON INN & SUITES -CHANDLER            HAND ARENDALL LLC                     HANNAN PRODUCTS CORP
1231 SOUTH SPECTRUM BLVD                  PO BOX 123                            220 N SMITH AVE.
CHANDLER, AZ 85286                        MOBILE, AL 36601                      CORONA, CA 92880




HARBORSIDE PRESS LLC                      HARCO, INC                            HAROLD S MINKOWITZ
94 N WOODHULL RD                          30 HUNTER LANE                        5108 VALERIE ST
ATTN: CHRISTINE                           CAMP HILL, PA 17011                   BELLAIRE, TX 77401
HUNTINGTON, NY 11743




HARRIET DE WIT, PH.D.                     HARRINGTON INDUSTRIAL PLASTICS        HARRY CURNOW
PSYCHIATRY DEPT/ LEE JACKSON              14480 YORBA AVE                       701 JEFFERSON AVE
5841 S MARYLAND AVE STE B350 MC3077       CHINO, CA 91710                       JERMYN, PA 18433
CHICAGO, IL 60637




HARTFORD STEAM BOILER                     HASAN BADDAY                          HASSAN GHAZAL
1 STATE ST                                1155 SOUTH GRAND AVE                  3721 KENTUCKY HIGHWAY 7
HARTFORD, CT 06103                        APT 806                               VIPER, KY 41774
                                          LOS ANGELES, CA 90015




HATFIELD AND COMPANY, INC                 HAWAII MEDICAID FISCAL AGENT          HAWAII STATE BOARD OF PHARMACY
PO BOX 910862                             XEROX STATE HEALTHCARE LLC            ATTN: LEE ANN TESHIMA, EXE. OFFICER
DALLAS, TX 75391                          PO BOX 1480                           PO BOX 3469
                                          HONOLULU, HI 96807                    HONOLULU, HI 96801




HAYNSWORTH SINKLER BOYD, P.A.             HAZARDOUS DISPOSAL SPEC. INC          HAZMAT SERVICE
ONE NORTH MAIN STREET 2ND FLOOR           15695 DONNER PASS RD., STE 207        777 BRICKELL AVE. #500-9477
P.O. BOX 2048                             TRUCKEE, CA 96161                     MIAMI, FL 33131
GREENVILLE, SC 29601-2772
HC2, INC.                   Case 19-11292-KG
                                         HD SMITHDoc 14 Filed
                                                  WHOLESALE DRUG 06/10/19
                                                                 CO             Page 60ALLIANCE
                                                                                   HDH  of 149 LLC
360 LEXINGTON AVE                         ATTN DIRECTOR, BRAND RX                   16030 8TH AVENUE N
SUITE 1100                                3063 FIAT AVE                             MINNEAPOLIS, MN 55447
NEW YORK, NY 10017                        SPRINGFIELD, IL 62703




HDMA                                      HEALTH CARE AUTHORITY (WA)                HEALTH CARE POLICY AND FINANCING (CO)
901 N. GLEBE RD.                          OFFICE OF FINANCIAL RECOVERY              COLORADO DEPT OF HEALTH CARE POLICY
SUITE 1000                                DRUG REBATE PROGRAM                       AND FINANCING
ARLINGTON, VA 22203                       PO BOX 9501                               ATTN: CO FSS MEDICAID PROGRAM DRUG
                                          OLYMPIA, WA 98507                         REBATE
                                                                                    PO BOX 5897
                                                                                    DENVER, CO 80217-5897

HEALTH CARE POLICY AND FINANCING          HEALTHCARE & FAMILY SERVICES (IL)         HEALTHCARE DATA SOLUTIONS
ATTN: CO MEDICAID EXPANSION PROGRAM       RECOVERIES UNIT/DRP                       DEPT CH 19863
DRUG REBATE                               PO BOX 19107                              PALATINE, IL 60055
PO BOX 5897                               SPRINGFIELD, IL 62794
DENVER, CO 80217



HEALTHLOGIX                               HEALTHMARK INDUSTRIES COMPANY, INC.       HEALTHWELL FOUNDATION
99 CHERRY HILL RD                         18600 MALYN BLVD                          20440 CENTURY BLVD
PARSIPPANY, NJ 07054                      FRASER, MI 48026                          SUITE 250
                                                                                    GERMANTOWN, MD 20874




HEALTHWELL FOUNDATION                     HEALTHWISE PHARMACY                       HEATHER JANE MARKSON
P.O. BOX 489                              C/O ACCOUNTS PAYABLE                      110 ARAPAHO CIRCLE
BUCKEYSTOWN, MD 21717                     PO BOX 1779                               SAN RAMON, CA 94583
                                          SPARTANBURG, SC 29304




HEATHERANNE POLISENO                      H-E-B                                     HECTOR MIRANDA-GRAJALES
170 MEADOW PATH                           PO BOX 839999                             ATTN: HECTOR A MIRANDA-GRAJALES
WADING RIVER, NY 11792                    SAN ANTONIO, TX 78283                     4611 NW 53 AVE
                                                                                    GAINESVILLE, FL 32653




HEIDI STOUT                               HEIDOLPH NORTH AMERICA                    HEIDOLPH NORTH AMERICA
7326 VILLAGE PARK DRIVE                   P.O. BOX 2667                             P.O. BOX 2667
CLARKSON, MI 48346                        CINNAMINSON, NJ 08077                     RIVERTON, NJ 08077




HEIDRICK & STRUGGLES INC.                 HELLO! AZ DESTINATION MANAGEMENT          HEMAL V. MEHTA
1133 PAYSPHERE CIRCLE                     9237 EAST VIA DE VENTURA                  1856 LONGMORE LN
CHICAGO, IL 60674                         SUITE 105                                 BRENTWOOD, TN 37027
                                          SCOTTSDALE, AZ 85258




HEMATOLOGY / ONC PHARMACY                 HEMATOLOGY ONCOLOGY ASSOCIATES OF         HENRY & HORNE, LLP
ASSOCIATION                               CNY, P.C.                                 2055 E. WARNER RD. #101
8735 W HIGGINS RD, SUITE 300              ATTN: HEATHER CHEMOTTI                    TEMPE, AZ 85284
CHICAGO, IL 60631                         5008 BRITTONFIELD PKWY STE 700
                                          EAST SYRACUSE, NY 13057



HENRY L MASTERS                           HENRY SCHEIN, INC                         HENRY ZALESKI JR., M.D. P.A.
17381 SARA LN                             135 DURYEA RD                             6550 FANNIN
CHINO HILLS, CA 91709                     MELVILLE, NY 11747                        SUITE 2423
                                                                                    HOUSTON, TX 77030
                        Case 19-11292-KG
HERITAGE ENVIRONMENTAL SERVICES LLC          Doc
                                     HIGH PEAKS    14 SERVS.
                                                 WATER   Filed INC
                                                                06/10/19          Page 61PLAINS
                                                                                     HIGH of 149ONCOLOGY PROFESSIONALS
PO BOX 933024                        P.O. BOX 7150                                    PO BOX 2992
CLEVELAND, OH 44193                  PHOENIX, AZ 85011-7150                           LOVELAND, CO 80538




HIGHFIVE TECHNOLOGIES INC                HIGHFIVE, INC                                HIGHLAND PARK CVS, LLC
ATTN BRIAN MERRY                         500 ARGUELLO ST.; STE. 300                   1539 CLAVEY RD
500 Arguello Street                      REDWOOD CITY, CA 94063                       HIGHLAND PARK, IL 60035
Suite 300
Redwood City, CA 94063



HIKMA PHARMACEUTICALS USA INC            HILCO VALUATION SERVICES                     HILTON ORANGE COUNTY/ COSTA MESA
246 INDUSTRIAL WAY WEST                  5 REVERE DRIVE, SUITE 300                    3050 BRISTOL ST
EATONTOWN, NJ 07724                      ATTN: SANDY KIM                              COSTA MESA, CA 92626
                                         NORTHBROOK, IL 60062




HILTON PHOENIX CHANDLER                  HILTON PHOENIX CHANDLER                      HISCO
2929 W FYRE RD                           2929 WEST FRYE RD                            P.O. BOX 890811
CHANDLER, AZ 85224                       CHANDLER, AZ 85224                           CHARLOTTE, NC 28289-0811




HISHAM HAKIM, M.D., M.P.H, P.C           HMO HEALTHKEEPERS INC D/B/A ANTHEM           HMO HEALTHKEEPERS INC D/B/A ANTHEM
GREYSTONE NEUROLOGY                      BLUE CROSS AND BLUE SHIELD OF VIRGINIA       BLUE CROSS AND BLUE SHIELD OF VIRGINIA
7500 HUGH DANIEL DR.SUITE 250            C/O COPPERSMITH BROCKELMAN PLC               C/O ROBINS KAPLAN LLP
BIRMINGHAM, AL 35242                     ATTN KEITH BEAUCHAMP                         ATTN ANDREW JOEL CROWDER
                                         2800 N CENTRAL AVE., STE 1900                2800 LASALLE PLZ, 800 LASALLE AVE
                                         PHOENIX, AZ 85004                            MINNEAPOLIS, MN 55402


HMO HEALTHKEEPERS INC D/B/A ANTHEM       HMO HEALTHKEEPERS INC D/B/A ANTHEM           HMO HEALTHKEEPERS INC D/B/A ANTHEM
BLUE CROSS AND BLUE SHIELD OF VIRGINIA   BLUE CROSS AND BLUE SHIELD OF VIRGINIA       BLUE CROSS AND BLUE SHIELD OF VIRGINIA
C/O ROBINS KAPLAN LLP                    C/O ROBINS KAPLAN LLP                        C/O ROBINS KAPLAN LLP
ATTN GEOFFREY HOLMES KOZEN               ATTN JAMIE R KURTZ                           ATTN JEFFREY SULLIVAN GLEASON
2800 LASALLE PLZ, 800 LASALLE AVE        2800 LASALLE PLZ, 800 LASALLE AVE            2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402                    MINNEAPOLIS, MN 55402                        MINNEAPOLIS, MN 55402


HMO HEALTHKEEPERS INC D/B/A ANTHEM       HMO HEALTHKEEPERS INC D/B/A ANTHEM           HMSA
BLUE CROSS AND BLUE SHIELD OF VIRGINIA   BLUE CROSS AND BLUE SHIELD OF VIRGINIA       818 KEEAUMOKU ST
C/O ROBINS KAPLAN LLP                    C/O ROBINS KAPLAN LLP                        HONOLULU, HI 96814
ATTN JOSHUA BUCHANON STROM               ATTN THOMAS C MAHLUM
2800 LASALLE PLZ, 800 LASALLE AVE        2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402                    MINNEAPOLIS, MN 55402


HOBSON PRIOR                             HOGAN LOVELLS US LLP                         HOGAN LOVELLS US LLP
BLUMSHAPIRO CONSULTING                   BILL KETTLEWELL                              PO BOX 75890
2 BATTERYMARCH PARK                      100 HIGH STREET                              BALTIMORE, MD 21275
1 PINE HILL DR SUITE 301                 20TH FLOOR
QUINCY, MA 02169-7431                    BOSTON, MA 02110



HOLAVANAHALLI KESHAVA-PRASAD             HOLLAND & HART LLP                           HOLLAND & KNIGHT LLP
8741 CASTLE HILL AVE.                    P.O. BOX 17283                               MATT DONOHUE
LAS VEGAS, NV 89129                      DENVER, CO 80217-0283                        2300 US BANCORP TOWER
                                                                                      11 SW FIFTH AVENUE
                                                                                      PORTLAND, OR 97204



HOLLAND & KNIGHT LLP                     HOLLY L REDMAN                               HOLT TEXAS, LTD
PO BOX 864084                            548 W HORSESHOE AVE                          PO BOX 650345
ORLANDO, FL 32886                        GILBERT, AZ 85233                            DALLAS, TX 75265-0345
HOME 2 SUITES BY HILTON    Case 19-11292-KG   Doc
                                        HOMETOWN   14 LLCFiled 06/10/19
                                                 DRUG                      Page 62 of 149
                                                                              HONEYWELL INTERNATIONAL, INC
2490 W QUEEN CREEK RD                    718 W LAMPASAS ST                     PO BOX 70274
CHANDLER, AZ 85248                       ENNIS, TX 75119                       CHICAGO, IL 60673




HONG NHUNG THI VO                        HORNG-SHIN J LI                       HORNSBY LAW GROUP
2946 WHITTINGTON DRIVE                   3891 S LAUREL WAY                     1180 W PEACHTREE ST
SAN JOSE, CA 95148                       CHANDLER, AZ 85286                    NW 2220
                                                                               ATLANTA, GA 30309




HORST UWE KLUEPPELBERG                   HOSPICE AND PALLIATIVE NURSES         HOTFOOT RECRUITERS
7508 N 21ST PLACE                        FOUNDATION                            CLOCKTOWER CORP CENTRE
PHOENIX, AZ 85020                        ONE PENN CENTER WEST, SUITE 425       7776 S POINTE PKWY W STE 143
                                         PITTSBURGH, PA 16276                  PHOENIX, AZ 85044




HOWARD BENN                              HOWARD BENN                           HOWARD COHEN, M.D. P.A.
25 WEASELDRIFT RD.                       25 WEASELDRIFT RD.                    5701 MAPLE AVE #100
LITTLE FALLS, NJ 07424                   WOODLAND PARK, NJ 07424               DALLAS, TX 75235




HOWARD COLMAN                            HOWARD HOFFBERG                       HP
4371 ADONIS DR                           18 NORRIS RUN CT                      ATTN: DRUG REBATE TEAM
SALT LAKE CITY, UT 84124                 REISTERSTOWN, MD 21136                248 CHAPMAN RD. SUITE 100
                                                                               UNIVERSITY OFFICE PLAZA - BRISTOL BLDG.
                                                                               NEWARK, DE 19702



HUAGUANG LI                              HUGH O'NEILL                          HUGO W. MOSER RESEARCH INSTITUTE AT
5399 S BEDFORD DR                        17010 KENNEDY CROSSING CT             KENNEDY KRIEGER, INC
CHANDLER, AZ 85249                       WILDWOOD, MO 63038                    716 NORTH BROADWAY, 3RD FLOOR
                                                                               ATTN: JEN WILLEN, KENNEDY KRIEGER
                                                                               INSTITUTE, CLINICAL TRIALS UNIT
                                                                               BALTIMORE, MD 21205


HUMAM AKBIK                              HUMANA                                HUNG Q NGUYEN
2818 MACKRD                              500 W. MAIN STREET                    4433 E GRAND CANYON DR
FAIRFIELD, OH 45014                      LOUISVILLE, KY 40202                  CHANDLER, AZ 85249




HUNTER ASSOCIATES LABORATORY             HUNTON & WILLIAMS LLP                 HUNTON ANDREWS KURTH LLP
11491 SUNSET HILLS RD                    P.O. BOX 405759                       P.O. BOX 405759
RESTON, VA 20190                         ATLANTA, GA 30384-5759                ATLANTA, GA 30384-5759




HYMAN, PHELPS, MCNAMARA P.C.             HY-VEE, INC.                          IAN MILLER
700 THIRTEENTH STREET, N.W.              5820 WESTOWN PARKWAY                  HIPPO KAMPUS ASSOCIATES, PA
SUITE 1200                               WEST DES MOINES, IA 50266             3200 SW 60TH CT.
WASHINGTON, DC 20005                                                           SUITE 302
                                                                               MIAMI, FL 33155



ICE SYSTEMS, INC                         ICG INTERNATIONAL CONSULTING          ICM FRANCE
DBA PROXYTRUST                           1551 WINTER SPRINGS BLVD.             9 ALLEE ROMAIN ROLLAND BP40121
P.O.BOX 11126                            WINTER SPRINGS, FL 32708              PO BOX 66600
HAUPPAUGE, NY 11788-0934                                                       100 MATSONFORD RD
                                                                               SAINT-AUBIN-LES-ELBEUF 76410 FRANCE
ICON SCIENTIFIC INC       Case 19-11292-KG
                                       ICONS Doc 14        Filed 06/10/19   Page
                                                                               ICS63 of 149
12613 HIGH MEADOW RD                   PO BOX 58487                            ICS ACCOUNTS-RECEIVABLE
GAITHERSBURG, MD 20878                 SALT LAKE CITY, UT 84158                12601 COLLECTIONS CENTER, INC.
                                                                               CHICAGO, IL 60693




ICU MEDICAL, INC.                      ID TECHNOLOGY, LLC                      IDAHO STATE BOARD OF PHARMACY
951 CALLE AMANECER                     PO BOX 74319                            ATTN: NICOLE CHOPSKI, EXE. DIRECTOR
SAN CLEMENTE, CA 92673                 CLEVELAND, OH 44193                     PO BOX 83720
                                                                               BOISE, ID 83720-0067




IDEA SOURCE INC.                       IDSA                                    IFRAN MIRZA
131 W. 1ST ST.                         C/O IDWEEK EXHIBITS                     127 SCOTT COURT
MESA, AZ 85201                         1300 WILSON BLVD SUITE 300              WESTMONT, IL 60559
                                       ARLINGTON, VA 22209




IHENACHO ALOZIE UKEGBU                 IHSC, LLC                               IIT RESEARCH INSTITUTE
55 WILLIAM STREET                      8 HUNTINGTON STREET, SUITE 290          10 WEST 35TH ST
VALLEY STREAM, NY 11580                SHELTON, CT 06484                       CHICAGO, IL 60616




IJAZ MAHMOOD                           ILLINOIS SECRETARY OF STATE             ILLINOIS STATE BOARD OF PHARMACY
222 EAST WITHERSPOON ST                DEPARTMENT OF BUSINESS SERVICES         ATN: ROBERT GERTON, PHARMACY BRD
UNIT 2000                              501 S. SECOND ST., RM. 350              LIAISON
LOUISVILLE, KY 40202                   SPRINGFIELD, IL 62756                   320 W WASHINGTON, 3RD FLOOR
                                                                               SPRINGFIELD, IL 62786



ILLINOIS UNION INSURANCE COMPANY       ILLOWA RIVERBEND CHAPTER OF ONS         IMA LIFE NORTH AMERICA INC
(CHUBB)                                ATTN: SHERRI BEYER                      2175 MILITARY ROAD
436 WALNUT STREET                      13 DOUGLAS WAY                          TONAWANDA, NY 14150
PHILADELPHIA, PA 19106                 ELDRIDGE, IA 52748




IMA NORTH AMERICA, INC.                IMAGENET CONSULTING LLC                 IMPAX LABORATORIES, INC.
7 NEW LANCASTER RD                     913 NORTH BROADWAY AVE                  100 SOMERSET CORPORATE CENTER
LEOMINSTER, MA 01453                   OKLAHOMA CITY, OK 73102                 STE 3000
                                                                               BRIDGEWATER, NJ 08807




IMPRINT PUBLICATION SCIENCE            IMS AG                                  IMS EXPERTSERVICES
P.O. 751729                            DORFPLATZ 4                             4400 BAYOU BLVD. SUITE6
CHARLOTTE, NC 28275                    CHAM 6330                               PENSACOLA, FL 32503
                                       SWITZERLAND




IMS HEALTH, INC.                       IMS HEALTH, INC.                        INC RESEARCH TORONTO, INC
PO BOX 8500-4290                       PO BOX 8500-784290                      720 KING ST. WEST
PHILADELPHIA, PA 19178-4290            PHILADELPHIA, PA 19178-4290             7TH FLOOR
                                                                               TOTONTO, ON M5V 2T3
                                                                               CANADA



INCOMM CONFERENCING INC                INDENA USA INC                          INDIANA BOARD OF PHARMACY
208 HARRISTOWN RD                      601 UNION ST                            ATTN: DARREN COVINGTON, DIRECTOR
GLEN ROCK, NJ 07452                    SUITE 330                               402 W WASHINGTON ST, ROOM W072
                                       SEATTLE, WA 98101                       INDIANAPOLIS, IN 46204-2739
INDIANA DEPT OF REVENUE Case      19-11292-KG     Doc 14 DRUG
                                          INDIANA MEDICAID Filed 06/10/19
                                                              REBATES        Page 64 of INC.
                                                                                INDIVIOR 149
PO BOX 7228                                STATE OF INDIANA REBATES             GLOBAL HEADQUARTERS
INDIANAPOLIS, IN 46207-7228                26593 NETWORK PLACE                  INDIVIOR INC
                                           CHICAGO, IL 60673-1265               NORTH CHESTERFIELD, VA




INDRANI DESHPANDE                          INDUSTRIAL CONTAINER & SUPPLY        INDUSTRIAL HEALTH AND SAFETY CONSUL,
4909 WEST JOSHUA BOULEVARD                 P.O. BOX 26668                       INC
2134                                       SALT LAKE CITY, UT 84126-0668        8 HUNTINGTON STREET, SUITE 290
CHANDLER, AZ 85226                                                              SHELTON, CT 06484




INDUSTRIAL HEALTH AND SAFETY               INDY HEMATOLOGY EDUCATION, INC       INERT CORPORATION
CONSULTANTS INC                            DIRECTOR OF OPERATIONS               ONE INDUSTRIAL WAY
ATTN CHANDRA DEEDS GIOIELLO, VP            567 BOLDERWOOD LN                    AMESBURY, MA 01913
8 HUNTINGTON ST, STE 290                   CARMEL, IN 46032
SHELTON, CT 06484



INHANCE TECHNOLOGIES LLC                   INKE SA                              INMARK, LLC
16223 PARK ROW, SUITE 100                  AREA INDUSTRIAL DEL LLOBREGAT        PO BOX 536888
HOUSTON, TX 77084                          C/ARGENT 1                           ATLANTA, GA 30353-6888
                                           CASTELLBISBAL
                                           BARCELONA 08755 SPAIN



INNOVASYSTEMS INC                          INNOVATIVE TECHNOLOGY                INNOVATIX LLC
1245 N CHURCH ST                           ONE INDUSTRIAL WAY                   555 W 57TH ST, SUITE 1201
UNIT 6                                     AMESBURY, MA 01913                   NEW YORK, NY 10019
MOORESTOWN, NJ 08057




INOVA PHARMACEUTICALS (SINGAPORE)          INSIGHTGLOBAL                        IN-SITE COMMUNICATIONS INC
PTE LTD                                    PO BOX 198226                        211 EAST 70TH STREET
ATTN ANDREW DAVIS, CHIEF BD/M&A            ATLANTA, GA 30384-8226               SUITE 30G
OFFICER                                                                         NEW YORK, NY 10021
10 EUNOS ROAD 8
#08-02 NORTH TOWER
SINGAPORE POST CENTRE 408600
SINGAPORE

INSOURCE, INC                              INSTITUE OF PAIN MANAGEMENT          INSTRUMART
9500 S DADELAND BLVD.                      EDUCATIONAL AND RESEARCH             35 GREEN MOUNTAIN DR.
FOURTH FLOOR                               4243 SUNBEAM ROAD SUITE 3            SOUTH BURLINGTON, VT 05403
MIAMI, FL 33156                            JACKSONVILLE, FL 32257




INSTRUMENT AND VALVE SERVICES              INSYS DEVELOPEMENT COMPANY           INSYS MANUFACTURING
8200 MARKET BLVD MSPJ 15                   ARIZONA CORPORATE OFFICES            2700 OAKMONT DR
CHANHASSEN, MN 55317                       1333 S SPECTRUM BLVD #100            ROUND ROCK, TX 78665
                                           CHANDLER, AZ 85286




INSYS THERAPEUTICS, INC.                   INTALERE INC                         INTALERE, INC. FORMERLY KNOWN AS
1333 S CHANDLER BLVD                       ATTN LARRY J KOESTERER, DIR          AMERINET
#100                                       TWO CITYPLACE DR, STE 400            ATTN LARRY J KOESTERER, DIR
CHANDLER, AZ 85286                         ST LOUIS, MO 63141                   TWO CITYPLACE DR, STE 400
                                                                                ST LOUIS, MO 63141



INTEGRATED COMMERCIALIZATION               INTEGRATED COMMERCIALIZATION         INTEGRATED PROCESS ENGINEERS &
SOLUTIONS INC                              SOLUTIONS INC                        CONSTRUCTORS, INC.
ATTN EVP & GENERAL MANAGER                 C/O AMERISOURCEBERGEN SPECIALTY      1901 ALLEN DR
3101 GAYLORD PKWY                          GROUP INC                            FORT ATKINSON, WI 53538
FRISCO, TX 75034                           ATTN GENERAL COUNSEL, 1N-E186
                                           3101 GAYLORD PKWY
                                           FRISCO, TX 75034
                         Case
INTEGRICHAIN DYNAMIC NEXTGEN    19-11292-KG     Doc INC
                                        INTEGRICHAIN 14     Filed 06/10/19   Page 65 of 149INC
                                                                                INTEGRICHAIN
ANALYTICS (DNA)                          1628 JFK BLVD                          ATTN CFO
ATTN CFO                                 8 PENN CENTER                          100 CANAL POINTE BLVD
100 CANAL POINTE BLVD                    SUITE 300                              PRINCETON, NJ 08540
PRINCETON, NJ 08540                      PHILADELPHIA, PA 19103



INTEGRICHAIN, INC                        INTENTIONALLY GIFTD LLC                INTERCHEM CORPORATION
1628 JFK BLVD                            2228 BLAKE ST                          PO BOX 1579
8 PENN CENTER                            STE 100                                PARAMUS, NJ 07652-1567
SUITE 300                                DENVER, CO 80205
PHILADELPHIA, PA 19103



INTERNAL REVENUE SERVICE                 INTERNAL REVENUE SERVICE               INTERNAL REVENUE SERVICE
INTERNAL REVENUE SERVICES                OGDEN, UT 84201                        P.O. BOX 7346
KANSAS CITY, MO 64999-0202                                                      PHILADELPHIA, PA 19101-7346




INTERNATIONAL FIDELITY INSURANCE         INTERNATIONAL FIDELITY INSURANCE       INTERNET ESCROW SERVICES
COMPANY                                  COMPANY                                180 MONTGOMERY ST, SUITE 650
2999 OAK ROAD, SUITE 820                 ONE NEWARK CENTER, 20TH FLOOR          SAN FRANCISCO, CA 94104
WALNUT, CA 94597                         NEWARK, NJ 07102-5207




INTERSTATE GLASS LLC                     INTERTECH FLOORING                     INTER-TECH SUPPLIES, INC.
1137 WEST GRANT ST                       1106 SMITH RD                          802 E. FAIRMONT ST.
PHOENIX, AZ 85007                        SUITE 100                              ALLENTOWN, PA 18109
                                         AUSTIN, TX 78721




INVAGEN PHARMACEUTICALS INC              INVESHARE, INC.                        IOWA BOARD OF PHARMACY
ATTN NIKHIL LALWANI, CEO                 4501 NORTH POINT PKWY                  ATTN: ANDREW FUNK, PHARMD
7 OSER AVE                               SUITE 325                              400 SW 8TH ST, SUITE E
HAUPPAUGE, NY 11788                      ALPHARETTA, GA 30022                   DES MOINES, IA 50309-4688




IPSA SECURITY SERVICES, LLC              IQVIA INC                              IQVIA INC
2700 N CENTRAL AVENUE                    ATTN ANDREW G LONG, CFO                ATTN KEN MITCHELL
SUITE 370                                ONE IMS DR                             ONE IMS DR
PHOENIX, AZ 85004                        PLYMOUTH MEETING, PA 19462             PLYMOUTH MEETING, PA 19462




IQVIA INC                                IQVIA INC                              IQVIA INC
ATTN KENNETH MITCHELL                    ATTN LAW DEPT & CONTRACTS ADMIN        ATTN SAMANTHA PRESLEY
ONE IMS DR                               ONE IMS DR                             ONE IMS DR
PLYMOUTH MEETING, PA 19462               PLYMOUTH MEETING, PA 19462             PLYMOUTH MEETING, PA 19462




IQVIA INC                                IQVIA INC                              IQVIA INC
F/K/A QUINTILES IMS INC                  F/K/A QUINTILES IMS INC                F/K/A QUINTILES IMS INC
ATTN BARBARA SOMLO                       ATTN LAW DEPT & CONTRACTS ADMIN        ATTN LEGAL DEPT
ONE IMS DR                               ONE IMS DR                             ONE IMS DR
PLYMOUTH MEETING, PA 19462               PLYMOUTH MEETING, PA 19462             PLYMOUTH MEETING, PA 19462



IQVIA INC                                IQVIA INC                              IQVIA INC
F/K/A QUINTILES IMS INC                  F/K/A QUINTILES IMS INC                F/K/A QUINTILES IMS INC
ATTN MATT SMALLEY                        ATTN SAAM NAGHSHINEH                   C/O AMERICAN MEDICAL ASSOC; GEN
ONE IMS DR                               ONE IMS DR                             COUNSEL
PLYMOUTH MEETING, PA 19462               PLYMOUTH MEETING, PA 19462             AMA PLAZA, 330 N WABASH AVE, STE 39300
                                                                                CHICAGO, IL 60611-5885
IQVIA INC                Case 19-11292-KG
                                       IQVIA INCDoc 14    Filed 06/10/19   Page 66RDS
                                                                              IQVIA of 149
                                                                                       INC. (FKA QUINTILES, INC.)
F/K/A QUINTILES IMS INC                PO BOX 8500-784290                      P.O. BOX 601070
C/O AMERICAN MEDICAL ASSOC; GEN        PHILADELPHIA, PA 19178-4290             CHARLOTTE, NC 28260-1070
COUNSEL
AMA PLAZA, 330 N WABASH AVE, STE 39300
CHICAGO, IL 60654


IRFAN JAWED MD PLLC                    IRON MOUNTAIN                           IRONSHORE SPECIALITY INSURANCE
1149 RYMERS SWITCH LN                  P.O. BOX 601002                         COMPANY
FRIENDSWOOD, TX 77546                  PASADENA, CA 91189-1002                 75 FEDERAL STREET
                                                                               SUITE 500
                                                                               BOSTON, MA 02110



IRONSHORE SPECIALTY INSURANCE          IRVINE PHARMACEUTICAL SERVICES          IRVINE SCIENTIFIC SALES CO. INC.
COMPANY                                10 VANDERBILT                           1830 E WARNER AVENUE
75 FEDERAL STREET                      IRVINE, CA 92618                        SANTA ANA, CA 92705
SUITE 500
BOSTON, MA 02110



ISABEL ARRILLAGA                       ISM                                     ISM
45 RUTLEDGE RD                         10824 SE OAK ST 409                     10824 SE OAK ST 409
BELMONT, MA 02478                      MILWAUKIE, OR 97222                     PORTLAND, OR 97222




ISRA SAEED                             ISSUETRAK                               IVEK CORPORATION
70 PINTO LN                            6160 KEMPSVILLE CIRCLE                  10 FAIRBANKS RD
NOVATO, CA 94947                       SUITE 101B                              NORTH SPRINGFIELD, VT 05150
                                       NORFOLK, VA 23502




J&D LABORATORIES, INC                  J. M. SMITH CORP                        J.M. BLANCO, INC.
2710 PROGRESS ST                       101 WEST SAINT JOHN STREET              D ST. LOT 21 AMELIA INDUSTRIAL PARK
VISTA, CA 92083                        SUITE 305                               GUAYNABO, PR 00965
                                       SPARTANBURG, SC 29306




J.M. SMITH CORPORATION D/B/A SMITH     J.M. SMITH CORPORATION                  J.M.P. ENTERTAINMENT SERVICES, INC.
DRUG COMPANY                           101 WEST SAINT JOHN STREET              17123 E HILLCREST DR
101 WEST SAINT JOHN STREET             SUITE 305                               FOUNTAIN HILLS, AZ 85268
SUITE 305                              SPARTANBURG, SC 29306
SPARTANBURG, SC 29306



JABURGWILK, P.C.                       JACK M. GOLOFF                          JACK THOMPSON
3200 N CENTRAL AVE , 20TH FLOOR        MEDICAL HELP FACMILY PRACTICE           5602 CAPRICE DR
PHOENIX, AZ 85012                      2151 E COMMERCIAL BLVD, STE 20          AUSTIN, TX 78731
                                       SUITE 204
                                       FORT LAUDERDALE, FL 33308



JACK W AUGUSTY                         JACKIE PARR                             JACKSON WALKER
852 MORRILL LANE                       811 N. CATALINA AVE                     PO BOX 130989
ELBURN, IL 60119                       UNIT 1020                               DALLAS, TX 75313
                                       REDONDO BEACH, CA 90277




JACOBO MINTZER                         JACOBS ENGINEERING GROUP INC            JACQUELINE CAROLINE GUAGENTI
3203 MARSHALL BLVD                     C/O BANK OF AMERICA                     2517 WELLESLEY DRIVE
SULLIVANS ISLAND, SC 29482             800 MARKET ST                           UPPER ARLINGTON, OH 43221
                                       LOCKBOX 18713F
                                       SAINT LOUIS, MO 63150
JACQUELINE DAY            Case 19-11292-KG    DocE SPACE
                                       JACQUELINE  14 Filed 06/10/19   Page 67 of 149
                                                                          JACQUELINE ONGWENYI
135 E. ELLIS DRIVE                     1134 HADDRELL POINT                 1105 STONE RIDGE CIRCLE
TEMPE, AZ 85282                        LEXINGTON, KY 40509                 HELMETTA, NJ 08828




JADA M YOUNG                           JAFFER AJANI                        JAHAN IMANI MD PC
1027 W ENID AVE                        3927 VILLANOVA ST                   INTERMOUNTAIN NEUROLOGY
MESA, AZ 85210                         HOUSTON, TX 77005                   PO BOX 9519
                                                                           OGDEN, UT 84409




JAIMI TRUNICK                          JAMES A WOOD                        JAMES BARMONDE
2880 SAN ANTONIO DR.                   8911 ANCHORAGE DRIVE                78 E STREET
WALNUT CREEK, CA 94598                 INDIANAPOLIS, IN 46236              SALT LAKE CITY, UT 84103




JAMES D SCOTT                          JAMES DADDIO                        JAMES DEWEY THACKER JR
12115 VALLEYHEART DR #3                5916 MEADOW DRIVE                   185 CHATEAU DR
STUDIO CITY, CA 91604                  OREFIELD, PA 18069                  SUITE 302
                                                                           HUNTSVILLE, AL 35801




JAMES E DOROZ                          JAMES EDWARD LAFONTAINE JR          JAMES ELLISON
2832 E CAMELLIA DRIVE                  29 NIAGRA ST                        124 SPICE MILL LN
GILBERT, AZ 85296                      MILLER PLACE, NY 11764              WILMINGTON, DE 19808




JAMES HILL                             JAMES J. OTTING                     JAMES L FERRARA
2464 TAYLOR RD                         2235 WILLIOW POND BLVD.             1470 MADISON AVE
SUITE 138                              SYLVANIA, OH 43560                  6TH FL ROOM S6-110
GROVER, MO 63040                                                           NEW YORK, NY 10029




JAMES LEE SCHAUB                       JAMES M HAMILTON                    JAMES N. LUCKETT
410 ASHMOORE CIRCLE WEST               640 CARLY ANN LANE                  1133 NE 17TH TERRACE
POWELL, OH 43065                       LEANDER, TX 78641                   FORT LAUDERDALE, FL 33304




JAMES OLIVER DE GHETTO                 JAMES P MITCHELL                    JAMES RHO, MD
68 BEVERLY ROAD                        2604 MANOR ROAD                     31190 SUTHERLAND DR.
CHESTER, NY 10918                      114                                 REDLANDS, CA 92373
                                       AUSTIN, TX 78722




JAMES VINCENT BASSETT                  JAMES WAKEFIELD                     JAMIE FORD
2700 NORTH A W GRIMES BLVD             1131 N QUAIL LN                     619 SIDE RD.
APT 735                                GILBERT, AZ 85233                   COSBY, TN 37722
ROUND ROCK, TX 78665




JAMIE S. ROGERS                        JAMILA SADAT                        JAMS, INC
5290 BIG ISLAND DRIVE                  575 6TH AVE APT 907                 TWO EMBARCADERO CENTER
#1416                                  SAN DIEGO, CA 92101                 SUITE 1500
JACKSONVILLE, FL 32246                                                     SAN FRANCISCO, CA 94111
JANELLE K GROSS           Case 19-11292-KG     DocMD14
                                       JANET BULL,            Filed 06/10/19   Page 68 of
                                                                                  JANET   149
                                                                                        HARTDEGEN
2540 VISTA DEL SOL                      7 SUNSET VIEW                             225 W PALOMINO DRIVE
LA VERNE, CA 91750                      ASHEVILLE, NC 28804                       TEMPE, AZ 85284




JANET RADER                             JANICE L FORSTER                          JANICE WOERNER
ATTN: JANET RADER                       333 MAPLE AVE                             136 WILCOX COURT
8701 WATERTOWN PLANK RD                 PITTSBURGH, PA 15218                      MATAWAN, NJ 07747
MILWAUKEE, WI 53226




JANINE M EGAN                           JAN-PRO OF AUSTIN                         JANSEN PHARMACEUTICA INC N/K/A JANSEN
20 PALM STREET                          1016 LA POSADA DRIVE                      PHARMACEUTICALS INC
LINDENHURST, NY 11757                   SUITE 295                                 1000 U.S. ROUTE 202 SOUTH
                                        AUSTIN, TX 78752                          RARITAN, NJ 08869




JANSEN PHARMACEUTICA INC                JANSEN PHARMACEUTICALS INC                JANSSEN PARMACEUTICA INC N/K/A
1000 U.S. ROUTE 202 SOUTH               1000 U.S. ROUTE 202 SOUTH                 JANSSEN PHARMACEUTICALS INC
RARITAN, NJ 08869                       RARITAN, NJ 08869                         1000 U.S. ROUTE 202 SOUTH
                                                                                  RARITAN, NJ 08869




JANSSEN PHAMACEUTICA, INC.              JANSSEN PHAMACEUTICALS INC                JANSSEN PHAMRACEUTICA INC N/K/A
1000 U.S. ROUTE 202 SOUTH               1000 U.S. ROUTE 202 SOUTH                 JANSSEN PHARMACEUTICALS INC
RARITAN, NJ 08869                       RARITAN, NJ 08869                         1000 U.S. ROUTE 202 SOUTH
                                                                                  RARITAN, NJ 08869




JANSSEN PHARMACEUTICA A/K/A JANSSEN     JANSSEN PHARMACEUTICA INC A/K/A           JANSSEN PHARMACEUTICA INC D/B/A
PHARMACEUTICALS                         JANSSEN PHARMACEUTICALS INC               JANSSEN PHARMACEUTICALS INC
1000 U.S. ROUTE 202 SOUTH               1000 U.S. ROUTE 202 SOUTH                 1000 U.S. ROUTE 202 SOUTH
RARITAN, NJ 08869                       RARITAN, NJ 08869                         RARITAN, NJ 08869




JANSSEN PHARMACEUTICA INC F/K/A         JANSSEN PHARMACEUTICA INC N/K/A           JANSSEN PHARMACEUTICA INC N/K/A
JANSSEN PHARMACEUTICALS INC             JANSSEN PHARMACEURICALS INC               JANSSEN PHARMACEUTICA INC
1000 U.S. ROUTE 202 SOUTH               1000 U.S. ROUTE 202 SOUTH                 1000 U.S. ROUTE 202 SOUTH
RARITAN, NJ 08869                       RARITAN, NJ 08869                         RARITAN, NJ 08869




JANSSEN PHARMACEUTICA INC N/K/A         JANSSEN PHARMACEUTICA INC N/K/A           JANSSEN PHARMACEUTICA INC NKA
JANSSEN PHARMACEUTICALS INC             JANSSEN PHARMACEUTICALS                   JANSSEN PHARMACEUTICALS INC
1000 U.S. ROUTE 202 SOUTH               1000 U.S. ROUTE 202 SOUTH                 1000 U.S. ROUTE 202 SOUTH
RARITAN, NJ 08869                       RARITAN, NJ 08869                         RARITAN, NJ 08869




JANSSEN PHARMACEUTICA INC NOW           JANSSEN PHARMACEUTICA INC OTHER           JANSSEN PHARMACEUTICA INC OTHER
KNOWN AS JANSSEN PHARMACEUTICALS        JANSSEN PHARMACEUTICALS INC.              NORAMCO INC
INC                                     1000 U.S. ROUTE 202 SOUTH                 1000 U.S. ROUTE 202 SOUTH
1000 U.S. ROUTE 202 SOUTH               RARITAN, NJ 08869                         RARITAN, NJ 08869
RARITAN, NJ 08869



JANSSEN PHARMACEUTICA INC               JANSSEN PHARMACEUTICA INC, N/K/A          JANSSEN PHARMACEUTICA INC. (OTHER
1000 U.S. ROUTE 202 SOUTH               JANNSEN PHARMACEUTICALS INC.              JANSSEN PHARMACEUTICALS INC)
RARITAN, NJ 08869                       1000 U.S. ROUTE 202 SOUTH                 1000 U.S. ROUTE 202 SOUTH
                                        RARITAN, NJ 08869                         RARITAN, NJ 08869
JANSSEN PHARMACEUTICA INC.Case
                           ALSO19-11292-KG
                                       JANSSENDoc    14 FiledINC.
                                                 PHARMACEUTICA   06/10/19
                                                                   DOING     Page 69 of PHARMACEUTICA
                                                                                JANSSEN 149           INC. N/K/A
KNOWN ASJANSSEN PHARMACEUTICALS INC    BUSINESS AS JANSSEN PHARMACEUTICALS       JANSSEN PHARMACEUTICALS INC.
1000 U.S. ROUTE 202 SOUTH              INC                                       1000 U.S. ROUTE 202 SOUTH
RARITAN, NJ 08869                      1000 U.S. ROUTE 202 SOUTH                 RARITAN, NJ 08869
                                       RARITAN, NJ 08869



JANSSEN PHARMACEUTICA INC. N/K/A       JANSSEN PHARMACEUTICA INC. NOW            JANSSEN PHARMACEUTICA INC. NOW
JANSSEN PHARMACEUTICALS, INC.          KNOWN AS JANSSEN PHARMACEUTICALS          KNOWN AS JANSSEN PHARMACEUTICALS,
1000 U.S. ROUTE 202 SOUTH              INC                                       INC.
RARITAN, NJ 08869                      1000 U.S. ROUTE 202 SOUTH                 1000 U.S. ROUTE 202 SOUTH
                                       RARITAN, NJ 08869                         RARITAN, NJ 08869



JANSSEN PHARMACEUTICA INC. NOW         JANSSEN PHARMACEUTICA INC. NOW            JANSSEN PHARMACEUTICA INC. NOW
KNOWN ASJANSSEN PHARMACEUTICALS INC    KNOWN ASJANSSEN PHARMACEUTICALS           KNOWN ASJANSSEN PHARMACEUTICALS,
1000 U.S. ROUTE 202 SOUTH              INC.                                      INC
RARITAN, NJ 08869                      1000 U.S. ROUTE 202 SOUTH                 1000 U.S. ROUTE 202 SOUTH
                                       RARITAN, NJ 08869                         RARITAN, NJ 08869



JANSSEN PHARMACEUTICA INC. NOW         JANSSEN PHARMACEUTICA INC. NOW            JANSSEN PHARMACEUTICA INC. OTHER
KNOWN ASJANSSEN PHARMACEUTICALS,       KNOWN ASJANSSEN PHARMACEUTICALS,          JANSSEN PHARMACEUTICALS INC.
INC.                                   INC..                                     1000 U.S. ROUTE 202 SOUTH
1000 U.S. ROUTE 202 SOUTH              1000 U.S. ROUTE 202 SOUTH                 RARITAN, NJ 08869
RARITAN, NJ 08869                      RARITAN, NJ 08869



JANSSEN PHARMACEUTICA INC.             JANSSEN PHARMACEUTICA INC.                JANSSEN PHARMACEUTICA INC.
OTHERJANSSEN PHARMACEUTICALS INC       OTHERJANSSEN PHARMACEUTICALS INC.         OTHERJANSSEN PHARMACEUTICALS, INC
1000 U.S. ROUTE 202 SOUTH              1000 U.S. ROUTE 202 SOUTH                 1000 U.S. ROUTE 202 SOUTH
RARITAN, NJ 08869                      RARITAN, NJ 08869                         RARITAN, NJ 08869




JANSSEN PHARMACEUTICA INC.             JANSSEN PHARMACEUTICA INC.                JANSSEN PHARMACEUTICA, INC N/K/A
1000 U.S. ROUTE 202 SOUTH              1000 U.S. ROUTE 202 SOUTH                 JANSSEN PHARMACEUTICALS, INC
RARITAN, NJ 08869                      RARITAN, NJ 08869                         1000 U.S. ROUTE 202 SOUTH
                                                                                 RARITAN, NJ 08869




JANSSEN PHARMACEUTICA, INC             JANSSEN PHARMACEUTICA, INC. N/K/A         JANSSEN PHARMACEUTICA, INC. N/K/A
1000 U.S. ROUTE 202 SOUTH              JANSSEN PHARMACEUTICALS INC.              JANSSEN PHARMACEUTICALS, INC.
RARITAN, NJ 08869                      1000 U.S. ROUTE 202 SOUTH                 1000 U.S. ROUTE 202 SOUTH
                                       RARITAN, NJ 08869                         RARITAN, NJ 08869




JANSSEN PHARMACEUTICA, INC. NOW        JANSSEN PHARMACEUTICA, INC. OTHER         JANSSEN PHARMACEUTICA, INC.
KNOWN AS JANSSEN PHARMACEUTICALS,      JANSSEN PHARMACEUTICALS INC.              1000 U.S. ROUTE 202 SOUTH
INC.                                   1000 U.S. ROUTE 202 SOUTH                 RARITAN, NJ 08869
1000 U.S. ROUTE 202 SOUTH              RARITAN, NJ 08869
RARITAN, NJ 08869



JANSSEN PHARMACEUTICA, INC.            JANSSEN PHARMACEUTICAL INC                JANSSEN PHARMACEUTICAL INC. (N/K/A
1000 U.S. ROUTE 202 SOUTH              1000 U.S. ROUTE 202 SOUTH                 JANSSEN PHARMACEUTICALS INC.)
RARITAN, NJ 08869                      RARITAN, NJ 08869                         1000 U.S. ROUTE 202 SOUTH
                                                                                 RARITAN, NJ 08869




JANSSEN PHARMACEUTICAL INC.            JANSSEN PHARMACEUTICAL, INC               JANSSEN PHARMACEUTICALS INC F/K/A
1000 U.S. ROUTE 202 SOUTH              1000 U.S. ROUTE 202 SOUTH                 JANSSEN PHARMACEUTICA INC F/K/A
RARITAN, NJ 08869                      RARITAN, NJ 08869                         ORTHO MCNEIL JANSSEN
                                                                                 PHARMACEUTICALS INC
                                                                                 1000 U.S. ROUTE 202 SOUTH
                                                                                 RARITAN, NJ 08869
JANSSEN PHARMACEUTICALSCase      19-11292-KG
                          INC F/K/A      JANSSENDoc    14 Filed 06/10/19
                                                   PHARMACEUTICALS INC F/K/A   Page 70 of PHARMACEUTICALS
                                                                                  JANSSEN 149             INC N/K/A
JANSSEN PHARMACEUTICA INC                JANSSEN PHARMACEUTICALS INC               JANSSEN PHARMACEUTICALS INC.
1000 U.S. ROUTE 202 SOUTH                1000 U.S. ROUTE 202 SOUTH                 1000 U.S. ROUTE 202 SOUTH
RARITAN, NJ 08869                        RARITAN, NJ 08869                         RARITAN, NJ 08869




JANSSEN PHARMACEUTICALS INC              JANSSEN PHARMACEUTICALS INC. OTHER        JANSSEN PHARMACEUTICALS INC.
1000 U.S. ROUTE 202 SOUTH                JANSSEN PHARMACEUTICALS INC.              1000 U.S. ROUTE 202 SOUTH
RARITAN, NJ 08869                        1000 U.S. ROUTE 202 SOUTH                 RARITAN, NJ 08869
                                         RARITAN, NJ 08869




JANSSEN PHARMACEUTICALS INC.             JANSSEN PHARMACEUTICALS                   JANSSEN PHARMACEUTICALS, INC
1000 U.S. ROUTE 202 SOUTH                1000 U.S. ROUTE 202 SOUTH                 1000 U.S. ROUTE 202 SOUTH
RARITAN, NJ 08869                        RARITAN, NJ 08869                         RARITAN, NJ 08869




JANSSEN PHARMACEUTICALS, INC.            JANSSEN PHARMACEUTICALS, INC.             JANSSEN PHARMACEUTICSALS
1000 U.S. ROUTE 202 SOUTH                1000 U.S. ROUTE 202 SOUTH                 1000 U.S. ROUTE 202 SOUTH
RARITAN, NJ 08869                        RARITAN, NJ 08869                         RARITAN, NJ 08869




JANSSEN PHARMECUTICA INC                 JANSSEN PHARMECUTICALS INC                JANSSEN PHARMECUTICALS, INC.
1000 U.S. ROUTE 202 SOUTH                1000 U.S. ROUTE 202 SOUTH                 1000 U.S. ROUTE 202 SOUTH
RARITAN, NJ 08869                        RARITAN, NJ 08869                         RARITAN, NJ 08869




JASON BERGSBAKEN                         JASON BERGSNAKEN                          JASON DUCORSKY
1613 SAVANNAH WAY                        1613 SAVANNAH WAY                         1419 SPRUCE ST
WAUNAKEE, WI 53597                       WAUNAKEE, WI 53597                        APT 2R
                                                                                   PHILADELPHIA, PA 19102




JASON GROSSMAN                           JASON J GOROLIS                           JASON ORIN MARCUM
20 CASSANDRA COURT                       819 WEST MARKET STREET                    3730 S MILL AVE
MONROE TOWNSHIP, NJ 08831                SCRANTON, PA 18508                        APT E201
                                                                                   TEMPE, AZ 85282




JASON RUBIN                              JASON SALGANICK                           JASPREET ARORA
17 ROBBIE ROAD                           145 N COUNTRY CLUB DR                     2012 AUGUST JAKE DR
CORTLANDT MANOR, NY 10567                PHOENIX, AZ 85014                         LEANDER, TX 78641




JASSEN PHARMACEUTICALS INC               JAUMEL E FARLEY                           JAVELINA PLUMBING
1000 U.S. ROUTE 202 SOUTH                913 SOUTH DESERT PALM AVE                 PO BOX 11424
RARITAN, NJ 08869                        BROKEN ARROW, OK 74012                    SCOTTSDALE, AZ 85271




JAVIER ERNESTO GONZALEZ-COMPTE           JAY KRIPPES                               JAYSON A HYMES
2717 S LAMAR BLVD                        21031 MONISHA                             2301 BENEDICT CYN DR.
APT 149                                  LAKE FOREST, CA 92630                     BEVERLY HILLS, CA 90210
AUSTIN, TX 78704
JAYSON A HYMES              Case 19-11292-KG
                                         JAYSON ADoc 14
                                                  HYMES         Filed 06/10/19   Page 71 ofASHER
                                                                                    JAYSON  149
ATTN: JASON HYMES                         ATTN: JASON HYMES                         11216 NW 96TH ST
6810 NOBEL AVE, STE 105                   6810 NOBEL AVE, STE 105                   YUKON, OK 73099
BEVERLY HILLS, CA 90210                   VAN NUYS, CA 90210




JEANNINE BRANT                            JEFF B LEISCHNER                          JEFF CARROL
26541 N BRIDGER DR                        9555 S EVERETT WAY                        556 STONERIDGE DR
BILLINGS, MT 59102                        LITTLETON, CO 80127                       SAN LUIS OBISPO, CA 93401




JEFF GUDIN MD (DON'T USE)                 JEFF PEARLMAN                             JEFF WILES
13 GLEN DR.                               1420 B RIVER RD                           632 WILTSHIRE DR
NANUET, NY 10954                          EDGEWATER, NJ 07020                       HUTTO, TX 78634




JEFFERY DOUGLAS ADAIR                     JEFFERY GOLDSTEIN                         JEFFERY KESTEN, M.D.
3029 RISINGER DR.                         90 BARNARD RD                             1941 BALDY LN.
SHREVEPORT, LA 71119                      NEW ROCHELLE, NY 10801                    EVERGREEN, CO 80439




JEFFREY A KLEIN                           JEFFREY BENEDETTO                         JEFFREY BUCHHALTER
1761 E WINDSONG DR                        22 GREEN RIDGE ROAD                       13030 N. 17TH PLACE
PHOENIX, AZ 85048                         YARDLEY, PA 19067                         PHOENIX, AZ 85022




JEFFREY DAVID CLARKE                      JEFFREY GUDIN MD (DO NOT USE)             JEFFREY GUDIN MD
5318 N TORNO CT                           13 GLEN DRIVE                             13 GLEN DRIVE
LITCHFIELD PARK, AZ 85340                 NANUET, NY 10954                          BARDONIA, NY 10954




JEFFREY GUDIN MD                          JEFFREY I KAUFMAN                         JEFFREY K WILLIAMS
13 GLEN DRIVE                             18 ALBANY STREET                          3206 RIDGE VIEW COURT
NANUET, NY 10954                          SARATOGA SPRINGS, NY 12866                APT 103
                                                                                    WOODBRIDGE, VA 22192




JEFFREY N VAN HORN                        JEFFREY R. LEVENSON                       JEFFREY RYAN CLAPP
3494 W GOSHEN DRIVE                       14248 MARK DRIVE                          8202 HEATHFIELD DRIVE
TUCSON, AZ 85741                          LARGO, FL 33774                           RALEIGH, NC 27615




JEFFREY SCOTT HARWARD                     JEFFREY SHUPP                             JEFFREY VAN HORN
696 E RUNAWAY BAY PL                      306 K STREET, SE                          5404 E CORTLAND BLVD #186
CHANDLER, AZ 85249                        WASHINGTON, DC 20003                      FLAGSTAFF, AZ 86004




JEFFREY WEFEL                             JENNA GROSSHANS                           JENNIE R. MINNICK
2145 SOUTHGATE BLVD                       3550 E OREGON AVE                         10 INDIAN BIRCH RD
HOUSTON, TX 77030                         PHOENIX, AZ 85018                         BLACKWOOD, NJ 08012
JENNIE R. MINNICK        Case 19-11292-KG
                                      JENNIFERDoc 14 HUFF
                                               BOWERS Filed 06/10/19   Page 72 of 149
                                                                          JENNIFER C. MENES
10 INDIAN BIRCH RD                     8663 LAKE VILLAGE CIRCLE            16638 S. MOUNTAIN STONE TRAIL
TURNERSVILLE, NJ 08012                 KNOXVILLE, TN 37938                 PHOENIX, AZ 85048




JENNIFER C. MENES                      JENNIFER CONFORTI                   JENNIFER ELLIS
16638 S. MOUNTAIN STONE TRIAL          8160 ROUTT COURT                    640 W BARRY AVE #401
PHOENIX, AZ 85048                      COLORADO SPRINGS, CO 80919          CHICAGO, IL 60657




JENNIFER HARPER WORKMAN                JENNIFER JANE HUTCHENS              JENNIFER JEANNINE SCHERER
153 SUSAN LANE                         157 OLD DANVILLE ROAD               5503 THORNBRIAR LANE
WAYNESBORO, TN 38485                   LANCASTER, KY 40444                 FORT WAYNE, IN 46835




JENNIFER SAPIRO                        JENNIFER SEILER                     JENNIFER VASSIL MONTGOMERY
4848 N GOLDWATER BLVD                  3930 WOOD BRIDGE RD                 10184 SPRING IVY LN
APT 2123                               COLUMBUS, OH 43220                  MECHANICSVILLE, VA 23116
SCOTTSDALE, AZ 85251




JENNIFER W NEAL                        JENNIFER WILMOTH                    JEREMY R HERRERA
110 SHORE LINE DRIVE                   611 MALLARD LANDING BLVD            3401 W PARMER LANE
MADISON, MS 39110                      CLEMMONS, NC 27012                  APT 1124
                                                                           AUSTIN, TX 78727




JERI L. ASHLEY                         JEROME CASSELL                      JEROME CASSELL
3239 RUSKIN RD                         404 RIDGE RD                        404 RIDGE RD
MEMPHIS, TN 38134                      MIDDLETON, NH 03887                 UNION, NH 03887




JEROME JULIAN GROVE                    JERRY DUANE UMBAUGH                 JERRY VANCE
86 E. COUNTRY CLUB DR                  22750 S 214TH CT                    ATTN: JERRY VANCE
PHOENIX, AZ 85014                      QUEEN CREEK, AZ 85142               4815 E ELMWOOD ST
                                                                           MESA, AZ 85205




JERSEY INSTITUTE OF                    JESS D. SALINAS JR.                 JESSICA CHAVEZ
NEUROSCIENCE                           413 TERRAVISTA PL.                  3826 W. DARROW ST.
ATTN: MANISH SINGH                     OVIEDO, FL 32765                    PHOENIX, AZ 85041
12 VILLAGE DRIVE
CAPE MAY COURT HOUSE, NJ 08210



JESSICA F DENABURG                     JESSICA MA PENG                     JESSICA PENG
331 BUCKTHORN CIRCLE                   2475 W PECOS RD                     19W235 GLOUCESTER WAY N.
COVINGTON, LA 70433                    APT 1024                            OAK BROOK, IL 60523
                                       CHANDLER, AZ 85224




JESSICA RASHAD MORRIS PETER            JESSICA SOUSA                       JESSICA V FAIRHURST
4110 EAST ASHURST DRIVE                9 W CANYON ROCK RD                  4362 E TORREY PINES LANE
PHOENIX, AZ 85048                      SAN TAN VALLEY, AZ 85143            CHANDLER, AZ 85249
JILEENA D MEHTA           Case 19-11292-KG     Doc 14
                                       JIM BROATCH           Filed 06/10/19     Page
                                                                                   JIM73  of 149
                                                                                       MITCHELL
9296 N 103RD PL                         ATTN: JIM BROATCH                           2604 MANOR RD. #114
SCOTTSDALE, AZ 85258                    99 CHERRY ST                                AUSTIN, TX 78722
                                        MILFORD, CT 06460




JIM RETZKE                              JIMMY CLARK                                 JIMMY J GARCIA
8 BAKER CT                              317 WIMBLEDON COURT                         2816 E 22ND STREET
LEBANON, TN 37087                       MACON, GA 31211                             AUSTIN, TX 78722




JIMMY M HENRY                           JIN YU                                      J-KEM SCIENTIFIC INC
7200 TALANTH PLACE                      727 E PORTLAND ST.                          6970 OLIVE BLVD
NEW ALBANY, OH 43054                    APT 11                                      SAINT LOUIS, MO 63130
                                        PHOENIX, AZ 85006




JM BLANCO,INC.                          JM CANTY INC                                JM SMITH CORP
D ST. LOT 21 AMELIA INDUSTRIAL PARK     DEPT 514                                    101 WEST SAINT JOHN STREET
GUAYNABO, PR 00965                      PO BOX 8000                                 SUITE 305
                                        BUFFALO, NY 14267                           SPARTANBURG, SC 29306




JM SMITH CORP.                          JM SMITH CORPORATION D/B/A SMITH DRUG       JM SMITH CORPORATION
101 WEST SAINT JOHN STREET              COMPANY                                     101 WEST SAINT JOHN STREET
SUITE 305                               101 WEST SAINT JOHN STREET                  SUITE 305
SPARTANBURG, SC 29306                   SUITE 305                                   SPARTANBURG, SC 29306
                                        SPARTANBURG, SC 29306



JMBM LLP                                JMEG ELECTRICAL CONTRACTORS                 JMP SECURITIES LLC
LOCKBOX FILE 1263                       13995 DIPLOMAT DR.                          ATTN DAVID KELLMAN, MANAGING DIR
1801 W OLYMPIC BLVD                     SUITE 400                                   600 MONTGOMERY ST, STE 1100
PASADENA, CA 91199-1263                 DALLAS, TX 75234                            SAN FRANCISCO, CA 94111




JOAN C SWEENEY                          JOAN WALKER                                 JOANN LIU
8 SWART TERRACE                         OF OKLAHOMA HEALTH SCIENCES CENTER          810 SEDGEFIELD ST.
NASHUA, NH 03064                        ATTN: JOAN WALKER                           DURHAM, NC 27705
                                        PO BOX 26901, SCB 223
                                        OKLAHOMA CITY, OK 73126



JOANNA STANKIEWICZ                      JOANNE C SMITH                              JOCELYN LYNNE BUSH, M.D. LLC
4262 W. HARRINGTON                      6125 KENNETH WAY                            7560 CHABLIS CIRCLE
CHICAGO, IL 60646                       AUBURN, CA 95602                            INDIANAPOLIS, IN 46278




JODI M STRINGER                         JODIE BERRY                                 JOE CIAFFONI
9494 E REDFIELD ROAD                    6938 DESSERT INN TERRACE                    55 GOODNOW ROAD
UNIT 1001                               LAKE WORTH, FL 33463                        SUDBURY, MA 01776
SCOTTSDALE, AZ 85260




JOEL ANDREW MOERER                      JOEL HECHT                                  JOELE FRANK, WILKINSON BRIMMER
5373 N. MITCHUM AVE                     7027 KENTWOOD CT                            KATCHER
MERIDIAN, ID 83646                      LOS ANGELES, CA 90045                       622 THIRD AVENUE
                                                                                    NEW YORK, NY 10017
JOHN A. HATHEWAY           Case   19-11292-KG    Doc 14
                                          JOHN BJORKLUND       Filed 06/10/19   Page 74 BROWN
                                                                                   JOHN of 149
ATTN: JOHN HATHEWAY                       16025 S. 50TH STREET                     ATTN: JERRY VANCE
421 W RIVERSIDE AVE, STE 900              #2052                                    4815 E ELMWOOD ST
SPOKANE, WA 99201                         PHOENIX, AZ 85048                        MESA, AZ 85205




JOHN BURWELL GARVEY MEDIATION AND         JOHN CRANE, INC.                         JOHN D. CONROY JR DO FACP
ARBITRATION SERVICES                      24929 NETWORK PLACE                      C/O CENTRAL PA HEMATOLOGY
P.O. BOX 935                              CHICAGO, IL 60673                        MEDICAL ONCOLOGY ASSOC
NEW LONDON, NH 03257                                                               50 N. 12TH ST UPPER LEVEL
                                                                                   LEMOYNE, PA 17043



JOHN DE GROOT                             JOHN E LEVINE                            JOHN F ALEPIN
3722 SUNSET BLVD                          316 E 92ND STREET                        10196 MORNINGSTAR AVE
HOUSTON, TX 77005                         APT 4FE                                  BROOKSVILLE, FL 34601
                                          NEW YORK, NY 10128




JOHN F. KERRIGAN                          JOHN F. PEPPIN, DO, PC                   JOHN G LAY
2302 E BETHANY HOME RD                    C/O COCO AND ERMELS                      DBA GMP TRAINING ON LINE
PHOENIX, AZ 85016                         ATTN: MARTY ERMELS925 9TH ST.            18305 DAJANA AVE
                                          WEST DES MOINES, IA 50265                LAND O LAKES, FL 34638




JOHN H WHITENACK                          JOHN HARLOW                              JOHN HOFMANN
9001 AMBERGLEN BLVD                       6 DORANNE LANE                           11585 WILDWOOD SPRINGS DR
#9302                                     MIDDLETOWN, NJ 07748                     ROSWELL, GA 30075
AUSTIN, TX 78729




JOHN J HAUMESSER                          JOHN KAPOOR                              JOHN KELLY M.D.
173 SIEBERT RD                            6610 N 29TH PLACE                        PO BOX 17778
LANCASTER, NY 14086                       PHOENIX, AZ 85016                        FT MITCHELL, KY 41017




JOHN L WALLACE                            JOHN M CACCIATORE                        JOHN M. HOLLIMAN III
110 BLOOR STREET WEST SUITE 906           1983 MERCER WAY                          4301 E. KEIM DRIVE
TORONTO, ON M5S 2W7                       EASTON, PA 18040                         PARADISE VALLEY, AZ 85253
CANADA




JOHN MILES                                JOHN N DALTON                            JOHN N KAPOOR 1994 A ANNUITY TRUST
1540 APPLING CARE LN                      5469 SAFE HARBOR WAY                     C/O EJ FINANCIAL ENTERPRISES
STE 105                                   VIRGINIA BEACH, VA 23462                 100 N FIELD DRIVE
CORDOVA, TN 38016                                                                  STE 150
                                                                                   LAKE FOREST, IL 60045



JOHN N KAPOOR 1994-A ANNUITY TRUST        JOHN N KAPOOR 1999 DESCENDANTS TRUST     JOHN NOVAK
C/O EJ FINANCIAL ENTERPRISES              C/O EJ FINANCIAL ENTERPRISES             8590 E. NICHOLS AVE.
100 N FIELD DRIVE                         100 N FIELD DRIVE                        CENTENNIAL, CO 80112
STE 150                                   STE 150
LAKE FOREST, IL 60045                     LAKE FOREST, IL 60045



JOHN NOVAK                                JOHN PAUL HOFMANN                        JOHN PETER COASH
8590 E. NICHOLS AVE.                      215 NORTH NEW JERSEY STREET              7201 HENSCH NE
ENGLEWOOD, CO 80112                       #C                                       ALBUQUERQUE, NM 87109
                                          INDIANAPOLIS, IN 46204
JOHN ROACHE                Case   19-11292-KG    Doc 14
                                          JOHN TYLER          Filed 06/10/19     Page 75 of 149
                                                                                    JOHNATHAN DAVID JASTER
7703 FLOYD CARL DR                        ATTN: JOHN TYLER                           6307 NAVARRO CREEK RD
SAN ANTONIO, TX 78229-3900                3910 S CAREFREE CIR, STE C                 DEL VALLE, TX 78617
                                          COLORADO SPRINGS, CO 80917




JOHNS HOPKINS UNIVERSITY, THE             JOHNS HOPKINS UNIVERSITY, THE              JOHNS HOPKINS UNIVERSITY, THE
ATTN ANN SCHEIMANN, MD, MBA, CMSC 2-      ATTN MICHAEL B. AMEY, SR ASSOCIATE         SOM OFFICE OF RESEARCH ADMIN
116                                       DEAN, RESEARCH AFFAIRS                     ATTN MONT BROWNIEE, III, DIRECTOR
600 N WOLFE ST                            733 NORTH BROADWAY, STE 117                733 N BROADWAY, STE 117
BALTIMORE, MD 21287                       BALTIMORE, MD 21205                        BALTIMORE, MD 21205



JOHNSON & JOHNSON FORMERLY KNOWN          JOHNSON & JOHNSON                          JOHNSON & JOHNSON, INC.
AS ACTAVIS PLC                            ONE JOHNSON & JOHNSON PLAZA                ONE JOHNSON & JOHNSON PLAZA
ONE JOHNSON & JOHNSON PLAZA               NEW BRUNSWICK, NJ 08933                    NEW BRUNSWICK, NJ 08933
NEW BRUNSWICK, NJ 08933




JOHNSON & JOHNSON, JANNSEN                JOHNSON AND JOHNSON                        JOHNSON MATTHEY INC
PHARMACEUTICALS, INC                      ONE JOHNSON & JOHNSON PLAZA                ATTN GENERAL COUNSEL
ONE JOHNSON & JOHNSON PLAZA               NEW BRUNSWICK, NJ 08933                    435 DEVON PARK DR, STE 600
NEW BRUNSWICK, NJ 08933                                                              WAYNE, PA 19087




JOHNSON MATTHEY INC                       JOHNSON MATTHEY INC                        JOHNSON MATTHEY INC
ATTN LYSA RYNE, REGULATORY                ATTN PRESIDENT                             ATTN ROD SHIMA, QUALITY ASSURANCE
2003 NOLTE DRIVE                          435 DEVON PARK DR, STE 600                 2003 NOLTE DRIVE
WEST DEPTFORD, NJ 08093                   WAYNE, PA 19087                            WEST DEPTFORD, NJ 08093




JOHNSON MATTHEY INC                       JOHNSON MATTHEY, INC.                      JOHSON & JOHNSON
ATTN SHAWN CUMISKY, QUALITY CONTROL       P.O. BOX 88848 DEPT 120                    ONE JOHNSON & JOHNSON PLAZA
2003 NOLTE DRIVE                          CHICAGO, IL 60695-1848                     NEW BRUNSWICK, NJ 08933
WEST DEPTFORD, NJ 08093




JOHSON & JOHSON                           JON STRASSER                               JONAS LIEPONIS
ONE JOHNSON & JOHNSON PLAZA               725 FOXDALE RD                             1526 N HALSTED ST.
NEW BRUNSWICK, NJ 08933                   WILMINGTON, DE 19803                       SUITE E
                                                                                     CHICAGO, IL 60642




JONATHAN ASIF ABBAS                       JONATHAN COOMBS                            JONATHAN D MAHAFFEY
4019 N 44TH PL                            6425 EAST PARKVIEW DRIVE                   56 1/2 SOUTH BATTERY
PHOENIX, AZ 85018                         SCOTTSDALE, AZ 85257                       CHARLESTON, SC 29401




JONATHAN E MARTIN                         JONATHAN HEMBREE                           JONATHAN R VAN NESS
1234 BRASHEAR LN                          2221 E STACEY RD                           1925 S. CORONADO RD
CEDAR PARK, TX 78613                      GILBERT, AZ 85298                          #2166
                                                                                     GILBERT, AZ 85295




JONATHAN ROPER                            JONATHON NATH KAPOOR TRUST DTD 12 20       JONG BAE
14 FORTUNE CT.                            90                                         3772 HAMPSTEAD DR
COMMACK, NY 11725                         C/O EJ FINANCIAL ENTERPRISES               SYLVANIA, OH 43560
                                          100 N FIELD DRIVE
                                          STE 150
                                          LAKE FOREST, IL 60045
JORDAN B SAPP               Case 19-11292-KG    Doc 14 Filed 06/10/19
                                         JORDAN BALDERAS                Page 76 ofNELSON
                                                                           JORDAN  149
22 W PRINCETON ST                        125 E 13TH ST                     2300 W PECOS RD
ORLANDO, FL 32804                        CHICAGO, IL 60605                 #207
                                                                           CHANDLER, AZ 85224




JORDAN POYAK                             JOSE A LEBRON ALDAMUY             JOSE A PARRA
7900 E PRINCESS DRIVE                    10238 NW 88TH TERRACE             9104 LONESOME OAK DR
#2174                                    DORAL, FL 33178                   TEMPLE, TX 76502
SCOTTSDALE, AZ 85255




JOSE CONTRERAS                           JOSE GARCIA                       JOSE SAAVEDRA AZANEDO
15 COLUMN CT                             18704 SE 42ND PL                  1800 PLATEAU VISTA BLVD
RAMSEY, NJ 07446                         ISSAQUAH, WA 98027                APT 16209
                                                                           ROUND ROCK, TX 78664




JOSEPH A ROWAN                           JOSEPH ALSHON                     JOSEPH BUBALO
726 BUNKERS COVE RD                      ATTN: JOSEPH ALSHON               4535 SW TARLOW COURT
PANAMA CITY, FL 32401                    1177 SW 21 ST                     PORTLAND, OR 97221
                                         BOCA RATON, FL 33486




JOSEPH CARMEN AMATO                      JOSEPH CURLEY                     JOSEPH DAVID MCGRATH
5077 COLUMBIA RD                         520 CLIFFWOOD AVE                 16216 S. 1ST AVE.
COLUMBIA, MD 21044                       E7                                PHOENIX, AZ 85045
                                         MATAWAN, NJ 07747




JOSEPH GIMBEL                            JOSEPH HENNESSY                   JOSEPH LEONARD PERRI
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PARADISE VALLEY, AZ 85253                APT 22F                           CHANDLER, AZ 85249
                                         STAMFORD, CT 06901




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FLUSHING, NY 11358                       HEALDSBURG, CA 95448              SAN DIEGO, CA 92107




JOSEPH R STACHECKI                       JOSEPH S GIRAUDO                  JOSEPH SHURMAN, M.D.
15 WINDSOR WAY                           8600 RANCH RD 620 NORTH           ATTN: JOSEPH SHURMAN
FAIRPORT, NY 14450                       APT 1321                          8451 WHALE WATCH WAY
                                         AUSTIN, TX 78726                  LA JOLLA, CA 92037




JOSEPH T. COHN                           JOSEPH V. FERRARO                 JOSEPH V. PERGOLIZZI
23 S. 1ST AVE.                           DBA PHYSICAL MEDICINE & PAIN      ATTN: JOSEPH V. PERGOLIZZI
HIGHLAND PARK, NJ 08904                  MANAGEMENT ASSOCIATES             3384 WOODS EDGE CIRCLE 102
                                         202 MEDICAL PKWY, STE 430         BONITA SPRINGS, FL 34134
                                         ANNAPOLIS, MD 21401



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10838 E SOLINA AVE                       19859 E STRAWBERRY DR             1360 S PORTLAND AVE
MESA, AZ 85212                           QUEEN CREEK, AZ 85142             GILBERT, AZ 85296
JOSHUA MICHAEL DEITCHER      Case 19-11292-KG    Doc 14 Filed 06/10/19
                                          JOSHUA SHUA-HAIM                      Page 77 ofWELLINGTON
                                                                                   JOSHUA  149
207 POTOMAC ROAD                          ATTN: JOSHUA SHUA-HAIM                   9953 HIDDEN FALLS CIRCLE
WILMINGTON, DE 19803                      1043 ROUTE 70 WEST, #C3                  FISHERS, IN 46037
                                          MANCHESTER TOWNSHIP, NJ 08759




JOURDAN JADE WOLTZ                        JP MORGAN                                JPMORGAN CHASE BANK NA
1420 VERVAIS AVE                          PO BOX 13658                             PO BOX 4475
VALLEJO, CA 94591                         NEWARK, NJ 07188                         CAROL STREAM, IL 60197-4475




JPMORGAN CHASE                            JSN JANITORIAL SERVICES                  JUDICATE WEST
Attn: Kayla Bonnell                       104 QUARTZ DRIVE                         1851 E FIRST STREET
PO BOX 659754                             JARRELL, TX 76537                        SUITE 1600
SAN ANTONIO, TX 78265-9754                                                         SANTA ANA, CA 92705




JUDITH FEINBERG                           JUDITH L BROWN                           JUDITH M MORRIS
7301 MEADOWBROOK DR.                      6259 E HORSESHOE RD                      1834 E HARVARD DR
CINCINNATI, OH 45237                      PARADISE VALLEY, AZ 85253                TEMPE, AZ 85283




JUDY CHITWOOD                             JUDY HENDERSON                           JUDY L HENDERSON
127 SUZIE PERRY RD                        7385 S KRAMERIA ST.                      101 N. RIVERSIDE DR.
WHITLEY CITY, KY 42653                    ENGLEWOOD, CO 80112                      #505
                                                                                   NEW SMYRNA BEACH, FL 32168




JUICE PHARMA WORLDWIDE                    JULES ALEXANDER KAPOOR TRUST DTD 12      JULES LEVIN
322 8TH AVE, 10TH FLOOR                   20 90                                    ADVOCACY PROJECT
NEW YORK, NY 10001                        C/O EJ FINANCIAL ENTERPRISES             580 BROADWAY, STE 100
                                          100 N FIELD DRIVE                        NEW YORK, NY 10012
                                          STE 150
                                          LAKE FOREST, IL 60045


JULES SELTZER AND ASSOCIATES              JULIAN GROVE (DON'T USE)                 JULIE A LANGSETH
106 CROFUT ST.                            2127 E BARKWOOD RD                       5136 E EVERGREEN ST
PITTSFIELD, MA 01201                      PHOENIX, AZ 85048                        UNIT 1030
                                                                                   MESA, AZ 85205




JULIE CHEN                                JULIE L HUDSON                           JUN CHEN
598 OFFICE PKWY                           18831 36TH DR. SE                        1022 GRANDVIEW AVE.
WESTERVILLE, OH 43082                     BOTHELL, WA 98012                        WESTFIELD, NJ 07090




JUN CHEN                                  JURGEN VENITZ                            JURGEN VENITZ
921 E DEL RIO ST                          222 W BROOK RUN DR                       222 W BROOK RUN DR
CHANDLER, AZ 85225                        HENRICO, VA 23238                        RICHMOND, VA 23238




JUST ENERGY                               JUST ENERGY                              JUSTIN ROSS HARVEY
2431 W AIRPORT FWY                        P.O. BOX 650518                          256 S SPRINGS DR
IRVING, TX 75062                          DALLAS, TX 75265-0518                    CHANDLER, AZ 85225
JUSTIN W AXELROD         Case 19-11292-KG     Doc 14 Filed 06/10/19
                                      JUSTIN WEATHERALL                     Page
                                                                               K &78  of 149 CORPORATION
                                                                                   B LOUISIANA
41634 SHERRY WAY                        208 SW 6TH COURT                        13998 WEST MAIN STREET
PALMDALE, CA 93551                      POMPANO BEACH, FL 33060                 LAROSE, LA 70345




K&B LOUISIANA CORP                      K&L GATES LLP                           K&L GATES LLP
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LAROSE, LA 70345                        K&L GATES CENTER                        BOSTON, MA 02284-4255
                                        210 SIXTH AVENUE
                                        PITTSBURGH, PA 15222-2613



K&L GATES LLP                           K&S SPORTSWEAR                          K.C. PHONE AND NETWORK SYSTEMS
STE. 3100                               19814 BIG TIMBER DR                     3325 W. KINGS AVE.
70 W. MADISON ST.                       HUMBLE, TX 77346                        PHOENIX, AZ 85053
CHICAGO, IL 60602-4207




K2 SCIENTIFIC, LLC                      KACO WAREHOUSE                          KAI RESEARCH INC
401 HAWTHORNE LANE, SUITE 110-139       3025 S 46TH ST                          ATTN KATHERINE A DIMEO
CHARLOTTE, NC 28204                     PHOENIX, AZ 85040                       11300 ROCKVILLE PKE, STE 500
                                                                                ROCKVILLE, MD 20852




KAITLYN A PASZKO                        KALIDAS KALE                            KAMALDEEP SANDHU
11 E SARAZEN DR.                        16 BERWYNN RD                           310 PREAKNESS CT
MIDDLETOWN, DE 19709                    HARRIMAN, NY 10926                      WALNUT CREEK, CA 94597




KANSAS STATE BOARD OF PHARMACY          KAPOOR CHARITABLE FOUNDATION            KAPOOR CHILDRENS 1992 TRUST
ATTN: ALEXANDRA BLASI, EXE. SECRETARY   C/O EJ FINANCIAL ENTERPRISES            PO BOX 271
800 SW JACKSON, STE 1414                100 N FIELD DRIVE                       LAKE FOREST, IL 60045-0271
TOPEKA, KS 66612                        STE 150
                                        LAKE FOREST, IL 60045



KAPOOR, JOHN N                          KAPOOR, JOHN N                          KAPOOR, JOHN N
C/O CRAVATH SWAINE & MOORE LLP          C/O CRAVATH SWAINE & MOORE LLP          C/O OSBORN MALEDON PA
ATTN DANIEL SLIFKIN                     ATTN DAVID M STUART                     ATTN DAVID B ROSENBAUM
825 8TH AVE                             825 8TH AVE                             PO BOX 36379
NEW YORK, NY 10019                      NEW YORK, NY 10019                      PHOENIX, AZ 85067-6379



KAPOOR, JOHN N                          KAPOOR, JOHN N                          KAPOOR, JOHN N
C/O OSBORN MALEDON PA                   C/O OSBORN MALEDON PA                   C/O ROPES & GRAY LLP
ATTN JOSEPH NATHANIEL ROTH              ATTN LARRY A HAMMOND                    ATTN CHRISTIAN REIGSTAD
PO BOX 36379                            PO BOX 36379                            1211 AVE OF THE AMERICAS, STE 900
PHOENIX, AZ 85067-6379                  PHOENIX, AZ 85067-6379                  NEW YORK, NY 10036



KAPOOR, JOHN N                          KAPOOR, JOHN N                          KAPOOR, JOHN N
C/O ROPES & GRAY LLP                    C/O ROPES & GRAY LLP                    C/O ROPES & GRAY LLP
ATTN KIERA N GRIMES                     ATTN PETER L WELSH                      ATTN PETER L WELSH
PRUDENTIAL TOWER, 800 BOYLSTON ST.      800 BOYLSTON ST                         PRUDENTIAL TOWER, 800 BOYLSTON ST.
BOSTON, MA 02199                        BOSTON, MA 02199                        BOSTON, MA 02199



KAPOOR, JOHN N                          KAPOOR, JOHN N                          KAPOOR, JOHN N
C/O SNELL & WILMER LLP                  C/O SNELL & WILMER LLP                  C/O SNELL & WILMER LLP
ATTN ANTHONY TOM KING                   ATTN DONALD WAYNE BIVENS                ATTN NICOLE ELIZABETH SORNSIN
400 E VAN BUREN                         1 ARIZONA CENTER, 400 E VAN BUREN       1 ARIZONA CENTER, 400 E VAN BUREN
PHOENIX, AZ 85004                       PHOENIX, AZ 85004                       PHOENIX, AZ 85004
KAREN ARMOUR                 Case 19-11292-KG    Doc 14
                                          KAREN BOLTON        Filed 06/10/19   Page 79 of
                                                                                  KAREN   149
                                                                                        E HILL
1113 WINDSOR ESTATES CT.                  7201 W VERDE LN.                        600 DONALD ROSS WAY
WESTFIELD, IN 46074                       PHOENIX, AZ 85033                       SAINT AUGUSTINE, FL 32092




KAREN J RICHEY                            KARLA PATON                             KARLA PATON
18212 N 30TH LN                           1333 S SPECTRUM BLVD                    3982 E IRONHORSE RD
PHOENIX, AZ 85053                         CHANDLER, AZ 85286                      GILBERT, AZ 85297




KASHISH R MEWANI                          KATE DEEN JEFFERS                       KATHLEEN A MARZEC
2087 E STEPHENS PL                        1875 CANDLEGLOW ST                      13351 STONE POND DR
CHANDLER, AZ 85225                        CASTLE ROCK, CO 80109                   JACKSONVILLE, FL 32224




KATHLEEN PEARL                            KATHLEEN T BRADY                        KATHRINE OLSON
3 PHEASANT RUN                            125 DOUGHTY ST STE 140                  1241 5TH ST. #604
BOONTON, NJ 07005                         CHARLESTON, SC 29403                    SANTA MONICA, CA 90401




KATTEN MUNCHIN ROSENMAN LLP               KATTEN MUNCHIN ROSENMAN LLP             KATZAROV SA
575 MADISON AVE                           SCOTT RESNIK                            RUE DES EPINETTES 19
NEW YORK, NY 10022                        575 MADISON AVE                         GENEVA 1227
                                          NEW YORK, NY 10022                      SWITZERLAND




KAYE BASSMAN INTERNATIONAL CORP.          KDHE-DHCF                               KEAHON, FLEISCHER & FERRANTE
6860 DALLAS PARKWAY SUITE # 300           ATTN: DRUG REBATE                       1393 VETERANS MEMORIAL HIGHWAY
PLANO, TX 75024                           PO BOX 2428                             STE 312 NORTH
                                          TOPEKA, KS 66601                        HAUPPAUGE, NY 11788




KEEFE LAW FIRM                            KEITH EDWARD CARNES                     KELLER LENKNER LLC
125 HALF MILE ROAD, SUITE 100             3960 E CODY AVE                         ATTN ASHLEY KELLER, TRAVIS LENKNER,
RED BANK, NJ 07701                        GILBERT, AZ 85234                       SETH MEYER
                                                                                  150 N RIVERSIDE PLAZA, SUITE 2570
                                                                                  CHICAGO, IL 60606



KELLI ANN CARPENTER                       KELLY ANNE TATE                         KELLY DEFEO
1809 FORESTDALE DR                        21 HARVARD DRIVE                        DYNAMIC ANESTHESIA PLLC
GRAPEVINE, TX 76051                       HINGHAM, MA 02043                       1564 BROWNFIELD RD
                                                                                  CENTER CONWAY, NH 03813




KELLY SERVICES INC 5896                   KELLY SERVICES, INC 576J                KELSEY R FINOCCHIARO
PO BOX 31001-0422                         PO BOX 530437                           1201 CANAL ST
PASADENA, CA 91110-0422                   ATLANTA, GA 30353-0437                  #314
                                                                                  NEW ORLEANS, LA 70112




KEMAH                                     KENES INTERNATIONAL ORGANIZERS OF       KENNETH MADDOX
2600 South Shore Boulevard                CONGRESSES LTD                          7850 W. MCDOWELL ROAD
Suite 300                                 RUE FRANCOIS-VERSONNEX 7                #1046
League City, TX 77573                     GENEVA CH 1201                          PHOENIX, AZ 85035
                                          SWITZERLAND
KENNETH MERCER              Case 19-11292-KG
                                         KENNETHDoc   14M.D.Filed 06/10/19
                                                 P. SUN,                            Page 80 of 149
                                                                                       KENNETH SEIBERLICH
5812 14TH AVE.                             ATTN: KENNETH SUN                            5862 E APPIAN WAY
BROOKLYN, NY 11219                         382 EPPS ST., BOX 266                        LONG BEACH, CA 90803
                                           WIND GAP, PA 18091




KENTEX ROOFING                             KENTUCKY BOARD OF PHARMACY                   KENTUCKY DEPARTMENT OF REVENUE
8291 SPRINGDALE RD                         ATTN: LARRY HADLEY, EXE. DIRECTOR            501 HIGH STREET
SUITE 200                                  STATE OFFICE BUILDING ANNEX                  FRANKFORT, KY 40601
AUSTIN, TX 78724                           STE 300, 125 HOLMES ST
                                           FRANKFORT, KY 40601



KENTUCKY STATE TREASURER                   KENYATTA JONES                               KERCSMAR & FELTUS PLLC
ATTN: MANAGED CARE DRUG REBATE             201 HELEN COURT 2                            ATTN TODD FELTUS, SEAN J O'HARA
PROGRAM                                    TUSCUMBIA, AL 35674                          7150 EAST CAMELBACK ROAD, SUITE 285
DEPT OF MEDICAID SERVICES                                                               SCOTTSDALE, AZ 85251
275 E MAIN ST. 6W-C
FRANKFORT, KY 40621-0001


KERR & WAGSTAFFE                           KESSLER TOPAZ MELTZER & CHECK LLP            KESSLER TOPAZ MELTZER & CHECK LLP
101 MISSION STREET 18TH FL                 ATTN DAVID SEAMUS KASKELA, NAUMON A          ATTN JENNIFER L JOOST & RUPA NATH
SAN FRANCISCO, CA 94105-1727               AMJED, RYAN T DEGNAN, ANDREW L ZIVITZ,       COOK
                                           JAMES P MCEVILLY, III, JOHNSTON DE F         1 SANSOME ST., STE 1850
                                           WHITMAN, JONATHAN F NEUMANN,                 SAN FRANCISCO, CA 94104
                                           MEREDITH L LAMBERT
                                           280 KING OF PRUSSIA RD
                                           RADNOR, PA 19087

KEVIN D. SMITH, CPA, PLLC                  KEVIN FOSTER                                 KEVIN HOGAN
16628 S 25TH STREET                        28805 N 44TH ST                              2027 SOLOMONS ISLAND ROAD
PHOENIX, AZ 85048                          CAVE CREEK, AZ 85331                         HUNTINGTOWN, MD 20639




KEVIN M FLYNN                              KEVIN RAY KESTLER                            KEVIN TYLER
9 MILO LANE                                40886 W HAYDEN DRIVE                         9667 BRUNSWICK DRIVE
SOMERSWORTH, NH 03878                      MARICOPA, AZ 85138                           BRENTWOOD, TN 37027




KEYSOURCE MEDICAL, INC.                    KEYSTONE BIOANALYTICAL INC                   KEYSTONE COLLECTIONS GROUP
7820 PALACE DRIVE                          501 DICKERSON RD                             PO BOX 506
CINCINNATI, OH 45249                       NORTH WALES, PA 19454                        IRWIN, PA 15642




KHALEEL ASHRAF                             KHALEEL ASHRAF                               KHAWAJA SAAD JAHANGIR
2030 COUNTRY RIDGE PLACE                   2030 COUNTRY RIDGE PLACE                     833 HOWARD AVE #600
BIRMINGHAM, AL 35243                       VESTAVIA HILLS, AL 35243                     NEW ORLEANS, LA 70113




KIERAN SLEVIN, M.D.                        KIERSTED SYSTEMS, LP                         KIM PRILLERMAN
CONSULTANTS                                PO BOX 71727                                 244 WINDING WATERS CT
ATTN: KIERAN SLEVIN                        CHICAGO, IL 60694                            STONE MOUNTAIN, GA 30087
231 PINE ST.
PHILADELPHIA, PA 19106



KIMBERLY A PELLEGRINO                      KIMBERLY A SANTIANO                          KIMBERLY BABSON
650 S. COUNTRY CLUB DR.                    9909 TREE TOPS LAKE RD                       137 PALMETTA ST
APT. 128                                   TAMPA, FL 33626                              SANTA CRUZ, CA 95060
MESA, AZ 85210
KIMBERLY D WALSH                Case 19-11292-KG    Doc
                                             KIMBERLY     14 Filed 06/10/19
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                                                                                       KIMBERLY DANIEL-RICHARDSON
12034 GOLDSPRING LANE                         201 QUEENS CROSSING                       201 QUEENS CROSSING
ARLINGTON, TN 38002                           CENTERVILLE, OH 45458                     DAYTON, OH 45458




KINCL MECHANICAL SERVICES LLC                 KING & SPALDING                           KING & SPALDING
PO BOX 5426                                   PO BOX 116133                             WICK SOLLERS
ROUND ROCK, TX 78683                          ATLANTA, GA 30368                         1700 PENNSYLVANIA AVENUE, NW
                                                                                        2ND FLOOR
                                                                                        WASHINGTON, DC 20006



KING COLE AUDIO VISUAL SERVICES, INC.         KING PHARMACEUTICALS, INC.                KINRAY, INC.
47-59 49TH STREET                             235 EAST 42ND STREET                      152-35 10TH AVENUE
WOODSIDE, NY 11377                            NEW YORK, NY 10017                        WHITESTONE, NY 11357




KIRAN K VANGARA                               KIUMARS ARFAI                             KIUMARS ARFAI
1159 E ABERDEEN DRIVE                         12800 VIA DONATELLO                       12800 VIA DONATELLO
GILBERT, AZ 85298                             NORTHRIDGE, CA 91326                      PORTER RANCH, CA 91326




KJS CONSULTING LLC                            KLEAN IMAGE JANITORIAL                    KLEEN-AIR FILTER SERVICE & SALES
11445 E VIA LINDA, STE 2 #477                 13498 POND SPRINGS RD.                    P.O. BOX 207
SCOTTSDALE, AZ 85259                          BLDG. A                                   GROESBECK, TX 76642
                                              AUSTIN, TX 78729




KLEIN HERSH INTERNATIONAL                     KLOCKNER PENTAPLAST OF AMERICA, INC       K-MART
ATTN: FERN KLEIN                              PO BOX 784067                             3333 BEVERLY RD
220 GIBRALTAR RD                              PHILADELPHIA, PA 19178                    HOFFMAN ESTATES, IL 60179
SUITE 150
HORSHAM, PA 19044



KMK CONSULTING, INC.                          KNF NEUBERGER INC.                        KNOLL PHAMACEUTICAL COMPANY
23 HEADQUARTERS PLAZA, NORTH TOWER            P.O. BOX 781995                           ROAD #144 KM.2.6, P.O. BOX 795
7TH FLOOR                                     PHILADELPHIA, PA 19178                    JAYUYA, PR 00664
MORRISTOWN, NJ 07960




KNOLL PHARMACEUTICAL COMPANY                  KNOLL PHARMACEUTICAL COMPANY              KNOLL PHARMACEUTICAL COMPANY, A
TERMINATED 06/12/2018                         ROAD #144 KM.2.6, P.O. BOX 795            WHOLLY-OWNED SUBSIDIARY OF ABBVIE INC
ROAD #144 KM.2.6, P.O. BOX 795                JAYUYA, PR 00664                          ROAD #144 KM.2.6, P.O. BOX 795
JAYUYA, PR 00664                                                                        JAYUYA, PR 00664




KOETTER FIRE PROTECTION OF AUSTIN, LLC        KOHRMAN JACKSON & KRANTZ PLL              KONINKLIJKE AHOLD DEHAIZE N.V.
16069 CENTRAL COMMERCE DR.                    ATTN: NICOLE GEORGES                      PROVINCIALEWEG 11
PFLUGERVILLE, TX 78660-2005                   1375 E NINTH ST 29TH FLOOR                1506 MA ZAANDAM
                                              CLEVELAND, OH 44114-1793                  THE NETHERLANDS




KOTTAYIL, SANTOSH GEORGE                      KOURTNEY C GILDNER                        KOURTNEY GILDNER
C/O GREENBERG TRAURIG LLP                     2770 FREELAND ROAD                        3204 LEHMAN RD
ATTN E JEFFREY WALSH, SBN 009334              UNIT 71                                   WEST BRANCH, MI 48661
2375 EAST CAMELBACK ROAD                      SAGINAW, MI 48604
PHOENIX, AZ 85016
KOZLOFF, RENE            Case 19-11292-KG
                                      KRAMER Doc 14 Filed
                                             CONSULTING LLC 06/10/19   Page 82 of &149
                                                                          KRAMON    GRAHAM, P.A.
11313 MARCLIFF RD                       14313 OUTPOST WAY                  ONE SOUTH STREET, SUITE 2600
ROCKVILLE, MD 20852                     NORTH POTOMAC, MD 20878-4352       BALTIMORE, MD 21202-3201




KREMERS URBAN PHARMACEUTICALS, INC.     KRIEGEL 2, INC                     KRISTAN A GONZALEZ
9000 STATE ROAD                         PO BOX 471438                      4719 BILLINGSLEY
PHILADELPHIA, PA 19136                  SAN FRANCISCO, CA 94147            HOUSTON, TX 77009




KRISTEN HOWARD                          KRISTEN ROBINSON                   KRISTIN A. CARNEY
730 FERNDALE ST                         4317 E. ERIE                       675 PINE CT.
GURNEE, IL 60031                        GILBERT, AZ 85295                  LAKE BLUFF, IL 60044




KRISTINA COLLAZO                        KRISTINE QUINTANA                  KROGER CO D/B/A KROGER LIMITED
PO BOX 90694                            2304 N. PRARIE AVE.                PARTNERSHIP I D/B/A KROGER LIMITED
PHOENIX, AZ 85066                       DALLAS, TX 75204                   PARTNERSHIP II
                                                                           1014 VINE STREET
                                                                           CINCINNATI, OH 45202



KROGER CO                               KROGER CO, THE                     KROGER CO.
1014 VINE STREET                        1014 VINE STREET                   1014 VINE STREET
CINCINNATI, OH 45202                    CINCINNATI, OH 45202               CINCINNATI, OH 45202




KROGER COMPANY                          KROGER LIMITED PARTNERSHIP I       KROGER LIMITED PARTNERSHIP II
1014 VINE STREET                        1014 VINE STREET                   1014 VINE STREET
CINCINNATI, OH 45202                    CINCINNATI, OH 45202               CINCINNATI, OH 45202




KROGER PHARMACY                         KROLL ONTRACK                      KRYSTAL R MILLER
1014 VINE STREET                        PO BOX 845823                      1700 UNIVERSITY BLVD.
CINCINNATI, OH 45202                    DALLAS, TX 75284                   #1426
                                                                           ROUND ROCK, TX 78665




KS DEPT OF HEALTH AND ENVIRONMENT       KURT PAUL MORAN PC                 KVK TECH INC
KS DEPT OF HEALTH AND ENVIRONMENT       10 GREENRIDGE ST                   110 TERRY DRIVE
DIV OF HEALTH CARE FINANCE ATTN: DRUG   SUITE 2                            SUITE 200
REBATE                                  SCRANTON, PA 18509                 NEWTOWN, PA 18940
PO BOX 2428
TOPEKA, KS 66601


KVK TECH, INC.                          KVK-TECH INC                       KVK-TECH, INC
110 TERRY DRIVE                         110 TERRY DRIVE                    110 TERRY DRIVE
SUITE 200                               SUITE 200                          SUITE 200
NEWTOWN, PA 18940                       NEWTOWN, PA 18940                  NEWTOWN, PA 18940




KVK-TECH, INC.                          KYLE D SAHADI                      KYLE M DILLINGHAM
110 TERRY DRIVE                         2201 N CLEVELAND AVE               4848 NORTH 36TH STREET
SUITE 200                               APT 504                            #213
NEWTOWN, PA 18940                       CHICAGO, IL 60614                  PHOENIX, AZ 85018
KYLE STEVENS             Case 19-11292-KG    Doc 14
                                      LA WORKFORCE    Filed 06/10/19
                                                   COMMISSION DELINQUENT Page 83SUPPORT
                                                                            LAB   of 149(APEX LIFE SCIENCE)
12240 W. WINDROSE DR.                   PAYMENTS                               33035 COLLECTIONS CENTER DR
EL MIRAGE, AZ 85335                     OFFICE OF UNEMPLOYMENT INSURANCE       CHICAGO, IL 60693-0330
                                        PO BOX 60019
                                        NEW ORLEANS, LA 70160



LABCONCO CORPORATION                    LABORATORY MECHANICAL SERV LLC         LABORLAWCENTER
P.O. BOX 801133                         4823 KATY HOCKLEY RD                   3501 WEST GARRY AVE
KANSAS CITY, MO 64180                   KATY, TX 77493                         SANTA ANA, CA 92704




LACO TECHNOLOGIES INC                   LADONNA L STEINER                      LADUE CURRAN & KUEHN LLC
ATTN LEE CHAMBERLAIN, VP OF SALES       33 MICHAELA CIRCLE                     100 E. WAYNE STREET SUITE #300
3085 WEST DIRECTORS ROW                 FAIRFIELD, CT 06824                    SOUTH BEND, IN 46601
SALT LAKE CITY, UT 84104




LAI BROOKS                              LAJOS Z. SZABO, PH.D.                  LAMBDA HEALTH CARE
7388 YONI LN                            6651 N CAMPBELL #260                   ATTN: JERRY CADE
ARLINGTON, TN 38002                     TUCSON, AZ 85718                       1923 CAPISTRANO AVE
                                                                               LAS VEGAS, NV 89169




LANCASTER LABORATORIES, INC             LANCER SALES USA, INC                  LANDMARK AMERICAN
DEPT 1999                               1150 EMMA OAKS TRAIL                   945 East Paces Ferry Road
P.O. BOX 11407                          SUITE 140                              Suite 1800
BIRMINGHAM, AL 35246-1999               LAKE MARY, FL 32746-7120               Atlanta, GA 30326




LANG ROBERTSON LIEBMAN                  LANG ROBERTSON LIEBMAN                 LANGUAGE LINE SERVICES, INC.
9706 CRAGMONT DR                        9706 CRAGMONT DR                       PO BOX 202564
HENRICO, VA 23238                       RICHMOND, VA 23238                     DALLAS, TX 75320-2564




LANGUAGE SCIENTIFIC                     LAPALME, PIERRE                        LAPALME, PIERRE
PRECISE GLOBAL COMMUNICATION            C/O CRAVATH SWAINE & MOORE LLP         C/O CRAVATH SWAINE & MOORE LLP
10 CABOT RDSUITE 209                    ATTN DANIEL SLIFKIN                    ATTN DAVID M STUART
MEDFORD, MA 02155                       825 8TH AVE                            825 8TH AVE
                                        NEW YORK, NY 10019                     NEW YORK, NY 10019



LAPALME, PIERRE                         LAPALME, PIERRE                        LARRY DILLAHA
C/O SNELL & WILMER LLP                  C/O SNELL & WILMER LLP                 7832 N EL ARROYO RD
ATTN ANTHONY TOM KING                   ATTN DONALD WAYNE BIVENS               PARADISE VALLEY, AZ 85253
400 E VAN BUREN                         1 ARIZONA CENTER, 400 E VAN BUREN
PHOENIX, AZ 85004                       PHOENIX, AZ 85004



LAURA CASTELLANOS ALCALA                LAURA E BAILEY                         LAURA MARY NORRIS-KOUBA
14704 BRUNO CIRCLE                      202 MOCKINGBIRD LANE                   9364 CEDAR POINT
PFLUGERVILLE, TX 78660                  RED BAY, AL 35582                      HELOTES, TX 78023




LAURA MULKA                             LAURA PAYNICH                          LAURA RIVERA
74 HILLSIDE DR.                         1034 W SPUR CT                         2230 N 106TH LN
ELLINGTON, CT 06029                     GILBERT, AZ 85233                      AVONDALE, AZ 85392
LAURA STADNIK              Case 19-11292-KG
                                        LAUREL JDoc 14
                                                PRACHT      Filed 06/10/19     Page 84 ofA149
                                                                                  LAUREN  BEGELMAN
1505 E EUCLID ROAD                       10708 EL CAPITAN CIRCLE                  963 EVE STREET
DURHAM, NC 27713                         SUN CITY, AZ 85351                       DELRAY BEACH, FL 33483




LAUREN E CORSARO                         LAUREN MARIE TOMA                        LAUREN MCCLAVE
3713 SHAFER CIRCLE                       2806 COLONIAL DRIVE                      1123 CHEDDINGTON DRIVE
CARMEL, IN 46033                         SUGAR LAND, TX 77479                     CHARLOTTE, NC 28211




LAUREN SHAIOVA MD, PC                    LAURENCE H. ALTSCHULER                   LAURIE A ALCORN
236 CUMBERLAND ST.                       129 E. 25TH PL.                          33336 N SANDSTONE DR
APT 1                                    TULSA, OK 74114                          SAN TAN VALLEY, AZ 85143
BROOKLYN, NY 11205




LAW OFFICES OF DAVID DAI                 LAWRENCE A. HAMERMESH                    LAWRENCE PAWL
2121 S. MILL AVE. #206                   4601 CONCORD PIKE                        233 EAST FULTON ST
TEMPE, AZ 85282                          WILMINGTON, DE 19803                     SUITE 226
                                                                                  GRAND RAPIDS, MI 49503




LAWRENCE PETERS, M.D.                    LAWRENCE STROHAMAIER                     LAWRENCE W STROHMAIER
CDO, PSC                                 9603 E ALLISON WAY                       9603 E ALLISON WAY
PO BOX 37011                             SCOTTSDALE, AZ 85262                     SCOTTSDALE, AZ 85262
LOUISVILLE, KY 40233




LCI CORPORATION                          LE BONHEUR CHILDREN'S HOSPITAL           LEADING AUTHORITIES INC
P.O. BOX 538591                          FOUNDATION                               1990 M ST, N.W.
ATLANTA, GA 30353-8423                   ATTN SHEON P. LYNCH, EXEC DIR, CFRI      STE 100
                                         848 ADAMS AVE                            WASHINGTON, DC 20036
                                         MEMPHIS, TN 38103



LEADING EDGE CONTROLS, INC.              LEADING EDGE TRAINING SOLUTIONS LLC      LEE LISKEY, MD
2020 YOUNTS ROAD                         307 HILLVIEW DR                          2480 MISSION ST. #108
INDIAN TRAIL, NC 28079                   NAZARETH, PA 18064                       SAN FRANCISCO, CA 94110




LEE R STANEK                             LEE SCHWARTZBERG                         LEE STANEK
500 N METRO BLVD                         7945 WOLF RIVER BLVD                     3833 E FRANCES LN
APT 2139                                 GERMANTOWN, TN 38138                     GILBERT, AZ 85295
CHANDLER, AZ 85226




LEERINK PARTNERS, LLC                    LEHIGH VALLEY HEALTH NETWORK             LEIGH B MORRISON
ONE FEDERAL STREET 37TH FLOOR            ATTN: NANETTE DEREMER                    4822 CHAMPIONS WAY
BOSTON, MA 02110                         1247 S CEDAR CREST BLVD SUITE 200        COLUMBUS, GA 31909
                                         ALLENTOWN, PA 18103




LEIGH W VARNADORE                        LENOVO INC                               LEON CHANDLER
211 RIVER LANDING DRIVE                  P.O. BOX 643055                          AA PAIN CLINIC, INC.
APT 234                                  PITTSBURGH, PA 15264-3055                PO BOX 202113
DANIEL ISLAND, SC 29492                                                           ANCHORAGE, AK 99520
LEONARD A FARBER, MD      Case 19-11292-KG
                                       LEONARDDoc  14
                                               ORDISH        Filed 06/10/19    Page 85 of
                                                                                  LEPEL   149
                                                                                        CORPORATION
5281 E EL ROBLES STREET                 649 W SIERRA MADRE AVE                    ACCOUNTING DEPT
LONG BEACH, CA 90815                    GILBERT, AZ 85233                         211 W BODEN ST
                                                                                  MILWAUKEE, WI 53207




LESLIE BENET EXPENSES                   LESLIE BENET                              LESLIE HAKALA
601 VAN NESS AVE, #451                  533 PARNASSUS AVE, U-68, UCSF             2331 PELHAM AVENUE
SAN FRANCISCO, CA 94102                 SAN FRANCISCO, CA 94143-0912              LOS ANGELES, CA 90064




LESLIE ZACKS LLC                        LESLY POMPY MD                            LESTER KING
1802 E CLIFTON RD                       533 N MONROE ST                           380 CUMBERLAND ST
ATLANTA, GA 30307                       MONROE, MI 48162                          APT A
                                                                                  PITTSBURG, CA 94565




LEUKEMIA & LYMPHOMA SOCIETY – WI        LEUKEMIA & LYMPHOMA SOCIETY – WI          LEVEL 3 COMMUNICATIONS, LLC
CHAPTER                                 CHAPTER                                   1025 ELDORADO BOULEVARD
ATTN: KAREN ROPEL                       ATTN: KAREN ROPEL                         BROOMFIELD, CO 80021
3 INTERNATIONAL DR                      3 INTERNATIONAL DR
PORT CHESTER, NY 10573                  RYE BROOK, NY 10573



LEVEL 3 COMMUNICATIONS, LLC             LGC STANDARDS                             LGM PHARMA
P.O. BOX 910182                         VHG LABS                                  3200 WEST END AVE.
DENVER, CO 80291-0182                   PO BOX 360659                             SUITE 500
                                        PITTSBURGH, PA 15251-6659                 NASHVILLE, TN 37203




LGS FOUNDATION                          LIBERTY INSURANCE CORPORATION             LIBERTY MUTUAL GROUP
192 LEXINGTON AVE                       175 BERKELEY STREET                       175 BERKELEY STREET
SUITE 216                               BOSTON, MA 02117                          BOSTON, MA 02117
NEW YORK, NY 10016




LIEN-LUNG SHEU                          LIFE INSURANCE COMP OF NORTH AMERICA      LIFELINES NEURODIAGNOSTIC SYSTEMS INC
106 WENTWORTH DRIVE                     PO BOX 782447                             411 EDWARDSVILLE ROAD
BERKELEY HEIGHTS, NJ 07922              PHILADELPHIA, PA 19178-2447               TROY, IL 62294




LIFETREE MEDICAL, INC                   LIGHTHOUSE INSTRUMENTS                    LIMNY A BENCOMO
ATTN: SAMANTHA MOYER LANGE              2020 AVON CT                              17211 E STARFLOWER CT
1255 EAST 3900 SOUTH                    CHARLOTTESVILLE, VA 22902                 QUEEN CREEK, AZ 85142
SALT LAKE CITY, UT 84124




LINAS P DAILIDE                         LINDA R BUZZELLI                          LINDA TAM
340 W SUPERIOR ST                       1008 AMY PLACE                            1228 SHERWOOD RD
UNIT 1102                               GIBSONIA, PA 15044                        GLENVIEW, IL 60025
CHICAGO, IL 60654




LINDEN CARE LLC                         LINDEN CARE LLC, INC.                     LINDEN CARE
130 CROSSWAYS PARK                      130 CROSSWAYS PARK                        130 CROSSWAYS PARK DR.
DRIVE SUITE 101                         DRIVE SUITE 101                           SUITE 101
WOODBURY, NY 11797                      WOODBURY, NY 11797                        WOODBURY, NY 11797
LINDEN CARE, LLC            Case 19-11292-KG
                                         LINDSAY Doc 14 Filed 06/10/19
                                                 COUTURIER               Page  86 ofLARSON
                                                                            LINDSAY  149
130 CROSSWAYS PARK                       3844 E WALTAN LANE                  104 REES STREET
DRIVE SUITE 101                          PHOENIX, AZ 85032                   PLAYA DEL REY, CA 90293
WOODBURY, NY 11797




LINDSAY M GAMBIT                         LINDSAY M HOIBY                     LINDSAY SULLIVAN
54 EVVIE COURT                           4931 S. HUDSON PL                   3120 SEASONS WAY
HENDERSON, NV 89012                      CHANDLER, AZ 85249                  UNIT 309
                                                                             ESTERO, FL 33928




LINDSEY COLEMAN                          LINES FOR LIFE                      LINKEDIN CORPORATION
515 MADISON ST #349                      C/O ALEX BAUMLER                    62228 COLLECTIONS CENTER DRIVE
NASHVILLE, TN 37203                      5100 SW MACADAM AVE                 CHICAGO, IL 60693
                                         SUITE 400
                                         PORTLAND, OR 97239



LISA BANCHIK, M.D. P.A                   LISA BARKOWSKI                      LISA HARKINS FELL
20423 ST. ROAD 7 PMB #167                PO BOX 615                          35 E NINTH STREET #201
BOCA RATON, FL 33498                     LAHASKA, PA 18931                   NEWPORT, KY 41071




LISA KACHNIC                             LISA M BAILEY                       LISA MCBRIDE
1212 LAUREL STREET SUITE 1304            1712 FINECROFT DR                   125 PALMETTO LANE
NASHVILLE, TN 37203                      CLAREMONT, CA 91711                 LARGO, FL 33770




LISA RAE DOMZALSKI                       LISA THELEN                         LITTLER MENDELSON PC
12020 CABANA LN                          20617 E. CANARY COURT               2301 MCGEE STREET 8TH FLOOR
AUSTIN, TX 78727                         QUEEN CREEK, AZ 85142               KANSAS CITY, MO 64108




LITTLER MENDELSON, PC                    LIVE OAK PHARMACEUTICAL INC         LIZ GORSKI
PO BOX 45547                             CONSULTING INC                      16201 S 17TH LANE
SAN FRANCISCO, CA 94145                  7413 SIX FORKS RD. #312             PHOENIX, AZ 85045
                                         RALEIGH, NC 27615




LJ STAR INCORPORATED                     LLOYD'S OF LONDON                   LLOYD'S OF LONDON
PO BOX 1116                              AON UK LIMITED                      ONE LIME STREET
TWINSBURG, OH 44087                                                          LONDON EC3M 7HA
                                         P.O. BOX 730                        UNITED KINGDOM
                                         REDHILL RH1 9FH
                                         UNITED KINGDOM


LLOYD'S SYNDICATE                        LOCKE LORD LLP                      LOGICMONITOR, INC
40 LIME STREET                           PO BOX 301170                       DEPT LA 24200
EVEREST SYNDICATE 2786                   DALLAS, TX 75303-1170               PASADENA, CA 91185
LONDON EC3M 5BS
UNITED KINGDOM



LOGMEIN USA, INC.                        LON SCHNEIDER                       LONGFORD INTERNATIONAL LTD.
PO BOX 50264                             10301 CRESTA DR                     41 LAMONT AVE
LOS ANGELES, CA 90074-0264               LOS ANGELES, CA 90064               SCARBOROUGH, ON M1S1A8
                                                                             CANADA
                        Case
LONGS DRUGS, INCORPORATED        19-11292-KG
                                         LORETTADoc 14 Filed 06/10/19
                                                SHAMLEY                          Page 87ANN
                                                                                    LORI of 149
                                                                                            ANDERSON
111 EXECUTIVE CENTER DR                  5866 MACLEOD DR.                           1525 E CHERYL DR
SUITE 222                                MEMPHIS, TN 38119                          APT 1140
COLUMBIA, SC 29210                                                                  PHOENIX, AZ 85020




LORI ANN LAWSON                          LOTUS CLINICAL RESEARCH LLC                LOTUS CLINICAL RESEARCH
633 E GOLDENROD ST                       ATTN NEIL SINGLA, MD                       NEIL SINGLA
PHOENIX, AZ 85048                        100 W CALIFORNIA BLVD, UNIT 25             100 W CALIFORNIA BLVD., UNIT 25
                                         PASADENA, CA 91105                         PASADENA, CA 91105




LOUANNE M GEARHART                       LOUIS SPAGNOLETTI                          LOUISIANA BOARD OF PHARMACY
2245 WEST OLIVE WAY                      3 EVES DRIVE STE 311                       ATTN: MALCOLM J. BROUSSARD, EXE. DIR.
CHANDLER, AZ 85248                       NATIONAL PARK, NJ 08063                    3388 BRENTWOOD DRIVE
                                                                                    BATON ROUGE, LA 70809-1700




LOUISIANA CVS PHARMACY LLC               LOUISIANA CVS PHARMACY, L.L.C              LOUISIANA CVS PHARMACY, L.L.C.
ONE CVS DRIVE                            ONE CVS DRIVE                              ONE CVS DRIVE
WOONSOCKET, RI 02895                     WOONSOCKET, RI 02895                       WOONSOCKET, RI 02895




LOUISIANA DEPT OF HEALTH AND             LOUISIANA DEPT. OF REVENUE                 LOUISIANA WHOLESALE DRUG CO INC
DHH DRUG REBATE PAYMENTS                 PO BOX 91011                               P. O BOX 500
ATTN: DARA HORCASITAS - PHARMACY         BATON ROUGE, LA 70821-9011                 SUNSET, LA 70584
REBATE
PO BOX 62951
NEW ORLEANS, LA 70162-2951


LOVELACE BIOMEDICAL ENVIR. RES. INST.    LOVELACE BIOMEDICAL                        LS RISK
2425 RIDGECREST DR. SE                   D/B/A LOVELACE RESPIRATORY RESEARCH        ATTN: MARK D. WOOD, PRESIDENT
ALBUQUERQUE, NM 87108                    INSTITUTE INC                              TWO PRUDENTIAL PLAZA
                                         ATTN TEST ARTICLE MANAGER                  180 N STETSON AVE, SUITE 4600
                                         KIRTLAND AIR FORCE BASE EAST, AREA Y,      CHICAGO, IL 60601
                                         BLDG 9217
                                         ALBURQUERQUE, NM 87115

LTD FINANCIAL SERVICES                   LUCAS GROUP                                LUCAS KLEINE
7322 SOUTHWEST FREEWAY SUITE 1600        PO BOX 638364                              3150 MINART DR
HOUSTON, TX 77074                        CINCINNATI, OH 45263                       WINSTON-SALEM, NC 27106




LUCIEN PARRILLO                          LUCKY LEMON FILMS                          LUIS ESCALANTE NIEVES
118 CHURCH HILL CHASE                    3980 TAMPA RD STE. 101E                    1717 PRECINCT LINE RD, STE 200
MERIDEN, CT 06450                        OLDSMAR, FL 34677                          HURST, TX 76054




LUIS GARRATON, LLC                       LY TRAN                                    LYNN WEBSTER
CARR. 28, AVE. CENTRAL JUANITA FINAL     5492 W HEATHWOOD DR, SE                    ATTN: LYNN ROY WEBSTER
BAYAMÓN, PR 00961                        GRAND RAPIDS, MI 49512                     3838 SOUTH 700 EAST SUITE 202
                                                                                    SALT LAKE CITY, UT 84106




LYNNIQUE CHOPIN                          LYONS PHARMACY                             M&DD, LLC
2660 MARILEE LANE                        23206 LYONS AVE STE 112                    ATTN: MASON ZEPEDA
APT B66                                  NEWHALL, CA 91321                          3 MERRYVALE DR
HOUSTON, TX 77057                                                                   SPRING, TX 77382
M. BASSEL ATASSI            Case 19-11292-KG
                                         M3 WAKEDoc 14 INC
                                                RESEARCH Filed 06/10/19              Page
                                                                                        MA88 of 149
                                                                                           BOARD OF PHARMACY (OBLIGEE)
16W649 HAWTHORNE CT                       ATTN MARION PEOPLES, DR OF SITE START-         239 Causeway St.
WILLOWBROOK, IL 60527                     UP                                             5th Floor, Suite 500
                                          3100 DURALEIGH RD, STE 304                     Boston, MA 02114
                                          RALEIGH, NC 27612



MAC-MOD ANALYTICAL INC.                   MADHUKAR H. TRIVEDI, M.D.                      MAFCO WORLDWIDE LLC
PO BOX 587                                3033 LOCH MEADOW CT                            PO BOX 821074
CHADDS FORD, PA 19317                     SOUTHLAKE, TX 76092                            PHILADELPHIA, PA 19182




MAGGIE LORENTZEN                          MAGNATEX PUMPS, INC.                           MAHESH S PATIL
633 W SOUTHERN AVE                        P.O. BOX 975426                                14125 W 138TH CT
UNTI 1188                                 DALLAS, TX 75397                               OLATHE, KS 66062
TEMPE, AZ 85282




MAIA CHAKERIAN, M.D.                      MAINE BOARD OF PHARMACY                        MAJEL J CARNELL
C/O SAMARITAN CTR FOR MEDICAL             ATTN: GERALDINE L. "JERI" BETTS, BRD ADM       10684 BROOKVIEW LANE
RESEARCH MEDICAL GR                       35 STATE HOUSE STATION                         SAN DIEGO, CA 92131
14601 S. BASCOM AVE STE. 240              AUGUSTA, ME 04333
LOS GATOS, CA 95032



MAJOR, LINDSEY & AFRICA LLC               MALLINCKRODT, LLC                              MALVERN INSTRUMENTS INC
15208 COLLECTIONS CENTER DRIVE            P.O. BOX 3542                                  117 FLANDERS ROAD
CHICAGO, IL 60693-5208                    CAROL STREAM, IL 60132                         WESTBOROUGH, MA 01581




MALVERN PANALYTICAL, INC.                 MANNIE JOEL, MD                                MANOJ PATHARKAR
21543 NETWORK PLACE                       MANNIE JOEL MD INC.                            3840 PARK AVE.
CHICAGO, IL 60673-1215                    15035 EAST 14TH STREET                         SUITE 102
                                          SAN LEANDRO, CA 94578                          EDISON, NJ 08820




MAQSOOD AMJAD                             MAR COR PURIFICATION INC                       MAR COR PURIFICATION INC.
19 DAISY CT.                              1119 PAULSUN ST                                4450 TOWNSHIP LINE ROAD
SKILLMAN, NJ 08558                        SAN ANTONIO, TX 78219                          SKIPPACK, PA 19474




MARATHAS BARROW WEATHERHEAD LENT          MARCEL BONN-MILLER                             MARCIA ELFENBAUM, M.D., INC.
LLP                                       1490 CONFERENCE DR                             DBA SAN DIEGO PHYSIATRY & PAIN
ONE FINANCIAL CENTER, 15TH FLOOR          SCOTTS VALLEY, CA 95066                        MANAGEMENT
BOSTON, MA 02111                                                                         PO BOX 927854
                                                                                         SAN DIEGO, CA 92192



MARCIA LIEPMAN                            MARCOR DEVELOPMENT, LLC                        MARCUS D SEIFERTH
10925 EAST FG AVE                         PO BOX 785917                                  376 DECKNER AVE
RICHLAND, MI 49083                        PHILADELPHIA, PA 19178-5917                    ATLANTA, GA 30310




MARCUS TAYLOR                             MARGARET HANEY                                 MARGARET JEANNETTE LORENTZEN
5050 ASPEN DRIVE                          720 FORT WASHINGTON AVE.                       633 W SOUTHERN AVE
LANSING, MI 48917                         #6U                                            UNIT 1188
                                          NEW YORK, NY 10040                             TEMPE, AZ 85282
MARIA EILEEN MESA        Case   19-11292-KG    Doc 14
                                        MARIA GEORGE          Filed 06/10/19   Page 89 of
                                                                                  MARIA   149
                                                                                        GUZMAN
15835 FOOTHILL FARMS LOOP               1370 NW 127TH DRIVE                       3 SOUTH PINE ISLAND ROAD
APT 914                                 SUNRISE, FL 33323                         #421
PFLUGERVILLE, TX 78660                                                            FORT LAUDERDALE, FL 33324




MARIA ROBERTA CILIO                     MARIANA CASTELLES                         MARIANA CASTELLES
1228 PACHECO ST                         19 ADAMS STREET                           19 ADAMS STREET
SAN FRANCISCO, CA 94116                 BROOKLINE, MA 02143                       SOMERVILLE, MA 02143




MARIANA CASTELLS                        Maricopa County Treasurer                 MARICOPA COUNTY TREASURER
60 FENWOOD ROAD                         P.O. Box 52133                            P.O. BOX 52133
BOSTON, MA 02115                        Phoenix, AZ 85072-2133                    PHOENIX, AZ 85072-2133




MARIE AUCOIN                            MARINO, TORTORELLA & BOYLE, P.C.          MARINO, TORTORELLA & BOYLE, P.C.
14643 S 8TH ST                          437 SOUTHERN BLVD                         KEVIN H. MARINO, PRINCIPAL
PHOENIX, AZ 85048                       CHATHAM, NJ 07928                         437 SOUTHERN BLVD
                                                                                  CHATHAM TOWNSHIP, NJ 07928




MARISOL ARCILA                          MARK A BANNINGER                          MARK E NANCE
DBA TOO MOONS LLC                       2022 WILLOW BEACH ST                      177 HUNTINGTON AVE #179567
4045 LIONHEART DR.                      KEEGO HARBOR, MI 48320                    BOSTON, MA 02115
JACKSONVILLE, FL 32216




MARK HEIN                               MARK JOHNSON                              MARK KNAPP
3412 E CANYON WAY                       5027 HOLDSWORTH DRIVE                     428 BLENHEIM RD
CHANDLER, AZ 85249                      SUMMERVILLE, SC 29485                     COLUMBUS, OH 43214




MARK LOTZ                               MARK LOWELL GARDNER                       MARK O VOSSEN
768 CORINIA CT                          2100 N. SCOTTSDALE ROAD                   14638 ALLEGIANCE DRIVE
ENCINITAS, CA 92024                     A-724                                     COLORADO SPRINGS, CO 80921
                                        TEMPE, AZ 85281




MARK ONO                                MARK SHIPMAN                              MARK WALLACE
6217 E QUARTZ MOUNTAIN RD               704 REGISTRY RUN NW                       9500 GILMAN DRIVE, MS 0898
PARADISE VALLEY, AZ 85253               KENNESAW, GA 30152                        LA JOLLA, CA 92093-0898




MARK-10 CORPORATION                     MARKEL                                    MARKETRY, INC
11 DIXON AVE                            4521 HIGHWOODS PARKWAY                    1630 29TH COURT SOUTH
COPIAGUE, NY 11726                      GLEN ALLEN, VA 23060                      BIRMINGHAM, AL 35209




MARKETWIRE INC                          MARSH & MCLENNAN AGENCY, LLC              MARSH & MCLENNAN
PO BOX 848025                           P.O. BOX 85638                            9171 TOWNE CENTER DRIVE, SUITE 600
LOS ANGELES, CA 90084-8025              SAN DIEGO, CA 92186-5638                  SAN DIEGO, CA 92122
MARTHA K BEHNKE            Case 19-11292-KG     Doc M.D.,
                                        MARTIN HALE, 14 P.A.
                                                          Filed 06/10/19          Page 90 ofHALE,
                                                                                     MARTIN  149M.D., P.A.
6349 W BUCKSKIN TRAIL                    2965 SURREY LN.                              2965 SURREY LN.
PHOENIX, AZ 85083                        FORT LAUDERDALE, FL 33331                    WESTON, FL 33331




MARTIN P KARR                            MARTIN, RAMON                                MARTIN, RAMON
905 NARROW POINT DR                      C/O CONSOVOY MCCARTHY PARK PLLC              C/O CONSOVOY MCCARTHY PARK PLLC
BIRMINGHAM, AL 35242                     ATTN MICHAEL H PARK                          ATTN THOMAS R MCCARTHY
                                         745 FIFTH AVENUE, SUITE 500                  3033 WILSON BOULEVARD, SUITE 700
                                         NEW YORK, NY 10151                           ARLINGTON, VA 22201



MARTIN, RAMON                            MARTIN, RAMON                                MARTIN, RAMON
C/O CONSOVOY MCCARTHY PARK PLLC          C/O KELLER LENKNER LLC                       C/O KELLER LENKNER LLC
ATTN WILLIAM S CONSOVOY                  ATTN ASHLEY KELLER                           ATTN SETH MEYER
3033 WILSON BOULEVARD, SUITE 700         150 N RIVERSIDE PLAZA, SUITE 2570            150 N RIVERSIDE PLAZA, SUITE 2570
ARLINGTON, VA 22201                      CHICAGO, IL 60606                            CHICAGO, IL 60606



MARTIN, RAMON                            MARTIN, RAMON                                MARTIN, RAMON
C/O KELLER LENKNER LLC                   C/O KERCSMAR & FELTUS PLLC                   C/O KERCSMAR & FELTUS PLLC
ATTN TRAVIS LENKNER                      ATTN SEAN J O'HARA                           ATTN TODD FELTUS (#019076)
150 N RIVERSIDE PLAZA, SUITE 2570        7150 EAST CAMELBACK ROAD, SUITE 285          7150 EAST CAMELBACK ROAD, SUITE 285
CHICAGO, IL 60606                        SCOTTSDALE, AZ 85251                         SCOTTSDALE, AZ 85251



MARVELLA ANNETTE ALARID                  MARY GAUWITZ                                 MARY L ZUPANC
462 S SEAWYNDS BLVD                      6540 N 31ST WAY                              228 S CALLE GRANDE
GILBERT, AZ 85233                        PHOENIX, AZ 85016                            ORANGE, CA 92689




MARY SLAVIK-HRUSTICH                     MARYLAND BOARD OF PHARMACY                   MARYLAND UNEMPLOYMENT INSURANCE
1205 OLEANDER DR SW                      ATTN: DEENA SPEIGHTS-NAPATA, EXE. DIR.       FUND
LILBURN, GA 30047                        PO BOX 1991                                  DIVISION OF UNEMPLOYMENT INSUR
                                         BALTIMORE, MD 21203                          PO BOX 1683
                                                                                      BALTIMORE, MD 21203-1683



MASOOMA RAZVI                            MASS AUTOMATION CORPORATION                  MASS AUTOMATION CORPORATION
1173 KNOLLWOOD DR                        6 COLONEL DR                                 6 COLONEL DR
CAROL STREAM, IL 60188                   BOURNE, MA 02532                             BUZZARDS BAY, MA 02532




MASSACHUSETTS BOARD OF REGISTRATION      MASSACHUTSETTS DEPARTMENT OF                 MASTER CONTROL
IN PHARMACY                              REVENUE                                      6350 SOUTH 3000 EAST
ATTN: DAVID SENCABAUGH, EXE. DIRECTOR    PO BOX 7089                                  SALT LAKE CITY, UT 84121
239 CAUSEWAY ST. 5TH FLOOR, SUITE 500    BOSTON, MA 02204
BOSTON, MA 02114



MASTERPIECE INTERNATIONAL LTD.           MATCH ALL DRYWALL REPAIR LLC                 MATERA PAPER COMPANY INC.
P.O. BOX 829656                          1503 E. GREENTREE DR                         PO BOX 200184
PHILADELPHIA, PA 19182-9656              TEMPE, AZ 85284                              SAN ANTONIO, TX 78220




MATHESON TRI GAS INC                     MATHEW HOLLIDAY                              MATT HALL
P.O. BOX 123028                          345 CHURCH STREET                            5250 E VOLTAIRE AVE
DEPT 3028                                APT 1D                                       SCOTTSDALE, AZ 85254
DALLAS, TX 75312-3028                    SAN FRANCISCO, CA 94114
MATTHEW G ROSSITER         Case 19-11292-KG   Doc
                                        MATTHEW    14 Filed 06/10/19
                                                HUGHES                           Page 91 of 149
                                                                                    MATTHEW J CARR
19118 MANCHESTER ST                      10532 WILLIAMSON PARKWAY                   1702 KESSLER BLVD EAST DRIVE
MINNETONKA, MN 55345                     CARMEL, IN 46033                           INDIANAPOLIS, IN 46220




MATTHEW KOHLMAN                          MATTHEW MAI                                MATTHEW NAPOLETANO
13 CRESTWICK CT                          6091 S WILSON DRIVE                        3833 S. DANIELSON WAY
MEDFORD, NJ 08055                        CHANDLER, AZ 85249                         CHANDLER, AZ 85286




MATTHEW PENNY                            MATTHEW STREETER                           MATTHEW T SMITH
287 E BAYLOR LANE                        9829 S. 45TH PLACE                         3625 E RAY RD
GILBERT, AZ 85296                        PHOENIX, AZ 85044                          UNIT 1087
                                                                                    PHOENIX, AZ 85044




MATTHEW THOMAS BIEG                      MATTHEW THORSON                            MATTHEW WOODS
1644 WEST HIGH ST                        ADVANCED SPINE & PAIN CLINICS              51 RAINEY STREET
HADDON HIEGHTS, NJ 08035                 OF MN7373 FRANCE AVE S., SUITE 606         UNIT1803
                                         MINNEAPOLIS, MN 55435                      AUSTIN, TX 78701




MATTHIAS KURTH                           MAUI JIM USA, INC.                         MAURY V RICE
7225 RUE DE ROARK                        PO BOX 203861                              3833 E FRANCES LN
LA JOLLA, CA 92037                       DALLAS, TX 75320-3861                      GILBERT, AZ 85295




MAXPRO SOUTH INC                         MAYFLOWER TRANSIT, LLLC                    MAYO CLINIC FLORIDA, CPD
92 WILSON RD                             ONE MAYFLOWER DRIVE                        LAUREN PERDUE , STABILE 790N
HUMBLE, TX 77338                         FENTON, MO 63026-1350                      4500 SAN PABLO RD
                                                                                    JACKSONVILLE, FL 32224




MAYO FOUNDATION FOR MEDICAL              MAYUR PATEL                                MC-21 HEALTHCARE, LLC (MCH)
EDUCATION & RESEARCH                     6091 FRANKLIN RD                           ANGORA INDUSTRIAL PARK
ATTN: NRS SU-1-4003050 SUPERIOR DR. NW   BLOOMFIELD HILLS, MI 48301                 STATE ROAD #1, KM 33.33 LOT 4
ROCHESTER, MN 55905                                                                 CAGUAS, PR 00725




MCKESSON CORPORATION                     MCKESSON CORPORATION                       MCKESSON DRUG COMPANY
ATTN JOHN HAMMERGREN, CEO                U.S. PHARMACEUTICAL                        1220 SENLAC DR
6555 STATE HWY 161                       6535 STATE HWY 161                         CARROLLTON, TX 75006
IRVING, TX 75039                         IRVING, TX 75039




MCKESSON FINANCIAL CENTER DOCUMENT       MCKESSON SPECIALTY ARIZONA INC (MSAZ)      MCKESSON SPECIALTY AZ
PROCE                                    TRIG                                       JEFF REINKE, SVP
ATTN LORI SCHECHTER, GENERAL COUNSEL     13796 COLLECTIONS CENTER DRIVE             4343 N SCOTTSDALE RD
6555 STATE HWY 161                       CHICAGO, IL 60693-0320                     STE 150
IRVING, TX 75039                                                                    SCOTTSDALE, AZ 85251-3351



MCKESSON SPECIALTY HEALTH                MCMASTER-CARR SUPPLY COMPANY               MD DHMH (MCO)
PO BOX 846025                            PO BOX 7690                                MARYLAND MEDICAL ASSISTANCE
DALLAS, TX 75284-6025                    CHICAGO, IL 60680-7690                     RECOVERIES
                                                                                    MEDICAID DRUG REBATE PROGRAMS
                                                                                    P.O. BOX 17185
                                                                                    BALTIMORE, MD 21297-1185
MD DHMH (MCO)            Case 19-11292-KG     Doc
                                      MDH (MCO)    14 Filed
                                                MRYLAND        06/10/19
                                                         MEDICAL ASSISTANCE Page 92(NEW
                                                                               MDH   of 149
                                                                                         ADULTS MCO) MARYLAND
MARYLAND MEDICAL ASSISTANCE           MARYLAND MEDICAID DRUG REBATE            MEDICAL ASSISTANCE
RECOVERIES                            PROGRAMS                                 MARYLAND MEDICAID DRUG REBATE
MEDICAID DRUG REBATE PROGRAMS         PO BOX 17185                             PROGRAMS
P.O. BOX 17185                        BALTIMORE, MD 21297-1185                 PO BOX 17185
BALTIMORE, MD 21298-9892                                                       BALTIMORE, MD 21297-1185


MDL 2804 DEFENDANT SPECIAL MASTER      MEDERGY SCIENTIFIC, INC.                MEDHAT MIKHAEL
FUND                                   790 TOWNSHIP LINE ROAD SUITE 200        ATTN: MEDHAT MIKHAEL
6811 JEFFERSON HIGHWAY                 MORRISVILLE, PA 19067                   3620 ATLANTIC AVE
BATON ROUGE, LA 70806                                                          LONG BEACH, CA 90807




MEDIANT COMMUNICATIONS LLC             MEDIAPLANET PUBLISHING INC.             MEDICAID
P.O. BOX 29976                         350 7TH AVE 18TH FLOOR                  ATTN RICARDO HOLLIGAN (ACTING)
NEW YORK, NY 10087-9976                NEW YORK, NY 10001                      26 FEDERAL PLAZA, ROOM 3811
                                                                               NEW YORK, NY 10278-0063




MEDICAL COLLEGE OF WISCONSIN           MEDICAL UNIVERSITY OF SOUTH CAROLINA    MEDICARE PART D
ATTN: MONICA WILLIAMS                  ATTN CYNTHIA L BROWN, PROGRAM           MEDICARE CONTACT CENTER OPERATIONS
DIV OF HEMATOLOGY & ONCOL              MANAGER II                              PO BOX 1270
9200 W WISCONSIN AVE                   171 ASHLEY AVE                          LAWRENCE, KS 66044
MILWAUKEE, WI 53226                    CHARLESTON, SC 29425



MEDPACE INC                            MEDSCAPE LLC                            MEDTHINK SCICOM
5375 MEDPACE WAY                       12186 COLLECTIONS CENTER DRIVE          3301 BENSON DRIVE
CINCINNATI, OH 45227                   CHICAGO, IL 60693                       SUITE 400
                                                                               RALEIGH, NC 27609




MEETINGONE.COM, CORP                   MEGAN HAINES                            MEGAN HORN
501 S CHERRY STREET, SUITE 500         1436 SE SALMON ST                       109 HUNTERS MILL ROAD
DENVER, CO 80246                       PORTLAND, OR 97214                      WOODSTOCK, GA 30188




MEGAN MAY                              MELINDA L SAENGKEO                      MELISSA ALLAN
3809 HORSEMINT TRAIL                   5506 N ORMONDO WAY                      1304 W 2ND ST
LEXINGTON, KY 40509                    LITCH FIELD PARK, AZ 85340              #125
                                                                               LOS ANGELES, CA 90026




MELISSA CALDWELL SWANGER               MELODI BROWN                            MELTWATER NEWS US INC
2251 LOVE SPRINGS ROAD                 6850 S 24TH PLACE                       DEPT 3408
GAFFNEY, SC 29341                      PHOENIX, AZ 85042                       PO BOX 123408
                                                                               DALLAS, TX 75312




MELVYN STERLING (DON'T USE)            MELVYN STERLING M.D.                    MERLIN BUTLER
1310 W STEWART DR. #608                1310 W STEWART DR. #608                 6410 HILLSIDE STREET
ORANGE, CA 92868                       ORANGE, CA 92868                        SHAWNEE, KS 66218




MERRILL COMMUNICATIONS LLC             MERRILL COMMUNICATIONS LLC              MESSAGEBANK, LLC
CM-9638                                P.O. BOX 74007252                       250 WEST 57 ST - #1100
SAINT PAUL, MN 55170-9638              CHICAGO, IL 60674-7252                  NEW YORK, NY 10107
METAROM NEOTECH USA INC Case     19-11292-KG
                                         METLIFE -Doc 14BENEFITS
                                                   GROUP   Filed 06/10/19   Page 93 ofDENVER
                                                                               METRO    149 ONCOLOGY NURSING
4343 VIEWRIDGE AVE                        METLIFE-GROUP BENEFITS               SOCIETY
SUITE B                                   PO BOX 804466                        ATTN: JENNY RIVERA C/O MDONS
SAN DIEGO, CA 92123                       KANSAS CITY, MO 64180-4466           11170 HARRIS WAY
                                                                               DENVER, CO 80233



METRO MN CHAPTER ONS                      METRO MN CHAPTER ONS                 METRO SELF-STORAGE LAKE ZURICH
3948 W 49 1/2 STREET                      3948 W 49 1/2 STREET                 737 S. RAND RD.
PO BOX 24673                              PO BOX 24673                         LAKE ZURICH, IL 60047
EDINA, MN 55424                           MINNEAPOLIS, MN 55424




METRO TINT                                METROHM USA, INC.                    METROPOLITAN DETROIT CHAPER OF
7014 NORTH 27TH AVE.                      P.O. BOX 405562                      ONS
SUITE 1                                   ATLANTA, GA 30384                    ATTN: RUTH DEIN, RN
PHOENIX, AZ 85051                                                              1622 WEST HOUSTONIA AVE
                                                                               ROYAL OAK, MI 48073



METTLER TOLEDO HI-SPEED                   METTLER-TOLEDO, INC.                 MEXICHEM FLUOR INC
22673 NETWORK PLACE                       22670 NETWORK PLACE                  PO BOX 731493
CHICAGO, IL 60673                         CHICAGO, IL 60673                    DALLAS, TX 75373




MEYER, STEVEN                             MEYER, STEVEN                        MEYER, STEVEN
C/O CRAVATH SWAINE & MOORE LLP            C/O CRAVATH SWAINE & MOORE LLP       C/O SNELL & WILMER LLP
ATTN DANIEL SLIFKIN                       ATTN DAVID M STUART                  ATTN ANTHONY TOM KING
825 8TH AVE                               825 8TH AVE                          400 E VAN BUREN
NEW YORK, NY 10019                        NEW YORK, NY 10019                   PHOENIX, AZ 85004



MEYER, STEVEN                             MGN LOCK-KEY & SAFES, INC.,          MGPO - PSYCHIATRY 1300 MGB47
C/O SNELL & WILMER LLP                    513 E. HAWLEY                        PO BOX 3662
ATTN DONALD WAYNE BIVENS                  MUNDELEIN, IL 60060                  BOSTON, MA 02241-3662
1 ARIZONA CENTER, 400 E VAN BUREN
PHOENIX, AZ 85004



MIAMI-DADE CHAPTER ONS                    MIAMI-LUKEN, INC                     MICHAEL A DESOCIO
C/O JOHN HIGGINSON                        ATTN: JAMIE STEVENS                  2804 QUEENSBORO AVE
7423 S WATERWAY DR                        265 S PIONEER BLVD                   PITTSBURGH, PA 15226
MIAMI, FL 33155                           SPRINGBORO, OH 45066




MICHAEL ALEXANDER RABINOWITZ              MICHAEL ANDREW DOUGLAS               MICHAEL APRIL, M.D., INC.
13 ALDER ROAD                             1501 W. PFLUGERVILLE PKWY            6000 EXECUTIVE BLVD, SUITE 602
SIMSBURY, CT 06070                        ROUND ROCK, TX 78664                 ROCKVILLE, MD 20852




MICHAEL BABICH                            MICHAEL COLE                         MICHAEL CROCKETT
18391 NORTH 97TH PLACE                    10923 PALLON WAY                     2302 ASBURY SQ
SCOTTSDALE, AZ 85255                      SAN DIEGO, CA 92124                  ATLANTA, GA 30346




MICHAEL DANKO                             MICHAEL DAVID CARNEAL                MICHAEL E. FREY
124 FOUNDERS DR                           6221 N 33RD ST                       2844 VALENCIA WAY
LOVELAND, OH 45140                        PARADISE VALLEY, AZ 85253            FORT MYERS, FL 33901
MICHAEL FROST           Case 19-11292-KG
                                     MICHAEL Doc  14 Filed 06/10/19
                                             G JACOBS                 Page 94 of J149
                                                                         MICHAEL   HOLM
8155 GALWAY CIRCLE                    310 EAST 44TH STREET                8511 ALTHAUS RD
WOODBURY, MN 55125                    1004                                CINCINNATI, OH 45247
                                      NEW YORK, NY 10017




MICHAEL J. DRASS MD                   MICHAEL JAMES RYAN                  MICHAEL KOHRMAN
1402 9TH AVENUE                       19 SMITH ST                         31150 FAIRMONT BLVD
ALTOONA, PA 16602                     WALDWICK, NJ 07463                  CLEVELAND, OH 44124




MICHAEL KOHRMAN                       MICHAEL M GREGORY                   MICHAEL M MOULTON
31150 FAIRMONT BLVD                   907 ALEXANDER ST.                   900 FRANKLIN RIDGE DRIVE
PEPPER PIKE, OH 44124                 HOUSTON, TX 77008                   PEACHTREE CITY, GA 30269




MICHAEL NAUGHTON                      MICHAEL PAUL MILLER                 MICHAEL RIVERA-WEISS
10 BARNES WEST                        2636 NW LONDON DRIVE                8338 OXFORD CHASE CIRCLE NW
SAINT LOUIS, MO 63124                 BLUE SPRINGS, MO 64015              MASSILLON, OH 44646




MICHAEL ROBERT LINGLE                 MICHAEL ROPACKI                     MICHAEL STEVEN Y. CUENCA
6729 TRAILSIDE DRIVE                  389 SAINT ANDREWS LN                2648 NE 35TH ST.
AVON, IN 46123                        HALF MOON BAY, CA 94019             FORT LAUDERDALE, FL 33306




MICHAEL TIME                          MICHAEL YANG                        MICHELLE BREITENBACH
1511 LEAFCREST LANE UNIT 201          2189 VINTAGE CIRCLE                 31 SWEETMANS LN
NORTH CHESTERFIELD, VA 23235          SANTA ROSA, CA 95404                MANALAPAN, NJ 07726




MICHELLE E LEBO                       MICHELLE INEZ RHINER                MICHELLE M MAURO
11859 HOLABIRD LANE                   5455 EVENING CANYON WAY             172 SHEFFIELD LANE
WALDORF, MD 20601                     ALTA LOMA, CA 91237                 BIRMINGHAM, AL 35242




MICHELLE ORDONEZ                      MICHELLE P. PEETZ                   MICHELLE RENEE PROULX
275 W JUNIPER AVE                     18131 W. EASTWIND AVE.              771 FAUNCE CORNER ROAD
APT 2084                              GOODYEAR, AZ 85338                  DARTMOUTH, MA 02747
GILBERT, AZ 85233




MICHELLE SPARROW                      MICHELLE YOSTEN                     MICHIGAN BOARD OF PHARMACY
3321 N 41ST PLACE                     11410 S MULBERRY CIRCLE             BUREAU OF PROF. LICENSING/LICENSING
PHOENIX, AZ 85018                     JENKS, OK 74037                     DIV
                                                                          611 W OTTAWA, 3RD FLOOR
                                                                          PO BOX 30670
                                                                          LANSING, MI 48909-8170


MICHIGAN SOCIETY OF HEMATOLOGY &      MICKEY MANTLE'S STEAKHOUSE          MICROACCOUNTING SOLUTIONS
ONCOLOGY                              7 S MICKEY MANTLE DR                801 E CAMPBELL RD
ONCOLOGY                              OKLAHOMA CITY, OK 73104             SUITE 330
5435 CORPORATE DR. STE 250                                                RICHARDSON, TX 75081
TROY, MI 48098
MICROSOFT CORPORATION Case     19-11292-KG    Doc
                                       MICROSOFT   14
                                                 CORP        Filed 06/10/19     Page 95 of 149
                                                                                   MICROSOFT CORPORATION
ATTN JOSEF BELEN                        LEGAL AND CORPORATE AFFAIRS                C/O BANK OF AMERICA, LOCK BOX 842467,
DEPPT 551 COLUME LICENSING              VOLUME LICENSING GROUP                     1950 N. STEMMONS FWY, STE 5010
6100 NEIL ROAD STE 210                  ONE MICROSOFT WAY                          DALLAS, TX 75207
RENO, NV 89511                          REDMOND, WA 98052



MID AMERICAN INFECTIOUS/JOHN            MID CHESAPEAKE BAY CHAPTER                 MID OHIO ONCOLOGY/HEMATOLOGY, INC.
VERSTRAETE                              ONCOLOGY NURSING SOCIETY                   THE ZANGMEISTER CANCER CENTER
DISEASE                                 PO BOX 5655                                3100 PLAZA PROPERTIES BLVD.
ATTN: JOHN VERSTRAETE                   821 CHESAPEAKE AVE                         ATTN: TARAL PATEL M.D.
3215 MAIN ST., STE 100A                 ANNAPOLIS, MD 21401                        COLUMBUS, OH 43219
KANSAS CITY, MO 64111


MIDDLE TN CHAPTER ONS                   MIDLAND PRECISION MACHINING                MIDWEST RESEARCH SWINE LLC
ATTN: TAMMY EASTERLY RN                 4043 W KITTY HAWK #1                       3413 11TH STREET EAST
2004 HAYES ST 8TH FLOOR                 CHANDLER, AZ 85226                         GLENCOE, MN 55336
NASHVILLE, TN 37203




MIELE, INC                              MIGUEL A. DOMINGUEZ                        MIGUEL DAVID CARRILLO
9 INDEPENDENCE WAY                      10610 LOWER AZUZU RD                       5401 W IAN DRIVE
PRINCETON, NJ 08540                     SOUTH EL MONTE, CA 91733                   LAVEEN, AZ 85339




MIGUEL DE LA GARZA, M.D.P.A.            MIKAELA MARIE VEGA                         MIKE GURRY
4 WEST SPANISH MAIN ST.                 1570 W MAGGIO WAY                          10870 E MEADOWHILL DR
TAMPA, FL 33609                         APT #B2072                                 SCOTTSDALE, AZ 85255
                                        CHANDLER, AZ 85224




MIKE PIKE                               MIKE ROYAL                                 MIKEALA MARIE VEGA
33891 N WOODED GLEN DR                  1016 MOLLINGTON CT                         1570 W MAGGIO WAY
GRAYSLAKE, IL 60030                     RALEIGH, NC 27614                          APT # B2072
                                                                                   CHANDLER, AZ 85224




MILESTONE REPORTING COMPANY             MILLENNIUM MEDICAL EDUCATION               MILLER FRIEL
P.O. BOX 3426                           RESOURCES                                  1200 NEW HAMPSHIRE AVE., NW
ORLANDO, FL 32802                       ATTN: KATHY HAMMOND                        SUITE 800
                                        1980 S EASTON RD, STE 240                  WASHINGTON, DC 20036
                                        DOYLESTOWN, PA 18901



MILLER, CLARK                           MILLER, CLARK                              MILLER, CLARK
C/O BONNETT FAIRBOURN FRIEDMAN &        C/O KESSLER TOPAZ MELTZER & CHECK LLP      C/O KESSLER TOPAZ MELTZER & CHECK LLP
BALINT PC                               ATTN ANDREW L ZIVITZ                       ATTN DAVID SEAMUS KASKELA
ATTN ANDREW S FRIEDMAN                  280 KING OF PRUSSIA RD                     280 KING OF PRUSSIA RD
2325 E CAMELBACK RD., STE 300           RADNOR, PA 19087                           RADNOR, PA 19087
PHOENIX, AZ 85016


MILLER, CLARK                           MILLER, CLARK                              MILLER, CLARK
C/O KESSLER TOPAZ MELTZER & CHECK LLP   C/O KESSLER TOPAZ MELTZER & CHECK LLP      C/O KESSLER TOPAZ MELTZER & CHECK LLP
ATTN JAMES P MCEVILLY, III              ATTN JENNIFER L JOOST                      ATTN JOHNSTON DE F WHITMAN
280 KING OF PRUSSIA RD                  1 SANSOME ST., STE 1850                    280 KING OF PRUSSIA RD
RADNOR, PA 19087                        SAN FRANCISCO, CA 94104                    RADNOR, PA 19087



MILLER, CLARK                           MILLER, CLARK                              MILLER, CLARK
C/O KESSLER TOPAZ MELTZER & CHECK LLP   C/O KESSLER TOPAZ MELTZER & CHECK LLP      C/O KESSLER TOPAZ MELTZER & CHECK LLP
ATTN JONATHAN F NEUMANN                 ATTN MEREDITH L LAMBERT                    ATTN NAUMON A AMJED
280 KING OF PRUSSIA RD                  280 KING OF PRUSSIA RD                     280 KING OF PRUSSIA RD
RADNOR, PA 19087                        RADNOR, PA 19087                           RADNOR, PA 19087
MILLER, CLARK           Case 19-11292-KG      Doc 14 Filed 06/10/19 Page
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                                                                            MILLER,  149
C/O KESSLER TOPAZ MELTZER & CHECK LLP C/O KESSLER TOPAZ MELTZER & CHECK LLP C/O MICHAEL MARC GOLDBERG
ATTN RUPA NATH COOK                   ATTN RYAN T DEGNAN                    13650 MARINA POINTE DR., STE 708
1 SANSOME ST., STE 1850               280 KING OF PRUSSIA RD                MARINA DEL REY, CA 90292
SAN FRANCISCO, CA 94104               RADNOR, PA 19087



MILLER, CLARK                          MIMIR INVEST AB                         MIN WU
C/O WILLIAM G FAIRBOURN                ATTN MANAGING PARTNER                   1751 W PRESCOTT DR
                                       GREV TUREGATAN 10, 1TR                  CHANDLER, AZ 85248
                                       STOCKHOLM SE-114 46
                                       SWEDEN



MINER CENTRAL TEXAS, LTD               MINER ORKAND SIDDALL LLP                MINER ORKAND SIDDALL LLP
11827 TECH COM RD., STE. #115          470 ATLANTIC AVE 4TH FLOOR              TRACY MINER
SAN ANTONIO, TX 78233-6015             BOSTON, MA 02210                        470 ATLANTIC AVE
                                                                               4TH FLOOR
                                                                               BOSTON, MA 02210



MINESH MEHTA                           MINESH MEHTA                            MINNESOTA BOARD OF PHARMACY
9320 SW 61ST COURT                     9320 SW 61ST COURT                      ATTN: CODY C. WIBERG, EXE. DIRECTOR
MIAMI, FL 33156                        PINECREST, FL 33156                     2829 UNIVERSITY AVE SE, SUITE 530
                                                                               MINNEAPOLIS, MN 55414-3251




MINNESOTA ONCOLOGY                     MINTZ GROUP LLC                         MIRIAM BLOUNT
C/O COLLEN SCHWAB, MARKETING DIR.      P.O. BOX 9463                           445 W BLOUNT AVE
2550 UNIVERSITY AVE, SUITE 110N        NEW YORK, NY 10087-9463                 #526
SAINT PAUL, MN 55114                                                           KNOXVILLE, TN 37920




MISAGH KARIMI                          MISSISSIPPI BOARD OF PHARMACY           MISSOURI BOARD OF PHARMACY
35 ROLLING GREEN                       ATTN: SUSAN B. MCCOY, EXE. DIRECTOR     ATTN: KIMBERLY GRINSTON, EXE. DIRECTOR
IRVINE, CA 92620                       6360 I-55 NORTH                         PO BOX 625
                                       SUITE 400                               JEFFERSON CITY, MO 65102
                                       JACKSON, MS 39211



MISSOURI DEPT. OF REVENUE              MITCHELL DAVIS                          MITCHELL HORWITZ
PO BOX 3020                            111 MOUNT VERNON WAY                    100 LAKE RIDGE PLACE
JEFFERSON CITY, MO 65105-3020          WINTERVILLE, GA 30683                   CHAPEL HILL, NC 27516




MITCHELL STEIN CAREY                   MITCHELL, BARLOW & MANSFIELD, P.C.      MITESH BORAD
2 NORTH CENTRAL AVE                    NINE EXCHANGE PLACE                     EDUCATION AND RESEARCH
SUITE 1900                             SUITE 600                               3050 SUPERIOR DR, NW
PHOENIX, AZ 85004                      SALT LAKE CITY, UT 84111                ATTN: NPRS SU-1-400
                                                                               ROCHESTER, MN 55905



MITESWAR PUREWAL                       MITSUBISHI GAS CHEMICAL AMERICA, INC    MMIT
200 W HARTRANFT BLVD                   LOCKBOX #10820 DEPT. CH 10820           1040 STONY HILL RD STE 300
NORRISTOWN, PA 19401                   PALATINE, IL 60055-0820                 MORRISVILLE, PA 19067




MMIT                                   MO HEALTHNET DIVISION                   MO HEALTHNET DIVISION
1040 STONY HILL RD STE 300             CASH CONTROL UNIT                       CASH CONTROL UNIT
YARDLEY, PA 19067                      PO BOX 1116                             PO BOX 6500
                                       JEFFERSON CITY, MO 65102                JEFFERSON CITY, MO 65102
MOBILE BAY ONS             Case   19-11292-KG     DocINC
                                          MOBILE MINI, 14      Filed 06/10/19   Page 97 ofINC
                                                                                   MOCON,  149
ATTN: STEFANIE MUNGER                      PO BOX 650882                           P.O. BOX 1450-NW 8244
6650 COTTAGE HILL RD, APT 1007             DALLAS, TX 75265-0882                   MINNEAPOLIS, MN 55428
MOBILE, AL 36695




MODI CONSULTANTS                           MOHAMMED HADI                           MOLCAN CORPORATION
ROBERT DUARTE-SPARAGNA                     48 BACON RD                             70 EAST BEAVER CREEK RD #39
166-25 POWELLS COVE BLVD.APT. 20 D         OLD WESTBURY, NY 11568                  RICHMOND HILL
WHITESTONE, NY 11357                                                               TORONTO, ON L4B 3B2
                                                                                   CANADA



MOLLIE D ROTH                              MONICA GORBET                           MONICA SENEY SALOMON
1666 E. CINDY STREET                       3107 QUAIL RUN DR                       5332 E BASELINE RD
CHANDLER, AZ 85255                         ROUND ROCK, TX 78681                    APT 1102
                                                                                   MESA, AZ 85206




MONSTER WORLDWIDE INC                      MONTANA BOARD OF PHARMACY               MONTANA DEPARTMENT OF REVENUE
PO BOX 740889                              ATTN: MARCIE BOUGH, EXE. DIRECTOR       PO BOX 8021
LOS ANGELES, CA 90074-0889                 PO BOX 200513                           HELENA, MT 59604-8021
                                           HELENA, MT 59620-0513




MONTEC INC.                                MORGAN S SWEENEY                        MORGAN STANLEY
5241 RAYNOR RD                             826 W SPRAGUE                           ATTN: ADVISORY FEE BILLING
GARNER, NC 27529                           UNIT 404                                1300 THAMES STREET WHARF, 4TH FL
                                           SPOKANE, WA 99201                       BALTIMORE, MD 21231-9907




MORGAN STANLEY                             MORGAN SWEENEY                          MORGAN, LEWIS & BOCKIUS LLP
ATTN: CHAD EVANS                           3010 COLONY PARK DR                     PO BOX 8500 S-6050
800 NEWPORT CENTER DR STE 500              BIRMINGHAM, AL 35243                    PHILADELPHIA, PA 19178
NEWPORT BEACH, CA 92660




MORRIS & DICKSON CO., LLC                  MORRIS DICKSON CO LLC                   MORRIS GLASS CORP
ATTN: KEVIN HAWKEY                         ATTN VP OF PURCHASING                   3575 ROCKING J ROAD
PO BOX 51367                               410 KAY LN                              ROUND ROCK, TX 78664
SHREVEPORT, LA 71135-1367                  SHREVEPORT, LA 71115




MORRIS JAGODOWICZ, MD, INC                 MORRIS NICHOLS ARSHT & TUNNELL          MORRISON COHEN LLP
2484 BANYAN DR                             1201 N MARKET ST 16TH FLOOR             909 THIRD AVE.
LOS ANGELES, CA 90049                      PO BOX 1347                             NEW YORK, NY 10022-4731
                                           WILMINGTON, DE 19899-1347




MOTION INDUSTRIES, INC                     MOTUS, LLC                              MOUNTAIN STATES DRAPERY, INC.
16074 CENTRAL COMMERCE DR                  TWO FINANCIAL CENTER                    PO BOX 1520
BLDG A103                                  60 SOUTH STREET                         BLACK CANYON CITY, AZ 85324
PFLUGERVILLE, TX 78660                     12TH FL
                                           BOSTON, MA 02111



MOVECORP                                   MRC                                     MSHO FOUNDATION
9230 NEILS THOMPSON DR                     10550 RICHMOND AVENUE #310              5435 CORPORATE DRIVE, STE. 250
SUITE 102                                  HOUSTON, TX 77042                       TROY, MI 48098
AUSTIN, TX 78758
MSN LABORATORIES PRIVATECase
                          LTD   19-11292-KG     Doc 14
                                        MSN ORGANICS        Filed
                                                      PRIVATE      06/10/19
                                                               LIMITED            Page 98CORPORATION
                                                                                     MSP  of 149
ATTN JEEVAN REDDY MANNE, CP API SALES   C-24, MSN HOUSE, INDUSTRIAL ESTATE            SDS 12-0764
MSN HOUSE, PLOT NO C-24                 SANATH NAGAR                                  P.O. BOX 86
INDUSTRIAL ESTATE, SANATH NAGAR,        HYDERABAD, TELANGANA 500018                   MINNEAPOLIS, MN 55486-0764
HYDERABAD                               INDIA
TELANGANA 500018 INDIA


MUHAMMAD ZIA                               MUKARAM GAZI                               MULLANEY MEDICAL
40 EL DORADO WAY                           20 MILLENNIUM DR.                          7846 CINCINNATI DAYTON RD
MONROE TOWNSHIP, NJ 08831                  COLUMBUS, NJ 08022                         WEST CHESTER, OH 45069




MULROY ADVISORS LLC                        MULTICARE HEALTH SYSTEM                    MULTICARE HEALTH SYSTEM
ATTN: MICHAEL MULROY                       ATTN GAD KLETTER MD                        ATTN SACIE REBAR
22 SPANISH BAY DR                          314 MARTIN LUTHER KING JR WAY, SUITE 402   314 MARTIN LUTHER KING JR WAY, SUITE 402
NEWPORT BEACH, CA 92660                    TACOMA, WA 98405                           TACOMA, WA 98405




MULTICARE HEALTH SYSTEM                    MULTIPLE MYELOMA RESEARCH                  MUNICH RE
ATTN STEVEN PHILLIPS MD                    FOUNDATION                                 Königinstr. 107
314 MARTIN LUTHER KING JR WAY, SUITE 402   ATTN: JENNIFER PETTIT                      Munich 80802
TACOMA, WA 98405                           383 MAIN AVE 5TH FL                        Germany
                                           NORWALK, CT 06851



MUSTAFA HAMMAD                             MUTUAL OF OMAHA                            MXD PROCESS
1931 N COVE BLVD                           THE MAXON COMPANY                          2600 RIVER GREEN CIRCLE
PANAMA CITY, FL 32405                      76 NORTH BROADWAY                          LOUISVILLE, KY 40206
                                           IRVINGTON, NY 10533




MYERS DRUG STORE INC, MYODERM              MYERS-AUBREY COMPANY                       MYLES WALSH
330 DEKALB STREET                          PO BOX 470370                              1086 LAKE STREET
NORRISTOWN, PA 19401                       TULSA, OK 74147                            MONTEREY, CA 93940




MYRANDA MAIRE SILVERTOOTH                  N J MALIN & ASSOCIATES LLC                 NADEEM MOGHAL
1310 S. PINE STREET                        PO BOX 843860                              8008 COLONY OAKS DR
GEORGETOWN, TX 78626                       DALLAS, TX 75284                           TOLEDO, OH 43617




NADINE A RANDAZZO                          NALCO CAL WATER                            NALCO WATER PRETREATMENT SOLUTIONS
1050 W 8TH AVE                             PO BOX 740204                              PO BOX 102147
#210                                       LOS ANGELES, CA 90074-0204                 PASADENA, CA 91189-2147
MESA, AZ 85210




NAMEER HAIDER DBA                          NAMSA                                      NANCY BAUMGARTNER
ADVANCED PHYSICAL MEDICINE &               PO BOX 710970                              1120 TOMAHAUKEN PKWY
REHABILITATION PLLC                        CINCINNATI, OH 45271                       LEAWOOD, KS 66211
1508 GENESEE ST.
UTICA, NY 13502-5178



NANCY BERNARD                              NANCY SAJBEN, M.D.                         NAOMI WRIGHT
114 WHITE BIRCH DR.                        NANCY LOU SAJBEN                           5120 N INTERSTATE AVE
RIVERTON, NJ 08077                         9834 GENESSE AVE.                          #106
                                           SUITE 427                                  PORTLAND, OR 97217
                                           LA JOLLA, CA 92037
NAPA PAIN CONFERENCE       Case 19-11292-KG    DocONCOLOGY
                                        NAPA VALLEY 14 Filed 06/10/19
                                                           SOCIETY          Page 99 ofANESTHESIA
                                                                               NAPLES  149       AND PAIN ASSOC. INC.
3416 VALLE VERDE DR                     CHAPTER                                 ATTN: JOSEPH PERGOLIZZI, JR., M.D.
NAPA, CA 94558                          ATTN: TANYA BRUBAKER                    868 106TH AVE. NORTH
                                        6843 KENILWORTH AVE                     NAPLES, FL 34108
                                        EL CERRITO, CA 94350



NARDELLO & CO. LLC                      NARDELLO & CO. LLC                      NASHIM ABLO
565 FIFTH AVE. SUITE 200                DANIEL NARDELLO, CEO                    3558 BIRCHVIEW CT SE APT 614
NEW YORK, NY 10017                      565 FIFTH AVE.                          GRAND RAPIDS, MI 49546
                                        SUITE 200
                                        NEW YORK, NY 10017



NASSAU TRANSPORTATION INC               NATALIE AKRAM                           NATALIE PHILLIPS
433 WALL STREET                         627 N OCOTILLO LANE                     4014 N HALL ST
PRINCETON, NJ 08540                     GILBERT, AZ 85233                       DALLAS, TX 75219




NATHAN ASSOCIATES, INC.                 NATHAN NEUFELD                          NATHAN NEUFELD
1777 N KENT STREET SUITE 1400           175 HAMSTEAD PARK DR.                   321 OLD CORINTH RD
ARLINGTON, VA 22209                     SHARPSBURG, GA 30277                    NEWNAN, GA 30263




NATHAN PERRIZO                          NATHAN SCOTT KRAUS                      NATHIFA CLARKE
2523 VIA DURAZNO                        2808 N NEBRASKA ST.                     53 ROCKAWAY PARKWAY
SAN CLEMENTE, CA 92673                  CHANDLER, AZ 85225                      #2R
                                                                                BROOKLYN, NY 11212




NATIONAL ASSOCIATION OF CORPORATE       NATIONAL COMPREHENSIVE CANCER           NATIONAL FIRE & MARINE INS. CO.
DIRECTORS                               275 COMMERCE DR                         3024 HARNEY STREET
1515 N. COURTHOUSE ROAD, SUITE 1200     SUITE 300                               OMAHA, NE 68131
ARLINGTON, VA 22201                     FORT WASHINGTON, PA 19034




NATIONAL ORGANIZATION FOR RARE          NATIONAL OVARIAN CANCER COALITION       NATIONAL PAIN RESEARCH
DISORDERS                               4727 E BELL RD STE 45-532               INSTITUTE LLC
55 KENOSIA AVENUE                       PHOENIX, AZ 85032                       1201 S ORLANDO AVE
DANBURY, CT 06810                                                               WINTER PARK, FL 32789




NATIONAL PROPERTY INSPECTIONS           NATIONAL SCIENTIFIC CORP                NATIONAL TOLLS
1901 HERMITAGE DR.                      7713 COLLECTIONS CENTER DRIVE           TOLL PROCESSING CENTER
ROUND ROCK, TX 78681                    CHICAGO, IL 60693                       PO BOX 30
                                                                                ROSLYN HEIGHTS, NY 11577




NATIONAL UNION FIRE INS CO              NATIONWIDE CREDIT CORPORATION           NATIONWIDE RELOCATION
175 Water St                            P.O. BOX 9156                           6245 POWERLINE RD #202
New York, NY 10038                      ALEXANDRIA, VA 22304-0156               FORT LAUDERDALE, FL 33309




NAVEX GLOBAL, INC.                      NAVIGANT CONSULTING INC                 NAVIGATORS INSURANCE COMPANY
PO BOX 60941                            4511 PAYSPHERE CIRCLE                   400 Atlantic Street
CHARLOTTE, NC 28260                     CHICAGO, IL 60674                       Eighth Floor
                                                                                Stamford, CT 06901-3512
                       Case
NC MUTUAL (NORTH CAROLINA     19-11292-KG
                          MUTUAL)             DocWHOLESALE
                                      NC MUTUAL    14 Filed   06/10/19     PageNDA
                                                                                100  of 149 CORPORATION
                                                                                   CONSULTING
411 W CHAPEL HILL ST                  ATTN DAVID MOODY, CEO                    C/O DANIEL D VON HOFF MD
DURHAM, NC 27701                      816 ELLIS ROAD                           9977 N 90TH ST STE 175
                                      DURHAM, NC 27703                         SCOTTSDALE, AZ 85258




NDA PARTNERS LLC                     NDC HEALTH CORPORATION DBA RELAY          NEBRASKA DEPT. OF HEALTH & HUMAN
40 COMMERCE LN                       HEALTH PHARMACY                           SVCS
SUITE D                              5995 WINDWARD PKWY                        DIV OF PUBLIC HEALTH, LICENSURE UNIT
ROCHELLE, VA 22738                   ALPHARETTA, GA 30005                      ATTN: JESSE CUSHMAN, OFFICE ADMIN
                                                                               PO BOX 94986
                                                                               LINCOLN, NE 68509-4986


NEEDYMEDS                            NEEL MEHTA                                NEEMA M. PARIKH
PO BOX 219                           1320 YORK AVENUE, APT. 35G                8820 BIRCH AVE
GLOUCESTER, MA 01931                 NEW YORK, NY 10021                        MORTON GROVE, IL 60053




NEHA N PARIKH                        NEHAL MODH                                NEIGHBORHOOD PHARMACY
1957 W GRAND CANYON DR               1145B EAST GANNON                         5701 CHESTNUT ST
CHANDLER, AZ 85248                   FESTUS, MO 63028                          PHILADELPHIA, PA 19139




NEIL SINGLA                          NEIL SINHA                                NELSON LABORATORIES
ATTN: NEIL SINGLA                    3 HELENE AVE.                             29471 NETWORK PLACE
100 W CALIFORNIA BLVD., UNIT 25      EDISON, NJ 08820                          CHICAGO, IL 60673-1294
PASADENA, CA 91105




NEOPHARM INC                         NERAC, INC.                               NEUROVATIONS EDUCATION
LAKESIDE                             ONE TECHNOLOGY DR.                        NAPA PAIN CONFERENCE
WAUKEGAN, IL 60085                   TOLLAND, CT 06084                         3416 VALLE VERDE DR
                                                                               NAPA, CA 94558




NEVADA DEPARTMENT OF TAXATION        NEVADA STATE BOARD OF PHARMACY            NEW BRUNSWICK COLLEGE OF
1550 COLLEGE PKWY NO 115             ATTN: DAVE WUEST, EXE. SECRETARY          PHARMACISTS
CARSON CITY, NV 89706                985 DAMONTE RANCH PKWY, STE 206           ATTN: SAM LANCTIN
                                     RENO, NV 89521                            REGISTRAR
                                                                               1224 MOUNTAIN RD, UNIT 8
                                                                               MONCTON E1C 2T6 CANADA


NEW FOUNDLAND & LABRADOR PHARMACY    NEW HAMPSHIRE BOARD OF PHARMACY           NEW HAMPSHIRE CHARITABLE FOUNDATION
BOARD                                ATTN: MICHAEL BULLEK, BOARD ADMIN/COC     ATTN RICHARD OBER
ATTN: MARGOT PRIDDLE, RPH            OFF. OF PROF. LICENSURE & CERTIFICATION   37 PLEASANT STREET
REGISTRAR                            121 S FRUIT ST, SUITE 401                 CONCORD, NH 03301-4005
4588 WATER ST                        CONCORD, NH 03301-2412
ST JOHN'S A1E 1B3 CANADA


NEW JERSEY DEPT. OF LABOR            NEW JERSEY DIV. OF TAXATION               NEW JERSEY STATE BOARD OF PHARMACY
WORKFORCE DEVELOPMENT                REVENUE PROCESSING CENTER                 ATTN: ANTHONY RUBINACCIO, EXE.
DIVISION OF EMPLOYER ACCOUNTS        CORPORATION BUSINESS TAX                  DIRECTOR
PO BOX 929                           PO BOX 257                                PO BOX 45013
TRENTON, NJ 08646-0929               TRENTON, NJ 08646                         NEWARK, NJ 07101



NEW MEXICO DEPARTMENT OF HEALTH      NEW MEXICO HUMAN SERVICES DEPT            NEW YORK STATE BOARD OF PHARMACY
1190 ST FRANCIS DR S1250             ASD, REVENUE & REPORTING BUREAU           ATTN: PAUL W. THOMPSON
SANTA FE, NM 87502                   PO BOX 2348                               INTERIM EXECUTIVE SECRETARY
                                     SANTA FE, NM 87504-2348                   89 WASHINGTON AVE, 2ND FLOOR W
                                                                               ALBANY, NY 12234-1000
                         Case
NEW YORK STATE CORPORATION     19-11292-KG
                             TAX              Doc
                                       NEW YORK     14 DEPARTMENT
                                                 STATE   Filed 06/10/19
                                                                  OF HEALTHPageNEWPORT
                                                                                101 of LIDO
                                                                                         149 PHARMACY
NYS DEPT OF TAXATION & FINANCE         PO BOX 412205                           351 HOSPITAL RD. STE. 107
P.O. BOX 15163                         ATTN: NEW YORK STATE DEPARTMENT         NEWPORT BEACH, CA 92663
CORP V                                 OF HEALTH
ALBANY, NY 12212-5163                  BOSTON, MA 02241-2205



NEXEO SOLUTIONS, LLC                    NEXUS INFORMATICS                       NICHOLAS BUTOWSKI
62190 COLLECTIONS CENTER DR             ATTN: DINAR DHOND, PRESIDENT            96 SHELLEY DR
CHICAGO, IL 60693                       6958 AVIATION BLVD STE H                MILL VALLEY, CA 94941
                                        GLEN BURNIE, MD 21061




NICHOLAS G FINCH                        NICHOLE WOYDZIAK                        NICK COSTA
4950 E. VAN BUREN                       19412 BRUE ST                           6624 AINTREE PARK DR APT203
APT 193                                 PFLUGERVILLE, TX 78660                  MAYFIELD, OH 44143
PHOENIX, AZ 85008




NICK COSTA                              NICK POND                               NICOLA JABBOUR
908 EAST 214TH ST                       7222 HAVENROCK DRIVE                    207 GOLF CLUB DR
EUCLID, OH 44119                        HUNTINGTON BEACH, CA 92648              NICHOLASVILLE, KY 40356




NICOLAS DUFFY                           NICOLE D HOLDER                         NICOLE H GEORGES
2228 KIWI TRAIL                         490 CAROLINA DOWNS                      9150 WALKER PARK DR.
CLERMONT, FL 34714-8017                 YORK, SC 29745                          COLUMBUS, OH 43240




NICOLE SABAT-CORRAL                     NIDAL RAHAL                             NIEMEYER BROTHERS PLUMBING INC
7975 SW 74 PLACE                        1834 E LAUREL HOLLOW LN                 21408 NORTH 11TH AVE
MIAMI, FL 33143                         GERMANTOWN, TN 38139                    PHOENIX, AZ 85027




NIH/PATENT LICENSING                    NIKESH SETH                             NIKETA SHAH
FOOD AND DRUG ADMIN                     NIKMI HOLDINGS LLC                      399 MAIN AVENUE APT # 414
8455 COLESVILLE RD COLE-14-14202        11263 E APPALOOSA PLACE                 NORWALK, CT 06851
SILVER SPRING, MD 20993                 SCOTTSDALE, AZ 85259




NILESH PATEL                            NING SHAN                               NING SHAN
7719 CAMDEN HARBOUR DR.                 266 E LYNX PL                           8518 SANDPIPER RIDGE AVE
BRADENTON, FL 34212                     CHANDLER, AZ 85249                      TAMPA, FL 33647




NINGXIN YAN                             NIPRO GLASS GERMANY AG                  NIPRO GLASS GERMANY AG
4197 E GLACIER PL                       ATTN WOLFGANG HEIDL, CEO                ATTN WOLFGANG HEIDL, CEO
CHANDLER, AZ 85249                      OTTO-LIEBMANN-STRABE 2                  OTTO-LIEBMANN-STRABE 2
                                        MONNERSTADT 97702                       MUNNERSTADT 97702
                                        GERMANY                                 GERMANY



NIPRO PHARMAPACKAGING AMERICAS          NIPRO PHARMAPACKAGING AMERICAS          NIPUN PATEL
CORP                                    CORP                                    2182 N ROLLAND DR
1200 N TENTH ST                         ATTN AJAY PATEL, QUALITY & COMPLIANCE   GLENDALE HTS, IL 60139
MILLVILLE, NJ 08332                     MGR
                                        1200 N 10TH ST
                                        MILLVILLE, NJ 08332
NIRAV B DAVE              Case 19-11292-KG    Doc 14
                                       NITTO AVECIA      Filed
                                                    PHARMA     06/10/19
                                                           SERVICES, INC.      PageNIXON
                                                                                    102 PEABODY
                                                                                         of 149 LLP
2141 N. EVERGREEN ST                      10 VANDERBILT                            BRIAN T. KELLY
2063 N                                    IRVINE, CA 92618                         EXCHANGE PLACE
CHANDLER, AZ 85225                                                                 53 STATE STREET
                                                                                   BOSTON, MA 02109-2835



NIXON PEABODY LLP                         NJSPCA                                   NMS LABS
PO BOX 28012                              P.O. BOX 5705                            P.O. BOX 820090
NEW YORK, NY 10087-8012                   NEW BRUNSWICK, NJ 08903                  PHILADELPHIA, PA 19182-0090




NOAH LEE                                  NOELIA CERNA                             NOELIA CERNA
1533 SW 22 AVE                            2620 W DESERT SPRING WAY                 2620 W DESERT SPRING WAY
FORT LAUDERDALE, FL 33312                 QUEEN CREEK, AZ 85142                    QUEEN CREEK, AZ 85142




NOF AMERICA CORP.                         NORA BUCHER                              NORAMCO GMBH
ONE N. BROADWAY                           60 CALLE SOLANO                          BADISHCHE BAHNHOFSTRASSE 16
STE 912                                   RANCHO MIRAGE, CA 92270                  NEUHAUSEN AM RHEINFALL CH-8212
WHITE PLAINS, NY 10601                                                             SWITZERLAND




NORAMCO INC                               NORTH AMERICA IMMIGRATION LAW GROUP      NORTH AMERICAN CENTER FOR
PO BOX 772826                             2723 S STATE ST STE 150                  CONTINUING
CHICAGO, IL 60677-2826                    ANN ARBOR, MI 48104                      MEDICAL EDUCATION, LLC
                                                                                   104 WINDSOR CENTER DR., STE 200
                                                                                   EAST WINDSOR, NJ 08520



NORTH CAROLINA BOARD OF PHARMACY          NORTH CAROLINA DEPT OF HEALTH            NORTH CAROLINA DEPT OF REVENUE
ATTN: JACK W. "JAY" CAMPBELL IV           & HUMAN SERVICES                         P.O. BOX 25000
EXECUTIVE DIRECTOR                        NC DHHS DRUG REBATE - CMS                RALEIGH, NC 27640-0520
6015 FARRINGTON RD SUITE 201              PO BOX 602872
CHAPEL HILL, NC 27517                     CHARLOTTE, NC 28260-2872



NORTH CAROLINA DEPT OF REVENUE            NORTH CAROLINA MUTUAL WHOLESALE          NORTH CAROLINA MUTUAL WHOLESALE
P.O. BOX 25000                            ATTN JAMES KELLERMANN, DIR OF            DRUG COMPANY (NC MUTUAL)
RALEIGH, NC 27640-0650                    PURCHASING                               816 ELLIS ROAD
                                          816 ELLIS RD                             PO BOX 411
                                          DURHAM, NC 27703                         DURHAM, NC 27703



NORTH DAKOTA STATE BOARD OF               NORTHERN FOX VALLEY CHAPTER OF ONS       NORTHERN FOX VALLEY CHAPTER OF ONS
PHARMACY                                  ATTN: HEATHER LAURENT                    ATTN: HEATHER LAURENT
ATTN: MARK HARDY                          1707 GALLOWAY CIR                        1707 GALLOWAY CIR
EXECUTIVE DIRECTOR                        BARRINGTON, IL 60010                     INVERNESS, IL 60010
1906 E BROADWAY AVE
BISMARK, ND 58501-1354


NORTHERN IL PAIN RESOURCE NURSE           NORTHERN MARIANA ISLANDS ATTORNEY        NORTHERN NEW ENGLAND CLINICAL
CONSORTIUM                                GENERAL                                  ONCOLOGY SOCIETY
C/O PATTY HALL                            ATTN: EDWARD MANIBUSAN                   ATTN: LORI AUBREY
5818 GRIDLEY COURT                        ADMINISTRATION BLDG                      PO BOX 643
SOUTH BELOIT, IL 61080                    PO BOX 10007                             SANDOWN, NH 03873
                                          SAIPAN, MP 96950-8907


NORTHROP GUMMAN INFORMATION               NORTHWEST FLORIDA CLINICAL RESEARCH      NORTHWEST FLORIDA CLINICAL RESEARCH
TECHNOLOGY GLOBAL CORP.                   GROUP, LLC                               GROUP, LLC
MSSO P.O. BOX 27381                       ATTN: GENEI BOUGHER                      ATTN: LYNN HEAD
NEW YORK, NY 10087-7381                   PO BOX 879                               PO BOX 879
                                          GULF BREEZE, FL 32562                    GULF BREEZE, FL 32562
NORTHWESTERN UNIVERSITY Case     19-11292-KG
                                         NORTONDoc
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                                                    FULBRIGHT              PageNOSCO
                                                                                103 of
                                                                                     INC149
ATTN: DENISE MARSHALL                     PO BOX 844284                        ATTN RUSSELL S HARAF, PRESIDENT
676 N ST CLAIR STE 1200                   DALLAS, TX 75284-4284                2199 DELANY RD
CHICAGO, IL 60611                                                              GURNEE, IL 60031




NOSCO INC                                 NOSCO                                NOSCO, INC
C/O HOLDEN INDUSTRIES                     24282 NETWORK PLACE                  24282 NETWORK PLACE
ATTN ARTHUR MILLER, EXECUTIVE VP          CHICAGO, IL 60673-1242               CHICAGO, IL 60673-1242
500 LAKE COOK RD, STE 400
DEERFIELD, AL 60015-5529



NOVA SCOTIA COLLEGE OF PHARMACISTS        NOVASEP LLC                          NOVASEP LLC
ATTN: BEVERLEY ZWICKER                    23 CREEK CIRCLE                      23 CREEK CIRCLE
REGISTRAR                                 BOOTHWYN, PA 19061                   MARCUS HOOK, PA 19061
800 0 1801 HOLLIS STREET
HALIFAX, NS B3J 3N4 CANADA



NOVATEK INTERNATIONAL                     NSF HEALTH SCIENCES                  NTIS
4480 COTE DE LIESSE, SUITE 355            DEPT LOCKBOX # 771380                5301 SHAWNEE RD.
MOUNT-ROYAL (TMR), QC H4N 2R1             PO BOX 77000                         ALEXANDRIA, VA 22312
CANADA                                    DETROIT, MI 48277-1380




NVONS                                     NYS DEPARTMENT OF HEALTH FFS         NYS DEPARTMENT OF HEALTH MCO
ATTN: SANDRA COLE                         REVENUE UNIT - ROOM 2784             REVENUE UNIT - ROOM 2784
177 WOOD RUN                              GNARSEP TOWER BUILDING               GNARSEP TOWER BUILDING
HINESBURG, VT 05461                       ATTN: OBRA REBATE PROG. - FFS        ATTN: OBRA REBATE PROG. - MCO
                                          ALBANY, NY 12237-0016                ALBANY, NY 12237-0016



OAKWOOD EXECUSTAY                         OBITER RESEARCH, LLC                 OBLON, MCCLELLAND, MAIER &
400 N CORONADO                            2809 GEMINI CT                       NEUSTDADT, LLP
CHANDLER, AZ 85224                        CHAMPAIGN, IL 61822-9647             1940 DUKE ST
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OKLAHOMA STATE BOARD OFCase     19-11292-KG
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PATRICE SHEA              Case 19-11292-KG    Doc
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                                      PAUL, WEISS, 14 Filed  06/10/19
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                                                                                        RIFKIND, WHARTON &
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SA                                 SA                                         2717 N. COUNTY ROAD 475 WEST
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                                                                                  110365,
                                                                                       of INC
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531 US HWY 22E, SUITE 323               PO BOX 514038                            PHARMACISTS
WHITEHOUSE STATION, NJ 08889            LOS ANGELES, CA 90051-4038               ATTN: MICHELLE WYAND, REGISTRAR
                                                                                 375 TRANS CANADA HWY, PO BOX 208
                                                                                 CORNWALL, PE C0A 1H0 CANADA
PRISCILLA COTALLAT         Case 19-11292-KG    Doc
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                                                                                          DR. DANIEL BENNETT
2916 W SHUMWAY FARM RD                   4116 E CATHY DRIVE                       14828 WEST 6TH AVE.
PHOENIX, AZ 85041                        GILBERT, AZ 85296                        SUITE 16-B
                                                                                  GOLDEN, CO 80401




PRIYANKA DESAI                           PRO COPY OFFICE SOLUTIONS                PROCARE PHARMACY BENEFIT MANAGER
4946 S VERBENIA PL                       2845 N OMAHA ST                          INC
CHANDLER, AZ 85248                       MESA, AZ 85215
                                                                                  REASSIGNED TO MC-21 HEALTHCARE, LLC
                                                                                  1267 PROFESSIONAL PKWY
                                                                                  GAINSVILLE, GA 30507


PROCARE PHARMACY BENEFIT MANAGER         PROCARE RX                               PROFESSIONAL RESEARCH CONSULTING
INC                                      1267 PROFESSIONAL PARKWAY                INC
ATTN STEVEN TREFF, PRESIDENT & COO       ATTN: FINANCE DEPARTMENT                 D/B/A PRC CLINICAL
1267 PROFESSIONAL PKWY                   GAINESVILLE, GA 30507                    ATTN CURTIS HEAD, CEO
GAINSVILLE, GA 30507                                                              1350 OLD BAYSHORE HWY, #125
                                                                                  BURLINGAME, CA 94010


PROFESSIONAL SEARCH ASSOCIATES           PROGRESSIVE PUMPS CORP                   PROMA PHENGSY
1955 EAST BROADWAY SUITE 102             P.O. BOX 73108                           126 CEDAR CHASE LANE
TEMPE, AZ 85282                          HOUSTON, TX 77273                        IRMO, SC 29063




PROMIS HEALTH ORGANIZATION               PROSTAR SERVICES INC                     PROTECTION DEVELOPMENT INC
ATTN DAVID CELLA, PHD,                   P.O. BOX 110209                          8620 N. NEW BRAUNFELS AVE.
SECRETARY/TREASURER                      CARROLLTON, TX 75011                     STE 100
2360 ORRINGTON AVENUE                                                             SAN ANTONIO, TX 78217
EVANSTON, IL 60201



PROTIVITI                                PROVERIS SCIENTIFIC CORP                 PROVERIS SCIENTIFIC CORP
12269 COLLECTIONS CENTER DRIVE           290 DONALD LYNCH BLVD                    TWO CABOT ROAD
CHICAGO, IL 60693                        SUITE 100                                HUDSON, MA 01749
                                         MARLBOROUGH, MA 01752




PRUDENTIAL CLEANROOM SERVICES            PRUDENTIAL INSURANCE COMPANY OF          PRUDENTIAL
PO BOX 11210                             AMERICA                                  P.O. BOX 101241
SANTA ANA, CA 92711                      ATTN CEO                                 ATLANTA, GA 30392-1241
                                         751 BROAD ST
                                         NEWARK, NJ 07102



PSKW & ASSOCIATES                        PUERTO RICO BOARD OF PHARMACY            PUFFER SWEIVEN
1 CROSSROADS DR.                         ATTN: NORMA TORRES DELGADO               85 NE LOOP 410
3RD FLOORATTN: RICARDO RODRIGUEZ         EXECUTIVE DIRECTOR, DEPARTMENT OF        SUITE 509
BEDMINSTER, NJ 07921                     HEALTH                                   SAN ANTONIO, TX 78216
                                         PO BOX 10200
                                         SAN JUAN, PR 00908


PYXL                                     QBE AMERICAS INC                         QD HOLDINGS
625 S GAY STREET STE 310                 ATTN TONY KARUNPHAN, AVP                 ONE DOCK ST
KNOXVILLE, TN 37902                      55 WATER STREET                          SUITE 510
                                         NEW YORK, NY 10041                       STAMFORD, CT 06902




QI WU                                    QICAI LIU                                QUADRO US
53 BALDWIN RD                            18 SILVER SPRING ROAD                    62413 COLLECTIONS CENTER DRIVE
BILLERICA, MA 01821                      SHORT HILLS, NJ 07078                    CHICAGO, IL 60693-0624
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QUALITY CHEMICAL LABORATORIES, LLC  QUARLESDoc   14 LLP
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3400 ENTERPRISE DRIVE               ATTN: ACCOUNTING DEPT.                     ATTN: MANON LAMBERT
WILMINGTON, NC 28405                ONE RENAISSANCE SQUARE                     REGISTRAR
                                    TWO NORTH CENTAL AVE                       266 RUE NOTRE-DAME OUEST, BUREAU 301
                                    PHOENIX, AZ 85004-2391                     MONTREAL, QB H2Y 1T6 CANADA



QUEST DIAGNOSTICS                     QUEST SOLUTIONS                          QUICK CARE PHARMACY OMC
PO BOX 740779                         PO BOX 56346                             9397 HAVEN AVE
CINCINNATI, OH 45274                  ATLANTA, GA 30343                        RANCHO CUCAMONGA, CA 91730




QUINN EMANUEL URQUHART & SULLIVAN,    QUINN EMANUEL URQUHART & SULLIVAN,       QUINTILES IMS INC.
LLP                                   LLP                                      PO BOX 8500-784290
865 S. FIGUEROA STREET 10TH FLOOR     JONATHAN BUNGE                           PHILADELPHIA, PA 19178-4290
LOS ANGELES, CA 90017                 865 S. FIGUEROA STREET
                                      10TH FLOOR
                                      LOS ANGELES, CA 90017


QUINTILES IMS INCORPORATED            QV CHEMICALS LLC                         R & H PHARMACY, INC
ATTN DONNA DISTEFANO                  17209 CHESTERFIELD AIRPORT DR            1645 JERICHO TURNPIKE
ONE IMS DR                            220                                      STE 102
PLYMOUTH MEETING, PA 19462            CHESTERFIELD, MO 63005                   NEW HYDE PARK, NY 11040




R & H PHARMACY, INC.                  R C SERVICES                             R&R LAW GROUP PLLC
123 MAPLE AVENUE 201A                 830 WINDEMERE LANE                       ATTN PHILLIP KIM
CEDARHURST, NY 11516                  LAKE ZURICH, IL 60047                    5111 N SCOTTSDALE RD., STE 151
                                                                               SCOTTSDALE, AZ 85250




R. NORMAN HARDEN                      R.A JONES                                RABY LAW OFFICE
270 SPRINGDALE ST                     MAIL CODE 5638                           1753 EAST BROADWAY RD SUITE 101-428
ATHENS, GA 30606                      PO BOX 105046                            TEMPE, AZ 85282
                                      ATLANTA, GA 30348-5638




RACHANA R INAVOLU                     RAFAEL PAUL WILLIAMS                     RAININ INSTRUMENT LLC
3910 S NASH WAY                       1401 HESTERS CROSSING RD                 27006 NETWORK PLACE
CHANDLER, AZ 85286                    APT. 12304                               CHICAGO, IL 60673-1270
                                      ROUND ROCK, TX 78681




RAJESH PANDYA                         RAJESH PANDYA                            RAJESH WAKASKAR
2008 WESTVALLEY PL                    721 W KESLER LN                          2225 W FRYE RD
ROUND ROCK, TX 78665                  CHANDLER, AZ 85225                       APT 3072
                                                                               CHANDLER, AZ 85224




RAJESHWARI SWAMY                      RAJESHWARI SWAMY                         RAJNINDER KAUR JUTLA
50 PORT ROYAL AVE                     50 PORT ROYAL AVE                        ATTN: RAJNINDER JUTLA
FOSTER CITY, CA 94404                 SAN MATEO, CA 94404                      6900 E. GREENLAKE WAY N
                                                                               STE J
                                                                               SEATTLE, WA 98155



RAJSHREE R MEWANI                     RAKOCZY MOLINO MAZZOCHI SIWIK LLP        RALPH CARBONE
2087 E STEPHENS PLACE                 6 W. HUBBARD ST.                         19340 ROOSEVELT
CHANDLER, AZ 85225                    CHICAGO, IL 60654                        SOUTH BEND, IN 46614
RAMAN SANKAR            Case 19-11292-KG
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                                                                                       149
1745 SELBY AVE #8                    410 PEARL ST UNIT 3D                      8717 N 69TH ST
LOS ANGELES, CA 90024                LA JOLLA, CA 92037                        PARADISE VALLEY, AZ 85253




RAMIES CONSULTING                    RAMON J ARCE                              RAMSDELL LAW FIRM
1670 CERVATOR CIRCLE                 2048 E. LIBRA DRIVE                       46 SOUTH MAIN STREET
ALAMO, CA 94507                      TEMPE, AZ 85283                           CONCORD, NH 03301




RANDALL HALLEY                       RANDALL MORRISON                          RANDALL PHOTOGRAPHY LLC
2806 OAK TREE DR.                    115 WEST LINCOLN ST                       3217 E. SHEA BLVD. #282
NIXA, MO 65714                       TULLAHOMA, TN 37388                       PHOENIX, AZ 85028




RANDALL POLLARD                      RANDALL SCHARLACH                         RANDALL SCHARLACH
6229 PINETREE CT                     10746 ROCHESTER AVE                       21300 ERWIN ST
LONG GROVE, IL 60047                 LOS ANGELES, CA 90024                     WOODLAND HILLS, CA 91367




RANDSTAD NORTH AMERICA DBA           RANDY CALEGARI                            RANDY RICH
RANDSTAD US LP                       3150 N TENAYA WAY SUITE 510               921 RIDGE RD.
P.O. BOX 894217                      LAS VEGAS, NV 89128                       HIGHLAND PARK, IL 60035
LOS ANGELES, CA 90189




RANGAN MALLIK                        RASHEDA PERSINGER                         RAVI D VAISHYA
453 W THOMSON PLACE                  720 DELAFIELD ST. NE                      2225 W FRYE RD
CHANDLER, AZ 85286                   WASHINGTON, DC 20017                      APT 3064
                                                                               CHANDLER, AZ 85224




RAYMOND F. ANTON MD                  RAYMOND JAMES                             RC2 PHARMA CONNECT LLC
4 GATEWAY WALK                       ATTN: TOM MORRILL                         1200 MACARTHUR BLVD
CHARLESTON, SC 29401                 222 SOUTH RIVERSIDE PLAZA, STE 2680       MAHWAH, NJ 07430
                                     CHICAGO, IL 60606




RDG FILINGS                          RDG FILINGS                               READYREFRESH BY NESTLE
816 ROANOKE BLVD                     PO BOX 883213                             PO BOX 856158
SALEM, VA 24153                      SAN FRANCISCO, CA 94188-3213              LOUISVILLE, KY 40285-6158




REBECCA ANN PETERSON                 REBECCA L ESTRADA                         REBECCA M CROOKS
9344 S HAZELTON LN                   6106 GINGER RISE                          4321 BERRYMAN AVE
TEMPE, AZ 85284                      SAN ANTONIO, TX 78258                     UNIT 8
                                                                               LOS ANGELES, CA 90066




RECEPT COMPANIES                     RECEPT PHARMACY LP                        RECHTKORNFELD, P.C.
1620 W. NORTHWEST HWY STE 100        ATTN GENERAL COUNSEL                      1600 STOUT STREET, SUITE 1400
GRAPEVINE, TX 76051                  1620 W NORTHWEST HWY, STE 100             DENVER, CO 80202
                                     GRAPEVINE, TX 76051
                     Case
RECON MANAGEMENT GROUP LLC     19-11292-KG   Doc 14 Filed
                                       RECON MANAGEMENT     06/10/19
                                                        GROUP LLC            PageRECORD
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                                                                                         149 INC
30400 TELEGRAPH RD                      30400 TELEGRAPH RD                       229 WEST 36TH STREET 8TH FLOOR
STE 472                                 STE 472                                  NEW YORK, NY 10018
BINGHAM, MI 48025                       FRANKLIN, MI 48025




RED RIVER PRECISION MANUFACTURING,      RED WING SHOE STORE                      REED TECH & INFO SERVS INC
INC.                                    8440 BURNET ROAD #182                    P.O. BOX 7247-7518
PO BOX 1657                             AUSTIN, TX 78757                         PHILADELPHIA, PA 19170-7518
ROUND ROCK, TX 78680




REESE T JONES                           REGENTS OF THE UNIVERSITY OF CA SF       REGENTS OF THE UNIVERSITY OF CA SF
280 MADRONA AVE                         (BENET)                                  UCSF CONTRACTS AND GRANTS
BELVEDERE TIBURON, CA 94920             533 PARNASSUS AVE, ROOM U-68             ACCOUNTING
                                        ATTN: LESLIE BENET, PHD                  1855 FOLSOM ST MCB ROOM 425
                                        SAN FRANCISCO, CA 94143                  CAMPUS MAIL BOX 0897
                                                                                 SAN FRANCISCO, CA 94143-0897


REGENTS OF THE UNIVERSITY OF            REGENTS OF THE UNIVERSITY OF             REGULATED AFFAIRS, LLC
CALIFORNIA, THE                         CALIFORNIA, THE                          208 N. 9TH ST. #1215
ATTN DR LYNNE BIRD                      OFFICE OF CLINICAL TRIALS ADMIN          SAINT LOUIS, MO 63101
REF OCTA 20183561                       ATTN OCTA DIRECTOR; REF 20183561
9500 GILMAN DR, #0984                   9500 GILMAN DR, MC 0706
LA JOLLA, CA 92161                      LA JOLLA, CA 92093-0940


REGULATORY AND TOXICOLOGY CONS          REGULATORY AND TOXICOLOGY                REHABILITATION RESEARCH
(STEPHEN MONTGOMERY)                    CONSULTANTS, LLC                         13800 OUTLOOK ST
15495 LAUREL GROVE DRIVE                861 SHERBOURNE CIRCLE                    OVERLAND PARK, KS 66223
ALPHARETTA, GA 30004                    LAKE MARY, FL 32746




REHAN MEMON                             REKEYA PEEPLES                           RELAYHEALTH
4701 PINE ST                            4632 E GERMANN RD                        PO BOX 742532
BELLAIRE, TX 77401                      GILBERT, AZ 85297                        ATLANTA, GA 30374-2532




RELIABLE MANUFACTURING INC              RELIABLE OFFICE SUPPLIES                 RELIABLE REFRIGERATION SERVICE, INC.
PO BOX 1165                             DEPT 8001                                913 E JUANITA AVE # 1
ROUND ROCK, TX 78680-1165               135 S. LA SALLE ST.                      MESA, AZ 85204-6693
                                        CHICAGO, IL 60674-8001




REMX                                    RENAISSANCE HOTELS                       RENAISSANCE LAKEWOOD & PACKAGING
PO BOX 91010                            1000 SPRING ST                           COORDINATORS LLC (PCI)
CHICAGO, IL 60680-8805                  ELIZABETH, NJ 07201                      1200 PACO WAY
                                                                                 LAKEWOOD, NJ 08701-5938




RENAISSANCE LAKEWOOD                    RENAISSANCE SSP HOLDINGS, INC.           REPORTHIVE RESEARCH CONSULTANTS LLP
RENAISSANCE PHARMACEUTICALS             8550 SOLUTION CENTER                     OFFICE D - 101, GURUKRUPA CORNER
1200 PACO WAY                           CHICAGO, IL 60677                        SAINATH NAGAR
LAKEWOOD, NJ 08701-5938                                                          PUNE, MAHARASHTRA 411014
                                                                                 INDIA



RESEARCH FOUNDATION FOR MENTAL          RESEARCH FOUNDATIONS FOR THE STATE       RESEARCH INSTITUTE AT NATIONWIDE
HYGIENE                                 UNIVERSITY OF NEW YORK                   CHILDREN'S HOSPITAL, THE
ATTN: A/R DEPARTMENT                    ATTN CONOR T FLYNN                       ATTN MATTHEW MCFARLAND, VP TECH
150 BROADWAY, SUITE 301                 UB CLINICAL RESEARCH OFFICE              COMM/INDUSTRY RELATIONS
MENANDS, NY 12204                       875 ELLICOTT STREET, STE 6040            700 CHILDREN'S DR
                                        BUFFALO, NY 14203                        COLUMBUS, OH 43205
RESEARCH INTERNATIONAL, Case
                         INC.   19-11292-KG   Doc
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                                                                                           OPTIMIZATION & INNOVATION
4949 BATTERY LANE STE. 112               130 NORTH MAIN STREET                     LLC
BETHESDA, MD 20814                       BUTTE, MT 59701                           ATTN GENERAL LEGAL COUNSEL
                                                                                   14528 S OUTER FORTY, STE 100
                                                                                   CHESTERFIELD, MO 63017



RESOURCE OPTIMIZATION & INNOVATION       RESOURCE OPTIMIZATION & INNOVATION        RESOURCE OPTIMIZATION INNOVATION, LLC
LLC                                      LLC                                       PO BOX 504280
ATTN STRATEGIC SOURCING MANAGER          ATTN VICE PRESIDENT, INTEGRATED           SAINT LOUIS, MO 63150
645 MARYVILLE CENTRE DR, STE 200         SOURCING SOLUTIONS
ST LOUIS, MO 63141                       645 MARYVILLE CENTRE DR, STE 200
                                         ST LOUIS, MO 63141


RESOURCES GLOBAL PROFESSIONALS           RESTEK CORPORATION                        RESTORATION MANAGEMENT COMPANY
PO BOX 740909                            PO BOX 4276                               4142 POINT EDEN WAY
LOS ANGELES, CA 90074-0909               LANCASTER, PA 17604                       HAYWARD, CA 94545




RETAIN PHARMACY SOLUTIONS                REUBEN NUGENT                             RHODE ISLAND BOARD OF PHARMACY
4837 AMBER VALLEY PARKWAY                516 CASA DEL RANCHO RD                    ATTN: PETER RAGOSTA
FARGO, ND 58103                          LORENA, TX 76655                          CHIEF ADMINISTRATIVE OFFICER
                                                                                   3 CAPITOL HILL, ROOM 205
                                                                                   PROVIDENCE, RI 02908-5097



RIAD LAHAM                               RICHARD A. GRIMM                          RICHARD B LIPTON, MD
8625 HUNTING HILL DR.                    555 BRYAN ST                              68 BUTTERNOT HOLLOW RD
MENTOR, OH 44060                         #154                                      GREENWICH, CT 06830
                                         PALO ALTO, CA 94301




RICHARD BRENT MCLEMORE                   RICHARD CHRISTOPHER LABIN                 RICHARD DEMERS
3410 68TH DRIVE                          18610 W HAZELWOOD ST                      7719 STONY RIVER COURT
LUBBOCK, TX 79413                        GOODYEAR, AZ 85395                        BAKERSFIELD, CA 93308




RICHARD GLENN HIMELRICK                  RICHARD H HUNT                            RICHARD J GILARDONI
240 TOWNSEND SQ                          KILMARTIN, PINE WALK                      445 CARRILLO STREET
OYSTER BAY, NY 11771                     MIDHURST                                  SANTA ROSA, CA 95401
                                         WEST SUSSEX GU29 0AS
                                         UNITED KINGDOM



RICHARD J PARENT                         RICHARD KIM                               RICHARD LOCKEY
167 SLOAN ROAD                           17234 EMERALD CHASE DR.                   2708 WEST MARLIN AVE
PHOENIXVILLE, PA 19460                   TAMPA, FL 33647                           TAMPA, FL 33611




RICHARD MARC WESOFF                      RICHARD MATTES                            RICHARD P O'NEAL
103 TANGLEBROOK DR                       700 W STATE ST                            9786 ELIZABETH ST.
HOLLAND, PA 18966                        WEST LAFAYETTE, IN 47907                  PARKER, CO 80134




RICHARD P PRINCE                         RICHARD PRICE                             RICHARD RAUCK
13145 N HIGHWAY 183                      11903 VERMILLION AVE                      145 KIMEL PARK DR.
APT 922                                  WINDERMERE, FL 34786                      SUITE 330
AUSTIN, TX 78750                                                                   WINSTON SALEM, NC 27103
RICHARD SCOTT WARLICK Case        19-11292-KG
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                                                                                                 JOSEPH
145 FANNIN BATTLEGROUND LANE               1351 NIGHTSHADE RD                          14102 MAGNOLIA COVE RD.
GEORGETOWN, TX 78628                       CARLSBAD, CA 92011                          JACKSONVILLE, FL 32224




RICHILANO SHEA LLC                         RICKY HSU, MD, PC                           RIDA, WASIMA N
1800 15TH STREET, SUITE 101                381 BROOME ST, PH                           1129 N ILLINOIS ST
DENVER, CO 80202                           NEW YORK, NY 10013                          ARLINGTON, VA 22205




RIDLEY MCGREEVY & WINOCUR, P.C.            RIFKIN WEINER LIVINGSTON, LLC               RING CENTRAL
303 16TH ST. #200                          225 DUKE OF GLOUCESTER STREET               20 DAVIS DR
DENVER, CO 80202                           ANNAPOLIS, MD 21401                         BELMONT, CA 94002




RISHIN PATEL                               RITA WICKHAM                                RITE AID FOUNDATION
314 BLUE SAGE DRIVE                        8039 GARTH POINT LN                         C/O GAYLE RIFE
ALLENTOWN, PA 18104                        RAPID RIVER, MI 49878                       PO BOX 3165
                                                                                       HARRISBURG, PA 17105




RITU LAL, PHD, MS                          RIVERS & MOOREHEAD PLLC                     RIVERSIDE HEALTH SYSTEM FOUNDATION
1123 STANFORD AVE                          398 S. MILL AVENUE, SUITE 307               ATTN: HAROLETTE KELLEY
PALO ALTO, CA 94306                        TEMPE, AZ 85281                             C/O ONCOLOGY NURSING NETWORK
                                                                                       1200 WARWICK BLVD STE 101
                                                                                       NEWPORT NEWS, VA 23601



RIVINGTON                                  RK WOLFF - SAFETY CONSULTING INC.           RLI INSURANCE COMPANY
1120 AVENUE OF THE AMERICAS                14931 REFLECTION KEY CIRCLE, UNIT 722       ATTN CHRISTINE CALLAS, UNDERWRITING
21ST FLOOR                                 FORT MYERS, FL 33907                        DIR
NEW YORK, NY 10036                                                                     9025 N LINDBERGH DR
                                                                                       PEORIA, IL 61615



RLTS, INC.                                 RNB CONTROLS INC.                           ROBERT ANTHONY JOHNSON
PO BOX 26764                               4623 WEST RANCH ROAD #1431                  9503 STATE ROAD
AUSTIN, TX 78755-0764                      KINGSLAND, TX 78639                         APT 610
                                                                                       PHILADELPHIA, PA 19114




ROBERT B RAFFA                             ROBERT BROOKLAND                            ROBERT BROWN
3825 E DIABLO CANYON PLACE                 6701 N CHARLES ST                           4410 N 27TH ST
TUCSON, AZ 85718-2304                      TOWSON, MD 21204                            #3
                                                                                       PHOENIX, AZ 85016




ROBERT F BARNES CUSTOMS BROKER             ROBERT GLENN KATZ                           ROBERT HALF FINANCE & ACCOUNTING
11130 JOLLYLVILLE RD.                      116 SPRINGWATER DRIVE                       PO BOX 743295
#300                                       JUPITER, FL 33458                           LOS ANGELES, CA 90074-3295
AUSTIN, TX 78759




ROBERT HARDEN                              ROBERT ISAAC SCHWIMMER                      ROBERT J BROWN
270 SPRINGDALE ST                          6835 E CAMELBACK RD                         1275 HAVENHURST DR #2
ATHENS, GA 30606                           UNIT 6020                                   LOS ANGELES, CA 90046
                                           SCOTTSDALE, AZ 85251
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1275 HAVENHURST DR #2                    110 FOREST AVE                            1895 RICHWOOD RD
WEST HOLLYWOOD, CA 90046                 WILLOW GROVE, PA 19090                    WALTON, KY 41094




ROBERT L. LEEDS                          ROBERT LIEBROSS                           ROBERT M SCOTT
3999 S DOBSON RD                         12519 GLENDVEGAN DR                       6006 WESTCREEK DRIVE
APT. 2024                                CARMEL, IN 46032                          UNIT A
CHANDLER, AZ 85248                                                                 AUSTIN, TX 78749




ROBERT M ZARRILLI                        ROBERT MERRITT                            ROBERT NACLERIO
1700 PALMER AVE                          ATTN: JERRY VANCE                         4330 BONFIELD CT
WINTER PARK, FL 32789                    4815 E ELMWOOD ST                         OXFORD, MD 21654
                                         MESA, AZ 85205




ROBERT STARNES                           ROBERT T. CHAPDELAINE                     ROBIN GINGOLD
174 QUEENSWOOD RD                        2179 E. LANDIS AVE.                       1400 DE ANZA BLVD
BOLINGBROOK, IL 60440                    VINELAND, NJ 08361                        SAN MATEO, CA 94403




ROBINS KAPLAN LLP                        ROBINS KAPLAN LLP                         ROBINSON PHARMA
800 LASALLE AVENUE, SUITE 2800           ATTN ANDREW JOEL CROWDER, GEOFFREY        1683 SUNFLOWER AVE
MINNEAPOLIS, MN 55402-2015               HOLMES KOZEN, JAMIE R KURTZ, JEFFREY      COSTA MESA, CA 92626
                                         SULLIVAN GLEASON, JOSHUA BUCHANON
                                         STROM, THOMAS C MAHLUM
                                         2800 LASALLE PLZ, 800 LASALLE AVE
                                         MINNEAPOLIS, MN 55402

ROCHESTER DRUG COOPERATIVE INC           ROCHESTER DRUG COOPERATIVE INC            ROCKY MOUNTAIN HOSPITAL AND MEDICAL
50 JET VIEW DRIVE                        ATTN DIR INVENTORY MANAGEMENT             SERVICE INC
P.O. BOX 24389                           50 JET VIEW DR                            C/O COPPERSMITH BROCKELMAN PLC
ROCHESTER, NY 14624                      ROCHESTER, NY 14624                       ATTN KEITH BEAUCHAMP
                                                                                   2800 N CENTRAL AVE., STE 1900
                                                                                   PHOENIX, AZ 85004


ROCKY MOUNTAIN HOSPITAL AND MEDICAL      ROCKY MOUNTAIN HOSPITAL AND MEDICAL       ROCKY MOUNTAIN HOSPITAL AND MEDICAL
SERVICE INC                              SERVICE INC                               SERVICE INC
C/O ROBINS KAPLAN LLP                    C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP
ATTN ANDREW JOEL CROWDER                 ATTN GEOFFREY HOLMES KOZEN                ATTN JAMIE R KURTZ
2800 LASALLE PLZ, 800 LASALLE AVE        2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402                    MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402


ROCKY MOUNTAIN HOSPITAL AND MEDICAL      ROCKY MOUNTAIN HOSPITAL AND MEDICAL       ROCKY MOUNTAIN HOSPITAL AND MEDICAL
SERVICE INC                              SERVICE INC                               SERVICE INC
C/O ROBINS KAPLAN LLP                    C/O ROBINS KAPLAN LLP                     C/O ROBINS KAPLAN LLP
ATTN JEFFREY SULLIVAN GLEASON            ATTN JOSHUA BUCHANON STROM                ATTN THOMAS C MAHLUM
2800 LASALLE PLZ, 800 LASALLE AVE        2800 LASALLE PLZ, 800 LASALLE AVE         2800 LASALLE PLZ, 800 LASALLE AVE
MINNEAPOLIS, MN 55402                    MINNEAPOLIS, MN 55402                     MINNEAPOLIS, MN 55402


RODNEY ALAN SALAZAR                      RODNEY ROTHSTEIN                          ROE CASSIDY COATES & PRICE PA
45280 ASPEN RIDGE PL                     4727 CARRINGTON BLVD SE                   PO BOX 10529
CANISTOTA, SD 57012                      OWENS CROSS ROADS, AL 35763               GREENVILLE, SC 29603




ROE RX INC                               ROGER KASENDORF                           ROGERS-O'BRIEN CONSTRUCTION CO
1378 W 1800 N                            DBA ROGER KASENDORF, DO PC                1901 REGAL ROW
OGDEN, UT 84404                          8807 CAMINTO SUENO                        DALLAS, TX 75235
                                         LA JOLLA, CA 92037
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235 WILLOW AVE                              39700 BOB HOPE DRI                      8365 MANCHESTER PARK DR.
DEERFIELD, IL 60015                         STE 202                                 BUFFALO, NY 14221
                                            RANCHO MIRAGE, CA 92270




RON HABERMAN                                RONALD CATHCART, MD, PA                 RONALD SEGURA
30 PARKSIDE PL APT 302                      14975 89TH ST.                          650 MILLIKENS BEND
MALDEN, MA 02148                            FELLSMERE, FL 32948                     COVINGTON, LA 70433




RONY R. LEE                                 ROPER ST. FRANCIS FOUNDATION            ROPES & GRAY LLP
& PAIN MEDICINE                             ATTN: JACOBO MINTZER                    BRIEN OCONNOR
1615 N ALSTON ST                            125 DOUGHTY ST                          PRUDENTIAL TOWER
FOLEY, AL 36535                             SUITE 790                               800 BOYLSTON STREET
                                            CHARLESTON, SC 29407                    BOSTON, MA 02199-3600



ROPES & GRAY LLP                            ROQUETTE AMERICA INC                    ROSE ANN WELLS
MAIL CODE: 11104                            2905 EAGLE WAY                          7163 BAY RD
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NEWARK, NJ 07101




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                                            PROVIDENCE, RI 02906                    HENDERSON, NV 89052




ROSS ARONSTAM & MORITZ                      ROTH STAFFING COMPANIES                 ROUTE 3 PARTNERS LLC
100 S. WEST STREET                          PO BOX 60003                            110 CRESTWOOD AVE
SUITE 400                                   ANAHEIM, CA 92812                       NUTLEY, NJ 07110
WILMINGTON, DE 19801




ROY BLAKE DEAN                              ROY D ALTMAN                            ROY D ALTMAN
104 LAUREN LANE                             ATTN: ROY D ALTMAN                      ATTN: ROY D ALTMAN
GEORGETOWN, TX 78633                        9854 WEST BALD MOUNTAIN COURT           9854 WEST BALD MOUNTAIN COURT
                                            AGUA DULCE, CA 91390                    SANTA CLARITA, CA 91390




ROY ELTERMAN                                ROY FREEMAN                             RS MECHANICAL DESIGN & ENGINEERING,
15309 CYPRESS HILLS DR                      256 SUMMIT AVE                          LLC
DALLAS, TX 75248                            BROOKLINE, MA 02446                     12413 DEER FALLS DRIVE, UNIT B
                                                                                    AUSTIN, TX 78729




RSDSA                                       RSUI                                    R-T SPECIALTY LLC
99 CHERRY STREET                            945 EAST PACES FERRY ROAD NE            ATTN JONATHAN REINER, EVP
MILFORD, CT 06460                           SUITE 1800                              500 W MONROE, 27TH FL
                                            ATLANTA, GA 30326                       CHICAGO, IL 60661




RT SPECIALTY                                RUBBERFORM RECYCLED PRODUCTS, LLC       RUDOLPH RESEARCH ANALYTICAL
180 North Stetson Avenue                    P.O. BOX 291                            55 NEWBURGH RD.
Prudential Plaza, Suite 4600                EAST AMHERST, NY 14051                  HACKETTSTOWN, NJ 07840
Chicago, IL 60601
RUEMU BIRHIRAY                  Case 19-11292-KG   Doc 14 MEDICAL
                                             RUSH UNIVERSITY Filed CENTER
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                                                                                      119 ofHILL
                                                                                              149CANCER FOUNDATION
567 BOULDERWOOD LN                            1725 W HARRISON SUITE 337              3601 CCI DRIVE
CARMEL, IN 46032                              CHICAGO, IL 60612                      HUNTSVILLE, AL 35805




RUSSELL KATZ                                  RUSSO CME                              RXADCO LLC
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DANA POINT, CA 92629                          MOSES LAKE, WA 98837                   ATTN: CHRIS WOOD
                                                                                     HARRINGTON PARK, NJ 07640




RYAN ANDREWS                                  RYAN E WALSH                           RYAN EDWARD CHARLES
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HIGHLANDS RANCH, CO 80129                     GILBERT, AZ 85295                      LAKE JACKSON, TX 77566




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70 BENT CREEK PRESERVE RD                     LOCKBOX 842318                         LOCKBOX 842318
ASHEVILLE, NC 28806                           PO BOX 842318                          P.O. BOX 842318
                                              BOSTON, MA 02284-2318                  BOSTON, MA 02284-2318




RYAN J PITTS                                  RYAN MATTHEW LEONG                     RYAN RAPP & UNDERWOOD PLC
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QUEEN CREEK, AZ 85142                         KAILUA, HI 96734                       SUITE 2250
                                                                                     PHOENIX, AZ 85012




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                                                                                     PHOENIX, AZ 85004




SADIF MALIK                                   SAEED MOTAHARI                         SAFE DRUM HANDLING COMPANY LLC
287 LORTON AVE                                204 MEADOWOOD DR                       5416 WATERCRESS PLACE
APT 201                                       S. BURLINGTON, VT 05403                COLUMBIA, MD 21045
BURLINGAME, CA 94010




SAFETY STORAGE INC                            SAFIA HUSSEN                           SAFIA L HUSSEN
PO BOX 440                                    207 W CLAREDON AVE 20E                 1 E LEXINGTON AVE
CHARLESTON, IL 61920                          PHOENIX, AZ 85013                      UNIT 511
                                                                                     PHOENIX, AZ 85012




SAI GLOBAL COMPLIANCE, INC.                   SAINT JOHN XXIII CATHOLIC SCHOOL       SAJITHA PUTHALATH
FORREST ROAD OFFICE CENTRE                    ATTN: SARAH ELLIS                      1353 E JADE DR
210 ROUTE 4 EAST                              LASTING LEGACIES                       CHANDLER, AZ 85286
SUITE 103                                     19301 N 100TH WAY
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SALESFORCE                                    SALIL GULATI                           SALLY Y BARBOUR
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San Francisco, CA 94105                       FOUNDATION                             DURHAM, NC 27707
                                              307 N UNIVERSITY BLVD CSAB 269
                                              MOBILE, AL 36688
                          Case
SALMON, LEWIS & WELDON, P.L.C    19-11292-KG
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                                                                                         L HURLEY
2850 E. CAMELBACK RD, STE 200             2850 E. CAMELBACK RD, STE 200         4135 EAST COMSTOCK DRIVE
PHOENIX, AZ 85016                         PHOENIX, AZ 85016                     GILBERT, AZ 85296




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SANDEEP PARSAD                            SANDEEP PARSAD                        SANDRA L NIEVES
4922 S CORNELL AVE                        4922 S CORNELL AVENUE                 1283C MISSION NUEVO DR
UNIT O                                    UNIT O                                LAS CRUCES, NM 88011
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SAN DIEGO, CA 92130                       FARMINGDALE, NJ 07727                 ANNAPOLIS, MD 21401




SARD VERBINNEN & CO                       SARSTEDT, INC.                        SAS INSTITUTE INC
630 THIRD AVE                             1025 SAINT JAMES CHURCH ROAD          SAS CAMPUS DR
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                                          ROUND ROCK, TX 78665




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601 BEGONIA AVE                           601 BEGONIA AVE                       SOUTH CAROLINA DEPARTMENT OF
CORONA DEL MAR, CA 92625                  CORONA DEL MAR, CA 92625              REVENUE
                                                                                CORPORATION
                                                                                COLUMBIA, SC 29214-0006



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PHILADELPHIA, PA 19103                    TUSTIN, CA 92781                      HIGHLAND PARK, IL 60035-6377
SCOTT EMERSON             Case 19-11292-KG    Doc 14 INC
                                       SCOTT LIGHTFOOT, Filed 06/10/19        PageSCOTT
                                                                                   121 SMITH
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7055 54TH AVE.                           6602 E EUGINE TERRACE                    1001 WOODLAND DR. NW
SEATTLE, WA 98115                        SCOTTSDALE, AZ 85254                     WILSON, NC 27893




SCOTT WARLICK                            SCOTTY SENGSAVANG                        SCREENED GEAR
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                                                                                  MESA, AZ 85205




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ATTN: KRISTIN MARTINEZ                   158 SUNRISE DR                           CAREFREE, AZ 85377
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LA JOLLA, CA 92037



SEAN HILL                                SECRETARY OF STATE                       SECRETARY OF STATE
2735 E CAROB DR                          ATTN: NOTARY DIVISION                    DEPT OF BUSINESS SERVICES
CHANDLER, AZ 85286                       1700 W WASHINGTON ST. FL 7               501 S. 2ND ST.
                                         PHOENIX, AZ 85007-2808                   SPRINGFIELD, IL 62756-5510




SECRETARY OF STATE                       SECUREWORKS, INC.                        SECURITIES & EXCHANGE COMMISSION
DIVISION OF CORPORATIONS                 PO BOX 534583                            100 F STREET, NE
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SELTIN SUPPLY INC                        SEMITORR GROUP                           SENSITECH INC
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CHICAGO, IL 60677-6159                   TUALATIN, OR 97062                       LOS ANGELES, CA 90074




SENSITECH, INC                           SENTINEL PROCESS SYSTEMS, INC.           SENZER, LTD
PO BOX 742000                            3265 SUNSET LN                           2 ANGEL SQUARE
LOS ANGELES, CA 90074                    HATBORO, PA 19040                        LONDON EC1V 1NY
                                                                                  UNITED KINGDOM




SENZER, LTD                              SERA CHUNG                               SERGE MENKIN
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LONDON EC1V 1NY                                                                   HOLMDEL, NJ 07733
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6 WOODTREE DR                            3839 WOODBRIDGE RD                       5325 N CORTE PUESTA DEL SOL
WOODBURY, NY 11797                       COLUMBUS, OH 43220                       TUCSON, AZ 85718
SEYFARTH SHAW LLP       Case    19-11292-KG
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3807 COLLECTIONS CENTER DRIVE           900 THIRD AVE.                            750 LEXINGTON AVE
CHICAGO, IL 60693                       4TH FLOOR                                 NEW YORK, NY 10022
                                        NEW YORK, NY 10022




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MOUNT PLEASANT, SC 29464




SHARP CLINICAL SERVICES INC             SHARP CLINICAL SERVICES, INC.             SHAUN HUSSAIN
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333 SOUTH HOPE STREET 43RD FL           PHOENIX, AZ 85004                         MIAMI, FL 33196
LOS ANGELES, CA 90071-1422




SHERIN KAMAL FETOUH                     SHIMADZU SCIENTIFIC INSTRUMENTS INC       SHIMADZU SCIENTIFIC INSTRUMENTS INC
11 PISCES LN                            7102 RIVERWOOD DRIVE                      9940 W SAM HOUSTON PKWY, SOUTH
ROCKLEDGE, FL 32955                     COLUMBIA, MD 21046                        SUITE 300
                                                                                  HOUSTON, TX 77099
                         Case 19-11292-KG
SHIMADZU SCIENTIFIC INSTRUMENTS INC   SHLOMODoc    14 Filed
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                                                                                  123 of  149& BACON L.L.P.
                                                                                        HARDY
ATTN MELISSA MILSTEAD, GENERAL        140 TOYMIL RD                               2555 GRAND BOULEVARD
COUNSEL                               NEW ROCHELLE, NY 10804                      KANSAS CITY, MO 64108
7102 RIVERWOOD DR
COLUMBIA, MD 21046



SHOOK, HARDY & BACON L.L.P.            SHUTTLEWORTH PLLC                          SHVETAL M PATHAK
JAMES MUEHLBERGER                      6077 PRIMACY PARKWAY                       4954 E AIRE LIBRE AVE
2555 GRAND BOULEVARD                   SUITE 200                                  SCOTTSDALE, AZ 85254
KANSAS CITY, MO 64108                  MEMPHIS, TN 38119




SI GROUP, INC.                         SIELC TECHNOLOGIES, INC.                   SIGMA ALDRICH INC
PO BOX 1046                            804 SETON CT.                              PO BOX 535182
2750 BALLTOWN RD                       WHEELING, IL 60090                         ATLANTA, GA 30353-5182
SCHENECTADY, NY 12301




SIGMA ALDRICH RTC                      SIGNARAMA                                  SIGNATURE COMMERCIAL SOLUTIONS LLC
PO BOX 535182                          3400 N ARIZONA AVE #117                    PO BOX 534733
ATLANTA, GA 30353-5182                 CHANDLER, AZ 85225                         ATLANTA, GA 30353




SIGNATURE STAFF RESOURCES, LLC         SIGNATURE STAFF RESOURCES, LLC             SIGRID BLOME-EBERWEIN
1460 TL TOWNSEND DRIVE SUITE 104       1460 TL TOWNSEND DRIVE SUITE 104           1901 BEVIN DR.
HEATH, TX 75032                        ROCKWALL, TX 75032                         ALLENTOWN, PA 18103




SIGRID N TOULATOS                      SILICA SOLUTIONS                           SILICON VALLEY ONS
35-15 30TH STREET                      235 SWAN LN                                IRENE MEDRIANO
ASTORIA, NY 11106                      ANGIER, NC 27501                           158 SUNRISE DR
                                                                                  HOLLISTER, CA 95023




SILICYCLE                              SILVERSON MACHINES, INC.                   SIMFAROSE PHARMACEUTICAL SPECIALTIES
2500 PARC TECHNOLOGIQUE BLVD           P.O. BOX 589                               10016 PINES BLVD
QUEBEC G1P 4S6                         EAST LONGMEADOW, MA 01028                  HOLLYWOOD, FL 33024
CANADA




SIMFAROSE PHARMACEUTICAL SPECIALTIES   SIMIN H SYED, P.C.                         SIMON FREED CONSULTING LLC
10016 PINES BLVD                       875 SIXTH AVE STE 1810                     3332 HILDALGO LOOP
PEMBROKE PINES, FL 33024               NEW YORK, NY 10001                         ROUND ROCK, TX 78665




SIMULATIONS PLUS INC                   SIMULATIONS PLUS, INC                      SINO BIOLOGICAL INC.
ATTN DANIEL J O'CONNOR DIR BUSINESS    42505 TETH STREET WEST                     SINO BIOLOGICAL USA INC
DEVELOPMENT                            LANCASTER, CA 93534                        PO BOX 1522
42505 10TH ST W                                                                   NORTH WALES, PA 19454
LANCASTER, CA 93534



SIRANE LIMITED                         SIRANE LTD                                 SIRANE LTD
STAFFORD PARK 6, TELFORD               EUROPEAN DEVELOPMENT CENTRE                STAFFORD PARK 10
TELFORD AND WREKIN                     STRAFFORD PARK 6, TELFORD                  TELFORD TF3 3AB
TF3 3AT                                SHROPSHIRE TF3 3AT                         UNITED KINGDOM
UNITED KINGDOM                         UNITED KINGDOM
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SKADDEN, ARPS, SLATE, MEAGHER  FLOM   SKC INC,Doc 14    Filed 06/10/19     PageSKYSIS,
                                                                                124 of INC149
LLP                                   P.O. BOX 74833                            11445 E VIA LINDA
MATTHEW R. KIPP                       CLEVELAND, OH 44194-4833                  SUITE 2621
155 N. WACKER DRIVE                                                             SCOTTSDALE, AZ 85259
CHICAGO, IL 60606



SMARTRAY SOLUTIONS LLP                SMART-RIG CRANES                          SMITH DRUG COMPANY A DIVISION OF JM
10685-B HAZELHURST DR. #18247         PO BOX 874023                             SMITH
HOUSTON, TX 77043                     VANCOUVER, WA 98687                       ATTN KEN COUCH, PRESIDENT
                                                                                9098 FAIRFOREST RD
                                                                                SPARTANBURG, SC 29301



SMITH VILLAZOR LLP                    SMRUTI DAVE                               SMRUTI DAVE
1700 BROADWAY SUITE 2801              50 LINCOLN ST                             543 W MYRTLE DRIVE
NEW YORK, NY 10019                    MEDFORD, MA 02155                         CHANDLER, AZ 85248




SNELL & WILMER LLP                    SNELL & WILMER LLP                        SNELL & WILMER LLP
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ONE ARIZONA CENTER                    400 E VAN BUREN                           ELIZABETH SORNSIN
PHOENIX, AZ 85004-9955                PHOENIX, AZ 85004                         1 ARIZONA CENTER, 400 E VAN BUREN
                                                                                PHOENIX, AZ 85004



SNYDER COMMERCIAL GLASS               SOCMA                                     SOFTCHOICE CORPORATION
8222 JAMESTOWN DR. #122C              ATTN: SOCMA TREASURER                     ATTENTION FINANCE
AUSTIN, TX 78758                      1850 M STREET NW, SUITE 700               16609 COLLECTIONS CENTER DR.
                                      WASHINGTON, DC 20036-5810                 CHICAGO, IL 60693-0166




SOHAIR ABDELRAHMAN                    SOLIUM CAPITAL LLC                        SONASOFT CORPORATION
2425 E BEVERLY RD                     DEPT 3530                                 6920 SANTA TERESA BLVD STE 108
PHOENIX, AZ 85042                     PO BOX 123530                             SAN JOSE, CA 95119
                                      DALLAS, TX 75312-3530




SONICS & MATERIALS, INC.              SONNTEK, INC.                             SONOCO PROTECTIVE SOLUTIONS
53 CHURCH HILL RD.                    125 PLEASANT AVE.                         (THERMOSAFE)
NEWTOWN, CT 06470                     UPPER SADDLE RIVER, NJ 07458              91218 COLLECTION CENTER DR.
                                                                                CHICAGO, IL 60693




SONYA BROWN                           SOPHIA CHRISTINE YORKE                    SOPHOS
138 MOHAWK TRAIL                      18378 SW ORCHARD HILL LANE                GUARDIAN NETWORK SOLUTIONS
MEDFORD LAKES, NJ 08055               SHERWOOD, OR 97140                        4524 BOAT CLUB RD.
                                                                                FORT WORTH, TX 76135




SORBENT TECHNOLOGIES, INC.            SORIN BUGA                                SOURCE HEALTHCARE ANALYTICS IN
5955 PEACHTREE CORNERS EAST           214 WEST OLIVE AVE                        P.O. BOX 277158
SUITE A                               MONROVIA, CA 91016                        ATLANTA, GA 30384-7158
NORCROSS, GA 30071




SOUTH ALABAMA MEDICAL SCIENCE         SOUTH CAROLINA DEPT. OF LABOR             SOUTH CAROLINA DHHS
FOUNDATION                            LICENSING                                 MMA INC - SC DRUG REBATE
5795 USA DR N CSAB 269                AND REGULATION-BOARD OF PHARMACY          PO BOX 60009
MOBILE, AL 36688                      ATTN: TRACI COLLIER, ADMINISTRATOR        CHARLOTTE, NC 28260
                                      KINGSTREE BLDG, 110 CENTERVIEW DR.
                                      COLUMBIA, SC 29210
SOUTH DAKOTA STATE BOARD Case
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                                                                                            ARIZONA ONCOLOGY NURSING
PHARMACY                                  CONFERENCE                               SOCIETY
ATTN: KARI SHANARD-KOENDERS               C/O MARY KISSINGER                       921 W CALLE DADIVOSO
EXECUTIVE DIRECTOR                        CLINICAL DATA REGIS                      TUCSON, AZ 85704
4001 W VALHALLA BLVD, STE 106             2901 W. K.K. RIVER PKWY, STE 516
SOUIX FALLS, SD 57106                     MILWAUKEE, WI 53215


SOUTHERN NEW HAMPSHIRE ONCOLOGY           SOUTHERN NH ONCOLGY NURSING              SOUTHERN PACIFIC DEPOT RESTAURANT,
C/O ESTHER DUSSAULT                       C/O SANDY ROSENBLUM                      THE
PO BOX 1031                               32 PROCTOR HILL RD.                      207 EAST OAK AVE
HOLLIS, NH 03049                          HOLLIS, NH 03049                         VISALIA, CA 93291




SOUTHWEST COMMUNICATIONS                  SOUTHWEST SOLUTIONS GROUP                SOUTHWESTERN BLIND
TECHNICIANS, INC                          PO BOX 671784                            PO BOX 203576
P.O. BOX 788                              DALLAS, TX 75267                         AUSTIN, TX 78720
PFLUGERVILLE, TX 78691




SOUTHWESTERN CONNECTICUT                  SOU-TIER INC. DBA ROBERT F. BARNES       SOXHUB, INC.
ONCOLOGY NURSING SOCIETY                  CUSTOMS BROKER                           1 CENTERPOINTE DR., SUITE 160
ATTN: EMMA WITTSTEIN                      11130 JOLLYVILLE RD #300                 LA PALMA, CA 90623
341 MELVILLE AVE                          AUSTIN, TX 78759
FAIRFIELD, CT 06825



SPARKTECH INC.                            SPARROW, MICHELLE                        SPARTAN PROMOTIONAL GROUP, INC.
1308 CHISHOLM TRAIL STE 105               3321 N 41ST PL                           711 HALE AVENUE NORTH
ROUND ROCK, TX 78681                      PHOENIX, AZ 85018                        OAKDALE, MN 55128




SPARTAN PROMOTIONAL GROUP, INC.           SPECIAL COUNSEL                          SPECIAL COUNSEL
711 HALE AVENUE NORTH                     DEPT CH 14305                            MICHAEL MANFREDI
SAINT PAUL, MN 55128                      PALATINE, IL 60055-4305                  DEPT CH 14305
                                                                                   PALANTINE, IL 60055-4305




SPECIALTY GLASS INC.                      SPECTRA CONTRACT FLOORING                SPECTRA CONTRACT FLOORING
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ROSHARON, TX 77583                        TEMPE, AZ 85283                          P.O. BOX 630862
                                                                                   CINCINNATI, OH 45263-0862




SPECTRUM CHEMICAL MFG. CORP               SPECTRUM HEALTH SYSTEM                   SPENGLER NATHANSON P.L.L
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                                          GRAND RAPIDS, MI 49503




SPEWARE CORPORATION                       SPIRO LAW LLC DBA SPIRO HARRISON         SPLIT-IMAGE SOFTWARE LLC
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BALDWIN PARK, CA 91706                    2ND FLOOR                                9201 E DIAMOND DRIVE
                                          SHORT HILLS, NJ 07078                    CHANDLER, AZ 85248




SPLIT-IMAGE SOFTWARE LLC                  SPRINGER HEALTHCARE LLC                  SQUIRE PATTON BOGGS (US) LLP
ATTN DAVID L BURLINGAME                   PO BOX 13301                             PO BOX 643051
9201 E DIAMOND DRIVE                      NEWARK, NJ 07101-3301                    CINCINNATI, OH 45264
SUN LAKES, AZ 85248
SRI HEALTHCARE VENTURESCase
                         LLC     19-11292-KG    Doc 14
                                         SRILOY DEY         Filed 06/10/19   PageSRINIVASA
                                                                                  126 of 149
                                                                                           N. RAJA
ATTN: SRINIVAS NALAMACHU                 1087 STARK ROAD                          10 SUMMER FIELDS CT.
13800 OUTLOOK ST                         APT 15F                                  LUTHERVILLE TIMONIUM, MD 21093
OVERLAND PARK, KS 66223                  STARKVILLE, MS 39759




SRP                                      SRP                                      ST LUKE'S REGIONAL MEDICAL CENTER LTD
1500 N. MILL AVE                         P.O. BOX 80062                           ATTN W. MARK ROBERTS MD, ADMIN
TEMPE, AZ 85281                          PRESCOTT, AZ 86304-8062                  CLINICAL RESEARCH, SLHS
                                                                                  190 EAST BANNOCK ST
                                                                                  BOISE, ID 83712



ST LUKE'S REGIONAL MEDICAL CTR           ST. JUDE MEMORIAL FOUNDATION             ST. LUKE'S UNIVERSITY HEALTH NETWORK
FLYNN, DANIEL, MD                        1440 N HARBOR BLVD SUITE 100             1600 ST LUKE BLVD
190 EAST BANNOCK ST                      FULLERTON, CA 92835                      EASTON, PA 18045
BOISE, ID 83712




STAATS, WHITE & GRABNER                  STABLES STEAKHOUSE                       STACEY JENNIFER LESCHT
229 MCKENZIE AVE                         939 POPLAR ST.                           43 MARINER GREEN DRIVE
PANAMA CITY, FL 32401                    TERRE HAUT, IN 47807                     CORTE MADERA, CA 94925




STACY ROUGHAN                            STAFF FORCE INC                          STANFORD UNIVERSITY
11706 MONTANA AVE #107                   P.O. BOX 203664                          PO BOX 44253
LOS ANGELES, CA 90049                    DALLAS, TX 75320                         SAN FRANCISCO, CA 94144-4253




STAPLES BUSINESS ADVTG. CORP.            STARNA CELLS                             STATE LICENSE SERVICING LLC
DEPT LA                                  PO BOX 1919                              1751 STATE ROUTE 17A
PO BOX 83689                             ATASCADERO, CA 93423                     SUITE 3
CHICAGO, IL 60696-3689                                                            FLORIDA, NY 10921




STATE LICENSE SERVICING, LLC             STATE OF ALABAMA ATTORNEY GENERAL        STATE OF ALABAMA ATTORNEY GENERAL
321 ROUTE 94 SOUTH                       ATTN: STEVE MARSHALL                     ATTN: STEVE MARSHALL
WARWICK, NY 10990                        501 WASHINGTON AVE                       PO BOX 300152
                                         MONTGOMERY, AL 36104                     MONTGOMERY, AL 36130-0152




STATE OF ALASKA ATTORNEY GENERAL         STATE OF ALASKA DHSS                     STATE OF ALASKA DHSS
ATTN: KEVIN G. CLARKSON                  DIV. OF HEALTH CARE SERVICES             DIV. OF HEALTH CARE SERVICES
1031 W 4TH AVE, STE 200                  ATTN: AK MEDICAID FFS DRUG REBATE        ATTN: AK MEDICAID FFS PROGRAM
ANCHORAGE, AK 99501                      PGRM                                     PO BOX 84991
                                         PO BOX 84991                             SEATTLE, WA 98124-6291
                                         SEATTLE, WA 98124-6291


STATE OF AMERICAN SAMOA ATTORNEY         STATE OF ARIZONA ATTORNEY GENERAL        STATE OF ARIZONA
GENERAL                                  ATTN: MARK BRNOVICH                      ARIZONA DEPARTMENT OF
ATTN: TALAUEGA ELEASALO V. ALE           2005 NORTH CENTRAL AVENUE                ENVIRONMENTAL QUALITY
AMERICAN SAMOA GOV'T, EXEC OFC BLDG      PHOENIX, AZ 85004-2926                   PO BOX 18228
UTULEI, TERRITORY OF AMERICAN SAMOA                                               PHOENIX, AZ 85005
PAGO PAGO, AS 96799


STATE OF ARKANSAS ATTORNEY GENERAL       STATE OF ARKANSAS DWS                    STATE OF CALIFORNIA ATTORNEY GENERAL
ATTN: LESLIE RUTLEDGE                    DEPT. OF WORKFORCE SERVICES              ATTN: XAVIER BECERRA
323 CENTER ST, STE 200                   PO BOX 8007                              1300 I ST, STE 1740
LITTLE ROCK, AR 72201-2610               LITTLE ROCK, AR 72203-8007               SACRAMENTO, CA 95814
                        CaseGENERAL
STATE OF CALIFORNIA ATTORNEY 19-11292-KG
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                                                          FRANCHISE TAX       PageSTATE
                                                                                   127 OF
                                                                                        of COLORADO
                                                                                           149      ATTORNEY GENERAL
ATTN: XAVIER BECERRA                 BOARD                                        ATTN: PHIL WEISER
PO BOX 944255                        300 S. SPRING STREET                         RALPH L CARR COLORADO JUDICIAL BLDG
SACRAMENTO, CA 94244-2550            SUITE 5704                                   1300 BROADWAY, 10TH FL
                                     LOS ANGELES, CA 90013-1265                   DENVER, CO 80203



STATE OF CONNECTICUT ATTORNEY           STATE OF CONNECTICUT                      STATE OF DELAWARE ATTORNEY GENERAL
GENERAL                                 PO BOX 2940                               ATTN: KATHY JENNINGS
ATTN: WILLIAM TONG                      HARTFORD, CT 06104-2940                   CARVEL STATE OFFICE BLDG
55 ELM ST                                                                         820 N FRENCH ST
HARTFORD, CT 06106                                                                WILMINGTON, DE 19801



STATE OF FLORIDA ATTORNEY GENERAL       STATE OF GEORGIA ATTORNEY GENERAL         STATE OF HAWAII ATTORNEY GENERAL
ATTN: ASHEY MOODY                       ATTN: CHRIS CARR                          ATTN: CLARE E. CONNORS
PL 01 THE CAPITOL                       40 CAPITOL SQUARE, SW                     425 QUEEN ST
TALLAHASSEE, FL 32399-1050              ATLANTA, GA 30334                         HONOLULU, HI 96813




STATE OF IDAHO ATTORNEY GENERAL         STATE OF ILLINOIS ATTORNEY GENERAL        STATE OF ILLINOIS
ATTN: LAWRENCE G. WASDEN                ATTN: KWAME RAOUL                         DEPT. OF PROFESSIONAL REGULTN.
700 W JEFFERSON ST, STE 210             100 W RANDOLPH ST                         P.O. BOX 7007
PO BOX 83720                            CHICAGO, IL 60601                         SPRINGFIELD, IL 62791
BOISE, ID 83720-0010



STATE OF INDIANA ATTORNEY GENERAL       STATE OF IOWA ATTORNEY GENERAL            STATE OF KANSAS ATTORNEY GENERAL
ATTN: CURTIS T. HILL, JR.               ATTN: TOM MILLER                          ATTN: DEREK SCHMIDT
INDIANA GOVERNMENT CENTER SOUTH         HOOVER STATE OFFICE BUILDING              120 SW 10TH AVE, 2ND FL
302 W WASHINGTON ST, 5TH FL             1305 E WALNUT ST                          TOPEKA, KS 66612
INDIANAPOLIS, IN 46204                  DES MOINES, IA 50319



STATE OF KENTUCKY ATTORNEY GENERAL      STATE OF LOUISIANA ATTORNEY GENERAL       STATE OF LOUISIANA ATTORNEY GENERAL
ATTN: ANDY BESHEAR                      ATTN: JEFF LANDRY                         ATTN: JEFF LANDRY
700 CAPITOL AVE, STE 118                1885 N THIRD ST                           PO BOX 94005
FRANKFORT, KY 40601-3449                BATON ROUGE, LA 70802                     BATON ROUGE, LA 70804




STATE OF MAINE ATTORNEY GENERAL         STATE OF MAINE                            STATE OF MAINE
ATTN: AARON FREY                        ATTN DHHS - PHARMACY                      DHHS RECEIVABLES- DRUG REBATE
6 STATE HOUSE STATION                   11 STATE HOUSE STATION                    C/O CASH RECEIPTS
AUGUSTA, ME 04333                       AUGUSTA, ME 04333                         SHS # 11, 221 STATE HOUSE STATION
                                                                                  AUGUSTA, ME 04333-0011



STATE OF MARYLAND ATTORNEY GENERAL      STATE OF MASSACHUSETTS ATTORNEY           STATE OF MICHIGAN ATTORNEY GENERAL
ATTN: BRIAN E. FROSH                    GENERAL                                   ATTN: DANA NESSEL
200 ST PAUL PLACE                       ATTN: MAURA HEALEY                        G. MENNEN WILLIAMS BLDG, 7TH FL
BALTIMORE, MD 21202                     1 ASHBURTON PLACE                         525 W OTTAWA ST - PO BOX 30212
                                        BOSTON, MA 02108-1518                     LANSING, MI 48909



STATE OF MICHIGAN                       STATE OF MINNESOTA ATTORNEY GENERAL       STATE OF MISSISSIPPI ATTORNEY GENERAL
STATE OF MICHIGAN - DCH                 ATTN: KEITH ELLISON                       ATTN: JIM HOOD
DEPT. 77951                             445 MINNESOTA ST STE 1400                 PO BOX 220
PO BOX 77000                            ST. PAUL, MN 55101-2131                   JACKSON, MS 39205
DETROIT, MI 48277-7951



STATE OF MISSISSIPPI ATTORNEY GENERAL   STATE OF MISSOURI ATTORNEY GENERAL        STATE OF MONTANA - MEDICAID REBATE
ATTN: JIM HOOD                          ATTN: ERIC SCHMITT                        HEALTH RESOURCES DIVISION
WALTER SILLERS BLDG                     SUPREME CT BLDG, 207 W HIGH ST            1400 BROADWAY, ROOM A206
550 HIGH ST, STE 1200                   PO BOX 899                                PO BOX 202951
JACKSON, MS 39201                       JEFFERSON CITY, MO 65102                  HELENA, MT 59620-2951
                       Case
STATE OF MONTANA ATTORNEY    19-11292-KG
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                                                                                        149- DIV OF MEDICAID
ATTN: TIM FOX                        CONDUENT STATE HEALTHCARE, LLC             CONDUENT STATE HEALTHCARE, LLC
JUSTICE BLDG                         ATTN: KATHERINE THOMAS                     ATTN: KATHERINE THOMAS - UHC
215 N SANDERS ST                     PO BOX 6014                                MCO DR PROG, PO BOX 6014
HELENA, MT 59620-1401                RIDGELAND, MS 39158-6014                   RIDGELAND, MS 39158-6014



STATE OF MS - DIV OF MEDICAID         STATE OF MS - DIV OF MEDICAID             STATE OF MS - DIV OF MEDICAID
MAGNOLIA, CONDUENT STATE HEALTHCARE   MAGNOLIA, XEROX STATE HEALTHCARE          UHC, XEROX STATE HEALTHCARE LLC
LLC                                   ATTN: KATHERINE THOMAS - MAGNOLIA         ATTN: KATHERINE DORSEY - UHC
ATTN: KATHERINE THOMAS - MAGNOLIA     PO BOX 6014 - DR PROGRAM                  MCO DR PROG, PO BOX 6014
PO BOX 6014 - DR PROGRAM              RIDGELAND, MS 39158-6014                  RIDGELAND, MS 39158-6014
RIDGELAND, MS 39158-6014


STATE OF MS - DIV OF MEDICAID         STATE OF NEBRASKA ATTORNEY GENERAL        STATE OF NEVADA ATTORNEY GENERAL
XEROX STATE HEALTHCARE, LLC           ATTN: DOUG PETERSON                       ATTN: AARON FORD
ATTN: CHRIS YOUNT-FED DR PROG.        2115 STATE CAPITOL                        100 N CARSON ST
PO BOX 6014                           PO BOX 98920                              CARSON CITY, NV 89701
RIDGELAND, MS 39158-6014              LINCOLN, NE 68509



STATE OF NEW HAMPSHIRE ATTORNEY       STATE OF NEW HAMPSHIRE                    STATE OF NEW JERSEY ATTORNEY
GENERAL                               C/O NH DEPT OF HEALTH & HUMAN SVCS        GENERAL
ATTN: GORDON J. MACDONALD             129 PLEASANT STREET                       ATTN: GURBIR S. GREWAL
NH DEPT OF JUSTICE                    CONCORD, NH 03301-3852                    RJ HUGHES JUSTICE COMPLEX
33 CAPITOL ST                                                                   25 MARKET ST - PO BOX 080
CONCORD, NH 03301                                                               TRENTON, NJ 08625-0080


STATE OF NEW JERSEY DEPT OF LABOR &   STATE OF NEW JERSEY                       STATE OF NEW MEXICO ATTORNEY
WORKFORCE                             DIVISION OF EMPLOYER ACCOUNTS             GENERAL
DEPT OF LABOR AND WORKFORCE           PO BOX 059                                ATTN: HECTOR BALDERAS
DIV OF EMPLOYER ACCT                  TRENTON, NJ 08646-0059                    408 GALISTEO ST
PO BOX 929                                                                      VILLAGRA BLDG
TRENTON, NJ 08646-0929                                                          SANTA FE, NM 87501


STATE OF NEW MEXICO ATTORNEY          STATE OF NEW YORK ATTORNEY GENERAL        STATE OF NH DRUG TREASURER
GENERAL                               ATTN: LETITIA A. JAMES                    ATTN: NH MEDICAID PROGRAM DRUG
ATTN: HECTOR BALDERAS                 DEPT. OF LAW                              REBATE
PO DRAWER 1508                        THE CAPITOL, 2ND FL                       NH DHHS C/O OFFICE OF FINANCE
SANTA FE, NM 87504-1508               ALBANY, NY 12224                          129 PLEASANT ST
                                                                                CONCORD, NH 03301


STATE OF NJ - CBT                     STATE OF NJ - DIV. OF TAXATION            STATE OF NJ
DIVISION OF TAXATION                  FEDERAL OFFSET PROGRAM                    DEPT OF LABOR & WORKFORCE DEVL
REVENUE PROCESSING CENTER             PO BOX 283                                DIVISION OF EMPLOYER ACCOUNTS
PO BOX 666                            TRENTON, NJ 08695                         PO BOX 929
TRENTON, NJ 08646                                                               TRENTON, NJ 08646-0929



STATE OF NJ, DMAHS-PMR                STATE OF NORTH CAROLINA ATTORNEY          STATE OF NORTH CAROLINA ATTORNEY
NJ ENCOUNTER DRUG REBATE PROGRAM      GENERAL                                   GENERAL
200 WOOLVERTON AVE, BLDG 20           ATTN: JOSH STEIN                          ATTN: JOSH STEIN
LOCKBOX 655                           9001 MAIL SERVICE CTR                     PO BOX 629
TRENTON, NJ 08646-0655                RALEIGH, NC 27699-9001                    RALEIGH, NC 27602-0629



STATE OF NORTH DAKOTA ATTORNEY        STATE OF NY WORKERS COMP BOARD            STATE OF OHIO ATTORNEY GENERAL
GENERAL                               WORKERS COMP BOARD                        ATTN: DAVE YOST
ATTN: WAYNE STENEHJEM                 ACCT DB PENALTY                           30 E BROAD ST, 14TH FL
600 E BOULEVARD AVE                   328 STATE STREET                          COLUMBUS, OH 43215
DEPT 125                              SCHENECTADY, NY 12305-2318
BISMARCK, ND 58505


STATE OF OHIO BOARD OF PHARMACY       STATE OF OKLAHOMA ATTORNEY GENERAL        STATE OF OREGON ATTORNEY GENERAL
ATTN: STEVEN W. SCHIERHOLT            ATTN: MIKE HUNTER                         ATTN: ELLEN F. ROSENBLUM
EXECUTIVE DIRECTOR                    313 NE 21ST ST                            1162 COURT ST, NE
77 S HIGH STREET                      OKLAHOMA CITY, OK 73105                   SALEM, OR 97301-4096
COLUMBUS, OH 43215-6126
                        Case 19-11292-KG
STATE OF PENNSYLVANIA ATTORNEY       STATE OFDoc   14 ISLAND
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                                                                                         149 ISLAND
GENERAL                              GENERAL                                    HP ENTERPRISE SERVICES
ATTN: JOSH SHAPIRO                   ATTN: PETER F. NERONHA                     PO BOX 2006
16TH FL, STRAWBERRY SQ               150 S MAIN ST                              WARWICK, RI 02887-2006
HARRISBURG, PA 17120                 PROVIDENCE, RI 02903



STATE OF SOUTH CAROLINA ATTORNEY       STATE OF SOUTH CAROLINA ATTORNEY         STATE OF SOUTH DAKOTA ATTORNEY
GENERAL                                GENERAL                                  GENERAL
ATTN: ALAN WILSON                      ATTN: ALAN WILSON                        ATTN: JASON RAVNSBORG
PO BOX 11549                           REMBERT C. DENNIS OFFICE BLDG            1302 EAST HIGHWAY 14, STE 1
COLUMBIA, SC 29211-1549                1000 ASSEMBLY ST, ROOM 519               PIERRE, SD 57501-8501
                                       COLUMBIA, SC 29201


STATE OF TENNESSEE ATTORNEY GENERAL    STATE OF TEXAS ATTORNEY GENERAL          STATE OF TEXAS ATTORNEY GENERAL
ATTN: HERBERT H. SLATERY, III          ATTN: KEN PAXTON                         ATTN: KEN PAXTON
PO BOX 20207                           300 W 15TH ST                            PO BOX 12548
NASHVILLE, TN 37202-0207               AUSTIN, TX 78701                         AUSTIN, TX 78711-2548




STATE OF UTAH ATTORNEY GENERAL         STATE OF UTAH ATTORNEY GENERAL           STATE OF VERMONT ATTORNEY GENERAL
ATTN: SEAN D. REYES                    ATTN: SEAN D. REYES                      ATTN: TJ DONOVAN
350 N STATE ST, STE 230                PO BOX 142320                            109 STATE ST
SALT LAKE CITY, UT 84114-2320          SALT LAKE CITY, UT 84114-2320            MONTPELIER, VT 05609-1001




STATE OF VIRGIN ISLANDS ATTORNEY       STATE OF VIRGINIA ATTORNEY GENERAL       STATE OF WASHINGTON ATTORNEY
GENERAL                                ATTN: MARK R. HERRING                    GENERAL
ATTN: DENISE N. GEORGE                 202 N NINTH ST                           ATTN: BOB FERGUSON
34-38 KRONPRINDSENS GADE               RICHMOND, VA 23219                       1125 WASHINGTON ST SE
GERS BLDG, 2ND FL                                                               OLYMPIA, WA 98504-0100
ST. THOMAS, VI 00802


STATE OF WASHINGTON ATTORNEY           STATE OF WEST VIRGINIA ATTORNEY          STATE OF WISCONSIN ATTORNEY GENERAL
GENERAL                                GENERAL                                  ATTN: JOSH KAUL
ATTN: BOB FERGUSON                     ATTN: PATRICK MORRISEY                   WISCONSIN DEPARTMENT OF JUSTICE
PO BOX 40100                           STATE CAPITOL COMPLEX                    17 W MAIN ST - PO BOX 7857
OLYMPIA, WA 98504-0100                 BLDG 1, ROOM E-26                        MADISON, WI 53703-7857
                                       CHARLESTON, WV 25305


STATE OF WYOMING ATTORNEY GENERAL      STAT-EASE, INC                           STATISTICAL OUTSOURCING SERVICES
ATTN: BRIDGET HILL                     2021 E HENNEPIN AVE                      154 GIBBS STREET #202
KENDRICK BUILDING                      SUITE 480                                ROCKVILLE, MD 20850
2320 CAPITOL AVE                       MINNEAPOLIS, MN 55413
CHEYENNE, WY 82002



STEFAN D HOLUBAR                       STEFANIE A PIERCE                        STEPHANIE JORDAN
21 CARRIAGE LANE                       1486 E. BOSTON ST.                       PO BOX 395
HANOVER, NH 03755                      CHANDLER, AZ 85225                       NORTH CARROLLTON, MS 38947




STEPHANIE MEADOR ROBERTS               STEPHANIE R. LEACH PLLC                  STEPHANIE TORRES
1000 PRINCETON STREET                  2575 E. CAMELBACK RD.,                   711 WOODMONT AVE.
COLUMBIA, SC 29205                     SUITE 450                                #809
                                       PHOENIX, AZ 85016                        CHEVY CHASE, MD 20815




STEPHANIE TORRES                       STEPHEN P. ALEMAN                        STEPHEN B CHAPMAN
804 PRESTON VILLAGE WAY                2700 OAKMONT DRIVE                       3 NORMAN LANE NW
CARY, NC 27519                         ROUND ROCK, TX 78665                     ROME, GA 30165
STEPHEN BRUEHL, PD.D      Case 19-11292-KG   Doc
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617 COLLINS CREST COURT                 617 COLLINS CREST COURT                  2101 BLAKE DR
NASHVILLE, TN 37221                     NASHVILLE, TN 37221                      ANTIOCH, TN 37013




STEPHEN GREATHOUSE                      STEPHEN HOWELL                           STEPHEN J LEBLANC
4149 PARKER AVE                         13612 NOGALES DR                         3931 BENTON DRIVE
SAINT LOUIS, MO 63116                   DEL MAR, CA 92014                        BOURG, LA 70343




STEPHEN J SINKO                         STEPHEN P. ALEMAN                        STEPHEN SILBERSTEIN
2712 CAROLINA BLUE AVE                  1507 ROYCE LANE                          ATTN: STEPHEN SILBERSTEIN
HENDERSON, NV 89052                     CEDAR PARK, TX 78613                     50 SOUTH 16TH STREET #4006
                                                                                 PHILADELPHIA, PA 19102




STEPHEN W SHERMAN                       STEPHEN WADE                             STEPHON SMITH
3808 E LYNX PLACE                       201 ARROWHEAD WAY                        2117 VALLEY FALL
CHANDLER, AZ 85249                      CLINTON, NY 13323                        MESQUITE, TX 75181




STERICYCLE, INC.                        STERLING PROTECTIVE SERVICES, INC.       STEVE FANTO
PO BOX 6575                             1401 N CENTRAL EXPRESSWAY, STE 321       PO BOX 26356
CAROL STREAM, IL 60197                  RICHARDSON, TX 75080                     SCOTTSDALE, AZ 85255




STEVE MEYER                             STEVE RIVERA                             STEVEN CHARLES PLAXE
9 KENSINGTON DR.                        10017 HOUSTON DRIVE                      5843 MEADOWS DEL MAR
LINCOLNSHIRE, IL 60069                  WOODWAY, TX 76712                        SAN DIEGO, CA 92130




STEVEN DEVINE                           STEVEN DEVINE                            STEVEN FEIN
2147 ELGIN RD                           2147 ELGIN RD                            5825 SW 117 ST
COLUMBUS, OH 43221                      UPPER ARLIGNTON, OH 43221                MIAMI, FL 33156




STEVEN GENE WEI WONG                    STEVEN PARKER JAMES                      STEVEN PAUL SPARAGANA
342 N FLORES ST                         PO BOX 5010 PMB 168                      5769 YEARY RD
LOS ANGELES, CA 90048                   RANCHO SANTA FE, CA 92067                PLANO, TX 75093




STEVEN PINSKY                           STEVEN S SALAKAIA                        STEVEN SIMON, MD
45 WRIGHT RD                            547 W YALE DR                            PHARMA CONSULTANTS
ROCKVILLE CENTRE, NY 11570              TEMPE, AZ 85283                          11700 BROOKWOOD AVE
                                                                                 LEAWOOD, KS 66211




STICKER MULE                            STOCK & OPTION SOLUTIONS INC             STOCKTON ROBERTS HEALTH CENTER,
336 FOREST AVE                          910 CAMPISI WAY                          PLLC
AMSTERDAM, NY 12010                     STE 2E                                   145 MANUFACTURING STREET
                                        CAMPBELL, CA 95008                       DALLAS, TX 75207
STOKES SIGN CO., INC.      Case 19-11292-KG    Doc 14
                                        STONY BROOK     Filed 06/10/19
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                                                                                     INC.
1909 RR 620 SOUTH                        WEST SIDE DINING                     1313 LAUREL ST, SUITE 109
AUSTIN, TX 78734                         2ND FLOOR                            SAN CARLOS, CA 94070
                                         STONY BROOK, NY 11794




STRAWBERRY FIELDS                        STRIDES PHARMA INC                   STROZ FREIDBERG LLC
PO BOX 1630                              ATTN KEVIN KNARR, SVP COM OPS        PO BOX 975348
KEARNY, AZ 85237                         2 TOWER CENTER BLVD, #1102           DALLAS, TX 75397-5348
                                         EAST BRUNSWICK, NJ 08816




STUDIO 8 ARCHITECTS, INC                 STUPID CANCER, INC.                  STURTEVANT INC
611 WEST 15TH STREET                     40 WORTH STREET, SUITE 808           ATTN CHRIS MEADOWS, VP SALES &
AUSTIN, TX 78701                         NEW YORK, NY 10013                   MARKETING
                                                                              348 CIRCUIT ST
                                                                              HANOVER, MA 02339



SUEZ WTS ANALYTICAL INSTRUMENTS, INC.    SUGATA MAZUMDAR                      SUJAY SHAH
(FKA) GE                                 3009 AUSTIN POND DR                  2225 W FRYE RD
13256 COLLECTIONS CENTER DRIVE           CARY, NC 27519                       APT. #2020
CHICAGO, IL 60693                                                             CHANDLER, AZ 85224




SUJIT ITTY MD                            SUMIT SAWHNEY                        SUMMER CHRISTINE HOWARD
1101 E MISSOURI                          6814 NW 65TH TERRACE                 2281 E RANDALL RD
PHOENIX, AZ 85014                        POMPANO BEACH, FL 33057              GILBERT, AZ 85296




SUMMIT PHARMA SOLUTIONS LLC              SUNBELT SUPPLY LLC                   SUNDAY DRIVERS
32 BALSAM FIR RD                         3301 SUNRISE RD                      2735 E CAROB DRIVE
SOUTH WINDSOR, CT 06074                  ROUND ROCK, TX 78665                 CHANDLER, AZ 85286




SUNFLOWER BANK NATIONAL ASSOCIATION      SUNIL DOGRA                          SUNRISE LEE
1400 16TH ST, STE 250                    DBA APOLLO INTERVENTIONAL PAIN       8608 WOODRUFF DRIVE SW
DENVER, CO 80202                         CENTER                               BYRON CENTER, MI 49315
                                         6216 FAYETVILLE RD. STE. 104
                                         DURHAM, NC 27713



SUNSTATE EQUIPMENT CO.                   SUPERIOR POWER SOLUTIONS, INC        SUPPORT PROBE
P.O. BOX 52581                           PO BOX 238                           982 CONCORD DR.
PHOENIX, AZ 85072                        PINEHURST, TX 77362                  ISLAND LAKE, IL 60042




SURESH GUPTA                             SUSAN BEISLER                        SUSAN BELLOWS
1010 WOODMAN DR.                         20 HINES AVENUE                      9913 E MEDINA AVE
DAYTON, OH 45432                         MAHWAH, NJ 07430                     MESA, AZ 85209




SUSAN BUCHANAN LEGRAND                   SUSAN BUCHANAN LEGRAND               SUSAN GENTILE-COFFEY
3340 GRENWAY RD                          3340 GRENWAY RD                      8 PINE STREET
BEACHWOOD, OH 44122                      SHAKER HEIGHTS, OH 44122             WAREHAM, MA 02571
SUSAN HAROLD               Case 19-11292-KG    Doc 14 Filed 06/10/19
                                        SUSAN HUTCHINSON                  PageSUSAN
                                                                               132 MELAMED
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26160 HAWTHORNE DR                       ATTN: SUSAN HUTCHINSON               473 SCHINDLER DR
FRANKLIN, MI 48025                       33 CREEK RD STE 340                  MORRISVILLE, PA 19067
                                         IRVINE, CA 92604




SUSAN MELAMED                            SUSHIL PREM                          SUTTER WEST BAY HOSPITALS
473 SCHINDLER DR                         4803 W PEBBLE BEACH DR               DBA CPMC
YARDLEY, PA 19067                        WADSWORTH, IL 60083                  475 BRANNAN ST, SUITE 220
                                                                              ATTN: ACCTS RECEIVABLE
                                                                              SAN FRANCISCO, CA 94107



SWAGELOK AUSTIN                          SWAGELOK AUSTIN                      SWEEP ACROSS TEXAS
1017 INNOVATION WAY                      9825 SPECTRUM DRIVE                  1512 DUNGAN LANE
CEDAR PARK, TX 78613                     BLDG 2 STE 200                       AUSTIN, TX 76036
                                         AUSTIN, TX 78717




SWEEP ACROSS TEXAS                       SWONS                                SYDNEY STILES
1512 DUNGAN LANE                         PO BOX 26454                         11 CENTRAL STREET
CROWLEY, TX 76036                        WAUWATOSA, WI 53226-0454             WALTHAM, MA 02453




SYED HASSANY                             SYED RAFIQUE                         SYNCHRONY HEALTHCARE COMM
7712 S. 3RD PLACE                        333 HIGHWAY 82 WEST                  2 W MARKET ST
BROKEN ARROW, OK 74011                   GREENWOOD, MS 38930                  6TH FLOOR
                                                                              WEST CHESTER, PA 19382




SYNCHRONY MEDICAL LLC                    SYNERGY DIGITIAL LLC                 T.M. FITZGERALD & ASSOCIATES
22 NORTH CHURCH STREET                   10643 HILLTOP MEADOW POINT           850 WEST CHESTER PIKE, STE. #200
WEST CHESTER, PA 19380                   BOYNTON BEACH, FL 33437              HAVERTOWN, PA 19083




TAB TECHNOLOGIES, LLC                    TAD IWAN                             TAMARA KALMYKOVA
3901 S. LAMAR, SUITE 130                 11232 ZORITA CT                      1155 W ELLIOT RD
AUSTIN, TX 78704                         SAN DIEGO, CA 92124                  #2122
                                                                              TEMPE, AZ 85284




TAMBI, BRIAN                             TAMBI, BRIAN                         TAMBI, BRIAN
C/O CRAVATH SWAINE & MOORE LLP           C/O CRAVATH SWAINE & MOORE LLP       C/O SNELL & WILMER LLP
ATTN DANIEL SLIFKIN                      ATTN DAVID M STUART                  ATTN ANTHONY TOM KING
825 8TH AVE                              825 8TH AVE                          400 E VAN BUREN
NEW YORK, NY 10019                       NEW YORK, NY 10019                   PHOENIX, AZ 85004



TAMBI, BRIAN                             TAMMY BASS                           TAMMY JEANETTE SANFORD
C/O SNELL & WILMER LLP                   7357 E PLATA AVE                     16010 ALSACE
ATTN DONALD WAYNE BIVENS                 MESA, AZ 85212                       SAN ANTONIO, TX 78232
1 ARIZONA CENTER, 400 E VAN BUREN
PHOENIX, AZ 85004



TARA M TERRAZAS                          TARA SLAPPEY MILLINER                TAREK ELDAWY
5326 E THOMAS RD                         8583 CREEKRISE DRIVE                 143 SUGARBERRY RD.
PHOENIX, AZ 85018                        COLUMBUS, GA 31904                   PENSACOLA, FL 32514
TAREK MEKHAIL               Case 19-11292-KG    Doc 14
                                         TAREQ TAHA          Filed 06/10/19   PageTAWNYA
                                                                                   133 ofL MCELRAVY
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11432 BUCKLEYWOOD LN                      263 ALABASTER POINT WAY                 9775 JUPITER FORREST DRIVE
WINDERMERE, FL 34786                      FOLSOM, CA 95630                        BRENTWOOD, TN 37027




TAYA SHANAY ADAMS MATHIS                  TAYLOR A PETERS                         TCR INDUSTRIES, INC.
1734 E ARDMORE DRIVE                      14906 SOBEY RD                          26 CENTERPOINTE DR.
PHOENIX, AZ 85042                         SARATOGA, CA 95070                      STE 120
                                                                                  LA PALMA, CA 90623




TD INDUSTRIES                             TDC SPECIALTY INSURANCE COMPANY         TEAM SERVICES
PO BOX 300008                             29 MILL ST                              2201 PATTERSON INDUSTRIAL DR
DALLAS, TX 75303                          UNIONVILLE, CT 06085                    PFLUGERVILLE, TX 78660




TECHINCAL EQUIPMENT SALES, INC            TECHLAW SOLUTIONS                       TED STANLEY
15611 E PALISADES BLVD                    ATTN: TLS FINANCE                       607 NORTH CAPITOL PARK AVE
FOUNTAIN HILLS, AZ 85268                  3 LAGOON DR                             SALT LAKE CITY, UT 84103
                                          SUITE 180
                                          REDWOOD CITY, CA 94065



TEEM TECHNOLOGIES INC                     TEEM TECHNOLOGIES, INC                  TEEM
ATTN LEGAL COUNSEL                        ATTN LEGAL COUNSEL                      4732 FRITZ FALLS XING
224 SOUTH 200 WEST                        224 SOUTH 200 WEST                      PFLUGERVILLE, TX 78660
SUITE 100                                 SUITE 100
SALT LAKE CITY, UT 84101                  SALT LAKE CITY, UT 84101



TEFFNET, INC./IMPAK                       TEKTRONIX, INC.                         TELERIK INC.
PO BOX 820706                             P.O. BOX 742644                         PO BOX 206614
HOUSTON, TX 77282-0706                    LOS ANGELES, CA 90074-2644              DALLAS, TX 75320




TEMPERATURE CONTROLLED EXPRESS            TEMPLE UNIVERSITY                       TEN-E PACKAGING SERVICES, INC
PO BOX 110306                             RESEARCH ACCOUNTING SERVICES            1666 COUNTY RD 74
NASHVILLE, TN 37222-0306                  PO BOX 824242                           NEWPORT, MN 55055
                                          PHILADELPHIA, PA 19182-4242




TENEO STRATEGY                            TENNESSEE BOARD OF PHARMACY             TENNESSEE DEPARTMENT OF HEALTH
PO BOX 200299                             ATTN: REGINALD "REGGIE" DILLARD         REVENUE
PITTSBURGH, PA 15251-0299                 EXECUTIVE DIRECTOR                      PO BOX 198990
                                          665 MAINSTREAM DR                       NASHVILLE, TN 37219-8990
                                          NASHVILLE, TN 37243



Tennessee Department of Revenue           TENNESSEE DEPARTMENT OF REVENUE         TENNESSEE DEPARTMENT OF REVENUE
500 Deaderick Street                      500 DEADERICK STREET                    ANDREW JACKSON STATE OFF BLDG
Nashville, TN 37242                       NASHVILLE, TN 37242                     500 DEADERICK ST
                                                                                  NASHVILLE, TN 37242




TENNESSEE DEPT. OF REVENUE                TENNEY ENVIRONMENTAL, INC.              TERESA DEJESUS LUSIGNAN
ANDREW JACKSON STATE OFF BLDG             PO BOX 6057                             3637 MEARES DRIVE APT#624
500 DEADERICK ST                          HERMITAGE, PA 16148                     FORT WORTH, TX 76137
NASHVILLE, TN 37242
TERRA BAILEY                 Case 19-11292-KG    Doc 14 Filed 06/10/19
                                          TERRI ARMSTRONG                     PageTERRI
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                                                                                        of 149
4523 W JUSTICE RD                          5313 PATRICK HENRY ST                  300 DIPLOMAT PARKWAY APT 814
CABOT, AR 72023                            BELLAIRE, TX 77401                     HALLANDALE BEACH, FL 33009




TERRI POLLACK                              TERRY A HARPER                         TERRY BEVIRT
300 DIPLOMAT PARKWAY APT 814               1109 S 76TH PLACE                      1040 MOUNTAIN OAK PLACE
HALLANDALE, FL 33009                       MESA, AZ 85208                         NEWBURY PARK, CA 91320




TERRY BEVIRT                               TEVA API, INC                          TEX-AIR FILTERS/AIR RELIEF
1040 MOUNTAIN OAK PLACE                    400 CHESTNUT RIDGE RD                  TECHNOLOGIES, INC.
THOUSAND OAKS, CA 91320                    WOODCLIFF LAKE, NJ 07677               5757 EAST ROSEDALE ST
                                                                                  FORT WORTH, TX 76112




TEXAS A&M UNIVERSITY HEALTH SCIENCE        TEXAS AIRSYSTEMS                       TEXAS COMMISSION ON ENVIRONMENTAL
CENTER                                     6029 WEST CAMPUS CIRCLE DR             QUALITY
400 HARVEY MITCHELL PARKWAY SOUTH,         SUITE 100                              PO BOX 13089
SUITE 300                                  IRVING, TX 75063                       AUSTIN, TX 78711-3088
COLLEGE STATION, TX 77845



TEXAS DEPARTMENT OF STATE HEALTH           TEXAS DEPARTMENT OF                    TEXAS DEPT. OF LICENSING AND
SERVICES                                   BOX 15888                              REGULATION
PO BOX 12008                               AUSTIN, TX 78761                       PO BOX 12157
AUSTIN, TX 78711                                                                  AUSTIN, TX 78711




TEXAS DEPT. OF STATE HEALTH SERVICES       TEXAS DEPT. OF STATE HEALTH            TEXAS FIFTH WALL ROOFING SYSTEMS
P.O. BOX 149347                            SERVICES                               3300 DUKE RD
CASH RECEIPTS BRANCH, MC 2003              RLU, FOOD & DRUG LICENSING             AUSTIN, TX 78724
DEPARTMENT OF STATE HEALTH SERVICES        PO BOX 12008
AUSTIN, TX 78714-9347                      AUSTIN, TX 78711



TEXAS LANDSCAPE CREATIONS                  TEXAS SCOTTISH RITE HOSPITAL FOR       TEXAS STATE BOARD OF PHARMACY
P.O. BOX 1524                              CHILDREN                               ATTN: ALLISON VORDENBAUMEN BENZ
ROUND ROCK, TX 78680                       2222 WELBORN ST.                       EXECUTIVE DIRECTOR/SECRETARY
                                           DALLAS, TX 75219                       333 GUADALUPE, STE #3-500
                                                                                  AUSTIN, TX 78701



TEXAS STATE COMPTROLLER                    TEXAS WORKFORCE COMMISSION TAX DEPT    THARRINGTON SMITH, LLP
PO BOX 149359                              PO BOX 149080                          P.O. BOX 1151
AUSTIN, TX 78714-9359                      AUSTIN, TX 78714                       RALEIGH, NC 27602




THE ABEL LAW FIRM PLLC                     THE ALABAMA OSTEOPATHIC MEDICAL        THE BIG PICTURE, INC.
50 N. LAURA ST. SUITE 2500                 ASSOCIATION                            PO BOX 978
JACKSONVILLE, FL 32202                     PO BOX 450                             SNOWFLAKE, AZ 85937
                                           PIEDMONT, AL 36272




THE BRANDT COMPANIES, LLC                  THE CAMBY HOTEL                        THE COPERNICUS GROUP INC.
PO BOX 29559                               2401 E CAMELBACK RD                    ONE TRIANGLE DRIVE SUITE 100
DALLAS, TX 75229                           PHOENIX, AZ 85016                      RALEIGH, NC 27709
THE DEPARTMENT OF HOMELAND   Case   19-11292-KG
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                                                                                             EMBASSY
SECURITY                                     DRUG REBATE PROGRAM                         ATTN: CONSULATE DEPT.
The Honorable Kevin K. McAleenan             ATTN: ACCOUNTING UNIT                       2535 BELMONT ROAD N.W.
Washington, DC 20528                         1100 E WILLIAM ST, SUITE 108                WASHINGTON, DC 20008
                                             CARSON CITY, NV 89701



THE FLOREY                                   THE FOUNDATION FOR PERIPHERAL               THE HARVARD DRUG GROUP, LLC.
ACCOUNTS RECEIVABLE                          NEUROPATHY                                  17177 NORTH LAUREL PARK
30 ROYAL PARADE, PARKVILLE                   485 HALF DAY RD SUITE 350                   SUITE 233
VICTORIA 3052                                BUFFALO GROVE, IL 60089                     LIVONIA, MI 48152
AUSTRALIA



THE J. BOLEN GROUP LLC                       THE JET PULERIZER COMPANY, INC              THE NASDAQ STOCK MARKET, LLC
14875 BUTTERMILK ROAD                        1255 N. CHURCH ST.                          LBX #20200
LENOIR CITY, TN 37771                        MOORESTOWN, NJ 08057                        P.O. BOX 780200
                                                                                         PHILADELPHIA, PA 19178-0200




THE NATIONAL PAIN FOUNDATION                 THE NEW YORK PAIN SOCIETY                   THE NORTH HIGHLAND COMPANY
14828 W 6 AVE                                NYSPS                                       PO BOX 101353
SUITE 16-B, ROOM 1                           12126 CAPRI CIRCLE SOUTH                    ATLANTA, GA 30392
GOLDEN, CO 80401                             SAINT PETERSBURG, FL 33706




THE PENNSYLVANIA PAIN SOCIETY, INC.          THE PENNSYLVANIA PAIN SOCIETY, INC.         THE PHOENICIAN SCOTTSDALE
6800 GULFPORT BLVD SOUTH                     6800 GULFPORT BLVD SOUTH                    ATTN: JOYCE CASEY
PASADENA, FL 33707                           SAINT PETERSBURG, FL 33707                  6000 EAST CAMELBACK RD
                                                                                         SCOTTSDALE, AZ 85251




THE PRINCETON EXCESS &                       THE REGENTS OF THE UNIV OF CA, SF           THE REGENTS OF THE UNV. OF CA
SURPLUSE LINES INSURANCE COMPANY             CBD MEETING 4.23.16                         UCLA PAYMENT SOLUTION/ COMPLI
555 COLLEGE ROAD EAST                        1855 FOLSOM ST, BOX 0812                    BOX 957089, 1125 MURPHY HALL
PRINCETON, NJ 08543                          SAN FRANCISCO, CA 94143                     405 HILGARD AVE
                                                                                         LOS ANGELES, CA 90095



THE RESEARCH FOUNDATION FOR THE              THE SASS FOUNDATION FOR MEDICAL             THE SIMONS FIRM LLP
STATE UNIV OF NY                             RESEARCH, INC.                              P.O. BOX 5333
ATTN: CASH RECEIPTS DEPT                     1025 NORTHERN BLVD SUITE 302                SANTA FE, NM 87502-5333
PO BOX 9                                     ROSLYN, NY 11576
ALBANY, NY 12201-0009



THE SOUTHERN PEDIATRIC                       THE STEAM TEAM, INC                         THE TOLL ROADS VIOLATION DEPT
C/O TONYA BALMAKUND                          1904 W. KOENIG LANE                         PO BOX 57011
CENTERS FOR CHILDREN                         AUSTIN, TX 78756                            IRVINE, CA 92619-7011
519 LATHAM DR.
LOWELL, AR 72745



THE UNITED STATES                            THE UNITED STATES                           THE UNIVERSITY OF ARIZONA
AMANDA STRACHAN, CHIEF, HEALTH CARE          UNITED STATES DEPARTMENT OF JUSTICE         SPONSORED PROJECTS SERVICES
FRAUD UNIT                                   DAVID T. COHEN, SENIOR TRIAL COUNSEL,       1303 E UNIVERISTY BLVD., BOX 3
US ATTORNEY’S OFFICE FOR THE DISTRICT        CIVIL DIVISION /                            TUCSON, AZ 85719-0521
OF MASSACHUSETTS                             FRAUD SECTION, 175 N STREET, N.E.
ONE COURTHOUSE WAY, SUITE 9200               WASHINGTON, DC 20002
BOSTON, MA 02210

THE UNIVERSITY OF CHICAGO MEDICINE &         THE UNIVERSITY OF CHICAGO                   THE WESTIN GOLF RESORT & SPA
BIOLOGICAL SCIENCES                          ATTN: JACQUAN HENLEY                        PLAYA CONCHAL
ATTN: LEE JACKSON                            DEPT OF MEDICINE                            BAHIA BRASILITO
DEPT OF PSYCHIATRY                           5841 S MARYLAND AVE, MC 6092                GUANACASTE 50308
5841 S MARYLAND AVE STE B350 MC3077          CHICAGO, IL 60637                           COSTA RICA
CHICAGO, IL 60637
THEA S ADELL             Case 19-11292-KG   Doc
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                                               A. SMITH III 06/10/19          PageTHEODORE
                                                                                   136 of 149
                                                                                           FRANCIS SHERMAN
316 W RIVEREDGE DRIVE                  7288 W. ORAIBI DRIVE                       2404 S 186TH CIRCLE
CORDOVA, TN 38018                      GLENDALE, AZ 85308                         OMAHA, NE 68130




THEODORE J STANLEY                     THEODORE JOHN LUKASZEK                     THEODORE S LAWRENCE
27406 CANYON REACH DRIVE               PO BOX 5454                                2740 LAUREL HILL RD
KATY, TX 77494                         CAREFREE, AZ 85377                         ANN ARBOR, MI 48103




THEODORO MONTEMAYOR                    THERESA STRONG                             THERESE MARIE HENNIG
4732 FRITZ FALLS XING                  ATTN: THERESA STRONG                       1504 WEST MARKHAM AVE
PFLUGERVILLE, TX 78660                 340 S LEMON AVE #3620                      DURHAM, NC 27705
                                       WALNUT, CA 91789




THERMO ELECTRON NORTH                  THERMO FISHER SCIENTIFIC (ASHEVILLE)       THOMAS BRADLEY
PO BOX 742775                          LLC                                        45 CITY BLVD.
ATLANTA, GA 30374-2775                 P.O. BOX 842339                            STATEN ISLAND, NY 10301
                                       DALLAS, TX 75284-2339




THOMAS C NEYLAN                        THOMAS F NEWTON                            THOMAS HERZOG
159 BAYVIEW DR                         5333 HIDALGO ST                            5745 DREWRY FARM LN
MILL VALLEY, CA 94941                  HOUSTON, TX 77056                          CINCINNATI, OH 45243




THOMAS J LONG SCHOOL OF                THOMAS J. ALLISON & ASSOCIATES             THOMAS JAMES DOMINY
PHARMACY                               4551 GULF SHORE BLVD. N. #1002             9755 MAUL OAK PL
UNIVERSITY OF THE PACIFIC              NAPLES, FL 34103                           SALINAS, CA 93907
751 BROOKSIDE RD.
STOCKTON, CA 95211



THOMAS M FAIRHURST                     THOMAS PRINTWORKS                          THOMAS REUTERS (TAX & ACCOUNTING) INC
1204 YOUNTVILLE DR                     P.O. BOX 740967                            PO BOX 6016
LEANDER, TX 78641                      DALLAS, TX 75374-0967                      CAROL STREAM, IL 60197




THOMAS REUTERS -WEST                   THOMAS UDICIOUS                            THOMAS WHITTEN
PO BOX 6292                            10048 SOUTH 44TH STREET                    4893 ROUTE 30
CAROL STREAM, IL 60197-6292            PHOENIX, AZ 85044                          SUITE 8
                                                                                  GREENSBURG, PA 15601




THOMPSON HINE LLP                      THOMSON HEALTHCARE DMS INC                 THOMSON INSTRUMENT COMPANY
1919 M STREET, N.W. SUITE 700          P.O. BOX 51564                             354 TYLER ROAD
WASHINGTON, DC 20036                   LOS ANGELES, CA 90051-5864                 CLEAR BROOK, VA 22624




THORCO HOLINGS LLC                     THRIF-T-DRUGS                              THRIMOORTHY POTTA
P.O. BOX 677200                        4350 BAYOU BLVD.                           4736 E AMBERWOOD DRIVE
DALLAS, TX 75267-7200                  PENSACOLA, FL 32503                        PHOENIX, AZ 85048
                       Case
THWING-ALBERT INSTRUMENT     19-11292-KG
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                                             & BOSCO                       PageTIFFANY
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14 W COLLINGS AVE                    ATTN RICHARD GLENN HIMELRICK               809 NEWELL AVENUE
WEST BERLIN, NJ 08091                CAMELBACK ESPLANDE II, 2525 E              DALLAS, TX 75223
                                     CAMELBACK RD., 7TH FL
                                     PHOENIX, AZ 85016



TIFFANY E HIGA                        TIFFANY KING                              TIFFANY S CROMARTIE-ERLEWINE
609-D1 N JUDD ST                      954 HAMILTON CIRCLE                       21 PACHECO CREEK DRIVE
HONOLULU, HI 96817                    HAINES CITY, FL 33844                     NOVATO, CA 94949




TIM BYE                               TIME WARNER CABLE                         TIME WARNER-SPECTRUM BUSINESS
148 BLUEBERRY LN                      PO BOX 60074                              P.O. BOX 60074
SOUTHBURY, CT 06488                   CITY OF INDUSTRY, CA 91716-0074           CITY OF INDUSTRY, CA 91716-0074




TIMOTHY CLOUGHESY                     TIMOTHY MORRIS                            TIMOTHY SANDERS
710 WESTWOOD PLACE                    222 STILL CREEK RD                        1278 S LENEVAR DRIVE
SUITE 1-230                           DANVILLE, CA 94506                        CHARLESTON, SC 29407
LOS ANGELES, CA 90095




TIMOTHY W BROWN                       TINA CROW                                 TISCH ENVIRONMENTAL, INC.
240 TOWNSEND SQ                       2699 BRADLEY LANE                         145 S MIAMI AVE
OYSTER BAY, NY 11771                  ROUND ROCK, TX 78665                      CLEVES, OH 45002




TISSUE SOURCE                         TLC PHARMACEUTICAL STANDARDS LTD          TM ELECTRONICS, INC
6425 WEA WOODLAND DR.                 UNIT 7&8, 305 INDUSTRIAL PARKWAY SOUTH    2401 HILNER RIDGE ROAD
LAFAYETTE, IN 47909                   AURORA, ON L4G 6X7                        MCHENRY, IL 60051
                                      CANADA




T-MOBILE                              TNT SYSTEM SOLUTIONS, INC.                TNT USA INC.
P.O. BOX 51843                        PO BOX 0327                               PO BOX 327
LOS ANGELES, CA 90051-6143            SPICEWOOD, TX 78669                       SPICEWOOD, TX 78669




TODD G PRATER                         TODD ISHMAIL EWING                        TODD ROBERT BOSCHETTO
2196 AMANECER AVE                     210 FEN COVE                              1619 SPRUCE STREET
CLOVIS, CA 93619                      HUTTO, TX 78634                           PHILADELPHIA, PA 19103




TODD SCHLIFSTEIN                      TOLEDO AREA ONS                           TONI COLE
330 38TH ST                           ATTN: SUE SCREPTOCK                       3916 SMOKEY FOG AVE #201
29A                                   11781 SOUTH LAKESIDE DR                   NORTH LAS VEGAS, NV 89081
NEW YORK, NY 10016                    JEROME, MI 49249




TONI PASKOSKI                         TONI PASKOSKI                             TONY C MYLES
7426 EAST STETSON DR                  7426 EAST STETSON DR.                     1100 S KENNY FORT BLVD
APT # 3008                            APT # 308                                 APT 1222
SCOTTSDALE, AZ 85251                  SCOTTSDALE, AZ 85251                      ROUND ROCK, TX 78665
TORGNY C ANDERSSON       Case 19-11292-KG     Doc 14
                                      TORIA TINDALL      Filed 06/10/19
                                                    WILLIAMS              PageTORNADO
                                                                               138 of FACILITY
                                                                                      149 SERVICES
436 E 65TH TERRACE                      1062 CARTER DRIVE                     21101 CHERRY LAUREL CIRCLE
KANSAS CITY, MO 64131                   CHATTANOOGA, TN 37415                 PFLUGERVILLE, TX 78660




TORNADO FACILITY SERVICES               TORONTECH INC                         TORONTO RESEARCH CHEMICALS
5005 SAVIO DR.                          8-70 EAST BEAVER CREEK RD.            2 BRISBANE RD.
ROUND ROCK, TX 78665                    RICHMOND HILL, ON L4B3B2              NORTH YORK, ON M3J 2J8
                                        CANADA                                CANADA




TOVATECH LLC                            TOWERS WATSON DELAWARE, INC           TOWERS WATSON PENNSYLVANIA
205 RUTGERS ST.                         LOCKBOX 28025                         LOCKBOX #7482
MAPLEWOOD, NJ 07040                     28025 NETWORK PLACE                   PO BOX 8500
                                        CHICAGO, IL 60673                     PHILADELPHIA, PA 19178-7482




TOXSTRATEGIES                           TOYOTA FINANCIAL SERVICES             TPS LLC THERMAL PRODUCT SOLUTIONS
23123 CINCO RANCH BLVD                  P.O. BOX 4102                         PO BOX 6057
SUITE 220                               CAROL STREAM, IL 60197-4102           HERMITAGE, PA 16148
KATY, TX 77494




TRACE ANALYTICS, LLC                    TRACEE RIDLEY PRYOR                   TRACEE RIDLEY PRYOR
15768 HAMILTON POOL RD                  3988 PLANTERS VIEW RD                 3988 PLANTERS VIEW RD
AUSTIN, TX 78738                        BARTLETT, TN 38133                    MEMPHIS, TN 38133




TRACEY C PULLIAM                        TRACEY COUCH                          TRACI L WHITE
3804 CANDLEBROOK CT                     3305 SWEET CLOVER LANE                2430 E 32ND ST.
RICHMOND, VA 23233                      LEXINGTON, KY 40509                   TULSA, OK 74105




TRACY GILES                             TRACY MESSING                         TRADMARK-DB CORP
3422 W. LEODRA LN.                      6909 FOOLS GOLD DR                    2207 CONCORD PIKE, PMB #582
PHOENIX, AZ 85041                       FORT WORTH, TX 76179                  WILMINGTON, DE 19803




TRANSLATIONAL DRUG DEVELOPMENT LLC      TRANSO-PHARM                          TRANSPAK, INC
13208 E SHEA BLVD, SUITE 100            716 DEKALB PIKE                       520 N MARBURG WAY
SCOTTSDALE, AZ 85259                    #329                                  SAN JOSE, CA 95133
                                        BLUE BELL, PA 19422




TRAVELERS CASUALTY AND SURETY           TREASURER OF STATE OF MAINE           TREASURER OF STATE OF MAINE
COMPANY OF AMERICA                      ATTN: DHHS - PHARMACY                 ATTN: DHHS RECEIVABLES-DRUG REBATE
ATTN RICHARD GLASS, MANAGING DIR        11 STATE HOUSE STATION                C/O CASH RECEIPTS
ONE TOWER SQUARE                        AUGUSTA, ME 04333-0011                SHS #11, 221 STATE STREET
HARTFORD, CT 06183                                                            AUGUSTA, ME 04333-0011



TREASURER OF THE ST.OF OHIO CL          TREASURER OF THE ST.OF OHIO CL        TREASURER OF THE ST.OF OHIO CO
OHIO DEPARTMENT OF MEDICAID             OHIO DEPARTMENT OF MEDICAID           OHIO DEPT OF MEDICAID
MCP DRUG REBATE                         PO BOX 932206                         L - 3649 DRUG REBATE
PO BOX 932206                           CLEVELAND, OH 44193                   COLUMBUS, OH 43260
CLEVELAND, OH 44193
TREASURER OF THE STATE OFCase
                           CO   19-11292-KG
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CO HEALTH CARE POLICY AND               985 E WIMPOLE AVE                        310 PREAKNESS CT
FINANCING - DRUG REBATE DEPT.           GILBERT, AZ 85297                        WALNUT CREEK, CA 94597
1570 GRANT ST., FOURTH FLOOR
DENVER, CO 80203



TRIAL INTERACTIVE (TRANSPERFECT)        TRIALCARD INCORPORATED                   TRICARE MANAGEMENT ACTIVITY ON
ATTN: ACCTS RECEIVABLE                  6501 WESTON PARKWAY                      BEHALF OF THE UNITED STATES
THREE PARK AVE, 39TH FL                 SUITE 100                                DEPARTMENT OF DEFENSE
NEW YORK, NY 10016                      CARY, NC 27513                           ATTENTION: ACCOUNTING OFFICER
                                                                                 16401 E CENTRETECH PARKWAY
                                                                                 AURORA, CO 80011


TRICARE MANAGEMENT ACTIVITY             TRICARE MANAGEMENT ACTIVITY              TRIDEA PARTNERS (COLUMBUS US, INC.)
ATTENTION: ACCOUNTING OFFICER           C/O TRICARE RETIAL REFUND PROGRAM;       3001 BROADWAY ST. NE
16401 E CENTRETECH PARKWAY              PHAMACEUTICAL OPERATIONAL                SUITE 320
AURORA, CO 80011                        DIRECTORATE                              MINNEAPOLIS, MN 55413
                                        SKYLINE 5, STE 810
                                        5111 LEESBURG PIKE
                                        FALLS CHURCH, VA 22041-3206

TRIESKEY MECHANICAL, INC.               TRILLIUM US INC                          TRINITY CARE OF DALLAS
6837 WEST FRYE ROAD                     13011 SE JENNIFER ST STE 204             145 MANUFACTURING ST.
CHANDLER, AZ 85226                      CLACKAMAS, OR 97015                      DALLAS, TX 75207




TRIPLE T PROMOTIONS                     TRISHA CROSS                             TRISTON JACOB BEADLE
12840 N. 45TH DRIVE                     3134 VALLEY VISTA CIRCLE                 600 GREENHILL DRIVE APT 817
GLENDALE, AZ 85304                      LAKELAND, FL 33812                       ROUND ROCK, TX 78665




TROEMNER LLC                            TROMBLEY & HANES, P.A.                   TRUDY VANHOVE
PO BOX 21098                            707 FRANKLIN STREET 10TH FLOOR           515 ENCINA AVENUE
NEW YORK, NY 10087                      TAMPA, FL 33601                          MENLO PARK, CA 94025




TRULUCK'S - LA JOLLA                    TRULY NOLEN OF AMERICA, INC              TRUMP CARD HOLDINGS LLC
ATTN DENISE JONES                       PO BOX 3010                              23807 ALISO CREEK ROAD
8990 University Center Ln               SCOTTSDALE, AZ 85271-3010                SUITE 200
SAN DIEGO, CA 92122                                                              LAGUNA NIGUEL, CA 92677




TRUPATH                                 TRUPTI H TURNER                          TRUSTPOINT INTERNATIONAL
1440 E SOUTHERN AVE                     12 PARISVILLE                            PO BOX 101920
TEMPE, AZ 85282                         ALISO VIEJO, CA 92656                    ATLANTA, GA 30392-1920




TRUSTPOINT.ONE                          TRUTECH LLC                              TRUVEN HEALTH ANALYTICS INC.
P.O. BOX 101920                         PO BOX 6849                              PO BOX 95334
ATLANTA, GA 30392-1920                  MARIETTA, GA 30065                       CHICAGO, IL 60694




TSI INCORPORATED                        TTC CONFERENCE                           TW TELECOM
500 CARDIGAN ROAD                       P.O. BOX 409573                          P.O. BOX 172567
SHOREVIEW, MN 55126                     ATLANTA, GA 30384-1866                   DENVER, CO 80217-2567
TWO DEGREES                    Case 19-11292-KG   Doc
                                            TWO LABS   14 Filed
                                                     MARKETING, LLC 06/10/19                  PageTX140 of 149
                                                                                                     HEALTH & HUMAN SERVICES
PO BOX 101416                                  P.O. BOX 27                                        COMMISSION
PASADENA, CA 91189                             POWELL, OH 43065                                   P.O. BOX 149055
                                                                                                  ACCOUNTING OPS - DRUG REBATE
                                                                                                  ATTN: ARTS 1470
                                                                                                  AUSTIN, TX 78714


U.S. Department of Health and Human Services   U.S. DEPARTMENT OF STATE                           U.S. PAIN FOUNDATION INC.
Office of Inspector General                    OFFICE OF AUTHENTICATIONS                          670 NEWFIELD STREET, SUITE B
330 Independence Avenue, SW                    CA/PPT/S/TO/AUT                                    MIDDLETOWN, CT 06457
Washington, DC 20201                           44132 MERCURE CIRCLE
                                               STERLING, VA 20166-1206



U.S. Senate Homeland Security &                U.S. SPECIALTY INSURANCE COMPANY                   UAF/SCI
Governmental Affairs Committee                 5601 Granite Parkway                               ATTN: TRACIE BLADES
340 Dirksen Senate Office Building             Suite 1100                                         SKIN CANCER INSTITUTE - UACC1515 N.
Washington, DC 20510                           Plano, TX 75024                                    CAMPBELL AVE.
                                                                                                  TUCSON, AZ 85724



UCLA                                           UCSF (SUNDRY DEBTOR)                               UCSF
UCLA TDG                                       UCSF SUNDRY DEBTOR - CASH/CONTROL                  ATTN: LESLIE Z. BENET, PH.D. UCSF
10889 WILSHIRE BLVD SUITE 920                  TEAM                                               533 PARNASSUS AVE ROOM U-68
LOS ANGELES, CA 90095                          BOX 0815                                           SAN FRANCISCO, CA 94143-0912
                                               SAN FRANCISCO, CA 94143-0815



UCSF                                           U-HAUL                                             UI CONTRIBUTIONS BUREAU
UCSF MAIN DEPOSITORY                           PO BOX 52128                                       PO BOX 6339
P.O. BOX 74872                                 PHOENIX, AZ 85072-2128                             HELENA, MT 59604-6339
LOS ANGELES, CA 90074-4872




ULINE                                          ULTRAPAK LLC                                       ULTRASOURCE LLC
PO BOX 88741                                   134 FRANKLIN AVE                                   1414 WEST 29TH ST
CHICAGO, IL 60680                              DUNKIRK, NY 14048                                  KANSAS CITY, MO 64108




UNITED BIOSOURCE CORPORATION                   UNITED BIOSOURCE, LLC                              UNITED PHARMACY
UBC                                            920 HARVEST DRIVE                                  1129 S ROBERTSON BLVD.
LOCKBOX 75253                                  SUITE 200                                          LOS ANGELES, CA 90035
PO BOX 75253                                   BLUE BELL, PA 19422
BALTIMORE, MD 21275



UNITED SILICONE                                UNITED STATE PHARMACOPEIAL INC                     United States Department of Defense
75 REMITTANCE DR. SUITE 75694                  12601 TWINBROOK PARKWAY                            Defense Health Agency
CHICAGO, IL 60675                              ROCKVILLE, MD 20852                                Attn: Leigh A. Bradley
                                                                                                  7700 Arlington Blvd, Suite 5101
                                                                                                  Falls Church, VA 22042-5101



UNITED STATES DEPARTMENT OF DEFENSE            United States Department of Health and Human       United States Department of Justice
Patrick M. Shanahan                            Services                                           Attn: Andrew E. Lelling, U.S . Attorney
Acting Secretary of Defense                    Office of Counsel to Inspector General             John Joseph Moakley U.S. Federal Courthouse
1000 Defense Pentagon                          Attn: Lisa M. Re                                   1 Courthouse Way, Suite 9200
Washington, DC 20301-1000                      330 Independence Avenue, SW                        Boston, MA 02210
                                               Washington, DE 20201


United States Department of Justice            United States Department of Justice                United States Department of Justice
Central District of California                 Central District of California                     DAVID T. COHEN, SENIOR TRIAL COUNSEL,
United States Department of Justice            United States Department of Justice                CIVIL DIVISION /
Attn: John E. Lee                              Central District of California                     FRAUD SECTION, 175 N STREET, N.E.
Assistant United States Attorney               United States Department of Justice                WASHINGTON, DC 20002
300 N. Los Angeles Street, Room 7516           Central District of California
Los Angeles, CA 90012                          United States Department of Justice
                                               Amanda P.M.
                         Case
UNITED STATES FIRE INSURANCE   19-11292-KG
                             COMPANY             DocFood
                                       United States  14andFiled    06/10/19
                                                             Drug Administration   PageUNITED
                                                                                        141 of  149 FOOD AND DRUG
                                                                                              STATES
ATTN KRISTINE CHRIST, VP               P.O. Box 979107                                 ADMINISTRATION
305 MADISON AVE                        St. Louis, MO 63197-9000                        P.O. BOX 979107
MORRISTOWN, NJ 07960                                                                   ST. LOUIS, MO 63197-9000




UNITED STATES TREASURY                      UNITED STATES TREASURY                     UNIV OF AZ FOUNDATION
C/O INTERNAL REVENUE SERVICE                C/O INTERNAL REVENUE SERVICE               THE SKIN CANCER INSTITUTE
CINCINNATI, OH 45999-0039                   KANSAS CITY, MO 64999                      ATTN: DENISE SPARTONOS
                                                                                       1515 N CAMPBELL AVE
                                                                                       TUCSON, AZ 85724



UNIV OF FLORIDA DIV HEM/ONC                 UNIV OF TX HEALTH SCIENCE CENTER AT        UNIVAR USA INC
C/O KRISTEN FRANCK                          SAN ANTONIO                                PO BOX 740896
1600 SW ARCHER RD BOX 100278                ATTN: IRB ANNUAL REVIEW FEE                LOS ANGELES, CA 90074
GAINESVILLE, FL 32610                       MAIL CODE 7830
                                            7703 FLOYD CURL DR
                                            SAN ANTONIO, TX 78229-3900


UNIVERSITY CLINICAL RESEARCH                UNIVERSITY HOSPITALS CLEVELAND             UNIVERSITY OF ARIZONA
D/B/A AVAIL CLINICAL RESEARCH LLC           MEDICAL CENTER                             UNIVERSITY OF ARIZONA
860 PEACHWOOD DR                            DEPT. 781686                               1703 E MABEL ST
DELAND, FL 32720                            PO BOX 78000                               PO BOX 210202
                                            DETROIT, MI 48278                          TUCSON, AZ 85721



UNIVERSITY OF CALIFORNIA                    UNIVERSITY OF CALIFORNIA, SAN DIEGO        UNIVERSITY OF IOWA
INNOVATION ALLIANCES AND SERVICES           RESEARCH SERVICE CORE MC0041               115 S. GRAND AVE. STE G20
1111 FRANKLIN ST, 5TH FLOOR                 ATTN: DARRELL THOMPSON MTF-275             PHAR
OAKLAND, CA 94607                           LA JOLLA, CA 92093-0041                    IOWA CITY, IA 52242-1112




UNIVERSITY OF KANSAS MEDICAL CTR            UNIVERSITY OF KENTUCKY                     UNIVERSITY OF OKLAHOMA HEALTH
RESEARCH INSTITUTE INC                      MARKEY CANCER CENTER AFFILIATE             SCIENCE CENTER
3901 RAINBOW BLVD                           NETWORK                                    GRANTS AND CONTRACTS ACCOUNTING
KANSAS CITY, KS 66160                       2195 HARRODSBURG RD.                       ATTN: ASSISTANT CONTROLLER
                                            ATTN: CHRISTY SPEER                        PO BOX 26901
                                            LEXINGTON, KY 40504                        OKLAHOMA CITY, OK 73126


UNIVERSITY OF SOUTH FLORIDA                 UNIVERSITY OF SOUTHERN                     UNIVERSITY OF TEXAS AT AUSTIN
ATTN: RESEARCH PROJECTS RECEIVABLES         CALIFORNIA                                 DEPT. OF CHEMISTRY
PO BOX 864568                               OFFICE OF CME1540 ALCAZAR ST. , CHP 223    ATTN: KATY COTTEN
ORLANDO, FL 32886-4568                      LOS ANGELES, CA 90033                      105 EAST 24TH ST. STOP: A5300
                                                                                       AUSTIN, TX 78712-1224



UNIVERSITY OF TEXAS AT AUSTIN               UNIVERSITY OF TEXAS HEALTH SCIENCE         UNIVERSITY OF THE PACIFIC
DEPT. OF CHEMISTRY                          CTR.                                       ATTN: BHASARA R. JASTI, PHD
ATTN: KATY COTTON                           ATTN: CELESTE RODRIGUEZ                    751 BROOKSIDE RD.
105 EAST 24TH ST. STOP: A5300               UT HEALTH SCIENCE CTR AT SAN ANTONIO       STOCKTON, CA 95211
AUSTIN, TX 78712-1224                       7703 FLOYD CURL DR, MC 7881
                                            SAN ANTONIO, TX 78229


UNIVERSITY OF TOLEDO                        UNIVERSITY OF TX HEALTH SCIENCE CTR        UNIVERSITY OF TX
2801 W BANCROFT STREET                      ATTN: CELESTE RODRIGUEZ                    MD ANDERSON CANCER CENTER
TOLEDO, OH 43606                            MED/ID MC-7881                             PO BOX 4266
                                            SAN ANTONIO, TX 78229-3900                 HOUSTON, TX 77210-4266




UNIVERSITY OF TX                            UNIVERSITY PHYSICIANS, INC.                UPPSALA MONITORING CENTRE
MD ANDERSON CANCER CENTER                   P.O. BOX 110247                            BOX 1051
PO BOX 4390                                 AURORA, CO 80042                           UPPSALA 75140
HOUSTON, TX 77210-4266                                                                 SWEDEN
UPS FREIGHT                   Case 19-11292-KG    DocCHAIN
                                           UPS SUPPLY 14 SOLUTIONS
                                                           Filed 06/10/19     PageUPS
                                                                                   142 of 149
P.O. BOX 650690                             28013 NETWORK PLACE                   P.O. BOX 894820
DALLAS, TX 75265-0690                       CHICAGO, IL 60673                     LOS ANGELES, CA 90189




US DEPARMENT OF HOMELAND                    US PAIN FOUNDATION                    US WATER SYSTEMS, INC
SECURITY                                    670 NEWFIELD ST SUITE B               1209 COUNTRY CLUB ROAD
The Honorable Kevin K. McAleenan            MIDDLETOWN, CT 06457                  INDIANAPOLIS, IN 46234
Washington, DC 20528




USCIS                                       UT FOUNDATION SURVIVOR EVENT          UT LE BONHEUR PEDIATRIC SPECIALISTS
875 SIXTH AVE, SUITE # 1810                 C/O CHRIS KOSINSKI                    ATTN JOAN C HAN, MD
NEW YORK, NY 10001                          UTMC 3000 ARLINGTON AVE MS 1197       50 NORTH DUNLAP
                                            TOLEDO, OH 43614                      MEMPHIS, TN 38103




UT LE BONHEUR PEDIATRIC SPECIALISTS         UTAH DEPARTMENT OF HEALTH             UTAH STATE BOARD OF PHARMACY
ATTN SHANNON TACKER, VP/EXEC DIR            UTAH STATE TREASURER                  ATTN: JENNIFER ZAELIT, BUREAR MGR
50 NORTH DUNLAP                             PO BOX 413133                         DIV OF OCC & PROF. LICENSING
MEMPHIS, TN 38103                           SALT LAKE CITY, UT 84114-3104         160 EAST 300 SOUTH
                                                                                  SALT LAKE CITY, UT 84114-6741



UTAH STATE TAX COMMISION                    UTICA LEASECO, LLC                    V.I.P SIGNS AND GRAPHICS
210 N 1950 W                                905 SOUTH BOULEVARD EAST              4205 SWEETGUM DR.
SALT LAKE CITY, UT 84134                    ROCHESTER HILLS, MI 48307             DENTON, TX 76208




VACO ARIZONA LLC                            VALCO INSTRUMENTS                     VALENCIA PHARMACY
5410 MARYLAND WAY                           PO BOX 55603                          23550 LYONS AVE., STE. 111
SUITE 460                                   HOUSTON, TX 77255                     NEWHALL, CA 91321
BRENTWOOD, TN 37027




VALIDUS                                     VALLEY MEDICAL CENTER                 VALLEY WHOLESALE DRUG CO., LLC
4 World Trade Center                        400 S. 43RD STREET                    1401 W FREEMONT ST
150 Greenwich Street                        RENTON, WA 98055                      STOCKTON, CA 95203
47 Floor
New York, NY 10007



VALUE DRUG COMPANY                          VAMSEE K VENUTURUMILLI                VAN LONDON PHOENIX CO
ATTN BRAND RX PURCHASING MANAGER            2225 WEST FRYE ROAD                   6103 GLENMONT DR
ONE GOLF VIEW DR                            APT 2055                              HOUSTON, TX 77081
ALTOONA, PA 16601                           CHANDLER, AZ 85224




VANGUARD CLEANING SYSTEMS INC               VANNA DEST                            VARIETY CHILDREN'S HOSPITAL
655 MARINERS ISLAND BLVD, STE 303           768 PINE ROCK AVE                     D/B/A NICKLAUS CHILDREN'S HOSPITAL
SAN MATEO, CA 94404                         HAMDEN, CT 06514                      3100 SW 62ND AVE
                                                                                  MIAMI, FL 33155




VASCO RX                                    VASEEM MAHBOOB                        VAST CONFERENCE
4045 EAST BELL RD #163                      11672 N CANTERBURY DR.                1960 EAST GRAND AVE. #290
PHOENIX, AZ 85032                           THIENSVILLE, WI 53092                 EL SEGUNDO, CA 90245
VEENA CHARU                Case 19-11292-KG   Doc
                                        VENABLE LLP 14      Filed 06/10/19   PageVENKATESHWAR
                                                                                  143 of 149 GOSKONDA
1801 W ROMNEY DRIVE #203                 PO BOX 62727                            4734 E WHITE ASTER S
ANAHEIM, CA 92801                        BALTIMORE, MD 21264-2727                PHOENIX, AZ 85044




VERITEXT CHICAGO REPORTING COMPANY       VERIZON WIRELESS                        VERIZON
P.O. BOX 71303                           P.O. BOX 660108                         1095 AVENUE OF THE AMERICAS
CHICAGO, IL 60694-1303                   DALLAS, TX 75266-0108                   NEW YORK, NY 10013




VERIZON                                  VERMONT BOARD OF PHARMACY               VETTICADEN, SANTOSH J
P.O. BOX 408                             ATTN: CARRIE PHILLIPS                   C/O CRAVATH SWAINE & MOORE LLP
NEWARK, NJ 07101-0408                    EXECUTIVE OFFICER                       ATTN DANIEL SLIFKIN
                                         89 MAIN ST, THIRD FLOOR                 825 8TH AVE
                                         MONTPELIER, VT 05620-3402               NEW YORK, NY 10019



VETTICADEN, SANTOSH J                    VETTICADEN, SANTOSH J                   VETTICADEN, SANTOSH J
C/O CRAVATH SWAINE & MOORE LLP           C/O SNELL & WILMER LLP                  C/O SNELL & WILMER LLP
ATTN DAVID M STUART                      ATTN ANTHONY TOM KING                   ATTN DONALD WAYNE BIVENS
825 8TH AVE                              400 E VAN BUREN                         1 ARIZONA CENTER, 400 E VAN BUREN
NEW YORK, NY 10019                       PHOENIX, AZ 85004                       PHOENIX, AZ 85004



VICKIE DOWNING                           VICTOR CHOW JOE                         VIDEOJET TECHNOLOGIES INC.
2330 WATERVIEW RD                        1614 VALL DEL SOL                       12113 COLLECTION CENTER DR.
GREENVILLE, NC 27858                     REDLANDS, CA 92373                      CHICAGO, IL 60693




VIJAY GUNUGANTI                          VIKING FENCE CO. LTD                    VIKING FENCE CO. LTD
TEACHING PHYSICIANS LLC                  9602 GRAY BLVD                          9602 GREY BLVD
21806 BARTON WOODS                       AUSTIN, TX 78758                        AUSTIN, TX 78758
SAN ANTONIO, TX 78259




VIKRAM MALHOTRA                          VIKRAM SINGH                            VINAI GONDI
4808 N 24TH STREET APT 225               CA BACK & PAIN SPECIALISTS              150 SCHILLER ST APT 810
PHOENIX, AZ 85016                        P.O. BOX 56057                          ELMHURST, IL 60126
                                         SHERMAN OAKS, CA 91413




VINCENT BENJAMIN                         VINTAGE PRESS RESTAURANTE, THE          VIRGIN ISLANDS BOARD OF PHARMACY
2415 E CAMELBACK RD SUITE 1000           216 N WILLIS STREET                     ATTN DEBORAH RIDHARDSON-PETER, MPA
PHOENIX, AZ 85016                        VISALIA, CA 93291                       DIR, OFFICE OF PROF LICENSURE & HEALTH
                                                                                 PLANNING; 3500 ESTATE RICHMOND
                                                                                 CHRISTIANSTED 00820-4370



VIRGINIA BOARD OF PHARMACY               VIRGINIA COMMONWEALTH UNIVERSITY        VISION GRAPHICS CORP.
ATTN: CAROLINE JURAN, EXE. DIRECTOR      ATTN MELANIE WIGGINS, DIR OSP-          19621 N 23RD DR
PERIMETER CENTER                         INDUSTRY & CLINICAL TRIALS              SUITE 100
9960 MAYLAND DRIVE, SUITE 300            800 E LEIGH ST, STE 3200                PHOENIX, AZ 85027
HENRICO, VA 23233-1463                   RICHMOND, VA 23219



VISION GRAPHICS, LLC                     VISION SERVICE PLAN                     VISIONWORKS, INC.
19621 N 23RD DRIVE, SUITE 100            P.O. BOX 742788                         P.O. BOX 848448
PHOENIX, AZ 85027                        LOS ANGELES, CA 90074                   DALLAS, TX 75284
VIVEK SHANKAR IYER        Case 19-11292-KG
                                       VIZIENT Doc  14LLC (FKA)
                                               SUPPLY     FiledMEDASSETS
                                                                06/10/19   PageVIZIENT
                                                                                 144 of  149 LLC
                                                                                       SUPPLY
5532 E WINDSTONE TRL                     75 REMITTANCE DRIVE, SUITE 1420       ATTN GENERAL COUNSEL
CAVE CREEK, AZ 85331                     CHICAGO, IL 60675-1420                290 E JOHN CARPENTER FWY
                                                                               IRVING, TX 75062




VIZIENT SUPPLY LLC                       VJA CONSULTING LLC                    VMG HEALTH
F/B/O CANCER TREATMENT CENTERS OF        98 SIMPSON DR                         POBOX 674046
AMERICA GLOBAL INC                       WALNUT CREEK, CA 94596                DALLAS, TX 75267-4046
P.O. Box 140909
IRVING, TX 75014



VON HIPPEL-LINDAU                        VON HIPPEL-LINDAU                     VORTEX INDUSTRIES, INC.
1208 VFW PARKWAY                         1208 VFW PARKWAY                      1801 W. OLYMPIC BLVD. FILE# 1095
SUITE 303                                SUITE 303                             PASADENA, CA 91199-1095
BOSTON, MA 02132                         WEST ROXBURY, MA 02132




VRT PHARMA CONSULTING LLC                VWR INTERNATIONAL INC                 W.C. MACHINE & TOOL, INC.
402 JACOBS COURT                         P.O. BOX 640169                       3100 NORTH SAN MARCOS PLACE
EXTON, PA 19341                          PITTSBURGH, PA 15264-0169             CHANDLER, AZ 85225




W.M. ASHER MD INC                        W.S. TYLER                            W.W. CANNON, INC.
9410 NEUMANN DR.                         DEPT. 781849                          PO BOX 540006
ELBERTA, AL 36530                        PO BOX 78000                          DALLAS, TX 75354
                                         DETROIT, MI 48278




WA STATE DEPT OF LABOR & INDUSTRIES      WAEL HARB                             WAKE FOREST UNIVERSITY HEALTH
PO BOX 24106                             ATTN: WAEL HARB                       SCIENCES
SEATTLE, WA 98124-6524                   1435 UNITY PLACE                      NORTHWEST AHEC
                                         SUITE 365                             ATTN: LORI CRUTCHFILED, WAKE FOREST
                                         LAFAYETTE, IN 47905                   SCHOOL OF MEDICINE, MEDICAL CENT BLVD
                                                                               WINSTON SALEM, NC 27157-1060


WALEED HAMADA                            WALEED HAMADA                         WALKER INDUSTRIAL PRODUCTS, INC.
5805 PASEO DE SOTO                       5805 PASEO DE SOTO                    PO BOX 499
ANAHEIM HILLS, CA 92807                  ANAHEIM, CA 92807                     NEWTOWN, CT 06470




WALL STREET TRANSCRIPT CORP              WALMART INC.                          WALMART
622 THIRD AVE, 34TH FLOOR                702 SOUTHWEST 8TH ST                  702 S.W. 8TH ST
NEW YORK, NY 10017                       BENTONVILLE, AR 72716                 BENTONVILLE, AK 72716




WALTER LING                              WARNER HUH                            WARNER HUH
16556 PARK LANE CIRCLE                   117 PEACHTREE RD                      117 PEACHTREE RD
LOS ANGELES, CA 90049                    BIRMINGHAM, AL 35213                  MOUNTAIN BROOK, AL 35213




WARNER NORCROSS & JUDD LLP               WARNER R DAY                          WARREN HORTON
900 FIFTH THIRD CENTER                   3888 WALNUT GROVE RD.                 598 CUTLER RD
111 LYON STREET, N.W.                    MEMPHIS, TN 38111                     BLOUNTS CREEK, NC 27814
GRAND RAPIDS, MI 49503
                             Case
Washington Department of Revenue    19-11292-KG   Doc DEPARTMENT
                                            WASHINGTON 14 Filed 06/10/19
                                                                 OF REVENUE PageWASHINGTON
                                                                                 145 of 149STATE PHARMACY QUALITY
P.O. Box 47464                               P.O. BOX 47464                       ASSURANCE COMM.
Olympia, WA 98504-7464                       OLYMPIA, WA 98504-7464               ATTN: STEVE SAXE, RPH, FACHE, EXE DIR
                                                                                  PO BOX 47852
                                                                                  OLYMPIA, WA 98501



WATER SPECIALTIES GROUP, INC.                WATERS TECHNOLOGIES                  WATKINS CONSULTING
DEPT CH 14373                                DEPT. CH 14373                       1107 BRUSHY CREEK DRIVE
PALATINE, IL 60055                           PALATINE, IL 60055-4373              ROUND ROCK, TX 78664




WATSON MARLOW                                WAYNE ANDERSON, D.O.                 WAYNE ANTHONY LYLE
PO BOX 536285                                A MEDICAL CORPORATION                1611 SOUTH SYCAMORE
PITTSBURGH, PA 15253                         45 CASTRO ST., SUITE 225             CHANDLER, AZ 85286
                                             SAN FRANCISCO, CA 94114




WAYNE G OWENS                                WCT DRUG DEVELOPMENT                 WDTP S.R.O.
5852 PINE BROOK FARM RD                      SOLUTIONS INC                        PO BOX 652
SYKESVILLE, MD 21784                         8609 CROSS PARK DRIVE                BRNO CZ-66152
                                             AUSTIN, TX 78754                     CZECH REPUBLIC




WEBBANK                                      WEBBWRITES INC                       WEBMD LLC
6440 S WASATCH BLVD                          1904 FRONT ST.                       12186 COLLECTIONS CENTER DRIVE
STE 300                                      BLDG 600                             CHICAGO, IL 60693
SALT LAKE CITY, UT 84121                     DURHAM, NC 27705




WEI SONG                                     WEI SONG                             WEIR & PARTNERS, LLP
1707 OSPREY DR                               1707 OSPREY DR                       1339 CHESTNUT STREET, SUITE 500
AUDUBON, PA 19403                            NORRISTOWN, PA 19403                 PHILADELPHIA, PA 19107




WELKIN HEALTH, INC.                          WELLS FARGO ADVISORS                 WELLS FARGO FINANCIAL LEASING
P.O. BOX 40208                               ATTN: MATT DERMER                    PO BOX 10306
SAN FRANCISCO, CA 94140-0208                 375 PARK AVE, 10TH FLOOR             DES MOINES, IA 50306-0306
                                             NEW YORK, NY 10152




WENDY WACKER                                 WESLEY RALPH OLESEN                  WEST CENTRAL OHIO ONS
8626 SW 8TH PL                               4 OLD STONE WAY                      4311 TARNVIEW CT
GAINESVILLE, FL 32607                        NIANTIC, CT 06357                    C/O LADONNA HINKLE
                                                                                  DAYTON, OH 45424




WEST CORPORATION (C/O NASDAQ)                WEST LLC C/O WEST CORPORATION        WEST PHARMA SERVICES CORP.
LBX# 11700                                   P.O. BOX 74007143                    P.O. BOX 642477
PO BOX 780700                                CHICAGO, IL 60674-7143               PITTSBURGH, PA 15264-2477
PHILADELPHIA, PA 19178-0700




WEST PHARMACEUTICAL SERVICES INC             WEST PHARMACEUTICAL SERVICES INC     WEST PHARMACEUTICAL SERVICES
530 HERMAN O WEST DR                         ATTN MICHAEL A ANDERSON,             PO BOX 642477
EXTON, PA 19341                              VP/TREASURER                         PITTSBURGH, PA 15264-2477
                                             530 HERMAN O WEST DR
                                             EXTON, PA 19341
                        Case 19-11292-KG
WEST VIRGINIA BOARD OF PHARMACY             Doc 14
                                     WEST VIRGINIA DEPTFiled 06/10/19
                                                       OF HEALTH AND    PageWEST
                                                                             146VIRGINIA
                                                                                 of 149STATE TAX DEPT.
ATTN: MICHAEL L. GOFF                HUMAN RESOURCES (DHHR)                 TAX ACCOUNT ADMINISTRATION DIV
EXECUTIVE DIRECTOR & CSMP ADMIN.     DRUG REBATE PROGRAM                    PO BOX 1202
2310 KANAWHA BLVD E                  PO BOX 40209                           CHARLESTON, WV 25324-1202
CHARLESTON, WV 25311                 CHARLESTON, WV 25364



WESTERN ALLIANCE BANK                 WESTERN INSTITUTIONAL REVIEW          WESTERN SPECIALTY CONTRACTORS OF
ATTN: KATE HICKMAN                    BOARD (WIRB)                          AMERICA
ONE EAST WASHINGTON ST, STE 1400      DEPT 106091                           9468 CORPORATE DR
PHOENIX, AZ 85004                     PO BOX 150434                         SCHERTZ, TX 78154
                                      HARTFORD, CT 06115-0434



WESTERN SPECIALTY CONTRACTORS OF      WESTERN WORLD                         WESTIN KIERLAND RESORT & SPA
AMERICA                               300 Kimball Drive, Suite 500          6902 E GREENWAY PARKWAY
9468 CORPORATE DR                     Parsippany, NJ 07054                  SCOTTSDALE, AZ 85254
SELMA, TX 78154




WESTON KERR WHITE                     WHEATON INDUSTRIES, INC.              WHEELER
7200 EASY WIND DRIVE                  DEPT. 2456                            1 CHISHOLM TRAIL
APT 2019                              TULSA, OK 74182                       SUITE 450
AUSTIN, TX 78752                                                            ROUND ROCK, TX 78681




WHITE & CASE LLP                      WHITE & CASE LLP                      WHITE PLAINS HOSPITAL MEDICAL CENTER
75 STATE STREET                       MICHAEL KENDALL                       C/O UNA HOPKINS
BOSTON, MA 02109                      75 STATE STREET                       2 LONGVIEW AVE
                                      BOSTON, MA 02109                      WHITE PLAINS, NY 10601




WIGGIN AND DANA LLP                   WILKES LAW FIRM, P.A.                 WILKINSON WALSH & ESKOVITZ LLP
ATTN: ACCOUNTS RECEIVABLE             127 DUNBAR STREET                     2001 M STREET NM
PO BOX 1832                           SUITE 200                             10TH FLOOR
NEW HAVEN, CT 06508-1832              SPARTANBURG, SC 29306                 WASHINGTON, DC 20036




WILKINSON WALSH & ESKOVITZ LLP        WILKINSON WALSH & ESKOVITZ LLP        WILL WADDILL
2001 M STREET NW                      BETH WILKINSON                        12477 BRIDGECREST LANE
SUITE 1000                            2001 M STREET, NW, SUITE 1000         SAN DIEGO, CA 92128
WASHINGTON, DC 20036                  WASHINGTON, DC 20036




WILLIAM A DAVIDSON                    WILLIAM BEAUMONT HOSPITAL             WILLIAM BEAUMONT HOSPITAL
1546 BOTTLEBRUSH ST                   ATTN DANILE ARNDT, MD                 ATTN GIACOMO "JACK" DECHELLIS
THE VILLAGES, FL 32162                3601 W THIRTEEN MILE RD               3811 W THIRTEEN MILE RD, STE 501
                                      ROYAL OAK, MI 48073                   ROYAL OAK, MI 48073




WILLIAM BEAUMONT HOSPITAL             WILLIAM GORDON LANGLOIS               WILLIAM H MCBRIDE
ATTN: RESEARCH ACCOUNTING             9794 S DARROW DR                      7915 NAYLOR AVE
3811 W 13 MILE RD STE 501             TEMPE, AZ 85284                       LOS ANGELES, CA 90045
ROYAL OAK, MI 48073




WILLIAM H. CHARLES                    WILLIAM JOEL PAULE                    WILLIAM THAM
2931 CHITTY RD                        1072 CASITAS PASS RD                  2002 MEDICAL PKWY
PLANT CITY, FL 33565                  #373                                  SUITE 430
                                      CARPINTERIA, CA 93013                 ANNAPOLIS, MD 21401
WILLIAM VELASQUEZ        Case 19-11292-KG
                                      WILLIAMDoc
                                             WHITE14       Filed 06/10/19     PageWILLIAM
                                                                                   147 ofWHITE
                                                                                          149
4503 MAGNOLIA LN                         9616 E DAVENPORT DR                      9616 E DAVENPORT DR.
SUGAR LAND, TX 77479                     SCOTTSDALE, AZ 85260                     SCOTTSDALE, AZ 85260




WILLIAMSON COUNTY TAX ASSESSOR           WILLIAMSON COUNTY TAX ASSESSOR           WILLKIE FARR & GALLAGHER LLP
904 S MAIN ST                            904 S. MAIN ST                           787 SEVENTH AVENUE, 2ND FLOOR
GEORGETOWN, TX 78626                     GEORGETOWN, TX 78626                     ATTN: ACCOUNTS RECEIVABLE
                                                                                  NEW YORK, NY 10019-6099




WILLMENG CONSTRUCTION, INC               WILMER HALE                              WILSON ELECTRIC SERVICES CORP
2048 N 44TH ST STE 200                   PO BOX 7247-8760                         600 E GILBERT DR
PHOENIX, AZ 85008                        PHILADELPHIA, PA 19170-8760              TEMPE, AZ 85281




WILSON SONSINI GOODRICH & ROSATI, P.C.   WING C. CHAU, M.D.                       WINSTEAD PC ATTORNEYS
650 PAGE MILL RD                         DBA TRI-CITIES PHYSICAL MED              ATTN: ACCOUNTS RECEIVABLE
PALO ALTO, CA 94304                      & REHAB                                  2728 N HARWOOD STREET
                                         943 STEVENS DR.                          DALLAS, TX 75201
                                         RICHLAND, WA 99352



WINSTON & STRAWN, LLP                    WINSTON & STRAWN, LLP                    WISCONSIN ASSN. OF HEMATOLOGY &
35 WEST WACKER DRIVE                     36235 TREASURY CENTER                    ONCOLOGY
CHICAGO, IL 60601                        CHICAGO, IL 60694-6200                   LINDA JACKIER SCHUGAR, WAHO
                                                                                  11600 NEBEL ST STE 201
                                                                                  ROCKVILLE, MD 20852



WISCONSIN BREAST CANCER COALITION        WISCONSIN DEPT OF HEALTH SERVICES        WISCONSIN PHARMACY EXAMINING BOARD
170031 MILWAUKEE                         ATTN: CASH UNIT                          ATTN: DEBRA SYBELL
MILWAUKEE, WI 53217                      313 BLETTNER BLVD                        EXECUTIVE DIRECTOR
                                         MADISON, WI 53784                        4822 MADISON YARDS WAY
                                                                                  MADISON, WI 53708-8366



WIST OFFICE PRODUCTS CO.                 WOLTERS KLUWER HEALTH INC                WOOD, PHILLIPS, KATZ, CLARK & MORTIMER
PO BOX 98413                             P.O. BOX 4307                            500 W MADISON
LAS VEGAS, NV 89193-8413                 CAROL STREAM, IL 60197-4307              SUITE 1130
                                                                                  CHICAGO, IL 60661




WORLDWIDE CLINICAL TRIALS INC            WORLDWIDE CLINICAL TRIALS INC            WORLDWIDE CLINICAL TRIALS INC
ATTN SITE CONTRACTS MANAGER              ATTN SITE CONTRACTS MANAGER              DRUG SOLUTONS INC
3800 PARAMOUNT PKWY DRIVE, STE 400       3800 PARAMOUNT PKWY DRIVE, STE 400       8609 CROSS PARK DR
MORRISVILLE, NC 27520                    MORRISVILLE, NC 27560                    AUSTIN, TX 78754




WORLDWIDE CLINICAL TRIALS INC            WOW WEST HOUSTON CHAPTER ONS             WUXI APPTEC INC
EARLY PHASE SERVICES/BIOANALYTICAL       MICHAEL DE LOS REYES, WOW CHAPTER        107 MORGAN
SCIENCES LLC                             TREASURER                                PLAINSBORO, NJ 08536
8609 CROSS PARK DR                       12014 SOFT PINES DR.
AUSTIN, TX 78754                         HOUSTON, TX 77066



WYOMING STATE BOARD OF PHARMACY          XACT DATA DISCOVERY                      XAVIER A HICKS
ATTN: MATT MARTINEAU                     5800 FOXRIDGE DR STE 406                 2354 W. UNIVERSITY APT. 2157
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XCENDA, LLC              Case 19-11292-KG   Doc 14
                                      XEROX STATE      Filed 06/10/19
                                                  HEALTHCARE LLC            PageXIANBIN
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                                                                                          149
PO BOX 198298                           MEDI-CAL DRUG REBATE DEPT               94 MT HEIGHTS AVE
ATLANTA, GA 30384                       PO BOX 13029                            LINCOLN PARK, NJ 07035
                                        SACRAMENTO, CA 95813-4029




XIAOMING LI                             XL SPECIALTY INSURANCE COMPANY          XL SPECIALTY INSURANCE COMPANY
5335 154TH AVE SE                       70 Seaview Avenue                       ATTN BRIAN D JONES, VP
BELLEVUE, WA 98006                      Seaview House                           100 CONSTITUTION PLAZA , 17TH FL
                                        Stamford, CT 06902                      HARTFORD, CT 06103




XOGENE SERVICES, LLC                    XPLEO MEDIA                             XUN YU
10 STERLING BOULEVARD                   21001 N TATUM BLVD STE 1630-476         55 SW 9TH ST.
ENGLEWOOD, NJ 07631                     PHOENIX, AZ 85050                       APT. 2901
                                                                                MIAMI, FL 33130




YALE UNIVERSITY SCHOOL OF MEDICINE      YALE UNIVERSITY TREASURY SERVICES       YALE UNIVERSITY TREASURY SERVICES
TREASURY OPERATIONS                     333 CEDAR STREET, I-100 SHM             P.O. BOX 208087
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YAMILET LEAL                            YESCO                                   YI-BIN CHEN
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YMC AMERICA, INC.                       YOSHIKO A JAMISON                       YOUNG CONAWAY STARGATT & TAYLOR, LLP
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SUITE 201                               GILBERT, AZ 85298                       1000 NORTH KING STREET
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YOURENCORE, INC                         ZEF SCIENTIFIC INC.                     ZENBIO, INC
20 NORTH MERIDIAN STREET, SUITE 800     12707 HIGH BLUFF DR                     PO BOX 13888
INDIANAPOLIS, IN 46204-3008             STE 200                                 DURHAM, NC 27709
                                        SAN DIEGO, CA 92130




ZENBIO, INC                             ZEPHYR ENVIRONMENTAL CORPORATION        ZHONGYE LIN
PO BOX 13888                            2600 VIA FORTUNA, STE. 450              34 THICKET
RESEARCH TRIANGLE PARK, NC 27709        AUSTIN, TX 78746                        IRVINE, CA 92614




ZIMMER ENVIRONMENTAL                    ZIMMER US, INC                          ZINC AHEAD INC.
IMPROVEMENT LLC                         14235 COLLECTIONS CENTER DR             4280 HACIENDA DR.
1790 HAGUE AVE                          CHICAGO, IL 60693                       PLEASANTON, CA 94588
SAINT PAUL, MN 55104




ZINC AHEAD INC.                         ZOOMRX, INC.                            ZS ASSOCIATES INC
C/O VEEVA SYSTEMS INC.                  101 MAIN STREET, 14TH FLOOR             PO BOX 4543
202 CARNEGIE CENTER                     CAMBRIDGE, MA 02142                     CAROL STREAM, IL 60197-4543
SUITE 300
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ZUCKERMAN SPAEDER LLP   Case 19-11292-KG    Doc 14 Filed (USA)
                                     ZYDUS PHARMACEUTICALS 06/10/19
                                                               INC    Page 149 of 149
1800 M STREET, NW                     ATTN PRESIDENT
WASHINGTON, DC 20036                  73 ROUTE 31 N
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Total: 4382
